Case 2:25-cv-00197-JCZ-DPC    Document 144-2       Filed 04/12/25   Page 1 of 365




         EXHIBIT D-4 Custom Audience Entities

                      (2024-04-06 — 2025-04-06)


                   Rodriguez v. Meta Platforms, Inc., et al.

                         United States District Court

                        Eastern District of Louisiana

                       Civil Action No. 2:25-cv-00197
     Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 2 of 365




#        Date            Entity Name
1        2025-04-05      Starcom USA

2        2025-04-05      P2 Public Affairs

3        2025-04-05      Room & Board

4        2025-04-05      Solawave

5        2025-04-05      GoldSilver

6        2025-04-05      Lending Store

7        2025-04-05      Supercell

8        2025-04-05      MoneyGram

9        2025-04-05      PBS

10       2025-04-05      Verb Products

11       2025-04-05      Center

12       2025-04-05      Dr. Livingood

13       2025-04-05      SmartPak

14       2025-04-05      Shareably

15       2025-04-05      Great American Pure Flix

16       2025-04-05      MetaTeam

17       2025-04-05      Ruggable

18       2025-04-05      Groupe EPI

19       2025-04-05      Common Entertainment

20       2025-04-05      Division D

21       2025-04-05      Warby Parker

22       2025-04-05      Live Nation Belgium

23       2025-04-05      Research Study Rockstar

24       2025-04-05      JSHealth

25       2025-04-05      Simon Malls

26       2025-04-05      Edelman Digital NYC

27       2025-04-05      Victoria Warehouse

28       2025-04-05      Rebecca Zung

29       2025-04-05      Winn-Dixie

30       2025-04-05      Precision
     Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 3 of 365




#        Date            Entity Name
31       2025-04-05      Walgreens

32       2025-04-05      M&C Saatchi Performance

33       2025-04-05      Diggerland USA

34       2025-04-05      UM Canada

35       2025-04-05      REV77

36       2025-04-05      EMT

37       2025-04-05      Sephora

38       2025-04-05      American Kidney Fund

39       2025-04-05      Warner Music Sweden

40       2025-04-05      Indeed

41       2025-04-05      Inner Circle

42       2025-04-05      Anotherland Music

43       2025-04-05      JCG LLC

44       2025-04-05      9:30 Club

45       2025-04-05      Dallas Cowboys

46       2025-04-05      Foam and Substance

47       2025-04-05      Culture Pop

48       2025-04-05      Warner Music France

49       2025-04-05      Penguin España

50       2025-04-05      310 Nutrition

51       2025-04-05      PM PUIG

52       2025-04-05      Active International

53       2025-04-05      Maison de Sabré

54       2025-04-05      ■■■■ ■■■

55       2025-04-05      Golin

56       2025-04-05      Shareablee

57       2025-04-05      Caraway

58       2025-04-05      Florida Credit Union

59       2025-04-05      Ray-Ban

60       2025-04-05      DASH TWO
     Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 4 of 365




#        Date            Entity Name
61       2025-04-05      703digital

62       2025-04-05      LIVE NATION ES

63       2025-04-05      Flat Tummy Co

64       2025-04-05      HUM Nutrition

65       2025-04-05      Beauty Factory

66       2025-04-05      VarleyClothing

67       2025-04-05      ThisThat

68       2025-04-05      Gopuff

69       2025-04-05      Karsten Jahnke Konzerte

70       2025-04-05      Maybelline New York

71       2025-04-05      The 3am Club

72       2025-04-05      AEG Presents Asia

73       2025-04-05      Ruder Finn

74       2025-04-05      Mattress Firm

75       2025-04-05      The Orchard

76       2025-04-05      Sub Pop Records

77       2025-04-05      Sony Music Netherlands

78       2025-04-05      Goodlive Artists

79       2025-04-05      discovery+

80       2025-04-05      Monster

81       2025-04-05      T&M Holding

82       2025-04-05      Understatement Underwear

83       2025-04-05      Gaston Luga

84       2025-04-05      Online Trainer/Coach

85       2025-04-05      Action Network

86       2025-04-05      Scruff of the Neck

87       2025-04-05      Island Records

88       2025-04-05      Unilever Canada

89       2025-04-05      Garage

90       2025-04-05      RODEOHOUSTON
     Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 5 of 365




#        Date            Entity Name
91       2025-04-05      California Cryobank

92       2025-04-05      FCA Mexico

93       2025-04-05      Hanna Andersson

94       2025-04-05      Sony Music Spain

95       2025-04-05      Hyperice

96       2025-04-05      Caddis Sports

97       2025-04-05      Limelight Belfast

98       2025-04-05      Eddie Bauer

99       2025-04-05      Happify by Twill

100      2025-04-05      zeotap

101      2025-04-05      Hylink Digital Solutions

102      2025-04-05      Shopify New York

103      2025-04-05      Republic NOLA

104      2025-04-05      Nomad Apparel Co.

105      2025-04-05      Strawberries & Creem

106      2025-04-05      Victoria Justice

107      2025-04-05      Truth and Love Coaching International

108      2025-04-05      Greta Boutique

109      2025-04-05      J Vineyards & Winery

110      2025-04-05      Warner Music Germany

111      2025-04-05      Alo Yoga

112      2025-04-05      Talent Groupe CH

113      2025-04-05      Compulse

114      2025-04-05      Aleph Ecuador

115      2025-04-05      Liberated Brands

116      2025-04-05      K-Swiss

117      2025-04-05      YinoLink■■

118      2025-04-05      Glossier

119      2025-04-05      Mediaplus Hamburg GmbH & Co. KG

120      2025-04-05      grownbrilliance
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 6 of 365




#       Date            Entity Name
121     2025-04-05      JG Summit

122     2025-04-05      PrettyLittleThing

123     2025-04-05      Kilt 'Em

124     2025-04-05      Loma Vista Recordings

125     2025-04-05      Gisou

126     2025-04-05      MPP Business test account

127     2025-04-05      M Booth

128     2025-04-05      Universal Music Italia

129     2025-04-05      Scentiment

130     2025-04-05      LocaliQ

131     2025-04-05      Democrats

132     2025-04-05      aim'n

133     2025-04-05      Playboy

134     2025-04-05      Reaction Presents

135     2025-04-05      L'Oreal Ecommerce PRoject

136     2025-04-05      BetterHelp

137     2025-04-05      BroBible

138     2025-04-05      Flaus

139     2025-04-05      Kulturbolaget

140     2025-04-05      ICRUSH

141     2025-04-05      Preflect Ads

142     2025-04-05      LOOPS

143     2025-04-05      For Wellness

144     2025-04-05      Boncom

145     2025-04-05      Suit Up Brands LLC

146     2025-04-05      RW Consulting

147     2025-04-05      SocialAmp

148     2025-04-05      Dynata Advertising Solutions

149     2025-04-05      Bones Coffee Company

150     2025-04-05      Canopy
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 7 of 365




#       Date            Entity Name
151     2025-04-05      Wyze

152     2025-04-05      Bridg Channel

153     2025-04-05      PayPal

154     2025-04-05      Multitud Digital

155     2025-04-05      Starcom USA, Best Buy

156     2025-04-05      Silk + Sonder

157     2025-04-05      Friends At Work

158     2025-04-05      Lovesac

159     2025-04-05      Test For Pixel

160     2025-04-05      Coach

161     2025-04-05      Tuft & Needle

162     2025-04-05      Conn's HomePlus

163     2025-04-05      CCI ■■■■cartacommunications

164     2025-04-05      Shinesty

165     2025-04-05      AbbVie

166     2025-04-05      FOX Sports

167     2025-04-05      22squared

168     2025-04-05      Chewy

169     2025-04-05      Uniagency

170     2025-04-05      Centricity Music

171     2025-04-05      Hagerty

172     2025-04-05      amelieteje

173     2025-04-05      Life.Church

174     2025-04-05      Sony Music France

175     2025-04-05      Blogger: Isaac Saenz

176     2025-04-05      ■■■■■■■■■■_2

177     2025-04-05      Tommy Hilfiger ME

178     2025-04-05      Ring

179     2025-04-05      E! News

180     2025-04-05      Gooseberry Intimates
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25    Page 8 of 365




#       Date            Entity Name
181     2025-04-05      Threepipe

182     2025-04-05      EDGE Entertainment Digital

183     2025-04-05      BEN: Product Brand Intelligence

184     2025-04-05      Yamaha Music USA

185     2025-04-05      Island Records UK

186     2025-04-05      Merch Traffic

187     2025-04-05      Musical Earth

188     2025-04-05      Unique Vacations Limited

189     2025-04-05      MRG Live

190     2025-04-05      Motion

191     2025-04-05      Overtime

192     2025-04-05      Crumbl Cookies

193     2025-04-05      Seminole Hard Rock Hotel & Casino - Hollywood, FL

194     2025-04-05      Universal Music Canada

195     2025-04-05      MasterClass

196     2025-04-05      Tort Group

197     2025-04-05      Nutrafol

198     2025-04-05      Duluth Trading Company

199     2025-04-05      Invisalign

200     2025-04-05      Connected Vivaki

201     2025-04-05      Universal Music Brasil

202     2025-04-05      The League

203     2025-04-05      Drink Accelerator

204     2025-04-05      Topeka

205     2025-04-05      Live Nation Germany - Austria - Switzerland

206     2025-04-05      TEG DAINTY

207     2025-04-05      XaxisKorea

208     2025-04-05      RCKT.

209     2025-04-05      Horizon Blue Cross Blue Shield of New Jersey

210     2025-04-05      TivoliVredenburg
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 9 of 365




#       Date            Entity Name
211     2025-04-05      Universal Music México

212     2025-04-05      Propeller

213     2025-04-05      Triple G Events

214     2025-04-05      Electric Promotions

215     2025-04-05      Blueprint Interactive

216     2025-04-05      MoneyLion

217     2025-04-05      Wake Research

218     2025-04-05      Test Global

219     2025-04-05      Fb-Ig-Stage

220     2025-04-05      Noise New Media

221     2025-04-05      L'atelier TW

222     2025-04-05      Ribbow Media Group

223     2025-04-05      Flip.shop

224     2025-04-05      Quarterlab

225     2025-04-05      kate spade new york

226     2025-04-05      D'Alessandro e Galli

227     2025-04-05      Tusk Strategies

228     2025-04-05      mandanadayani

229     2025-04-05      Whalar

230     2025-04-05      Radius Chicago

231     2025-04-05      Juicy Couture

232     2025-04-05      GoAudience

233     2025-04-05      Linear 360

234     2025-04-05      Omnicom Media Group

235     2025-04-05      Hunter Del Caribe

236     2025-04-05      Miami Dolphins

237     2025-04-05      Tulster

238     2025-04-05      The Home Depot

239     2025-04-05      Papinelle Sleepwear

240     2025-04-05      Purdue Global
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 10 of 365




#       Date            Entity Name
241     2025-04-05      HEYDUDE

242     2025-04-05      Anthropologie

243     2025-04-05      Step

244     2025-04-05      Forma Pilates

245     2025-04-05      hims

246     2025-04-05      Zenithoptimedia Taiwan

247     2025-04-05      Warner Music Poland

248     2025-04-05      L'Oréal Social CDO - Cockpit & Advertising

249     2025-04-05      Brand Networks

250     2025-04-05      4C

251     2025-04-05      Proposal Prep by Best Kept

252     2025-04-05      JXM

253     2025-04-05      Tombras

254     2025-04-05      BlueChew

255     2025-04-05      starrising777

256     2025-04-05      Publicis_Media_Luxe

257     2025-04-05      Publicis Health Media

258     2025-04-05      Camille Brinch Jewellery

259     2025-04-05      Team BC

260     2025-04-05      EMI Records

261     2025-04-05      OCESA Personal

262     2025-04-05      Climb

263     2025-04-05      Cure Media

264     2025-04-05      The Ridge

265     2025-04-05      Echo Promotion

266     2025-04-05      Global Leadership Network

267     2025-04-05      Miller's Ale House

268     2025-04-05      Oceansapart Global

269     2025-04-05      KSR Group

270     2025-04-05      Logos Bible Study Platform
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 11 of 365




#       Date            Entity Name
271     2025-04-05      noatishby

272     2025-04-05      The Rave / Eagles Club

273     2025-04-05      Hampton Creative

274     2025-04-05      Resorts World Las Vegas

275     2025-04-05      Digitas North America

276     2025-04-05      Vuori

277     2025-04-05      Annapurna Pictures

278     2025-04-05      LSU AgCenter Botanic Gardens

279     2025-04-05      Coca-Cola Philippines

280     2025-04-05      Resolve

281     2025-04-05      CMS Music Media Ltd

282     2025-04-05      HarperCollins

283     2025-04-05      The Children's Place

284     2025-04-05      RIMOWA

285     2025-04-05      Tropic of C

286     2025-04-05      Live Nation Finland

287     2025-04-05      L.A. Concerts

288     2025-04-05      Live Nation Sweden

289     2025-04-05      NEUW Denim

290     2025-04-05      Aleph Uruguay

291     2025-04-05      Diverse Media New Zealand

292     2025-04-05      ASUS

293     2025-04-05      Alo Moves

294     2025-04-05      Facetune by Lightricks

295     2025-04-05      Afrobeats Central

296     2025-04-05      MediaSales

297     2025-04-05      L'atelier HK

298     2025-04-05      Digital House

299     2025-04-05      Launchpad INTL

300     2025-04-05      FESTIVAL LES ARDENTES
    Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 12 of 365




#       Date            Entity Name
301     2025-04-05      HolStrength

302     2025-04-05      Ashley

303     2025-04-05      rolling loud

304     2025-04-05      REVOLVE

305     2025-04-05      Stuart Weitzman

306     2025-04-05      Alex Feather Akimov's Business

307     2025-04-05      FM4 Indiekiste mit

308     2025-04-05      Wolven

309     2025-04-05      H&M

310     2025-04-05      WITHIN

311     2025-04-05      Hourglass Cosmetics

312     2025-04-05      TFM Media

313     2025-04-05      MC2 LIVE

314     2025-04-05      Instagram

315     2025-04-05      HotSnap

316     2025-04-05      Liquid I.V.

317     2025-04-05      Milani

318     2025-04-05      cacaFly

319     2025-04-05      Best Buy

320     2025-04-05      Wavemaker Deutschland

321     2025-04-05      Kevin Gottlieb

322     2025-04-05      4th Quarter Collective, LLC

323     2025-04-05      Code3

324     2025-04-05      NeoPerformance

325     2025-04-05      Accenture Adaptly Media Clients

326     2025-04-05      Mic Drop Comedy

327     2025-04-05      Admixer

328     2025-04-05      Polydor

329     2025-04-05      The Assembly Music

330     2025-04-05      E11EVEN MIAMI
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 13 of 365




#       Date            Entity Name
331     2025-04-05      Good American

332     2025-04-05      Publicis Media Luxe

333     2025-04-05      Knitting Factory Entertainment

334     2025-04-05      LP Generic Business

335     2025-04-05      Notion Live Events

336     2025-04-05      Move With Us

337     2025-04-05      Hulu

338     2025-04-05      Mediacom FR

339     2025-04-05      Square

340     2025-04-05      Engage Media

341     2025-04-05      Doctor Music Concerts

342     2025-04-05      Cardon

343     2025-04-05      Musely

344     2025-04-05      Dermaclara

345     2025-04-05      BerlinRosen

346     2025-04-05      SwellShark

347     2025-04-05      René Furterer

348     2025-04-05      Faraday.io

349     2025-04-05      Spiceology

350     2025-04-05      De Helling

351     2025-04-05      OneMain Business

352     2025-04-05      VS-Ronaldo Silva 1 - bm 5

353     2025-04-05      TEG Live Europe

354     2025-04-05      TrustGodbro Clothing

355     2025-04-05      Kitbag

356     2025-04-05      Partisan Records

357     2025-04-05      moveconcertsarg

358     2025-04-05      PacSun

359     2025-04-05      BHLDN Weddings

360     2025-04-05      Brand Polling
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 14 of 365




#       Date            Entity Name
361     2025-04-05      iRESTORE Hair Growth System

362     2025-04-05      Jack Archer

363     2025-04-05      Shelf Inc.

364     2025-04-05      NovartisOne²

365     2025-04-05      Allergan Aesthetics

366     2025-04-05      onX Hunt

367     2025-04-05      Kardiel

368     2025-04-05      eFavormart

369     2025-04-05      WE ARE TALA

370     2025-04-05      Wavemaker Canada

371     2025-04-05      L'Oréal Uruguay

372     2025-04-05      Carmichael Lynch

373     2025-04-05      The Church of Jesus Christ of Latter-day Saints

374     2025-04-05      Magnum Photos

375     2025-04-05      Tatti Lashes

376     2025-04-05      Fashion Nova

377     2025-04-05      Captiv8

378     2025-04-05      Peloton

379     2025-04-05      Bonnie

380     2025-04-05      Kurt Geiger

381     2025-04-05      Universal Music Recordings

382     2025-04-05      Simon & Schuster

383     2025-04-05      Away That Day

384     2025-04-05      Masters of Balayage

385     2025-04-05      Melkweg Amsterdam

386     2025-04-05      Warner Music Ireland

387     2025-04-05      Fabric Technologies

388     2025-04-05      AptDeco

389     2025-04-05      Tres Colori Jewelry

390     2025-04-05      Good Social Company
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 15 of 365




#       Date            Entity Name
391     2025-04-05      Givebutter

392     2025-04-05      Best Buy, Starcom USA

393     2025-04-05      Omnilife

394     2025-04-05      Audacy Social Conquest

395     2025-04-05      Infusion Marketing Group

396     2025-04-05      Puzzmo

397     2025-04-05      CONVERSE

398     2025-04-05      Soundwave Consulting

399     2025-04-05      Kavala Collective

400     2025-04-05      Cleveland Clinic

401     2025-04-05      Goodway Tier 3 Digital

402     2025-04-05      Starcom UK PUIG

403     2025-04-05      Socialyte

404     2025-04-05      Flag & Anthem

405     2025-04-05      Funny or Not

406     2025-04-05      Seiza

407     2025-04-05      LADbible

408     2025-04-05      NHL

409     2025-04-05      Ketone-IQ

410     2025-04-05      JJXX

411     2025-04-05      Canvas Worldwide

412     2025-04-05      Anti Agency Group

413     2025-04-05      Fun.com

414     2025-04-05      OnlyFans

415     2025-04-05      AuDigent

416     2025-04-05      Neko Test Page

417     2025-04-05      Sony Music Poland

418     2025-04-05      Decca Records

419     2025-04-05      DefJam

420     2025-04-05      Pura Vida
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 16 of 365




#       Date            Entity Name
421     2025-04-05      JBL

422     2025-04-05      Chime

423     2025-04-05      Frontier Touring

424     2025-04-05      Lands' End

425     2025-04-05      Bruckner Yaar Levi

426     2025-04-05      Sanity Skin

427     2025-04-05      Hairfinity

428     2025-04-05      Dimensions Fragrance

429     2025-04-05      Panasonic Personal Care USA

430     2025-04-05      Live Nation Polska

431     2025-04-05      Facebook Analytics

432     2025-04-05      Gordon McKernan Injury Attorneys

433     2025-04-05      Tanrevel

434     2025-04-05      Doublesoul

435     2025-04-05      Gupta Media Holdings, LLC

436     2025-04-05      Petit Moments

437     2025-04-05      Front Gate Tickets

438     2025-04-05      Universal Music South Africa

439     2025-04-05      TRUFFLE

440     2025-04-05      Typology

441     2025-04-05      Warner Music Denmark

442     2025-04-05      OLLY

443     2025-04-05      Captain

444     2025-04-05      MAAPS / Overman Enterprises

445     2025-04-05      TIBBS & BONES

446     2025-04-05      Shaq’s Fun House

447     2025-04-05      Test page

448     2025-04-05      Pepsi

449     2025-04-05      OMD USA

450     2025-04-05      TopTier Trader
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 17 of 365




#       Date            Entity Name
451     2025-04-05      Social

452     2025-04-05      INH Hair

453     2025-04-05      Monqui Presents

454     2025-04-05      Guardian Childcare & Education

455     2025-04-05      Molson Coors

456     2025-04-05      Mindshare Sverige

457     2025-04-05      Evolve Media

458     2025-04-05      SOSHE Beauty

459     2025-04-05      GQ Italia

460     2025-04-05      FRAME

461     2025-04-05      Twillory

462     2025-04-05      STAAR Global

463     2025-04-05      Sony Music Austria

464     2025-04-05      Summersalt

465     2025-04-05      Shambala

466     2025-04-05      Zenith Slovakia

467     2025-04-05      Immerse Agency, LLC

468     2025-04-05      Milk Makeup - 6S

469     2025-04-05      Avon

470     2025-04-05      Affinity Answers

471     2025-04-05      Lumen Technologies

472     2025-04-05      Morgan Fidelity Associates, Inc.

473     2025-04-05      The Glover Park Group

474     2025-04-05      Car Price Secrets

475     2025-04-05      Oregon Ice Cream

476     2025-04-05      Swanson Russell

477     2025-04-05      NOTO Philadelphia

478     2025-04-05      Avant Gardner

479     2025-04-05      Lounge Underwear

480     2025-04-05      Initiative Wellness
    Case 2:25-cv-00197-JCZ-DPC     Document 144-2              Filed 04/12/25   Page 18 of 365




#       Date            Entity Name
481     2025-04-05      FIGS

482     2025-04-05      Fulton & Roark

483     2025-04-05      CSB

484     2025-04-05      ondonewyork

485     2025-04-05      Calvin Klein GCC

486     2025-04-05      MCoBeauty US

487     2025-04-05      Found

488     2025-04-05      Zimmerman Advertising

489     2025-04-05      Warner Music Australia

490     2025-04-05      Snapchat for Business

491     2025-04-05      Love Wellness

492     2025-04-05      Primark

493     2025-04-05      Gadget Entertainment

494     2025-04-05      Nexters

495     2025-04-05      Arising Empire

496     2025-04-05      First Interstate Center for the Arts

497     2025-04-05      Athleta

498     2025-04-05      ESPN

499     2025-04-05      Bonefish Grill

500     2025-04-05      ClearOne Advantage, LLC

501     2025-04-05      Big Think Agency

502     2025-04-05      MDX_3

503     2025-04-05      Harvest Hill Beverage Company

504     2025-04-05      Selfie Leslie

505     2025-04-05      Functional Care

506     2025-04-05      EVERSANA INTOUCH

507     2025-04-05      Intuit TurboTax

508     2025-04-05      AbelsonTaylor Group

509     2025-04-05      FleishmanHillard

510     2025-04-05      Pourri
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 19 of 365




#       Date            Entity Name
511     2025-04-05      HBO Max

512     2025-04-05      NOTO Houston

513     2025-04-05      The Influence Agency

514     2025-04-05      House Shops Ads

515     2025-04-05      Wavemaker-NZ Loreal

516     2025-04-05      Universal Music Colombia

517     2025-04-05      OmnicomMediaGroup Nederland

518     2025-04-05      Alter Art

519     2025-04-05      Finish Line

520     2025-04-05      VaynerMedia APAC

521     2025-04-05      Tropical Bros

522     2025-04-05      TORY BURCH

523     2025-04-05      swayhairextensions

524     2025-04-05      ZenithOptimedia Thailand

525     2025-04-05      Live Tour Promotions

526     2025-04-05      Opus Live

527     2025-04-05      Spark Foundry Canada

528     2025-04-05      PHD colombia S.A.S

529     2025-04-05      MyMuse

530     2025-04-05      CNN Digital - Audience Dev

531     2025-04-05      Manebí

532     2025-04-05      Listerine

533     2025-04-05      BeatStars Inc.

534     2025-04-05      The Jet-Ski Doctor

535     2025-04-05      Genentech

536     2025-04-05      Trials World

537     2025-04-05      Quakmedia - Agencia de Marketing Digital

538     2025-04-05      Angela ■

539     2025-04-05      Elicit Music

540     2025-04-05      Universal Music Norge
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 20 of 365




#       Date            Entity Name
541     2025-04-05      Data Axle USA

542     2025-04-05      BluFish

543     2025-04-05      Madison Square Garden

544     2025-04-05      Horizon Horseback

545     2025-04-05      fuckinggoodmovies ®

546     2025-04-05      Estee Lauder México

547     2025-04-05      Emporium Presents

548     2025-04-05      Big Slap

549     2025-04-05      Empower

550     2025-04-05      The Goat Agency

551     2025-04-05      Fingerpaint

552     2025-04-05      Moroch

553     2025-04-05      SBX Proxy

554     2025-04-05      Bumble

555     2025-04-05      GALE Media

556     2025-04-05      Facebook Insertion Orders

557     2025-04-05      Frank And Oak

558     2025-04-05      Open Influence

559     2025-04-05      SkinnyDipped

560     2025-04-05      NA-KD.com

561     2025-04-05      Alya Skin Australia

562     2025-04-05      Allied Global Marketing

563     2025-04-05      2K

564     2025-04-05      Poppi

565     2025-04-05      Enso Rings

566     2025-04-05      Postmates

567     2025-04-05      Health Union LLC

568     2025-04-05      Adwerx

569     2025-04-05      United Influencers

570     2025-04-05      CountryWired INC.
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 21 of 365




#       Date            Entity Name
571     2025-04-05      Universal Music Spain

572     2025-04-05      ADARA

573     2025-04-05      Voiply

574     2025-04-05      iHeartDogs

575     2025-04-05      The Detox Dudes

576     2025-04-05      Campbell Ewald

577     2025-04-05      Valley Vet Supply

578     2025-04-05      Possible

579     2025-04-05      Q Link Wireless

580     2025-04-05      Illinois Lottery

581     2025-04-05      Hyperglow

582     2025-04-05      WideFoc.us

583     2025-04-05      Coffee Dose

584     2025-04-05      P&G Social Global

585     2025-04-05      Brunner

586     2025-04-05      Moon Active

587     2025-04-05      CubeSmart Self Storage

588     2025-04-05      Tell Your People

589     2025-04-05      Socialyse Adm FR

590     2025-04-05      Sparkart Group, Inc.

591     2025-04-05      Trafalgar Releasing

592     2025-04-05      Helix Sleep

593     2025-04-05      Sakara Life

594     2025-04-05      ACTwireless

595     2025-04-05      Wantable

596     2025-04-05      Neural Leap Ventures

597     2025-04-05      Katherine Kwok FB Biz

598     2025-04-05      The Gatorade Company

599     2025-04-05      Breathe For Change

600     2025-04-05      Heartbeat
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 22 of 365




#       Date            Entity Name
601     2025-04-05      M+R

602     2025-04-05      Quantum Physics

603     2025-04-05      Feld Entertainment, Inc.

604     2025-04-05      Giant Partners

605     2025-04-05      ZipRecruiter

606     2025-04-05      KeepGoing First Aid

607     2025-04-05      Isha Foundation

608     2025-04-05      Snow Days

609     2025-04-05      The Strategy Group Company

610     2025-04-05      Slynd® (drospirenone)

611     2025-04-05      Brooks Running

612     2025-04-05      GOP

613     2025-04-05      Papa Johns Pizza

614     2025-04-05      Learning A-Z

615     2025-04-05      adidas

616     2025-04-05      Pltnum

617     2025-04-05      GEICO

618     2025-04-05      Sam's Club

619     2025-04-05      Kikoff

620     2025-04-05      NIV Bible

621     2025-04-05      CurlMix

622     2025-04-05      Mars United Commerce

623     2025-04-05      Edelman West

624     2025-04-05      Crunchyroll

625     2025-04-05      Aisle 518 Strategies, LLC

626     2025-04-05      The Relationship School

627     2025-04-05      Exchange LA

628     2025-04-05      Solka

629     2025-04-05      Nickel and Suede

630     2025-04-05      Croud Ads
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 23 of 365




#       Date            Entity Name
631     2025-04-05      Leonard Brands

632     2025-04-05      Alex Azra

633     2025-04-05      Media Plus+

634     2025-04-05      Nordstrom

635     2025-04-05      Boarderie

636     2025-04-05      Latched Mama

637     2025-04-05      Rakuten

638     2025-04-05      MEC - Los Angeles

639     2025-04-05      M1 m■u 1, N1 17/8 - P

640     2025-04-05      Rogue Fitness

641     2025-04-05      The Vintage Pearl

642     2025-04-05      Rescue: The Behavior Change Agency

643     2025-04-05      Hopscotch Music Festival

644     2025-04-05      Sage Dental

645     2025-04-05      Jordan Peterson

646     2025-04-05      Fiverr

647     2025-04-05      Lionsgate

648     2025-04-05      Wegmans

649     2025-04-05      Facebook

650     2025-04-05      Wish

651     2025-04-05      UM Australia

652     2025-04-05      OfferUp

653     2025-04-05      1-800 Contacts

654     2025-04-05      Siren Group

655     2025-04-05      Ads Preview Workaround

656     2025-04-05      JCPenney

657     2025-04-05      HRD Games, LLC

658     2025-04-05      CVS Pharmacy

659     2025-04-05      Torrid

660     2025-04-05      Avoq
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2          Filed 04/12/25       Page 24 of 365




#       Date            Entity Name
661     2025-04-05      BM 07

662     2025-04-05      BobbyParrish

663     2025-04-05      Burson Global

664     2025-04-05      Direct Auto Insurance

665     2025-04-05      WebMD

666     2025-04-05      Rational 360

667     2025-04-05      Bobo's Oat Bars

668     2025-04-05      Simplyk Bénévolat

669     2025-04-05      Bonneville International

670     2025-04-05      JibJab Catapult

671     2025-04-05      Verified

672     2025-04-05      Edelman DC

673     2025-04-05      CoxNext

674     2025-04-05      TruDiagnostic

675     2025-04-05      AU 77

676     2025-04-05      Freya - Test Account

677     2025-04-05      Sara's Business

678     2025-04-05      Elevation, Ltd.

679     2025-04-05      neuapp

680     2025-04-05      ■■■■■■■■■■■■■■

681     2025-04-05      Capacity Interactive - Digital Marketing Consulting for the Arts

682     2025-04-05      Starcom Denmark

683     2025-04-05      Sif Jakobs Jewellery

684     2025-04-05      fource.cz

685     2025-04-05      Reprise Chile

686     2025-04-05      North Coast Music Festival

687     2025-04-05      AEG Presents UK

688     2025-04-05      Greenhouse Talent NL

689     2025-04-05      Meta for Business

690     2025-04-05      Elementary Innovation Pte. Ltd.
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 25 of 365




#       Date            Entity Name
691     2025-04-05      Global Health on Facebook

692     2025-04-05      the7stars

693     2025-04-05      Interscope Records

694     2025-04-05      L'Oréal Professionnel

695     2025-04-05      H&M - Paid Social

696     2025-04-05      Pit Viper

697     2025-04-05      Concord

698     2025-04-05      Adult Swim

699     2025-04-05      Heather McMahan

700     2025-04-05      Universal Music Latino

701     2025-04-05      Sold Out Advertising

702     2025-04-05      Delivery Hero

703     2025-04-05      Republic Records

704     2025-04-05      Smarty Social Media

705     2025-04-05      Boston Comedy Festival

706     2025-04-05      Betfair Interactive US LLC

707     2025-04-05      Merkle Incorporated

708     2025-04-05      Reprise ES

709     2025-04-05      David Stuebe's Business

710     2025-04-05      TargetSmart

711     2025-04-05      MetLife

712     2025-04-05      Klick - Epic

713     2025-04-05      Monarch

714     2025-04-05      Wiland Data Tactics

715     2025-04-05      FB Only SMB Channel Test Page

716     2025-04-05      Neustar FB Syndication

717     2025-04-05      Havas Media Group USA LLC

718     2025-04-05      Dentsu Digital Italy

719     2025-04-05      Universal Music France

720     2025-04-05      Guinness
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 26 of 365




#       Date            Entity Name
721     2025-04-05      Dr. Squatch

722     2025-04-05      Big Concerts

723     2025-04-05      eBay

724     2025-04-05      THIRD EAR

725     2025-04-05      Scooter's Coffee

726     2025-04-05      Live Nation Concerts

727     2025-04-05      Cozy Earth

728     2025-04-05      Live Nation France

729     2025-04-05      Universal Music Danmark

730     2025-04-05      Kay Jewelers

731     2025-04-05      Gina Tricot

732     2025-04-05      GETmusic

733     2025-04-05      MC UK - GBP

734     2025-04-05      Live Nation Canada

735     2025-04-05      Funded Commerce Ads

736     2025-04-05      Indipendente Concerti

737     2025-04-05      Netflix

738     2025-04-05      Andi Bagus

739     2025-04-05      The Bellwether

740     2025-04-05      Orion Publishing Group

741     2025-04-05      Corida

742     2025-04-05      Launchpad Ignite

743     2025-04-05      Rosental Organics

744     2025-04-05      Apple Services

745     2025-04-05      Entertainment on Facebook

746     2025-04-05      GroupM

747     2025-04-05      AEG Presents France

748     2025-04-05      Harper's Bazaar

749     2025-04-05      Edikted

750     2025-04-05      Sure Sure
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 27 of 365




#       Date            Entity Name
751     2025-04-05      ■■■■■■■■■■■■■

752     2025-04-05      GroupM Danmark

753     2025-04-05      Aleph El Salvador

754     2025-04-05      La Roche-Posay

755     2025-04-05      Infectious Music

756     2025-04-05      L'Oréal Suisse

757     2025-04-05      Cortica

758     2025-04-05      Uber

759     2025-04-05      DSplus

760     2025-04-05      Lerma Agency

761     2025-04-05      BET

762     2025-04-05      MEC Italia

763     2025-04-05      Red Digital

764     2025-04-05      Calvin Klein

765     2025-04-05      Thirdwave

766     2025-04-05      Entravision Latam - Puerto Rico

767     2025-04-05      Revive

768     2025-04-05      CAVA

769     2025-04-05      Gymexo

770     2025-04-05      Factoría Publica

771     2025-04-05      Pandora

772     2025-04-05      WS NA

773     2025-04-05      Bread Beauty Supply

774     2025-04-05      Boston Scientific

775     2025-04-05      No_Comment

776     2025-04-05      BJ's Wholesale Club

777     2025-04-05      Intuit QuickBooks

778     2025-04-05      Blue State

779     2025-04-05      Healthfirst

780     2025-04-05      American Eagle
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 28 of 365




#       Date            Entity Name
781     2025-04-05      Omnicom Resolution

782     2025-04-05      Ad Insights

783     2025-04-05      Vizeum - US

784     2025-04-05      HCN

785     2025-04-05      Eulerity

786     2025-04-05      Aero Opco LLC

787     2025-04-05      Performance Marketing - USD - Spotify AB

788     2025-04-05      iProspect Detroit

789     2025-04-05      Bombora

790     2025-04-05      Digital Tading Desk

791     2025-04-05      Function of Beauty

792     2025-04-05      Dansko, LLC

793     2025-04-05      Huntington National Bank

794     2025-04-05      Operam Inc

795     2025-04-05      Jackson Hewitt

796     2025-04-05      Savannah Bee Company

797     2025-04-05      Macy's

798     2025-04-05      Mindshare USA

799     2025-04-05      My View From Beer

800     2025-04-05      Kinesso Poland

801     2025-04-05      Sony Electronics

802     2025-04-05      DISH

803     2025-04-05      Ross University School of Veterinary Medicine

804     2025-04-05      Novartis Clinical Trials

805     2025-04-05      Humane World for Animals

806     2025-04-05      SharkNinja

807     2025-04-05      Sling TV

808     2025-04-05      Sentara Health

809     2025-04-05      Cash App

810     2025-04-05      Smile Direct Club
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 29 of 365




#       Date            Entity Name
811     2025-04-05      Search Influence

812     2025-04-05      Lashify

813     2025-04-05      Etsy

814     2025-04-05      Discover

815     2025-04-05      Hilton Newsroom

816     2025-04-05      PHD France

817     2025-04-05      Reprise Media ZA

818     2025-04-05      Verizon

819     2025-04-05      Keurig

820     2025-04-05      Ulta Beauty

821     2025-04-05      Team One USA

822     2025-04-05      Aegis Media Innov8

823     2025-04-05      WhatsApp

824     2025-04-05      FanDuel

825     2025-04-05      ROR Partners

826     2025-04-05      Swimply

827     2025-04-05      AirSculpt

828     2025-04-05      Foursquare City Guide

829     2025-04-05      Univision

830     2025-04-05      St. Jude Children's Research Hospital

831     2025-04-05      Ayla & Co

832     2025-04-05      Barstool Sports

833     2025-04-05      Solved

834     2025-04-05      ZitSticka

835     2025-04-05      Max Connect Digital

836     2025-04-05      Công Ty ■ng Hoàng Phúc

837     2025-04-05      Lifeway

838     2025-04-05      DEPT UK

839     2025-04-05      Regions Bank

840     2025-04-05      Fanatics
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 30 of 365




#       Date            Entity Name
841     2025-04-05      Foot Locker

842     2025-04-05      Pet Airways

843     2025-04-05      Albertsons

844     2025-04-05      Aerial Video A to Z

845     2025-04-05      Ethos Life

846     2025-04-05      HealixGlobal

847     2025-04-05      United Gold Group

848     2025-04-05      Universal Studios Hollywood

849     2025-04-05      SONYA DAKAR

850     2025-04-05      Experian Marketing Services - Audiences

851     2025-04-05      Kore Nutrition

852     2025-04-05      Bell Media

853     2025-04-05      We Are Saatchi

854     2025-04-05      Billings Gazette

855     2025-04-05      Convergence Media

856     2025-04-05      Swanson Health

857     2025-04-05      w/Tributary

858     2025-04-05      Lowe's Home Improvement

859     2025-04-05      Ford Motor Company

860     2025-04-05      Call of Duty

861     2025-04-05      The Lyrical Lemonade Summer Smash Festival

862     2025-04-05      Butler/Till

863     2025-04-05      Rent. Solutions

864     2025-04-05      Colleen Mauer Designs

865     2025-04-05      Spring Creek Group

866     2025-04-05      EMEA

867     2025-04-05      Marketing

868     2025-04-05      Clarins

869     2025-04-05      Eggland's Best Eggs

870     2025-04-05      Grant Cardone
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 31 of 365




#       Date            Entity Name
871     2025-04-05      Walmart.com

872     2025-04-05      Allstate

873     2025-04-05      lensun solar energy

874     2025-04-05      SmartHeart

875     2025-04-05      DoorDash

876     2025-04-05      Marc Jacobs

877     2025-04-05      Sony Rewards

878     2025-04-05      Cronin

879     2025-04-05      Bang Productions Television

880     2025-04-05      Synchrony

881     2025-04-05      FB Growth Marketing

882     2025-04-05      truth

883     2025-04-05      UM Detroit

884     2025-04-05      Cleo

885     2025-04-05      Purple Media

886     2025-04-05      KURU Footwear

887     2025-04-05      Unicorn Innovations

888     2025-04-05      Instagram Ad Ops

889     2025-04-05      VaynerMedia

890     2025-04-05      Bolster

891     2025-04-05      Audience Town

892     2025-04-05      Handle the Heat

893     2025-04-05      The Citizenry

894     2025-04-05      Conill Advertising

895     2025-04-05      FanDuel Racing

896     2025-04-05      Nielsen Marketing Cloud

897     2025-04-05      Data unavailable

898     2025-04-05      X-VIN

899     2025-04-05      Satullo

900     2025-04-05      L'ange
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 32 of 365




#       Date            Entity Name
901     2025-04-05      Gupta Media

902     2025-04-05      LiveRamp

903     2025-04-05      Affordable Dentures & Implants

904     2025-04-05      Acxiom

905     2025-04-05      Brand survey

906     2025-04-05      Adobe

907     2025-04-05      Test Page

908     2025-04-05      Michael Kors

909     2025-04-05      Drive with Lyft

910     2025-04-05      Zenith USA

911     2025-04-05      Epsilon Audience Data Provider

912     2025-04-05      Another Planet Entertainment

913     2025-04-05      The New York Times

914     2025-04-05      Rezonate Media

915     2025-04-05      Good Apple

916     2025-04-05      Spark Foundry

917     2025-04-05      Inspire Brands

918     2025-04-05      Dollar General

919     2025-04-05      Outback Presents

920     2025-04-05      Wiland Audiences

921     2025-04-05      Resolution Media

922     2025-04-05      Amobee DMP

923     2025-04-05      TDC Audiences

924     2025-04-05      J3

925     2025-04-05      MissionWired

926     2025-04-05      Kroger

927     2025-04-05      Huggies

928     2025-04-05      Predictive Media Analytics, LLC

929     2025-04-05      Drive Toyota

930     2025-04-05      Mazda USA
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 33 of 365




#       Date            Entity Name
931     2025-04-05      Hearts & Science

932     2025-04-05      MODCo T2

933     2025-04-05      Oracle Data Cloud CA

934     2025-04-05      DraftKings

935     2025-04-05      CMI Media Group and Compas

936     2025-04-05      HQ CDM

937     2025-04-05      Blue Shield of California

938     2025-04-05      Wonderfront Festival

939     2025-04-05      Labelium Australia and New Zealand

940     2025-04-05      White Claw

941     2025-04-05      P&G Professional España

942     2025-04-05      Universal Music Romania

943     2025-04-05      Makeup.com by L'Oreal

944     2025-04-05      Amplify.ai

945     2025-04-05      Influential

946     2025-04-05      Dentsu X UK

947     2025-04-05      Capitol Music Group

948     2025-04-05      Free People

949     2025-04-05      Church of the King

950     2025-04-05      Aleph Guatemala

951     2025-04-05      Meta

952     2025-04-05      Yallie K Enterprises LLC

953     2025-04-05      Zenith France

954     2025-04-05      Match

955     2025-04-05      Sweed

956     2025-04-05      First Avenue & 7th St Entry

957     2025-04-05      Essence

958     2025-04-05      Test

959     2025-04-05      TransUnion Digital

960     2025-04-05      Socialistics
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 34 of 365




#       Date            Entity Name
961     2025-04-05      SoFi

962     2025-04-05      Real Chemistry

963     2025-04-05      WMX

964     2025-04-05      Walt Disney World

965     2025-04-05      bubly

966     2025-04-05      Merkle Data Partner

967     2025-04-05      Ideal Coverings

968     2025-04-05      Progressive

969     2025-04-05      Destroy All Lines

970     2025-04-05      Fingerhut

971     2025-04-05      Marathon Strategies

972     2025-04-05      Zillow

973     2025-04-05      Sundays

974     2025-04-05      CLOUT Festival

975     2025-04-05      BIG IDEA GROUP

976     2025-04-05      Ranker 2

977     2025-04-05      Hoffman York

978     2025-04-05      Target

979     2025-04-05      wavo.me

980     2025-04-05      JOANN Fabric and Craft Stores

981     2025-04-05      Unit 3C

982     2025-04-05      Decoded Advertising

983     2025-04-05      DSW Designer Shoe Warehouse

984     2025-04-05      Kohl's

985     2025-04-05      Mayo Clinic

986     2025-04-05      JM14

987     2025-04-05      UM APAC

988     2025-04-05      AdParlor

989     2025-04-05      Dr Pepper Snapple Group

990     2025-04-05      HMI Social
    Case 2:25-cv-00197-JCZ-DPC     Document 144-2          Filed 04/12/25   Page 35 of 365




#       Date            Entity Name
991     2025-04-05      Deep Root Analytics

992     2025-04-05      Microsoft Customer Insights Center

993     2025-04-05      Wayfair

994     2025-04-05      Solaura

995     2025-04-05      Gap Inc

996     2025-04-05      Comedy Central

997     2025-04-05      We Play

998     2025-04-05      Cracker Barrel Old Country Store

999     2025-04-05      Eyeota

1000    2025-04-05      Katalyst Advantage

1001    2025-04-05      Xfinity

1002    2025-04-05      L'Oréal Group

1003    2025-04-05      T-Mobile

1004    2025-04-05      Shopify

1005    2025-04-05      Wiland Data Targeting

1006    2025-04-05      DDC Testing

1007    2025-04-05      Lithia Motors

1008    2025-04-05      Veltrac Music

1009    2025-04-05      Reality Labs

1010    2025-04-05      StackSocial

1011    2025-04-05      L'Oréal Paris

1012    2025-04-05      IProspect NY

1013    2025-04-05      Park Advertising

1014    2025-04-05      Matterkind US

1015    2025-04-05      WMcCann RJ

1016    2025-04-05      Grand Central Publishing

1017    2025-04-05      BrandMuscle - etatslla

1018    2025-04-05      Fandango at Home

1019    2025-04-05      Datonics

1020    2025-04-05      GCommerce
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 36 of 365




#       Date            Entity Name
1021    2025-04-05      MEC Australia

1022    2025-04-05      PetSmart

1023    2025-04-05      Cooking Vinyl

1024    2025-04-05      F1 + F3 len moi

1025    2025-04-05      True Anthem

1026    2025-04-05      Home Chef

1027    2025-04-05      We are mitú

1028    2025-04-05      Born Again Concerts

1029    2025-04-05      af_drinks

1030    2025-04-05      The QYOU

1031    2025-04-05      UM MENA

1032    2025-04-05      Joom

1033    2025-04-05      MiQ US

1034    2025-04-05      UM NY

1035    2025-04-05      Dil Mil

1036    2025-04-05      FabFitFun

1037    2025-04-05      Spotify LATAM BM

1038    2025-04-05      MethodGroupe

1039    2025-04-05      Second test personal user page

1040    2025-04-05      Kash Kick 2

1041    2025-04-05      Sojern

1042    2025-04-05      WPS Health Insurance - Health Plan

1043    2025-04-05      Interactive Avenues

1044    2025-04-05      Grubhub

1045    2025-04-05      Choices by Revlon

1046    2025-04-05      Skingasm

1047    2025-04-05      EarnIn

1048    2025-04-05      Eva Rankin■

1049    2025-04-05      Dow

1050    2025-04-05      Vivara
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 37 of 365




#       Date            Entity Name
1051    2025-04-05      Greens Club

1052    2025-04-05      Summerfest

1053    2025-04-05      Bespoke Post

1054    2025-04-05      Bishop Robert Barron

1055    2025-04-05      Blue 449

1056    2025-04-05      Magnolias

1057    2025-04-05      JCK Enterprises, LLC

1058    2025-04-05      Current

1059    2025-04-05      Change Research

1060    2025-04-05      Mazda CX5 22

1061    2025-04-05      Invest529

1062    2025-04-05      Matthew 6:26 LLC

1063    2025-04-05      KBMG Data Services Development

1064    2025-04-05      Happy Family Organics

1065    2025-04-05      The Foxy Hipster

1066    2025-04-05      ViiV Healthcare

1067    2025-04-05      Integral Strength

1068    2025-04-05      Vunzige Deuntjes

1069    2025-04-05      ThinkSwell

1070    2025-04-05      Eko Health

1071    2025-04-05      Sleepgram

1072    2025-04-05      DIFF

1073    2025-04-05      Universal Music Ireland

1074    2025-04-05      Universal Music Switzerland

1075    2025-04-05      Forward Media Italy

1076    2025-04-05      Zondervan Books

1077    2025-04-05      JustFab

1078    2025-04-05      Filtr

1079    2025-04-05      Kiehl's

1080    2025-04-05      Relatable
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 38 of 365




#       Date            Entity Name
1081    2025-04-05      Vogue France

1082    2025-04-05      Mastercard

1083    2025-04-05      Water Street Music Hall

1084    2025-04-05      Universal Music Group: Global Digital Marketing

1085    2025-04-05      Media Six

1086    2025-04-05      Backstreetmerch.com

1087    2025-04-05      AEG Presents

1088    2025-04-05      Motorola

1089    2025-04-05      Morris Bart, LLC

1090    2025-04-05      Performics Belgium

1091    2025-04-05      Black Promoters Collective

1092    2025-04-05      i.am.gia

1093    2025-04-05      HMS Global - GBP

1094    2025-04-05      Performics Test Page

1095    2025-04-05      Lauren Daigle

1096    2025-04-05      UMe Music Team

1097    2025-04-05      Beth Stelling

1098    2025-04-05      Martell

1099    2025-04-05      Greenhouse Talent

1100    2025-04-05      GMI Maxus IDR WPP

1101    2025-04-05      Trans-System, Inc.

1102    2025-04-05      Jockey

1103    2025-04-05      Horizn Studios

1104    2025-04-05      Brilliance.com

1105    2025-04-05      Rothy's

1106    2025-04-05      Wavemaker Hong Kong

1107    2025-04-05      T4 Social Media LLC

1108    2025-04-05      Universal Music Sweden

1109    2025-04-05      Instacart

1110    2025-04-05      BuzzFeed Branded Distribution
    Case 2:25-cv-00197-JCZ-DPC     Document 144-2   Filed 04/12/25   Page 39 of 365




#       Date            Entity Name
1111    2025-04-05      Harbor Freight

1112    2025-04-05      T4F

1113    2025-04-05      IZEA Worldwide, Inc.

1114    2025-04-05      Warner Music Austria

1115    2025-04-05      FamilySearch

1116    2025-04-05      1000heads - US Office

1117    2025-04-05      eHealth

1118    2025-04-05      Havas Media

1119    2025-04-05      Rémy Martin

1120    2025-04-05      Disney

1121    2025-04-05      Give Back Beauty

1122    2025-04-05      Mushroom

1123    2025-04-05      Warner Music Canada

1124    2025-04-05      Live Nation Denmark

1125    2025-04-05      nuuly

1126    2025-04-05      Goldenvoice

1127    2025-04-05      NICKS

1128    2025-04-05      Garnier Colombia

1129    2025-04-05      Called

1130    2025-04-05      Tincre

1131    2025-04-05      Louis Vuitton

1132    2025-04-05      Wavemaker Malaysia

1133    2025-04-05      Zenith Chile

1134    2025-04-05      Alfred A. Knopf

1135    2025-04-05      Rgmntco

1136    2025-04-05      Bfx

1137    2025-04-05      ThredUp

1138    2025-04-05      Grwn

1139    2025-04-05      Hint

1140    2025-04-05      ZenithMedia Germany
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2          Filed 04/12/25   Page 40 of 365




#       Date            Entity Name
1141    2025-04-05      Rareform

1142    2025-04-05      Bonus Track

1143    2025-04-05      Universal Music Thailand

1144    2025-04-05      KraftMaid Cabinetry

1145    2025-04-05      Live Nation Alabama & Mississippi

1146    2025-04-05      Omnilux LED Light Therapy

1147    2025-04-05      Meetsocial HK Digital Marketing Co.■ltd-1

1148    2025-04-05      Cuffe & Taylor

1149    2025-04-05      Haworth Media

1150    2025-04-05      Ranker.com

1151    2025-04-05      OMD Panamá

1152    2025-04-05      Afro Nation

1153    2025-04-05      FLOAT FEST

1154    2025-04-05      Love Island 2019

1155    2025-04-05      Secret Sounds

1156    2025-04-05      Z2 Comics

1157    2025-04-05      LES VISIONNAIRES

1158    2025-04-05      Live Nation Norway

1159    2025-04-05      FreePrints App

1160    2025-04-05      BM5 chay sach 3

1161    2025-04-05      Pierce Media

1162    2025-04-05      American Sporstwear, S.A.

1163    2025-04-05      Geologie

1164    2025-04-05      MOJO

1165    2025-04-05      Warner Music Spain

1166    2025-04-05      Teste 1

1167    2025-04-05      Cover FX

1168    2025-04-05      Honcho.co

1169    2025-04-05      SupplyX

1170    2025-04-05      Keeps
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 41 of 365




#       Date            Entity Name
1171    2025-04-05      Insomniac Events

1172    2025-04-05      Smashbox Cosmetics

1173    2025-04-05      RainCloud Media

1174    2025-04-05      Express

1175    2025-04-05      Fanatics Live

1176    2025-04-05      Superfly

1177    2025-04-05      BOSS

1178    2025-04-05      Universal Music Deutschland

1179    2025-04-05      No Limit Entertainment

1180    2025-04-05      Brilliant Earth

1181    2025-04-05      APRILSKIN ■■■■■■

1182    2025-04-05      Troubadour Presents

1183    2025-04-05      Okori Kazakhstan

1184    2025-04-05      Sony Music Switzerland

1185    2025-04-05      therankedmusic

1186    2025-04-05      RTIC Outdoors

1187    2025-04-05      VET Tv- Veteran Television

1188    2025-04-05      SiriusXM

1189    2025-04-05      playforgain

1190    2025-04-05      FitnFemale

1191    2025-04-05      Gorgie

1192    2025-04-05      Bangerhead

1193    2025-04-05      Ghostwriter Consultancy & Events

1194    2025-04-05      Champs Sports

1195    2025-04-05      Disney Streaming

1196    2025-04-05      Danny Wimmer Presents

1197    2025-04-05      Grunt Style

1198    2025-04-05      Condé Nast

1199    2025-04-05      Dot Matters

1200    2025-04-05      Aza
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 42 of 365




#       Date            Entity Name
1201    2025-04-05      MetaVision Media

1202    2025-04-05      Dice Dreams

1203    2025-04-05      Dojo

1204    2025-04-05      Initiative

1205    2025-04-05      TIAA

1206    2025-04-05      SUGARED + BRONZED

1207    2025-04-05      Bob Hannon Consulting

1208    2025-04-05      Carat USA

1209    2025-04-05      MullenLowe U.S.

1210    2025-04-05      Resolution Agency

1211    2025-04-05      Emc_TCCC

1212    2025-04-05      umusic NZ

1213    2025-04-05      Entravision Latam - Honduras

1214    2025-04-05      PETERMAYER

1215    2025-04-05      Accelerated Intelligence Ltd

1216    2025-04-05      Frankies Bikinis

1217    2025-04-05      Tommy Hilfiger

1218    2025-04-05      MILLIONS

1219    2025-04-05      AEG Presents - Media

1220    2025-04-05      Assembly

1221    2025-04-05      Louis Vuitton Brazil

1222    2025-04-05      UMusic Australia

1223    2025-04-05      myQ

1224    2025-04-05      Vannen Watches

1225    2025-04-05      Wmg gps adx

1226    2025-04-05      Sev Laser Aesthetics

1227    2025-04-05      Grundéns

1228    2025-04-05      Happy Products

1229    2025-04-05      AutoCanada

1230    2025-04-05      Sony Music Entertainment
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 43 of 365




#       Date            Entity Name
1231    2025-04-05      UNDER THE INFLUENCE

1232    2025-04-05      Universal Music Legends

1233    2025-04-05      Relistor® (methylnaltrexone bromide)

1234    2025-04-05      Kawasaki USA

1235    2025-04-05      Happy Mammoth

1236    2025-04-05      GroupM Media India

1237    2025-04-05      Noisy Trumpet

1238    2025-04-05      Live Nation Australia

1239    2025-04-05      ASW Group

1240    2025-04-05      FB App

1241    2025-04-05      Live Nation Italia

1242    2025-04-05      Vodafone Group

1243    2025-04-05      Nestlé HK ■■■■

1244    2025-04-05      Alexis Ren

1245    2025-04-05      Warner Music Africa

1246    2025-04-05      VaynerMedia Canada

1247    2025-04-05      Glamnetic

1248    2025-04-05      Universal Music Polska

1249    2025-04-05      Collectiv Presents

1250    2025-04-05      Sony Music Germany

1251    2025-04-05      Fused - Universal Music

1252    2025-04-05      Cadence

1253    2025-04-05      Blavity

1254    2025-04-05      Topsify

1255    2025-04-05      Angus Media

1256    2025-04-05      Reward Agency - 08

1257    2025-04-05      Otsuka America Pharmaceutical, Inc.

1258    2025-04-05      Best Videos

1259    2025-04-05      Absolute Merch

1260    2025-04-05      The KISS Marketing Agency
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 44 of 365




#       Date            Entity Name
1261    2025-04-05      Dentsu Greece

1262    2025-04-05      Klick - Edge

1263    2025-04-05      Casely

1264    2025-04-05      PetSmart Charities

1265    2025-04-05      Progress Rum

1266    2025-04-05      Aleph - Panama

1267    2025-04-05      PushSpring

1268    2025-04-05      Rite Aid

1269    2025-04-05      Capital One

1270    2025-04-05      factory 54

1271    2025-04-05      Warner Music Norway

1272    2025-04-05      Hearst Television

1273    2025-04-05      Amazon.com

1274    2025-04-05      Live Bearded

1275    2025-04-05      360i

1276    2025-04-05      L'Oréal Chile

1277    2025-04-05      Carter's

1278    2025-04-05      Olipop

1279    2025-04-05      Maude

1280    2025-04-05      Art Label Studios 2024

1281    2025-04-05      Entravisión Panamá

1282    2025-04-05      Tempo OMD Social Adv

1283    2025-04-05      Herbivore Botanicals

1284    2025-04-05      Zenith - PGD

1285    2025-04-05      Universal Music Austria

1286    2025-04-05      Premiere Speakers Bureau

1287    2025-04-05      Live Nation UK

1288    2025-04-05      IPSY

1289    2025-04-05      Last Tour

1290    2025-04-05      Sony Music Colombia
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25     Page 45 of 365




#       Date            Entity Name
1291    2025-04-05      Warner Music Singapore

1292    2025-04-05      IProspect Fort Worth

1293    2025-04-05      Aleph - Dominican Republic

1294    2025-04-05      OMD Entertainment

1295    2025-04-05      Mainment GmbH

1296    2025-04-05      Sony Music Australia

1297    2025-04-05      Sony Music Brasil

1298    2025-04-05      iHeartCountry

1299    2025-04-05      COS

1300    2025-04-05      Hong Kong Zoom Interactive Network Marketing Technology Limited

1301    2025-04-05      Aleph - Costa Rica

1302    2025-04-05      Deezer

1303    2025-04-05      Maelys Cosmetics

1304    2025-04-05      Intermate Media GmbH

1305    2025-04-05      Lincoln Hall + Schubas

1306    2025-04-05      Jessica Goicoechea - Goi

1307    2025-04-05      MEC

1308    2025-04-05      Universal Music Malaysia

1309    2025-04-05      Magnolia Pictures

1310    2025-04-05      Ark Swimwear

1311    2025-04-05      Unilever Philippines

1312    2025-04-05      Grupo Axo

1313    2025-04-05      Sony Music Italy

1314    2025-04-05      Crowd Control Digital

1315    2025-04-05      Reprise Media México

1316    2025-04-05      Wizard Live

1317    2025-04-05      ■■■■■■■■■■■■■■■■■

1318    2025-04-05      Groot Hospitality

1319    2025-04-05      On

1320    2025-04-05      SKIMS
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 46 of 365




#       Date            Entity Name
1321    2025-04-05      PreciseTarget

1322    2025-04-05      Just Us Skin Care

1323    2025-04-05      wellrestedweeones

1324    2025-04-05      Starcom Sweden AB

1325    2025-04-05      Slime Obsidian

1326    2025-04-05      Zales

1327    2025-04-05      Pinterest Inc

1328    2025-04-05      Crossmedia

1329    2025-04-05      Seychelle Media

1330    2025-04-05      QVC

1331    2025-04-05      Swank A Posh

1332    2025-04-05      LM250 9

1333    2025-04-05      The Christian Broadcasting Network

1334    2025-04-05      Collections Etc

1335    2025-04-05      Eli Lilly and Company

1336    2025-04-05      PMG

1337    2025-04-05      Angler AI

1338    2025-04-05      Spark Foundry USA

1339    2025-04-05      Bravado

1340    2025-04-05      Sony Music UK

1341    2025-04-05      DeepSync Labs

1342    2025-04-05      471887696173235

1343    2025-04-05      I'd Rather Be With My Dog

1344    2025-04-05      MediaCom USA

1345    2025-04-05      CharityStars

1346    2025-04-05      Socialflow

1347    2025-04-05      Bornlogic

1348    2025-04-05      APM Monaco

1349    2025-04-05      Jill

1350    2025-04-05      Flutter Habit
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 47 of 365




#       Date            Entity Name
1351    2025-04-05      CSL

1352    2025-04-05      Simpli.fi

1353    2025-04-05      Phathom Pharmaceuticals

1354    2025-04-05      BSN

1355    2025-04-05      Linktree

1356    2025-04-05      Plein Air

1357    2025-04-05      BoostMobile - New/Post-Harmony

1358    2025-04-05      EA - Electronic Arts

1359    2025-04-05      Corro

1360    2025-04-05      Wix

1361    2025-04-04      umusic NZ

1362    2025-04-04      Sony Music Colombia

1363    2025-04-04      NeoPerformance

1364    2025-04-04      Destroy All Lines

1365    2025-04-04      Frank And Oak

1366    2025-04-04      Victoria Warehouse

1367    2025-04-04      Digitas North America

1368    2025-04-04      AutoCanada

1369    2025-04-04      Universal Music Malaysia

1370    2025-04-04      The Goat Agency

1371    2025-04-04      Hulu

1372    2025-04-04      The Bellwether

1373    2025-04-04      Wavemaker Hong Kong

1374    2025-04-04      ■■■■■■■■■■■■■■

1375    2025-04-04      Mattress Firm

1376    2025-04-04      Shelf Inc.

1377    2025-04-04      JG Summit

1378    2025-04-04      Global Health on Facebook

1379    2025-04-04      Angus Media

1380    2025-04-04      HUM Nutrition
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 48 of 365




#       Date            Entity Name
1381    2025-04-04      Live Nation Italia

1382    2025-04-04      Lincoln Hall + Schubas

1383    2025-04-04      Florida Credit Union

1384    2025-04-04      Cooking Vinyl

1385    2025-04-04      SocialAmp

1386    2025-04-04      NOTO Houston

1387    2025-04-04      703digital

1388    2025-04-04      ESPN

1389    2025-04-04      Edelman Digital NYC

1390    2025-04-04      L'atelier HK

1391    2025-04-04      OnlyFans

1392    2025-04-04      Grand Central Publishing

1393    2025-04-04      FLOAT FEST

1394    2025-04-04      Coca-Cola Philippines

1395    2025-04-04      Troubadour Presents

1396    2025-04-04      Snapchat for Business

1397    2025-04-04      Alo Moves

1398    2025-04-04      Danny Wimmer Presents

1399    2025-04-04      Give Back Beauty

1400    2025-04-04      Beth Stelling

1401    2025-04-04      Universal Music Romania

1402    2025-04-04      Starcom UK PUIG

1403    2025-04-04      Bumble

1404    2025-04-04      Move With Us

1405    2025-04-04      Selfie Leslie

1406    2025-04-04      L'Oréal Suisse

1407    2025-04-04      Big Concerts

1408    2025-04-04      Crowd Control Digital

1409    2025-04-04      L'Oréal Chile

1410    2025-04-04      LocaliQ
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 49 of 365




#       Date            Entity Name
1411    2025-04-04      Jessica Goicoechea - Goi

1412    2025-04-04      Sold Out Advertising

1413    2025-04-04      Centricity Music

1414    2025-04-04      Island Records

1415    2025-04-04      Omnilux LED Light Therapy

1416    2025-04-04      Omnilife

1417    2025-04-04      AEG Presents Asia

1418    2025-04-04      Wizard Live

1419    2025-04-04      Sony Music Germany

1420    2025-04-04      Evolve Media

1421    2025-04-04      NEUW Denim

1422    2025-04-04      Live Nation Belgium

1423    2025-04-04      Tempo OMD Social Adv

1424    2025-04-04      Front Gate Tickets

1425    2025-04-04      Hampton Creative

1426    2025-04-04      Bornlogic

1427    2025-04-04      Ranker.com

1428    2025-04-04      Gaston Luga

1429    2025-04-04      P&G Professional España

1430    2025-04-04      Monqui Presents

1431    2025-04-04      Sif Jakobs Jewellery

1432    2025-04-04      LES VISIONNAIRES

1433    2025-04-04      VarleyClothing

1434    2025-04-04      Honcho.co

1435    2025-04-04      fuckinggoodmovies ®

1436    2025-04-04      Aleph Guatemala

1437    2025-04-04      Skingasm

1438    2025-04-04      MOJO

1439    2025-04-04      Netflix

1440    2025-04-04      Fashion Nova
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 50 of 365




#       Date            Entity Name
1441    2025-04-04      Motion

1442    2025-04-04      Socialyse Adm FR

1443    2025-04-04      LSU AgCenter Botanic Gardens

1444    2025-04-04      Mediacom FR

1445    2025-04-04      factory 54

1446    2025-04-04      Test For Pixel

1447    2025-04-04      Sony Music Australia

1448    2025-04-04      Allied Global Marketing

1449    2025-04-04      Meetsocial HK Digital Marketing Co.■ltd-1

1450    2025-04-04      Alfred A. Knopf

1451    2025-04-04      UM NY

1452    2025-04-04      Fingerhut

1453    2025-04-04      Reprise Chile

1454    2025-04-04      Sev Laser Aesthetics

1455    2025-04-04      Called

1456    2025-04-04      Notion Live Events

1457    2025-04-04      Democrats

1458    2025-04-04      Hearst Television

1459    2025-04-04      Olipop

1460    2025-04-04      CSB

1461    2025-04-04      Best Videos

1462    2025-04-04      Dentsu Digital Italy

1463    2025-04-04      Enso Rings

1464    2025-04-04      Test Global

1465    2025-04-04      Dow

1466    2025-04-04      Tropical Bros

1467    2025-04-04      Mediaplus Hamburg GmbH & Co. KG

1468    2025-04-04      Tanrevel

1469    2025-04-04      JCG LLC

1470    2025-04-04      Juicy Couture
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 51 of 365




#       Date            Entity Name
1471    2025-04-04      ondonewyork

1472    2025-04-04      Live Tour Promotions

1473    2025-04-04      OmnicomMediaGroup Nederland

1474    2025-04-04      Dimensions Fragrance

1475    2025-04-04      COS

1476    2025-04-04      Rothy's

1477    2025-04-04      Sony Music Netherlands

1478    2025-04-04      Whalar

1479    2025-04-04      RCKT.

1480    2025-04-04      Yamaha Music USA

1481    2025-04-04      HEYDUDE

1482    2025-04-04      BetterHelp

1483    2025-04-04      Warner Music Spain

1484    2025-04-04      FM4 Indiekiste mit

1485    2025-04-04      Scooter's Coffee

1486    2025-04-04      Fanatics Live

1487    2025-04-04      BroBible

1488    2025-04-04      Angela ■

1489    2025-04-04      Intermate Media GmbH

1490    2025-04-04      MC2 LIVE

1491    2025-04-04      Cover FX

1492    2025-04-04      Test page

1493    2025-04-04      Dallas Cowboys

1494    2025-04-04      LADbible

1495    2025-04-04      Art Label Studios 2024

1496    2025-04-04      Chime

1497    2025-04-04      Gopuff

1498    2025-04-04      APM Monaco

1499    2025-04-04      Shinesty

1500    2025-04-04      Neko Test Page
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 52 of 365




#       Date            Entity Name
1501    2025-04-04      Papinelle Sleepwear

1502    2025-04-04      H&M

1503    2025-04-04      Warner Music Ireland

1504    2025-04-04      Live Nation Sweden

1505    2025-04-04      Zenith France

1506    2025-04-04      Love Island 2019

1507    2025-04-04      Opus Live

1508    2025-04-04      The Home Depot

1509    2025-04-04      Gorgie

1510    2025-04-04      Bangerhead

1511    2025-04-04      Proposal Prep by Best Kept

1512    2025-04-04      Universal Music Latino

1513    2025-04-04      Doublesoul

1514    2025-04-04      Compulse

1515    2025-04-04      Hunter Del Caribe

1516    2025-04-04      Merch Traffic

1517    2025-04-04      ■■■■■■■■■■_2

1518    2025-04-04      Gupta Media Holdings, LLC

1519    2025-04-04      Gisou

1520    2025-04-04      EMI Records

1521    2025-04-04      Tort Group

1522    2025-04-04      BlueChew

1523    2025-04-04      Frontier Touring

1524    2025-04-04      discovery+

1525    2025-04-04      Duluth Trading Company

1526    2025-04-04      JJXX

1527    2025-04-04      Ketone-IQ

1528    2025-04-04      Zondervan Books

1529    2025-04-04      EDGE Entertainment Digital

1530    2025-04-04      Scentiment
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2        Filed 04/12/25   Page 53 of 365




#       Date            Entity Name
1531    2025-04-04      MediaSales

1532    2025-04-04      Noisy Trumpet

1533    2025-04-04      Foam and Substance

1534    2025-04-04      Test

1535    2025-04-04      Avon

1536    2025-04-04      Live Nation Germany - Austria - Switzerland

1537    2025-04-04      Golin

1538    2025-04-04      TEG DAINTY

1539    2025-04-04      Gina Tricot

1540    2025-04-04      Simon & Schuster

1541    2025-04-04      The Rave / Eagles Club

1542    2025-04-04      Warner Music Australia

1543    2025-04-04      L'Oreal Ecommerce PRoject

1544    2025-04-04      Andi Bagus

1545    2025-04-04      4th Quarter Collective, LLC

1546    2025-04-04      Live Nation Alabama & Mississippi

1547    2025-04-04      Wavemaker Malaysia

1548    2025-04-04      Universal Music Spain

1549    2025-04-04      Flag & Anthem

1550    2025-04-04      Universal Music Canada

1551    2025-04-04      Scruff of the Neck

1552    2025-04-04      Geologie

1553    2025-04-04      Gadget Entertainment

1554    2025-04-04      Grupo Axo

1555    2025-04-04      MILLIONS

1556    2025-04-04      Collectiv Presents

1557    2025-04-04      ZenithOptimedia Thailand

1558    2025-04-04      L'atelier TW

1559    2025-04-04      APRILSKIN ■■■■■■

1560    2025-04-04      Simon Malls
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 54 of 365




#       Date            Entity Name
1561    2025-04-04      Wavemaker-NZ Loreal

1562    2025-04-04      The QYOU

1563    2025-04-04      Zenith Slovakia

1564    2025-04-04      NOTO Philadelphia

1565    2025-04-04      therankedmusic

1566    2025-04-04      Bonneville International

1567    2025-04-04      SiriusXM

1568    2025-04-04      Cuffe & Taylor

1569    2025-04-04      noatishby

1570    2025-04-04      9:30 Club

1571    2025-04-04      Universal Music Polska

1572    2025-04-04      Warner Music Norway

1573    2025-04-04      Liberated Brands

1574    2025-04-04      RODEOHOUSTON

1575    2025-04-04      Garage

1576    2025-04-04      Bruckner Yaar Levi

1577    2025-04-04      IProspect Fort Worth

1578    2025-04-04      Sure Sure

1579    2025-04-04      Socialyte

1580    2025-04-04      GroupM

1581    2025-04-04      Reward Agency - 08

1582    2025-04-04      Bonus Track

1583    2025-04-04      Mindshare USA

1584    2025-04-04      SkinnyDipped

1585    2025-04-04      Facebook Analytics

1586    2025-04-04      T&M Holding

1587    2025-04-04      HMS Global - GBP

1588    2025-04-04      Anotherland Music

1589    2025-04-04      Zenithoptimedia Taiwan

1590    2025-04-04      House Shops Ads
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 55 of 365




#       Date            Entity Name
1591    2025-04-04      Relatable

1592    2025-04-04      Trans-System, Inc.

1593    2025-04-04      Vogue France

1594    2025-04-04      ZitSticka

1595    2025-04-04      Rgmntco

1596    2025-04-04      Elevation, Ltd.

1597    2025-04-04      Postmates

1598    2025-04-04      Freya - Test Account

1599    2025-04-04      Universal Music Switzerland

1600    2025-04-04      Tombras

1601    2025-04-04      United Influencers

1602    2025-04-04      Sentara Health

1603    2025-04-04      Intuit TurboTax

1604    2025-04-04      Performics Belgium

1605    2025-04-04      eFavormart

1606    2025-04-04      MediaCom USA

1607    2025-04-04      Eko Health

1608    2025-04-04      Soundwave Consulting

1609    2025-04-04      Open Influence

1610    2025-04-04      Water Street Music Hall

1611    2025-04-04      Zenith Chile

1612    2025-04-04      Vodafone Group

1613    2025-04-04      Universal Music Recordings

1614    2025-04-04      Gooseberry Intimates

1615    2025-04-04      KSR Group

1616    2025-04-04      Allergan Aesthetics

1617    2025-04-04      Giant Partners

1618    2025-04-04      LM250 9

1619    2025-04-04      Ulta Beauty

1620    2025-04-04      Room & Board
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 56 of 365




#       Date            Entity Name
1621    2025-04-04      Kavala Collective

1622    2025-04-04      Convergence Media

1623    2025-04-04      DeepSync Labs

1624    2025-04-04      Nomad Apparel Co.

1625    2025-04-04      Alex Azra

1626    2025-04-04      PreciseTarget

1627    2025-04-04      Winn-Dixie

1628    2025-04-04      Audacy Social Conquest

1629    2025-04-04      Immerse Agency, LLC

1630    2025-04-04      David Stuebe's Business

1631    2025-04-04      ClearOne Advantage, LLC

1632    2025-04-04      The Glover Park Group

1633    2025-04-04      Greenhouse Talent

1634    2025-04-04      Cleveland Clinic

1635    2025-04-04      SmartHeart

1636    2025-04-04      Preflect Ads

1637    2025-04-04      lensun solar energy

1638    2025-04-04      Wmg gps adx

1639    2025-04-04      Diverse Media New Zealand

1640    2025-04-04      Backstreetmerch.com

1641    2025-04-04      Wish

1642    2025-04-04      Vizeum - US

1643    2025-04-04      Silk + Sonder

1644    2025-04-04      Savannah Bee Company

1645    2025-04-04      Xfinity

1646    2025-04-04      Mars United Commerce

1647    2025-04-04      Oregon Ice Cream

1648    2025-04-04      Zimmerman Advertising

1649    2025-04-04      MoneyLion

1650    2025-04-04      Sephora
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 57 of 365




#       Date            Entity Name
1651    2025-04-04      UM MENA

1652    2025-04-04      Starcom Sweden AB

1653    2025-04-04      Healthfirst

1654    2025-04-04      JCK Enterprises, LLC

1655    2025-04-04      Boncom

1656    2025-04-04      Suit Up Brands LLC

1657    2025-04-04      Kulturbolaget

1658    2025-04-04      Island Records UK

1659    2025-04-04      Starcom Denmark

1660    2025-04-04      Life.Church

1661    2025-04-04      VaynerMedia APAC

1662    2025-04-04      Morris Bart, LLC

1663    2025-04-04      Shaq’s Fun House

1664    2025-04-04      Playboy

1665    2025-04-04      Instagram

1666    2025-04-04      GMI Maxus IDR WPP

1667    2025-04-04      Universal Music Group: Global Digital Marketing

1668    2025-04-04      Action Network

1669    2025-04-04      Climb

1670    2025-04-04      The Ridge

1671    2025-04-04      Bonefish Grill

1672    2025-04-04      CountryWired INC.

1673    2025-04-04      Topsify

1674    2025-04-04      Code3

1675    2025-04-04      Aleph - Costa Rica

1676    2025-04-04      Talent Groupe CH

1677    2025-04-04      Live Nation Finland

1678    2025-04-04      Harper's Bazaar

1679    2025-04-04      The Children's Place

1680    2025-04-04      TRUFFLE
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 58 of 365




#       Date            Entity Name
1681    2025-04-04      Warner Music Canada

1682    2025-04-04      Integral Strength

1683    2025-04-04      Mushroom

1684    2025-04-04      Tommy Hilfiger ME

1685    2025-04-04      Universal Music Austria

1686    2025-04-04      Live Nation Concerts

1687    2025-04-04      Indipendente Concerti

1688    2025-04-04      CharityStars

1689    2025-04-04      Universal Music South Africa

1690    2025-04-04      Camille Brinch Jewellery

1691    2025-04-04      T4F

1692    2025-04-04      Seiza

1693    2025-04-04      Digital House

1694    2025-04-04      Purdue Global

1695    2025-04-04      GroupM Danmark

1696    2025-04-04      E11EVEN MIAMI

1697    2025-04-04      Horizon Blue Cross Blue Shield of New Jersey

1698    2025-04-04      Z2 Comics

1699    2025-04-04      Kilt 'Em

1700    2025-04-04      Madison Square Garden

1701    2025-04-04      Genentech

1702    2025-04-04      Swanson Health

1703    2025-04-04      P2 Public Affairs

1704    2025-04-04      Fandango at Home

1705    2025-04-04      Rakuten

1706    2025-04-04      Best Buy, Starcom USA

1707    2025-04-04      NIV Bible

1708    2025-04-04      First Avenue & 7th St Entry

1709    2025-04-04      VS-Ronaldo Silva 1 - bm 5

1710    2025-04-04      Elicit Music
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 59 of 365




#       Date            Entity Name
1711    2025-04-04      ADARA

1712    2025-04-04      Resolution Agency

1713    2025-04-04      Siren Group

1714    2025-04-04      Ruggable

1715    2025-04-04      Lovesac

1716    2025-04-04      Happify by Twill

1717    2025-04-04      TruDiagnostic

1718    2025-04-04      Torrid

1719    2025-04-04      Breathe For Change

1720    2025-04-04      On

1721    2025-04-04      Trials World

1722    2025-04-04      California Cryobank

1723    2025-04-04      BHLDN Weddings

1724    2025-04-04      Typology

1725    2025-04-04      Alexis Ren

1726    2025-04-04      Stuart Weitzman

1727    2025-04-04      Sub Pop Records

1728    2025-04-04      AbbVie

1729    2025-04-04      René Furterer

1730    2025-04-04      Absolute Merch

1731    2025-04-04      NHL

1732    2025-04-04      Emc_TCCC

1733    2025-04-04      Reprise Media México

1734    2025-04-04      Tropic of C

1735    2025-04-04      Helix Sleep

1736    2025-04-04      DefJam

1737    2025-04-04      Big Slap

1738    2025-04-04      J Vineyards & Winery

1739    2025-04-04      CurlMix

1740    2025-04-04      Friends At Work
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 60 of 365




#       Date            Entity Name
1741    2025-04-04      Socialflow

1742    2025-04-04      Big Think Agency

1743    2025-04-04      Colleen Mauer Designs

1744    2025-04-04      Tulster

1745    2025-04-04      Decca Records

1746    2025-04-04      Funny or Not

1747    2025-04-04      Dot Matters

1748    2025-04-04      WebMD

1749    2025-04-04      Wayfair

1750    2025-04-04      Bobo's Oat Bars

1751    2025-04-04      Slime Obsidian

1752    2025-04-04      CSL

1753    2025-04-04      ZipRecruiter

1754    2025-04-04      Pet Airways

1755    2025-04-04      Jordan Peterson

1756    2025-04-04      BM5 chay sach 3

1757    2025-04-04      Away That Day

1758    2025-04-04      Monster

1759    2025-04-04      Eva Rankin■

1760    2025-04-04      ■■■■■■■■■■■■■■■■■

1761    2025-04-04      Groupe EPI

1762    2025-04-04      Sony Music Spain

1763    2025-04-04      FCA Mexico

1764    2025-04-04      Kardiel

1765    2025-04-04      Magnolia Pictures

1766    2025-04-04      Spiceology

1767    2025-04-04      SOSHE Beauty

1768    2025-04-04      FitnFemale

1769    2025-04-04      MC UK - GBP

1770    2025-04-04      STAAR Global
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 61 of 365




#       Date            Entity Name
1771    2025-04-04      Smile Direct Club

1772    2025-04-04      Molson Coors

1773    2025-04-04      Car Price Secrets

1774    2025-04-04      Fun.com

1775    2025-04-04      Aero Opco LLC

1776    2025-04-04      Social

1777    2025-04-04      Sparkart Group, Inc.

1778    2025-04-04      Omnicom Media Group

1779    2025-04-04      Understatement Underwear

1780    2025-04-04      Maybelline New York

1781    2025-04-04      Inner Circle

1782    2025-04-04      Canvas Worldwide

1783    2025-04-04      Brilliant Earth

1784    2025-04-04      Hoffman York

1785    2025-04-04      CCI ■■■■cartacommunications

1786    2025-04-04      1000heads - US Office

1787    2025-04-04      Sony Music Austria

1788    2025-04-04      MDX_3

1789    2025-04-04      Primark

1790    2025-04-04      Solawave

1791    2025-04-04      Functional Care

1792    2025-04-04      Admixer

1793    2025-04-04      Glamnetic

1794    2025-04-04      TEG Live Europe

1795    2025-04-04      Superfly

1796    2025-04-04      Tatti Lashes

1797    2025-04-04      nuuly

1798    2025-04-04      BIG IDEA GROUP

1799    2025-04-04      Herbivore Botanicals

1800    2025-04-04      Louis Vuitton Brazil
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25       Page 62 of 365




#       Date            Entity Name
1801    2025-04-04      Love Wellness

1802    2025-04-04      Goldenvoice

1803    2025-04-04      IZEA Worldwide, Inc.

1804    2025-04-04      L'Oréal Uruguay

1805    2025-04-04      Kurt Geiger

1806    2025-04-04      Gymexo

1807    2025-04-04      Culture Pop

1808    2025-04-04      BluFish

1809    2025-04-04      Crunchyroll

1810    2025-04-04      Bang Productions Television

1811    2025-04-04      Pandora

1812    2025-04-04      ■■■■■■■■■■■■■

1813    2025-04-04      Athleta

1814    2025-04-04      INH Hair

1815    2025-04-04      Capacity Interactive - Digital Marketing Consulting for the Arts

1816    2025-04-04      Mindshare Sverige

1817    2025-04-04      Found

1818    2025-04-04      Snow Days

1819    2025-04-04      Mazda CX5 22

1820    2025-04-04      CNN Digital - Audience Dev

1821    2025-04-04      Emporium Presents

1822    2025-04-04      De Helling

1823    2025-04-04      Free People

1824    2025-04-04      Magnum Photos

1825    2025-04-04      Wavemaker Canada

1826    2025-04-04      KURU Footwear

1827    2025-04-04      H&M - Paid Social

1828    2025-04-04      Alex Feather Akimov's Business

1829    2025-04-04      LIVE NATION ES

1830    2025-04-04      starrising777
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 63 of 365




#       Date            Entity Name
1831    2025-04-04      Hanna Andersson

1832    2025-04-04      grownbrilliance

1833    2025-04-04      TFM Media

1834    2025-04-04      Goodlive Artists

1835    2025-04-04      Home Chef

1836    2025-04-04      Invisalign

1837    2025-04-04      The Church of Jesus Christ of Latter-day Saints

1838    2025-04-04      FRAME

1839    2025-04-04      Oceansapart Global

1840    2025-04-04      Harvest Hill Beverage Company

1841    2025-04-04      TrustGodbro Clothing

1842    2025-04-04      Digital Tading Desk

1843    2025-04-04      Function of Beauty

1844    2025-04-04      Grundéns

1845    2025-04-04      Smashbox Cosmetics

1846    2025-04-04      Keeps

1847    2025-04-04      Victoria Justice

1848    2025-04-04      Wolven

1849    2025-04-04      Common Entertainment

1850    2025-04-04      Caraway

1851    2025-04-04      Cozy Earth

1852    2025-04-04      Arising Empire

1853    2025-04-04      Shareablee

1854    2025-04-04      T4 Social Media LLC

1855    2025-04-04      Grunt Style

1856    2025-04-04      Sony Music Italy

1857    2025-04-04      WE ARE TALA

1858    2025-04-04      Shopify New York

1859    2025-04-04      Twillory

1860    2025-04-04      Republic NOLA
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 64 of 365




#       Date            Entity Name
1861    2025-04-04      YinoLink■■

1862    2025-04-04      Karsten Jahnke Konzerte

1863    2025-04-04      Accenture Adaptly Media Clients

1864    2025-04-04      Limelight Belfast

1865    2025-04-04      Loma Vista Recordings

1866    2025-04-04      Hyperice

1867    2025-04-04      PM PUIG

1868    2025-04-04      True Anthem

1869    2025-04-04      REVOLVE

1870    2025-04-04      TORY BURCH

1871    2025-04-04      Current

1872    2025-04-04      GoldSilver

1873    2025-04-04      BET

1874    2025-04-04      Truth and Love Coaching International

1875    2025-04-04      Starcom USA, Best Buy

1876    2025-04-04      Coach

1877    2025-04-04      Harbor Freight

1878    2025-04-04      BobbyParrish

1879    2025-04-04      Bespoke Post

1880    2025-04-04      HRD Games, LLC

1881    2025-04-04      CVS Pharmacy

1882    2025-04-04      AbelsonTaylor Group

1883    2025-04-04      Công Ty ■ng Hoàng Phúc

1884    2025-04-04      Flaus

1885    2025-04-04      EVERSANA INTOUCH

1886    2025-04-04      Simplyk Bénévolat

1887    2025-04-04      AU 77

1888    2025-04-04      Sleepgram

1889    2025-04-04      United Gold Group

1890    2025-04-04      FleishmanHillard
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 65 of 365




#       Date            Entity Name
1891    2025-04-04      Eddie Bauer

1892    2025-04-04      Nickel and Suede

1893    2025-04-04      Frankies Bikinis

1894    2025-04-04      Avoq

1895    2025-04-04      Rescue: The Behavior Change Agency

1896    2025-04-04      Tuft & Needle

1897    2025-04-04      Bridg Channel

1898    2025-04-04      The Detox Dudes

1899    2025-04-04      Direct Auto Insurance

1900    2025-04-04      F1 + F3 len moi

1901    2025-04-04      Live Bearded

1902    2025-04-04      Dice Dreams

1903    2025-04-04      Swank A Posh

1904    2025-04-04      Marketing

1905    2025-04-04      Rite Aid

1906    2025-04-04      KeepGoing First Aid

1907    2025-04-04      MetaTeam

1908    2025-04-04      PrettyLittleThing

1909    2025-04-04      Launchpad INTL

1910    2025-04-04      Engage Media

1911    2025-04-04      4C

1912    2025-04-04      SBX Proxy

1913    2025-04-04      GQ Italia

1914    2025-04-04      Unique Vacations Limited

1915    2025-04-04      Good American

1916    2025-04-04      Jockey

1917    2025-04-04      Musical Earth

1918    2025-04-04      Doctor Music Concerts

1919    2025-04-04      myQ

1920    2025-04-04      Milani
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25    Page 66 of 365




#       Date            Entity Name
1921    2025-04-04      LP Generic Business

1922    2025-04-04      Seminole Hard Rock Hotel & Casino - Hollywood, FL

1923    2025-04-04      Happy Products

1924    2025-04-04      Cadence

1925    2025-04-04      Warner Music Austria

1926    2025-04-04      Elementary Innovation Pte. Ltd.

1927    2025-04-04      OMD Panamá

1928    2025-04-04      Manebí

1929    2025-04-04      MCoBeauty US

1930    2025-04-04      Flat Tummy Co

1931    2025-04-04      Secret Sounds

1932    2025-04-04      JBL

1933    2025-04-04      Smarty Social Media

1934    2025-04-04      SharkNinja

1935    2025-04-04      Humane World for Animals

1936    2025-04-04      Blue State

1937    2025-04-04      Wantable

1938    2025-04-04      Rogue Fitness

1939    2025-04-04      Huntington National Bank

1940    2025-04-04      PBS

1941    2025-04-04      Listerine

1942    2025-04-04      Lithia Motors

1943    2025-04-04      Fiverr

1944    2025-04-04      Captiv8

1945    2025-04-04      adidas

1946    2025-04-04      Ads Preview Workaround

1947    2025-04-04      Revive

1948    2025-04-04      Dansko, LLC

1949    2025-04-04      Wake Research

1950    2025-04-04      Tres Colori Jewelry
    Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 67 of 365




#       Date            Entity Name
1951    2025-04-04      Radius Chicago

1952    2025-04-04      AEG Presents UK

1953    2025-04-04      Conn's HomePlus

1954    2025-04-04      Brunner

1955    2025-04-04      Propeller

1956    2025-04-04      Ring

1957    2025-04-04      ASUS

1958    2025-04-04      Delivery Hero

1959    2025-04-04      Kevin Gottlieb

1960    2025-04-04      Universal Music México

1961    2025-04-04      Resolve

1962    2025-04-04      Nexters

1963    2025-04-04      rolling loud

1964    2025-04-04      Afrobeats Central

1965    2025-04-04      Ashley

1966    2025-04-04      Estee Lauder México

1967    2025-04-04      Helyx Marketing

1968    2025-04-04      af_drinks

1969    2025-04-04      CLOUT Festival

1970    2025-04-04      iRESTORE Hair Growth System

1971    2025-04-04      471887696173235

1972    2025-04-04      Universal Music Norge

1973    2025-04-04      Moon Active

1974    2025-04-04      Vannen Watches

1975    2025-04-04      aim'n

1976    2025-04-04      Pierce Media

1977    2025-04-04      Deezer

1978    2025-04-04      Nutrafol

1979    2025-04-04      Beauty Factory

1980    2025-04-04      Drink Accelerator
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 68 of 365




#       Date            Entity Name
1981    2025-04-04      The 3am Club

1982    2025-04-04      RTIC Outdoors

1983    2025-04-04      FOX Sports

1984    2025-04-04      Pura Vida

1985    2025-04-04      Liquid I.V.

1986    2025-04-04      Cardon

1987    2025-04-04      Rosental Organics

1988    2025-04-04      Anti Agency Group

1989    2025-04-04      Premiere Speakers Bureau

1990    2025-04-04      Summersalt

1991    2025-04-04      Annapurna Pictures

1992    2025-04-04      Milk Makeup - 6S

1993    2025-04-04      Maison de Sabré

1994    2025-04-04      Amplify.ai

1995    2025-04-04      moveconcertsarg

1996    2025-04-04      Guardian Childcare & Education

1997    2025-04-04      Caddis Sports

1998    2025-04-04      iHeartDogs

1999    2025-04-04      Sony Music Brasil

2000    2025-04-04      Quakmedia - Agencia de Marketing Digital

2001    2025-04-04      Warner Music Africa

2002    2025-04-04      Jill

2003    2025-04-04      Tell Your People

2004    2025-04-04      Assembly

2005    2025-04-04      Publicis Media Luxe

2006    2025-04-04      Bonnie

2007    2025-04-04      Reaction Presents

2008    2025-04-04      Wavemaker Deutschland

2009    2025-04-04      Connected Vivaki

2010    2025-04-04      Rémy Martin
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 69 of 365




#       Date            Entity Name
2011    2025-04-04      Swimply

2012    2025-04-04      onX Hunt

2013    2025-04-04      DSplus

2014    2025-04-04      KraftMaid Cabinetry

2015    2025-04-04      Lionsgate

2016    2025-04-04      Entravision Latam - Puerto Rico

2017    2025-04-04      Orion Publishing Group

2018    2025-04-04      CubeSmart Self Storage

2019    2025-04-04      FreePrints App

2020    2025-04-04      Haworth Media

2021    2025-04-04      MyMuse

2022    2025-04-04      FamilySearch

2023    2025-04-04      L.A. Concerts

2024    2025-04-04      Pit Viper

2025    2025-04-04      Penguin España

2026    2025-04-04      Sakara Life

2027    2025-04-04      Vivara

2028    2025-04-04      Born Again Concerts

2029    2025-04-04      FESTIVAL LES ARDENTES

2030    2025-04-04      IPSY

2031    2025-04-04      The Foxy Hipster

2032    2025-04-04      Ruder Finn

2033    2025-04-04      VaynerMedia Canada

2034    2025-04-04      BeatStars Inc.

2035    2025-04-04      eBay

2036    2025-04-04      Melkweg Amsterdam

2037    2025-04-04      Live Nation Norway

2038    2025-04-04      Trafalgar Releasing

2039    2025-04-04      Shambala

2040    2025-04-04      Garnier Colombia
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 70 of 365




#       Date            Entity Name
2041    2025-04-04      Rareform

2042    2025-04-04      MEC Australia

2043    2025-04-04      Triple G Events

2044    2025-04-04      Warner Music France

2045    2025-04-04      L'Oréal Professionnel

2046    2025-04-04      ■■■■ ■■■

2047    2025-04-04      HarperCollins

2048    2025-04-04      MAAPS / Overman Enterprises

2049    2025-04-04      TivoliVredenburg

2050    2025-04-04      Miami Dolphins

2051    2025-04-04      Hairfinity

2052    2025-04-04      Louis Vuitton

2053    2025-04-04      Universal Music Colombia

2054    2025-04-04      Groot Hospitality

2055    2025-04-04      Horizon Horseback

2056    2025-04-04      fource.cz

2057    2025-04-04      For Wellness

2058    2025-04-04      Ribbow Media Group

2059    2025-04-04      Dojo

2060    2025-04-04      Calvin Klein

2061    2025-04-04      No Limit Entertainment

2062    2025-04-04      Vuori

2063    2025-04-04      Hourglass Cosmetics

2064    2025-04-04      Accelerated Intelligence Ltd

2065    2025-04-04      Online Trainer/Coach

2066    2025-04-04      AEG Presents France

2067    2025-04-04      OMD Entertainment

2068    2025-04-04      Kitbag

2069    2025-04-04      Alter Art

2070    2025-04-04      Aleph Uruguay
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 71 of 365




#       Date            Entity Name
2071    2025-04-04      TDC Audiences

2072    2025-04-04      CMS Music Media Ltd

2073    2025-04-04      Uber

2074    2025-04-04      Drive with Lyft

2075    2025-04-04      PETERMAYER

2076    2025-04-04      TIBBS & BONES

2077    2025-04-04      Division D

2078    2025-04-04      Blue 449

2079    2025-04-04      Strawberries & Creem

2080    2025-04-04      Gordon McKernan Injury Attorneys

2081    2025-04-04      Park Advertising

2082    2025-04-04      ICRUSH

2083    2025-04-04      Mic Drop Comedy

2084    2025-04-04      Disney Streaming

2085    2025-04-04      E! News

2086    2025-04-04      ZenithMedia Germany

2087    2025-04-04      Labelium Australia and New Zealand

2088    2025-04-04      American Sporstwear, S.A.

2089    2025-04-04      Universal Music Danmark

2090    2025-04-04      PHD colombia S.A.S

2091    2025-04-04      Teste 1

2092    2025-04-04      L'Oréal Social CDO - Cockpit & Advertising

2093    2025-04-04      RainCloud Media

2094    2025-04-04      Entravision Latam - Honduras

2095    2025-04-04      Live Nation Denmark

2096    2025-04-04      BEN: Product Brand Intelligence

2097    2025-04-04      Live Nation UK

2098    2025-04-04      Publicis_Media_Luxe

2099    2025-04-04      Jack Archer

2100    2025-04-04      BOSS
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25    Page 72 of 365




#       Date            Entity Name
2101    2025-04-04      Knitting Factory Entertainment

2102    2025-04-04      Dr. Squatch

2103    2025-04-04      The Influence Agency

2104    2025-04-04      Polydor

2105    2025-04-04      Finish Line

2106    2025-04-04      Yallie K Enterprises LLC

2107    2025-04-04      Calvin Klein GCC

2108    2025-04-04      JustFab

2109    2025-04-04      Express

2110    2025-04-04      RIMOWA

2111    2025-04-04      Universal Music Legends

2112    2025-04-04      WITHIN

2113    2025-04-04      Blavity

2114    2025-04-04      Monarch

2115    2025-04-04      AuDigent

2116    2025-04-04      Universal Music Italia

2117    2025-04-04      Dentsu Greece

2118    2025-04-04      Infectious Music

2119    2025-04-04      Forma Pilates

2120    2025-04-04      OCESA Personal

2121    2025-04-04      MEC

2122    2025-04-04      360i

2123    2025-04-04      Miller's Ale House

2124    2025-04-04      Church of the King

2125    2025-04-04      Hong Kong Zoom Interactive Network Marketing Technology Limited

2126    2025-04-04      Peloton

2127    2025-04-04      Wiland Data Targeting

2128    2025-04-04      JM14

2129    2025-04-04      Isha Foundation

2130    2025-04-04      Pinterest Inc
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 73 of 365




#       Date            Entity Name
2131    2025-04-04      Zenith USA

2132    2025-04-04      KBMG Data Services Development

2133    2025-04-04      Klick - Epic

2134    2025-04-04      Katalyst Advantage

2135    2025-04-04      Solved

2136    2025-04-04      Dollar General

2137    2025-04-04      truth

2138    2025-04-04      Rezonate Media

2139    2025-04-04      Inspire Brands

2140    2025-04-04      Oracle Data Cloud CA

2141    2025-04-04      Active International

2142    2025-04-04      JCPenney

2143    2025-04-04      Amobee DMP

2144    2025-04-04      HMI Social

2145    2025-04-04      MetLife

2146    2025-04-04      Goodway Tier 3 Digital

2147    2025-04-04      Progress Rum

2148    2025-04-04      Progressive

2149    2025-04-04      JOANN Fabric and Craft Stores

2150    2025-04-04      BJ's Wholesale Club

2151    2025-04-04      Linktree

2152    2025-04-04      WS NA

2153    2025-04-04      Spring Creek Group

2154    2025-04-04      Crossmedia

2155    2025-04-04      Billings Gazette

2156    2025-04-04      Sony Electronics

2157    2025-04-04      Decoded Advertising

2158    2025-04-04      Mazda USA

2159    2025-04-04      WMX

2160    2025-04-04      OneMain Business
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 74 of 365




#       Date            Entity Name
2161    2025-04-04      Happy Family Organics

2162    2025-04-04      Burson Global

2163    2025-04-04      Lashify

2164    2025-04-04      Wiland Audiences

2165    2025-04-04      Grant Cardone

2166    2025-04-04      Performance Marketing - USD - Spotify AB

2167    2025-04-04      Test Page

2168    2025-04-04      Last Tour

2169    2025-04-04      We Play

2170    2025-04-04      Possible

2171    2025-04-04      Kohl's

2172    2025-04-04      Merkle Data Partner

2173    2025-04-04      Vunzige Deuntjes

2174    2025-04-04      Launchpad Ignite

2175    2025-04-04      Threepipe

2176    2025-04-04      Greenhouse Talent NL

2177    2025-04-04      Illinois Lottery

2178    2025-04-04      American Eagle

2179    2025-04-04      AdParlor

2180    2025-04-04      Hilton Newsroom

2181    2025-04-04      Swanson Russell

2182    2025-04-04      Experian Marketing Services - Audiences

2183    2025-04-04      Morgan Fidelity Associates, Inc.

2184    2025-04-04      Ad Insights

2185    2025-04-04      Wiland Data Tactics

2186    2025-04-04      Flip.shop

2187    2025-04-04      FIGS

2188    2025-04-04      THIRD EAR

2189    2025-04-04      Deep Root Analytics

2190    2025-04-04      wellrestedweeones
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 75 of 365




#       Date            Entity Name
2191    2025-04-04      Barstool Sports

2192    2025-04-04      Cronin

2193    2025-04-04      Multitud Digital

2194    2025-04-04      DoorDash

2195    2025-04-04      Sundays

2196    2025-04-04      Voiply

2197    2025-04-04      Universal Studios Hollywood

2198    2025-04-04      Faraday.io

2199    2025-04-04      SUGARED + BRONZED

2200    2025-04-04      TargetSmart

2201    2025-04-04      T-Mobile

2202    2025-04-04      Zillow

2203    2025-04-04      Square

2204    2025-04-04      Hyperglow

2205    2025-04-04      DEPT UK

2206    2025-04-04      Ideal Coverings

2207    2025-04-04      PushSpring

2208    2025-04-04      Merkle Incorporated

2209    2025-04-04      amelieteje

2210    2025-04-04      JSHealth

2211    2025-04-04      Macy's

2212    2025-04-04      Maelys Cosmetics

2213    2025-04-04      Afro Nation

2214    2025-04-04      Red Digital

2215    2025-04-04      cacaFly

2216    2025-04-04      Brilliance.com

2217    2025-04-04      UMusic Australia

2218    2025-04-04      Spark Foundry Canada

2219    2025-04-04      HolStrength

2220    2025-04-04      Motorola
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 76 of 365




#       Date            Entity Name
2221    2025-04-04      Essence

2222    2025-04-04      WMcCann RJ

2223    2025-04-04      Black Promoters Collective

2224    2025-04-04      Verizon

2225    2025-04-04      Tusk Strategies

2226    2025-04-04      Disney

2227    2025-04-04      Funded Commerce Ads

2228    2025-04-04      Warner Music Sweden

2229    2025-04-04      Panasonic Personal Care USA

2230    2025-04-04      Reality Labs

2231    2025-04-04      BuzzFeed Branded Distribution

2232    2025-04-04      Sony Music Entertainment

2233    2025-04-04      The Assembly Music

2234    2025-04-04      Condé Nast

2235    2025-04-04      LOOPS

2236    2025-04-04      ThisThat

2237    2025-04-04      MullenLowe U.S.

2238    2025-04-04      Lounge Underwear

2239    2025-04-04      Sony Music France

2240    2025-04-04      Universal Music Sweden

2241    2025-04-04      Republic Records

2242    2025-04-04      Martell

2243    2025-04-04      Havas Media Group USA LLC

2244    2025-04-04      Ray-Ban

2245    2025-04-04      Quarterlab

2246    2025-04-04      mandanadayani

2247    2025-04-04      Another Planet Entertainment

2248    2025-04-04      Sony Music Poland

2249    2025-04-04      The KISS Marketing Agency

2250    2025-04-04      Carmichael Lynch
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 77 of 365




#       Date            Entity Name
2251    2025-04-04      Live Nation Australia

2252    2025-04-04      K-Swiss

2253    2025-04-04      swayhairextensions

2254    2025-04-04      RW Consulting

2255    2025-04-04      AEG Presents

2256    2025-04-04      Data Axle USA

2257    2025-04-04      HotSnap

2258    2025-04-04      Meta for Business

2259    2025-04-04      Lauren Daigle

2260    2025-04-04      Step

2261    2025-04-04      WhatsApp

2262    2025-04-04      MRG Live

2263    2025-04-04      Adult Swim

2264    2025-04-04      VaynerMedia

2265    2025-04-04      Data unavailable

2266    2025-04-04      Media Six

2267    2025-04-04      Resolution Media

2268    2025-04-04      Ark Swimwear

2269    2025-04-04      NICKS

2270    2025-04-04      Tincre

2271    2025-04-04      Warner Music Denmark

2272    2025-04-04      Capitol Music Group

2273    2025-04-04      Aleph - Panama

2274    2025-04-04      NA-KD.com

2275    2025-04-04      Guinness

2276    2025-04-04      310 Nutrition

2277    2025-04-04      Ranker 2

2278    2025-04-04      wavo.me

2279    2025-04-04      SKIMS

2280    2025-04-04      Havas Media
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2             Filed 04/12/25   Page 78 of 365




#       Date            Entity Name
2281    2025-04-04      FB App

2282    2025-04-04      Concord

2283    2025-04-04      L'Oréal Group

2284    2025-04-04      First Interstate Center for the Arts

2285    2025-04-04      Live Nation Polska

2286    2025-04-04      Instacart

2287    2025-04-04      North Coast Music Festival

2288    2025-04-04      White Claw

2289    2025-04-04      Echo Promotion

2290    2025-04-04      Tommy Hilfiger

2291    2025-04-04      Performics Test Page

2292    2025-04-04      Ghostwriter Consultancy & Events

2293    2025-04-04      Live Nation France

2294    2025-04-04      Universal Music Ireland

2295    2025-04-04      Noise New Media

2296    2025-04-04      Interscope Records

2297    2025-04-04      iHeartCountry

2298    2025-04-04      AEG Presents - Media

2299    2025-04-04      Heather McMahan

2300    2025-04-04      PacSun

2301    2025-04-04      Gupta Media

2302    2025-04-04      Meta

2303    2025-04-04      Facetune by Lightricks

2304    2025-04-04      the7stars

2305    2025-04-04      OLLY

2306    2025-04-04      Team BC

2307    2025-04-04      HQ CDM

2308    2025-04-04      Target

2309    2025-04-04      Socialistics

2310    2025-04-04      MoneyGram
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 79 of 365




#       Date            Entity Name
2311    2025-04-04      Rent. Solutions

2312    2025-04-04      Just Us Skin Care

2313    2025-04-04      Dynata Advertising Solutions

2314    2025-04-04      Kinesso Poland

2315    2025-04-04      Captain

2316    2025-04-04      Blueprint Interactive

2317    2025-04-04      Bell Media

2318    2025-04-04      Kay Jewelers

2319    2025-04-04      Anthropologie

2320    2025-04-04      XaxisKorea

2321    2025-04-04      Universal Music Deutschland

2322    2025-04-04      Learning A-Z

2323    2025-04-04      StackSocial

2324    2025-04-04      Real Chemistry

2325    2025-04-04      J3

2326    2025-04-04      Cleo

2327    2025-04-04      Butler/Till

2328    2025-04-04      Walmart.com

2329    2025-04-04      Drive Toyota

2330    2025-04-04      Discover

2331    2025-04-04      MetaVision Media

2332    2025-04-04      AirSculpt

2333    2025-04-04      Kroger

2334    2025-04-04      bubly

2335    2025-04-04      Jackson Hewitt

2336    2025-04-04      Sony Rewards

2337    2025-04-04      Thirdwave

2338    2025-04-04      Unit 3C

2339    2025-04-04      FanDuel

2340    2025-04-04      Brand survey
    Case 2:25-cv-00197-JCZ-DPC     Document 144-2        Filed 04/12/25   Page 80 of 365




#       Date            Entity Name
2341    2025-04-04      Satullo

2342    2025-04-04      Nielsen Marketing Cloud

2343    2025-04-04      Dr Pepper Snapple Group

2344    2025-04-04      DSW Designer Shoe Warehouse

2345    2025-04-04      X-VIN

2346    2025-04-04      LiveRamp

2347    2025-04-04      iProspect Detroit

2348    2025-04-04      Hearts & Science

2349    2025-04-04      Aegis Media Innov8

2350    2025-04-04      Mainment GmbH

2351    2025-04-04      Warner Music Poland

2352    2025-04-04      ASW Group

2353    2025-04-04      Aleph El Salvador

2354    2025-04-04      Sony Music UK

2355    2025-04-04      Live Nation Canada

2356    2025-04-04      i.am.gia

2357    2025-04-04      Greens Club

2358    2025-04-04      Epsilon Audience Data Provider

2359    2025-04-04      Spotify LATAM BM

2360    2025-04-04      Etsy

2361    2025-04-04      HealixGlobal

2362    2025-04-04      MODCo T2

2363    2025-04-04      Wix

2364    2025-04-04      Starcom USA

2365    2025-04-04      Michael Kors

2366    2025-04-04      Instagram Ad Ops

2367    2025-04-04      Purple Media

2368    2025-04-04      Eyeota

2369    2025-04-04      Acxiom

2370    2025-04-04      Eggland's Best Eggs
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 81 of 365




#       Date            Entity Name
2371    2025-04-04      Sanity Skin

2372    2025-04-04      Spark Foundry

2373    2025-04-04      Team One USA

2374    2025-04-04      Conill Advertising

2375    2025-04-04      FabFitFun

2376    2025-04-04      CMI Media Group and Compas

2377    2025-04-04      PetSmart

2378    2025-04-04      Dr. Livingood

2379    2025-04-04      UM APAC

2380    2025-04-04      Foursquare City Guide

2381    2025-04-04      Dentsu X UK

2382    2025-04-04      BerlinRosen

2383    2025-04-04      Sara's Business

2384    2025-04-04      QVC

2385    2025-04-04      Croud Ads

2386    2025-04-04      Puzzmo

2387    2025-04-04      The Jet-Ski Doctor

2388    2025-04-04      TransUnion Digital

2389    2025-04-04      DISH

2390    2025-04-04      zeotap

2391    2025-04-04      FanDuel Racing

2392    2025-04-04      22squared

2393    2025-04-04      Ethos Life

2394    2025-04-04      Linear 360

2395    2025-04-04      Max Connect Digital

2396    2025-04-04      Marathon Strategies

2397    2025-04-04      My View From Beer

2398    2025-04-04      CAVA

2399    2025-04-04      Call of Duty

2400    2025-04-04      TopTier Trader
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 82 of 365




#       Date            Entity Name
2401    2025-04-04      Bombora

2402    2025-04-04      Invest529

2403    2025-04-04      Cash App

2404    2025-04-04      Dermaclara

2405    2025-04-04      Nordstrom

2406    2025-04-04      BrandMuscle - etatslla

2407    2025-04-04      Lands' End

2408    2025-04-04      Cracker Barrel Old Country Store

2409    2025-04-04      Kore Nutrition

2410    2025-04-04      UM Canada

2411    2025-04-04      Dil Mil

2412    2025-04-04      MissionWired

2413    2025-04-04      MasterClass

2414    2025-04-04      Pourri

2415    2025-04-04      Brand Networks

2416    2025-04-04      Lumen Technologies

2417    2025-04-04      Walgreens

2418    2025-04-04      Matthew 6:26 LLC

2419    2025-04-04      SoFi

2420    2025-04-04      Verified

2421    2025-04-04      Edelman DC

2422    2025-04-04      Rational 360

2423    2025-04-04      Eli Lilly and Company

2424    2025-04-04      GALE Media

2425    2025-04-04      DASH TWO

2426    2025-04-04      UNDER THE INFLUENCE

2427    2025-04-04      No_Comment

2428    2025-04-04      Comedy Central

2429    2025-04-04      Match

2430    2025-04-04      Fulton & Roark
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 83 of 365




#       Date            Entity Name
2431    2025-04-04      Kiehl's

2432    2025-04-04      Resorts World Las Vegas

2433    2025-04-04      M1 m■u 1, N1 17/8 - P

2434    2025-04-04      Entravisión Panamá

2435    2025-04-04      Hagerty

2436    2025-04-04      Reprise ES

2437    2025-04-04      Greta Boutique

2438    2025-04-04      Carat USA

2439    2025-04-04      Initiative

2440    2025-04-04      EA - Electronic Arts

2441    2025-04-04      Blue Shield of California

2442    2025-04-04      Fanatics

2443    2025-04-04      Corida

2444    2025-04-04      Influential

2445    2025-04-04      Albertsons

2446    2025-04-04      Aleph - Dominican Republic

2447    2025-04-04      ACTwireless

2448    2025-04-04      Otsuka America Pharmaceutical, Inc.

2449    2025-04-04      The Citizenry

2450    2025-04-04      Betfair Interactive US LLC

2451    2025-04-04      Rebecca Zung

2452    2025-04-04      Infusion Marketing Group

2453    2025-04-04      Center

2454    2025-04-04      Bones Coffee Company

2455    2025-04-04      Veltrac Music

2456    2025-04-04      FB Only SMB Channel Test Page

2457    2025-04-04      Logos Bible Study Platform

2458    2025-04-04      Overtime

2459    2025-04-04      Summerfest

2460    2025-04-04      Cure Media
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 84 of 365




#       Date            Entity Name
2461    2025-04-04      eHealth

2462    2025-04-04      Zenith - PGD

2463    2025-04-04      Uniagency

2464    2025-04-04      Partisan Records

2465    2025-04-04      Choices by Revlon

2466    2025-04-04      NovartisOne²

2467    2025-04-04      Publicis Health Media

2468    2025-04-04      AptDeco

2469    2025-04-04      Sam's Club

2470    2025-04-04      Foot Locker

2471    2025-04-04      Klick - Edge

2472    2025-04-04      Ross University School of Veterinary Medicine

2473    2025-04-04      Fabric Technologies

2474    2025-04-04      Quantum Physics

2475    2025-04-04      Masters of Balayage

2476    2025-04-04      Angler AI

2477    2025-04-04      Lowe's Home Improvement

2478    2025-04-04      Simpli.fi

2479    2025-04-04      Katherine Kwok FB Biz

2480    2025-04-04      Bread Beauty Supply

2481    2025-04-04      Novartis Clinical Trials

2482    2025-04-04      Marc Jacobs

2483    2025-04-04      Supercell

2484    2025-04-04      Shopify

2485    2025-04-04      Edelman West

2486    2025-04-04      Verb Products

2487    2025-04-04      Carter's

2488    2025-04-04      PetSmart Charities

2489    2025-04-04      EMT

2490    2025-04-04      GETmusic
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 85 of 365




#       Date            Entity Name
2491    2025-04-04      HBO Max

2492    2025-04-04      FB Growth Marketing

2493    2025-04-04      D'Alessandro e Galli

2494    2025-04-04      La Roche-Posay

2495    2025-04-04      Unilever Philippines

2496    2025-04-04      Electric Promotions

2497    2025-04-04      Avant Gardner

2498    2025-04-04      JibJab Catapult

2499    2025-04-04      REV77

2500    2025-04-04      Search Influence

2501    2025-04-04      Diggerland USA

2502    2025-04-04      DDC Testing

2503    2025-04-04      Good Social Company

2504    2025-04-04      Sage Dental

2505    2025-04-04      Reprise Media ZA

2506    2025-04-04      Relistor® (methylnaltrexone bromide)

2507    2025-04-04      The Lyrical Lemonade Summer Smash Festival

2508    2025-04-04      Magnolias

2509    2025-04-04      Neural Leap Ventures

2510    2025-04-04      Collections Etc

2511    2025-04-04      TIAA

2512    2025-04-04      Affordable Dentures & Implants

2513    2025-04-04      GOP

2514    2025-04-04      2K

2515    2025-04-04      Bishop Robert Barron

2516    2025-04-04      WideFoc.us

2517    2025-04-04      ROR Partners

2518    2025-04-04      Matterkind US

2519    2025-04-04      Feld Entertainment, Inc.

2520    2025-04-04      MiQ US
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 86 of 365




#       Date            Entity Name
2521    2025-04-04      PayPal

2522    2025-04-04      The Gatorade Company

2523    2025-04-04      Outback Presents

2524    2025-04-04      Valley Vet Supply

2525    2025-04-04      Boston Comedy Festival

2526    2025-04-04      GCommerce

2527    2025-04-04      Kash Kick 2

2528    2025-04-04      Cortica

2529    2025-04-04      Fingerpaint

2530    2025-04-04      Sojern

2531    2025-04-04      Q Link Wireless

2532    2025-04-04      Gap Inc

2533    2025-04-04      Insomniac Events

2534    2025-04-04      w/Tributary

2535    2025-04-04      Warby Parker

2536    2025-04-04      Campbell Ewald

2537    2025-04-04      Research Study Rockstar

2538    2025-04-04      Leonard Brands

2539    2025-04-04      Lerma Agency

2540    2025-04-04      Indeed

2541    2025-04-04      Best Buy

2542    2025-04-04      PMG

2543    2025-04-04      Latched Mama

2544    2025-04-04      Synchrony

2545    2025-04-04      Affinity Answers

2546    2025-04-04      Sling TV

2547    2025-04-04      Pltnum

2548    2025-04-04      Boarderie

2549    2025-04-04      Kikoff

2550    2025-04-04      The Vintage Pearl
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 87 of 365




#       Date            Entity Name
2551    2025-04-04      Brooks Running

2552    2025-04-04      The Relationship School

2553    2025-04-04      Interactive Avenues

2554    2025-04-04      Wyze

2555    2025-04-04      SONYA DAKAR

2556    2025-04-04      OfferUp

2557    2025-04-04      WPS Health Insurance - Health Plan

2558    2025-04-04      Aerial Video A to Z

2559    2025-04-04      JXM

2560    2025-04-04      Shareably

2561    2025-04-04      PHD France

2562    2025-04-04      Datonics

2563    2025-04-04      St. Jude Children's Research Hospital

2564    2025-04-04      Grubhub

2565    2025-04-04      Joom

2566    2025-04-04      Microsoft Customer Insights Center

2567    2025-04-04      neuapp

2568    2025-04-04      Walt Disney World

2569    2025-04-04      Allstate

2570    2025-04-04      GEICO

2571    2025-04-04      Factoría Publica

2572    2025-04-04      Musely

2573    2025-04-04      Papa Johns Pizza

2574    2025-04-04      Solka

2575    2025-04-04      SwellShark

2576    2025-04-04      UM Detroit

2577    2025-04-04      Fb-Ig-Stage

2578    2025-04-04      BM 07

2579    2025-04-04      Facebook Insertion Orders

2580    2025-04-04      MEC - Los Angeles
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 88 of 365




#       Date            Entity Name
2581    2025-04-04      M Booth

2582    2025-04-04      Lifeway

2583    2025-04-04      Wegmans

2584    2025-04-04      Brand Polling

2585    2025-04-04      Audience Town

2586    2025-04-04      Universal Music France

2587    2025-04-04      Filtr

2588    2025-04-04      Crumbl Cookies

2589    2025-04-04      Predictive Media Analytics, LLC

2590    2025-04-04      M&C Saatchi Performance

2591    2025-04-04      Regions Bank

2592    2025-04-04      Change Research

2593    2025-04-04      Zales

2594    2025-04-04      Ayla & Co

2595    2025-04-04      Aisle 518 Strategies, LLC

2596    2025-04-04      Plein Air

2597    2025-04-04      We Are Saatchi

2598    2025-04-04      Eulerity

2599    2025-04-04      Ford Motor Company

2600    2025-04-04      Huggies

2601    2025-04-04      Corro

2602    2025-04-04      American Kidney Fund

2603    2025-04-04      Casely

2604    2025-04-04      Boston Scientific

2605    2025-04-04      Spark Foundry USA

2606    2025-04-04      Health Union LLC

2607    2025-04-04      Champs Sports

2608    2025-04-04      UM Australia

2609    2025-04-04      DraftKings

2610    2025-04-04      EMEA
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 89 of 365




#       Date            Entity Name
2611    2025-04-04      SmartPak

2612    2025-04-04      Exchange LA

2613    2025-04-04      Lending Store

2614    2025-04-04      The Strategy Group Company

2615    2025-04-04      L'ange

2616    2025-04-04      Intuit QuickBooks

2617    2025-04-04      P&G Social Global

2618    2025-04-04      CONVERSE

2619    2025-04-04      Clarins

2620    2025-04-04      Capital One

2621    2025-04-04      Kawasaki USA

2622    2025-04-04      Neustar FB Syndication

2623    2025-04-04      Bob Hannon Consulting

2624    2025-04-04      1-800 Contacts

2625    2025-04-04      Media Plus+

2626    2025-04-04      Slynd® (drospirenone)

2627    2025-04-04      Givebutter

2628    2025-04-04      MethodGroupe

2629    2025-04-04      Great American Pure Flix

2630    2025-04-04      Hopscotch Music Festival

2631    2025-04-04      Univision

2632    2025-04-04      Bravado

2633    2025-04-04      Seychelle Media

2634    2025-04-04      Aza

2635    2025-04-04      Moroch

2636    2025-04-04      OMD USA

2637    2025-04-04      Alo Yoga

2638    2025-04-04      Universal Music Thailand

2639    2025-04-04      Maude

2640    2025-04-04      Sony Music Switzerland
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 90 of 365




#       Date            Entity Name
2641    2025-04-04      Okori Kazakhstan

2642    2025-04-04      Topeka

2643    2025-04-04      We are mitú

2644    2025-04-04      L'Oréal Paris

2645    2025-04-04      playforgain

2646    2025-04-04      Unilever Canada

2647    2025-04-04      Mastercard

2648    2025-04-04      Happy Mammoth

2649    2025-04-04      M+R

2650    2025-04-04      Canopy

2651    2025-04-04      BSN

2652    2025-04-04      Heartbeat

2653    2025-04-04      BoostMobile - New/Post-Harmony

2654    2025-04-04      Hylink Digital Solutions

2655    2025-04-04      Omnicom Resolution

2656    2025-04-04      EarnIn

2657    2025-04-04      Empower

2658    2025-04-04      Edikted

2659    2025-04-04      IProspect NY

2660    2025-04-04      MEC Italia

2661    2025-04-04      Keurig

2662    2025-04-04      CoxNext

2663    2025-04-04      Handle the Heat

2664    2025-04-04      Second test personal user page

2665    2025-04-04      Unicorn Innovations

2666    2025-04-04      Facebook

2667    2025-04-04      The Christian Broadcasting Network

2668    2025-04-04      I'd Rather Be With My Dog

2669    2025-04-04      Nestlé HK ■■■■

2670    2025-04-04      HCN
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 91 of 365




#       Date            Entity Name
2671    2025-04-04      Precision

2672    2025-04-04      Coffee Dose

2673    2025-04-04      Phathom Pharmaceuticals

2674    2025-04-04      Initiative Wellness

2675    2025-04-04      Operam Inc

2676    2025-04-04      The New York Times

2677    2025-04-04      SupplyX

2678    2025-04-04      Chewy

2679    2025-04-04      Good Apple

2680    2025-04-04      kate spade new york

2681    2025-04-04      Mayo Clinic

2682    2025-04-04      Warner Music Germany

2683    2025-04-04      Aleph Ecuador

2684    2025-04-04      Horizn Studios

2685    2025-04-04      GroupM Media India

2686    2025-04-04      DIFF

2687    2025-04-04      Blogger: Isaac Saenz

2688    2025-04-04      hims

2689    2025-04-04      Adwerx

2690    2025-04-04      ThinkSwell

2691    2025-04-04      Adobe

2692    2025-04-04      MPP Business test account

2693    2025-04-04      Fused - Universal Music

2694    2025-04-04      ThredUp

2695    2025-04-04      GoAudience

2696    2025-04-04      Bolster

2697    2025-04-04      Bfx

2698    2025-04-04      Makeup.com by L'Oreal

2699    2025-04-04      Amazon.com

2700    2025-04-04      Solaura
    Case 2:25-cv-00197-JCZ-DPC     Document 144-2    Filed 04/12/25   Page 92 of 365




#       Date            Entity Name
2701    2025-04-04      UMe Music Team

2702    2025-04-04      Wonderfront Festival

2703    2025-04-04      The League

2704    2025-04-04      Hint

2705    2025-04-04      VET Tv- Veteran Television

2706    2025-04-04      The Orchard

2707    2025-04-04      Pepsi

2708    2025-04-04      Sweed

2709    2025-04-04      Alya Skin Australia

2710    2025-04-04      Warner Music Singapore

2711    2025-04-04      ViiV Healthcare

2712    2025-04-04      Poppi

2713    2025-04-04      Universal Music Brasil

2714    2025-04-04      Apple Services

2715    2025-04-04      Global Leadership Network

2716    2025-04-04      Entertainment on Facebook

2717    2025-04-04      Glossier

2718    2025-04-04      Forward Media Italy

2719    2025-04-04      Petit Moments

2720    2025-04-04      Grwn

2721    2025-04-03      Good American

2722    2025-04-03      Crumbl Cookies

2723    2025-04-03      D'Alessandro e Galli

2724    2025-04-03      Anotherland Music

2725    2025-04-03      hims

2726    2025-04-03      Allied Global Marketing

2727    2025-04-03      Bangerhead

2728    2025-04-03      DIFF

2729    2025-04-03      Warner Music Denmark

2730    2025-04-03      Rareform
    Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 93 of 365




#       Date            Entity Name
2731    2025-04-03      Petit Moments

2732    2025-04-03      HBO Max

2733    2025-04-03      Dimensions Fragrance

2734    2025-04-03      Lounge Underwear

2735    2025-04-03      Media Six

2736    2025-04-03      YinoLink■■

2737    2025-04-03      Merch Traffic

2738    2025-04-03      TFM Media

2739    2025-04-03      Lithia Motors

2740    2025-04-03      Zenithoptimedia Taiwan

2741    2025-04-03      Elevation, Ltd.

2742    2025-04-03      Sub Pop Records

2743    2025-04-03      Walgreens

2744    2025-04-03      TruDiagnostic

2745    2025-04-03      Valley Vet Supply

2746    2025-04-03      Healthfirst

2747    2025-04-03      SharkNinja

2748    2025-04-03      UM Canada

2749    2025-04-03      SwellShark

2750    2025-04-03      Grwn

2751    2025-04-03      Cortica

2752    2025-04-03      Eddie Bauer

2753    2025-04-03      Fingerhut

2754    2025-04-03      L'atelier TW

2755    2025-04-03      NICKS

2756    2025-04-03      swayhairextensions

2757    2025-04-03      Blogger: Isaac Saenz

2758    2025-04-03      HMS Global - GBP

2759    2025-04-03      Publicis_Media_Luxe

2760    2025-04-03      BEN: Product Brand Intelligence
    Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 94 of 365




#       Date            Entity Name
2761    2025-04-03      Warner Music Austria

2762    2025-04-03      noatishby

2763    2025-04-03      HUM Nutrition

2764    2025-04-03      Avon

2765    2025-04-03      FRAME

2766    2025-04-03      ondonewyork

2767    2025-04-03      Overtime

2768    2025-04-03      Trans-System, Inc.

2769    2025-04-03      cacaFly

2770    2025-04-03      rolling loud

2771    2025-04-03      MullenLowe U.S.

2772    2025-04-03      L'Oreal Ecommerce PRoject

2773    2025-04-03      BIG IDEA GROUP

2774    2025-04-03      BroBible

2775    2025-04-03      E11EVEN MIAMI

2776    2025-04-03      Jessica Goicoechea - Goi

2777    2025-04-03      Calvin Klein GCC

2778    2025-04-03      Simon Malls

2779    2025-04-03      Warner Music Australia

2780    2025-04-03      Crowd Control Digital

2781    2025-04-03      discovery+

2782    2025-04-03      Tommy Hilfiger ME

2783    2025-04-03      Sony Music Poland

2784    2025-04-03      Mic Drop Comedy

2785    2025-04-03      Gopuff

2786    2025-04-03      Liberated Brands

2787    2025-04-03      The League

2788    2025-04-03      Warner Music Sweden

2789    2025-04-03      ZenithMedia Germany

2790    2025-04-03      Universal Music Spain
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 95 of 365




#       Date            Entity Name
2791    2025-04-03      BlueChew

2792    2025-04-03      Decca Records

2793    2025-04-03      Revive

2794    2025-04-03      Goodlive Artists

2795    2025-04-03      Lincoln Hall + Schubas

2796    2025-04-03      Last Tour

2797    2025-04-03      MasterClass

2798    2025-04-03      JJXX

2799    2025-04-03      EarnIn

2800    2025-04-03      Chime

2801    2025-04-03      Socialyse Adm FR

2802    2025-04-03      Winn-Dixie

2803    2025-04-03      Morgan Fidelity Associates, Inc.

2804    2025-04-03      Test For Pixel

2805    2025-04-03      PetSmart Charities

2806    2025-04-03      Zondervan Books

2807    2025-04-03      ■■■■■■■■■■■■■

2808    2025-04-03      CLOUT Festival

2809    2025-04-03      iRESTORE Hair Growth System

2810    2025-04-03      Facebook

2811    2025-04-03      iHeartDogs

2812    2025-04-03      onX Hunt

2813    2025-04-03      Brunner

2814    2025-04-03      OLLY

2815    2025-04-03      Sam's Club

2816    2025-04-03      Rogue Fitness

2817    2025-04-03      eFavormart

2818    2025-04-03      Dil Mil

2819    2025-04-03      Fabric Technologies

2820    2025-04-03      Shopify
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 96 of 365




#       Date            Entity Name
2821    2025-04-03      Rational 360

2822    2025-04-03      Avoq

2823    2025-04-03      Netflix

2824    2025-04-03      Athleta

2825    2025-04-03      Crossmedia

2826    2025-04-03      Forma Pilates

2827    2025-04-03      Universal Music Austria

2828    2025-04-03      MAAPS / Overman Enterprises

2829    2025-04-03      Nexters

2830    2025-04-03      JSHealth

2831    2025-04-03      TEG DAINTY

2832    2025-04-03      Live Nation Finland

2833    2025-04-03      The Rave / Eagles Club

2834    2025-04-03      OCESA Personal

2835    2025-04-03      Live Bearded

2836    2025-04-03      Digitas North America

2837    2025-04-03      Resorts World Las Vegas

2838    2025-04-03      No Limit Entertainment

2839    2025-04-03      Test page

2840    2025-04-03      TRUFFLE

2841    2025-04-03      Zenith Slovakia

2842    2025-04-03      Whalar

2843    2025-04-03      Function of Beauty

2844    2025-04-03      Reprise Media ZA

2845    2025-04-03      zeotap

2846    2025-04-03      The Glover Park Group

2847    2025-04-03      Eko Health

2848    2025-04-03      WebMD

2849    2025-04-03      Nickel and Suede

2850    2025-04-03      Ruggable
    Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 97 of 365




#       Date            Entity Name
2851    2025-04-03      HRD Games, LLC

2852    2025-04-03      PBS

2853    2025-04-03      NovartisOne²

2854    2025-04-03      BobbyParrish

2855    2025-04-03      Simplyk Bénévolat

2856    2025-04-03      Wake Research

2857    2025-04-03      Audacy Social Conquest

2858    2025-04-03      SONYA DAKAR

2859    2025-04-03      Fingerpaint

2860    2025-04-03      GoAudience

2861    2025-04-03      DDC Testing

2862    2025-04-03      Oregon Ice Cream

2863    2025-04-03      Rgmntco

2864    2025-04-03      AbelsonTaylor Group

2865    2025-04-03      Entravision Latam - Puerto Rico

2866    2025-04-03      Progress Rum

2867    2025-04-03      Teste 1

2868    2025-04-03      Poppi

2869    2025-04-03      MoneyLion

2870    2025-04-03      David Stuebe's Business

2871    2025-04-03      Sara's Business

2872    2025-04-03      Tuft & Needle

2873    2025-04-03      Decoded Advertising

2874    2025-04-03      Công Ty ■ng Hoàng Phúc

2875    2025-04-03      Bfx

2876    2025-04-03      Notion Live Events

2877    2025-04-03      Meetsocial HK Digital Marketing Co.■ltd-1

2878    2025-04-03      Enso Rings

2879    2025-04-03      Zenith Chile

2880    2025-04-03      Water Street Music Hall
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 98 of 365




#       Date            Entity Name
2881    2025-04-03      Shambala

2882    2025-04-03      MEC - Los Angeles

2883    2025-04-03      NA-KD.com

2884    2025-04-03      Real Chemistry

2885    2025-04-03      Nomad Apparel Co.

2886    2025-04-03      Sleepgram

2887    2025-04-03      Ethos Life

2888    2025-04-03      Rebecca Zung

2889    2025-04-03      Sony Music Netherlands

2890    2025-04-03      Fandango at Home

2891    2025-04-03      Kinesso Poland

2892    2025-04-03      Cleveland Clinic

2893    2025-04-03      Solka

2894    2025-04-03      Preflect Ads

2895    2025-04-03      Aisle 518 Strategies, LLC

2896    2025-04-03      Pltnum

2897    2025-04-03      TransUnion Digital

2898    2025-04-03      FabFitFun

2899    2025-04-03      Shareably

2900    2025-04-03      Bishop Robert Barron

2901    2025-04-03      Swanson Health

2902    2025-04-03      Second test personal user page

2903    2025-04-03      Fanatics

2904    2025-04-03      Affinity Answers

2905    2025-04-03      Otsuka America Pharmaceutical, Inc.

2906    2025-04-03      Nordstrom

2907    2025-04-03      BSN

2908    2025-04-03      1-800 Contacts

2909    2025-04-03      Goodway Tier 3 Digital

2910    2025-04-03      Givebutter
    Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 99 of 365




#       Date            Entity Name
2911    2025-04-03      Great American Pure Flix

2912    2025-04-03      Voiply

2913    2025-04-03      360i

2914    2025-04-03      Fb-Ig-Stage

2915    2025-04-03      P2 Public Affairs

2916    2025-04-03      Media Plus+

2917    2025-04-03      MoneyGram

2918    2025-04-03      MiQ US

2919    2025-04-03      Microsoft Customer Insights Center

2920    2025-04-03      UM Australia

2921    2025-04-03      JM14

2922    2025-04-03      Faraday.io

2923    2025-04-03      Lashify

2924    2025-04-03      Mazda CX5 22

2925    2025-04-03      Bravado

2926    2025-04-03      Invest529

2927    2025-04-03      MissionWired

2928    2025-04-03      Hyperglow

2929    2025-04-03      Room & Board

2930    2025-04-03      Bobo's Oat Bars

2931    2025-04-03      Possible

2932    2025-04-03      Datonics

2933    2025-04-03      Thirdwave

2934    2025-04-03      Jordan Peterson

2935    2025-04-03      Hylink Digital Solutions

2936    2025-04-03      ADARA

2937    2025-04-03      Alex Azra

2938    2025-04-03      BM5 chay sach 3

2939    2025-04-03      truth

2940    2025-04-03      Seychelle Media
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 100 of 365




#      Date           Entity Name
2941   2025-04-03     MetaVision Media

2942   2025-04-03     Aegis Media Innov8

2943   2025-04-03     neuapp

2944   2025-04-03     Coach

2945   2025-04-03     Dr. Livingood

2946   2025-04-03     Regions Bank

2947   2025-04-03     Lionsgate

2948   2025-04-03     Cronin

2949   2025-04-03     Operam Inc

2950   2025-04-03     Neural Leap Ventures

2951   2025-04-03     The Vintage Pearl

2952   2025-04-03     Carat USA

2953   2025-04-03     Allstate

2954   2025-04-03     Klick - Edge

2955   2025-04-03     Bones Coffee Company

2956   2025-04-03     Division D

2957   2025-04-03     Quantum Physics

2958   2025-04-03     Good Social Company

2959   2025-04-03     The Strategy Group Company

2960   2025-04-03     Lands' End

2961   2025-04-03     Just Us Skin Care

2962   2025-04-03     Zillow

2963   2025-04-03     Bob Hannon Consulting

2964   2025-04-03     Friends At Work

2965   2025-04-03     Wix

2966   2025-04-03     DEPT UK

2967   2025-04-03     JibJab Catapult

2968   2025-04-03     Lowe's Home Improvement

2969   2025-04-03     Resolution Agency

2970   2025-04-03     Wantable
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 101 of 365




#      Date           Entity Name
2971   2025-04-03     Wegmans

2972   2025-04-03     Leonard Brands

2973   2025-04-03     Search Influence

2974   2025-04-03     Sev Laser Aesthetics

2975   2025-04-03     Linear 360

2976   2025-04-03     Dallas Cowboys

2977   2025-04-03     ESPN

2978   2025-04-03     Climb

2979   2025-04-03     Global Leadership Network

2980   2025-04-03     Anthropologie

2981   2025-04-03     Blueprint Interactive

2982   2025-04-03     MediaCom USA

2983   2025-04-03     Freya - Test Account

2984   2025-04-03     4th Quarter Collective, LLC

2985   2025-04-03     TopTier Trader

2986   2025-04-03     Adwerx

2987   2025-04-03     grownbrilliance

2988   2025-04-03     Launchpad INTL

2989   2025-04-03     COS

2990   2025-04-03     Live Nation Belgium

2991   2025-04-03     Liquid I.V.

2992   2025-04-03     Matterkind US

2993   2025-04-03     ASUS

2994   2025-04-03     Kevin Gottlieb

2995   2025-04-03     Live Nation Italia

2996   2025-04-03     Miami Dolphins

2997   2025-04-03     myQ

2998   2025-04-03     Golin

2999   2025-04-03     Spark Foundry Canada

3000   2025-04-03     Mindshare USA
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2         Filed 04/12/25   Page 102 of 365




#      Date           Entity Name
3001   2025-04-03     RIMOWA

3002   2025-04-03     Universal Music Italia

3003   2025-04-03     Miller's Ale House

3004   2025-04-03     Forward Media Italy

3005   2025-04-03     VaynerMedia APAC

3006   2025-04-03     Hunter Del Caribe

3007   2025-04-03     Partisan Records

3008   2025-04-03     Seiza

3009   2025-04-03     Simon & Schuster

3010   2025-04-03     Flag & Anthem

3011   2025-04-03     La Roche-Posay

3012   2025-04-03     AEG Presents Asia

3013   2025-04-03     OmnicomMediaGroup Nederland

3014   2025-04-03     Diverse Media New Zealand

3015   2025-04-03     Warner Music Singapore

3016   2025-04-03     Tempo OMD Social Adv

3017   2025-04-03     Boston Scientific

3018   2025-04-03     Affordable Dentures & Implants

3019   2025-04-03     Ideal Coverings

3020   2025-04-03     Corro

3021   2025-04-03     Siren Group

3022   2025-04-03     SBX Proxy

3023   2025-04-03     Lifeway

3024   2025-04-03     TIAA

3025   2025-04-03     WideFoc.us

3026   2025-04-03     w/Tributary

3027   2025-04-03     IProspect NY

3028   2025-04-03     Pet Airways

3029   2025-04-03     DeepSync Labs

3030   2025-04-03     Blue State
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 103 of 365




#      Date           Entity Name
3031   2025-04-03     PMG

3032   2025-04-03     Dynata Advertising Solutions

3033   2025-04-03     Huntington National Bank

3034   2025-04-03     Sojern

3035   2025-04-03     Choices by Revlon

3036   2025-04-03     Phathom Pharmaceuticals

3037   2025-04-03     Sling TV

3038   2025-04-03     Dr. Squatch

3039   2025-04-03     ThisThat

3040   2025-04-03     Monster

3041   2025-04-03     WITHIN

3042   2025-04-03     True Anthem

3043   2025-04-03     Warner Music Germany

3044   2025-04-03     Caddis Sports

3045   2025-04-03     Mastercard

3046   2025-04-03     Tincre

3047   2025-04-03     Maison de Sabré

3048   2025-04-03     The Influence Agency

3049   2025-04-03     Happy Products

3050   2025-04-03     Free People

3051   2025-04-03     Camille Brinch Jewellery

3052   2025-04-03     Garnier Colombia

3053   2025-04-03     Hourglass Cosmetics

3054   2025-04-03     Fulton & Roark

3055   2025-04-03     Doctor Music Concerts

3056   2025-04-03     Echo Promotion

3057   2025-04-03     Wavemaker-NZ Loreal

3058   2025-04-03     BHLDN Weddings

3059   2025-04-03     Tusk Strategies

3060   2025-04-03     Bonefish Grill
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 104 of 365




#      Date           Entity Name
3061   2025-04-03     Ruder Finn

3062   2025-04-03     Born Again Concerts

3063   2025-04-03     Cover FX

3064   2025-04-03     On

3065   2025-04-03     Victoria Justice

3066   2025-04-03     ■■■■■■■■■■■■■■■■■

3067   2025-04-03     Hanna Andersson

3068   2025-04-03     Maude

3069   2025-04-03     Tulster

3070   2025-04-03     DefJam

3071   2025-04-03     Gaston Luga

3072   2025-04-03     Stuart Weitzman

3073   2025-04-03     Canvas Worldwide

3074   2025-04-03     Common Entertainment

3075   2025-04-03     OnlyFans

3076   2025-04-03     CSL

3077   2025-04-03     Drink Accelerator

3078   2025-04-03     Summersalt

3079   2025-04-03     Universal Music México

3080   2025-04-03     The 3am Club

3081   2025-04-03     Billings Gazette

3082   2025-04-03     Topeka

3083   2025-04-03     H&M

3084   2025-04-03     Ketone-IQ

3085   2025-04-03     NHL

3086   2025-04-03     Duluth Trading Company

3087   2025-04-03     Anti Agency Group

3088   2025-04-03     APM Monaco

3089   2025-04-03     Propeller

3090   2025-04-03     FCA Mexico
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2        Filed 04/12/25        Page 105 of 365




#      Date           Entity Name
3091   2025-04-03     RTIC Outdoors

3092   2025-04-03     Sony Music Spain

3093   2025-04-03     REVOLVE

3094   2025-04-03     Spiceology

3095   2025-04-03     Shelf Inc.

3096   2025-04-03     De Helling

3097   2025-04-03     Understatement Underwear

3098   2025-04-03     FOX Sports

3099   2025-04-03     Melkweg Amsterdam

3100   2025-04-03     Gymexo

3101   2025-04-03     OneMain Business

3102   2025-04-03     JG Summit

3103   2025-04-03     Mars United Commerce

3104   2025-04-03     Isha Foundation

3105   2025-04-03     CAVA

3106   2025-04-03     Crunchyroll

3107   2025-04-03     Snow Days

3108   2025-04-03     Capacity Interactive - Digital Marketing Consulting for the Arts

3109   2025-04-03     Lumen Technologies

3110   2025-04-03     BerlinRosen

3111   2025-04-03     JOANN Fabric and Craft Stores

3112   2025-04-03     M1 m■u 1, N1 17/8 - P

3113   2025-04-03     Lovesac

3114   2025-04-03     I'd Rather Be With My Dog

3115   2025-04-03     Torrid

3116   2025-04-03     Kavala Collective

3117   2025-04-03     QVC

3118   2025-04-03     Pepsi

3119   2025-04-03     Sweed

3120   2025-04-03     CMS Music Media Ltd
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 106 of 365




#      Date           Entity Name
3121   2025-04-03     Bread Beauty Supply

3122   2025-04-03     FleishmanHillard

3123   2025-04-03     Found

3124   2025-04-03     wellrestedweeones

3125   2025-04-03     2K

3126   2025-04-03     KURU Footwear

3127   2025-04-03     Pourri

3128   2025-04-03     Learning A-Z

3129   2025-04-03     SmartPak

3130   2025-04-03     Call of Duty

3131   2025-04-03     lensun solar energy

3132   2025-04-03     Ayla & Co

3133   2025-04-03     Direct Auto Insurance

3134   2025-04-03     Swank A Posh

3135   2025-04-03     Conn's HomePlus

3136   2025-04-03     Exchange LA

3137   2025-04-03     ACTwireless

3138   2025-04-03     adidas

3139   2025-04-03     KraftMaid Cabinetry

3140   2025-04-03     LM250 9

3141   2025-04-03     Fiverr

3142   2025-04-03     REV77

3143   2025-04-03     Home Chef

3144   2025-04-03     Dentsu Digital Italy

3145   2025-04-03     Martell

3146   2025-04-03     Omnilux LED Light Therapy

3147   2025-04-03     CubeSmart Self Storage

3148   2025-04-03     Front Gate Tickets

3149   2025-04-03     Invisalign

3150   2025-04-03     Kilt 'Em
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2             Filed 04/12/25   Page 107 of 365




#      Date           Entity Name
3151   2025-04-03     L'Oréal Uruguay

3152   2025-04-03     Troubadour Presents

3153   2025-04-03     SocialAmp

3154   2025-04-03     Facetune by Lightricks

3155   2025-04-03     Sony Music Italy

3156   2025-04-03     Action Network

3157   2025-04-03     Coca-Cola Philippines

3158   2025-04-03     Dojo

3159   2025-04-03     Gooseberry Intimates

3160   2025-04-03     CSB

3161   2025-04-03     BetterHelp

3162   2025-04-03     MC UK - GBP

3163   2025-04-03     Manebí

3164   2025-04-03     Live Nation Norway

3165   2025-04-03     Island Records

3166   2025-04-03     Universal Music Recordings

3167   2025-04-03     Honcho.co

3168   2025-04-03     Puzzmo

3169   2025-04-03     Louis Vuitton Brazil

3170   2025-04-03     Blavity

3171   2025-04-03     IZEA Worldwide, Inc.

3172   2025-04-03     Secret Sounds

3173   2025-04-03     Danny Wimmer Presents

3174   2025-04-03     Vannen Watches

3175   2025-04-03     Instacart

3176   2025-04-03     AbbVie

3177   2025-04-03     First Interstate Center for the Arts

3178   2025-04-03     Caraway

3179   2025-04-03     Cardon

3180   2025-04-03     Sony Music Switzerland
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 108 of 365




#      Date           Entity Name
3181   2025-04-03     Magnolia Pictures

3182   2025-04-03     Funny or Not

3183   2025-04-03     Deezer

3184   2025-04-03     Tort Group

3185   2025-04-03     Evolve Media

3186   2025-04-03     Ring

3187   2025-04-03     Publicis Media Luxe

3188   2025-04-03     Wavemaker Canada

3189   2025-04-03     Hyperice

3190   2025-04-03     Shopify New York

3191   2025-04-03     Republic NOLA

3192   2025-04-03     WE ARE TALA

3193   2025-04-03     Shinesty

3194   2025-04-03     nuuly

3195   2025-04-03     Pura Vida

3196   2025-04-03     Absolute Merch

3197   2025-04-03     Estee Lauder México

3198   2025-04-03     Orion Publishing Group

3199   2025-04-03     Grundéns

3200   2025-04-03     OMD Panamá

3201   2025-04-03     Groupe EPI

3202   2025-04-03     Captain

3203   2025-04-03     Karsten Jahnke Konzerte

3204   2025-04-03     Sakara Life

3205   2025-04-03     amelieteje

3206   2025-04-03     Limelight Belfast

3207   2025-04-03     Helyx Marketing

3208   2025-04-03     Admixer

3209   2025-04-03     fuckinggoodmovies ®

3210   2025-04-03     Logos Bible Study Platform
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 109 of 365




#      Date           Entity Name
3211   2025-04-03     CNN Digital - Audience Dev

3212   2025-04-03     MediaSales

3213   2025-04-03     Solawave

3214   2025-04-03     Love Wellness

3215   2025-04-03     L'Oréal Social CDO - Cockpit & Advertising

3216   2025-04-03     Digital Tading Desk

3217   2025-04-03     Warner Music Norway

3218   2025-04-03     Mattress Firm

3219   2025-04-03     Keeps

3220   2025-04-03     CCI ■■■■cartacommunications

3221   2025-04-03     Gisou

3222   2025-04-03     Frontier Touring

3223   2025-04-03     Warner Music Ireland

3224   2025-04-03     Loma Vista Recordings

3225   2025-04-03     Maybelline New York

3226   2025-04-03     Inner Circle

3227   2025-04-03     Omnicom Media Group

3228   2025-04-03     Aleph Ecuador

3229   2025-04-03     Rothy's

3230   2025-04-03     Eva Rankin■

3231   2025-04-03     Democrats

3232   2025-04-03     Live Nation Polska

3233   2025-04-03     Radius Chicago

3234   2025-04-03     Backstreetmerch.com

3235   2025-04-03     Greens Club

3236   2025-04-03     TORY BURCH

3237   2025-04-03     Ribbow Media Group

3238   2025-04-03     TIBBS & BONES

3239   2025-04-03     Jockey

3240   2025-04-03     Shaq’s Fun House
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 110 of 365




#      Date           Entity Name
3241   2025-04-03     Gorgie

3242   2025-04-03     UMe Music Team

3243   2025-04-03     Ashley

3244   2025-04-03     TEG Live Europe

3245   2025-04-03     KSR Group

3246   2025-04-03     Culture Pop

3247   2025-04-03     MEC Italia

3248   2025-04-03     Milk Makeup - 6S

3249   2025-04-03     Alo Yoga

3250   2025-04-03     Proposal Prep by Best Kept

3251   2025-04-03     Geologie

3252   2025-04-03     Handle the Heat

3253   2025-04-03     Rite Aid

3254   2025-04-03     Angler AI

3255   2025-04-03     Moroch

3256   2025-04-03     Relistor® (methylnaltrexone bromide)

3257   2025-04-03     The Gatorade Company

3258   2025-04-03     KBMG Data Services Development

3259   2025-04-03     GoldSilver

3260   2025-04-03     Bonneville International

3261   2025-04-03     AEG Presents UK

3262   2025-04-03     Heartbeat

3263   2025-04-03     Brand Polling

3264   2025-04-03     Supercell

3265   2025-04-03     Katherine Kwok FB Biz

3266   2025-04-03     The New York Times

3267   2025-04-03     Happy Mammoth

3268   2025-04-03     Carter's

3269   2025-04-03     Listerine

3270   2025-04-03     Talent Groupe CH
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 111 of 365




#      Date           Entity Name
3271   2025-04-03     Move With Us

3272   2025-04-03     CurlMix

3273   2025-04-03     STAAR Global

3274   2025-04-03     Unique Vacations Limited

3275   2025-04-03     California Cryobank

3276   2025-04-03     PrettyLittleThing

3277   2025-04-03     Goldenvoice

3278   2025-04-03     FLOAT FEST

3279   2025-04-03     Olipop

3280   2025-04-03     Mushroom

3281   2025-04-03     Annapurna Pictures

3282   2025-04-03     Test Global

3283   2025-04-03     H&M - Paid Social

3284   2025-04-03     Florida Credit Union

3285   2025-04-03     Grunt Style

3286   2025-04-03     Hearst Television

3287   2025-04-03     Resolve

3288   2025-04-03     Wavemaker Deutschland

3289   2025-04-03     Premiere Speakers Bureau

3290   2025-04-03     SiriusXM

3291   2025-04-03     House Shops Ads

3292   2025-04-03     Triple G Events

3293   2025-04-03     Socialflow

3294   2025-04-03     22squared

3295   2025-04-03     factory 54

3296   2025-04-03     L'Oréal Suisse

3297   2025-04-03     Savannah Bee Company

3298   2025-04-03     Kore Nutrition

3299   2025-04-03     Harbor Freight

3300   2025-04-03     Bridg Channel
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2       Filed 04/12/25   Page 112 of 365




#      Date           Entity Name
3301   2025-04-03     The QYOU

3302   2025-04-03     CVS Pharmacy

3303   2025-04-03     Away That Day

3304   2025-04-03     IProspect Fort Worth

3305   2025-04-03     Bombora

3306   2025-04-03     Strawberries & Creem

3307   2025-04-03     JCG LLC

3308   2025-04-03     Horizon Horseback

3309   2025-04-03     Vunzige Deuntjes

3310   2025-04-03     LocaliQ

3311   2025-04-03     Universal Music South Africa

3312   2025-04-03     LOOPS

3313   2025-04-03     The Citizenry

3314   2025-04-03     Bang Productions Television

3315   2025-04-03     Republic Records

3316   2025-04-03     Research Study Rockstar

3317   2025-04-03     CONVERSE

3318   2025-04-03     Genentech

3319   2025-04-03     Wish

3320   2025-04-03     Canopy

3321   2025-04-03     Hopscotch Music Festival

3322   2025-04-03     Trials World

3323   2025-04-03     Giant Partners

3324   2025-04-03     Spotify LATAM BM

3325   2025-04-03     DASH TWO

3326   2025-04-03     Tres Colori Jewelry

3327   2025-04-03     Happify by Twill

3328   2025-04-03     Molson Coors

3329   2025-04-03     Kawasaki USA

3330   2025-04-03     GOP
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 113 of 365




#      Date           Entity Name
3331   2025-04-03     Kardiel

3332   2025-04-03     Feld Entertainment, Inc.

3333   2025-04-03     Starcom USA, Best Buy

3334   2025-04-03     RCKT.

3335   2025-04-03     Tropical Bros

3336   2025-04-03     Diggerland USA

3337   2025-04-03     K-Swiss

3338   2025-04-03     Compulse

3339   2025-04-03     ClearOne Advantage, LLC

3340   2025-04-03     Blue Shield of California

3341   2025-04-03     Truth and Love Coaching International

3342   2025-04-03     Silk + Sonder

3343   2025-04-03     Warner Music Poland

3344   2025-04-03     ICRUSH

3345   2025-04-03     HEYDUDE

3346   2025-04-03     Black Promoters Collective

3347   2025-04-03     Sony Music France

3348   2025-04-03     Suit Up Brands LLC

3349   2025-04-03     GMI Maxus IDR WPP

3350   2025-04-03     RODEOHOUSTON

3351   2025-04-03     mandanadayani

3352   2025-04-03     Scentiment

3353   2025-04-03     Intermate Media GmbH

3354   2025-04-03     Gupta Media Holdings, LLC

3355   2025-04-03     Hairfinity

3356   2025-04-03     United Gold Group

3357   2025-04-03     AptDeco

3358   2025-04-03     MetaTeam

3359   2025-04-03     Comedy Central

3360   2025-04-03     Sage Dental
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25   Page 114 of 365




#      Date           Entity Name
3361   2025-04-03     Casely

3362   2025-04-03     ZipRecruiter

3363   2025-04-03     Klick - Epic

3364   2025-04-03     JCK Enterprises, LLC

3365   2025-04-03     J Vineyards & Winery

3366   2025-04-03     Marketing

3367   2025-04-03     Matthew 6:26 LLC

3368   2025-04-03     Simpli.fi

3369   2025-04-03     No_Comment

3370   2025-04-03     NIV Bible

3371   2025-04-03     OfferUp

3372   2025-04-03     Latched Mama

3373   2025-04-03     Lending Store

3374   2025-04-03     Cracker Barrel Old Country Store

3375   2025-04-03     Interactive Avenues

3376   2025-04-03     Sephora

3377   2025-04-03     Swimply

3378   2025-04-03     The Christian Broadcasting Network

3379   2025-04-03     M Booth

3380   2025-04-03     BJ's Wholesale Club

3381   2025-04-03     Musely

3382   2025-04-03     Facebook Insertion Orders

3383   2025-04-03     Verb Products

3384   2025-04-03     Bespoke Post

3385   2025-04-03     BM 07

3386   2025-04-03     JCPenney

3387   2025-04-03     VS-Ronaldo Silva 1 - bm 5

3388   2025-04-03     Coffee Dose

3389   2025-04-03     Rakuten

3390   2025-04-03     Rescue: The Behavior Change Agency
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 115 of 365




#      Date           Entity Name
3391   2025-04-03     FIGS

3392   2025-04-03     René Furterer

3393   2025-04-03     Sanity Skin

3394   2025-04-03     Initiative Wellness

3395   2025-04-03     4C

3396   2025-04-03     Flaus

3397   2025-04-03     Vizeum - US

3398   2025-04-03     Collections Etc

3399   2025-04-03     JBL

3400   2025-04-03     Smarty Social Media

3401   2025-04-03     Xfinity

3402   2025-04-03     BOSS

3403   2025-04-03     Step

3404   2025-04-03     Reward Agency - 08

3405   2025-04-03     Concord

3406   2025-04-03     TrustGodbro Clothing

3407   2025-04-03     Moon Active

3408   2025-04-03     Instagram

3409   2025-04-03     Influential

3410   2025-04-03     Universal Music Malaysia

3411   2025-04-03     Plein Air

3412   2025-04-03     Sony Music Entertainment

3413   2025-04-03     P&G Professional España

3414   2025-04-03     Give Back Beauty

3415   2025-04-03     HarperCollins

3416   2025-04-03     The KISS Marketing Agency

3417   2025-04-03     L'atelier HK

3418   2025-04-03     UNDER THE INFLUENCE

3419   2025-04-03     Hulu

3420   2025-04-03     Delivery Hero
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 116 of 365




#      Date           Entity Name
3421   2025-04-03     Big Concerts

3422   2025-04-03     Oceansapart Global

3423   2025-04-03     Emc_TCCC

3424   2025-04-03     Fused - Universal Music

3425   2025-04-03     NEUW Denim

3426   2025-04-03     Zenith France

3427   2025-04-03     Ghostwriter Consultancy & Events

3428   2025-04-03     CharityStars

3429   2025-04-03     ZenithOptimedia Thailand

3430   2025-04-03     Empower

3431   2025-04-03     Unilever Canada

3432   2025-04-03     Papinelle Sleepwear

3433   2025-04-03     Amplify.ai

3434   2025-04-03     Sif Jakobs Jewellery

3435   2025-04-03     Interscope Records

3436   2025-04-03     Best Videos

3437   2025-04-03     Bonnie

3438   2025-04-03     Afrobeats Central

3439   2025-04-03     Flat Tummy Co

3440   2025-04-03     NeoPerformance

3441   2025-04-03     Park Advertising

3442   2025-04-03     Insomniac Events

3443   2025-04-03     Pit Viper

3444   2025-04-03     Dot Matters

3445   2025-04-03     Beauty Factory

3446   2025-04-03     Tanrevel

3447   2025-04-03     The Ridge

3448   2025-04-03     Entravisión Panamá

3449   2025-04-03     Universal Music Canada

3450   2025-04-03     For Wellness
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 117 of 365




#      Date           Entity Name
3451   2025-04-03     moveconcertsarg

3452   2025-04-03     Playboy

3453   2025-04-03     Island Records UK

3454   2025-04-03     PacSun

3455   2025-04-03     Tropic of C

3456   2025-04-03     Kulturbolaget

3457   2025-04-03     FB Only SMB Channel Test Page

3458   2025-04-03     Sony Music Germany

3459   2025-04-03     AEG Presents - Media

3460   2025-04-03     Entravision Latam - Honduras

3461   2025-04-03     aim'n

3462   2025-04-03     MILLIONS

3463   2025-04-03     White Claw

3464   2025-04-03     Gina Tricot

3465   2025-04-03     Ranker 2

3466   2025-04-03     FanDuel

3467   2025-04-03     Guinness

3468   2025-04-03     Universal Music Romania

3469   2025-04-03     First Avenue & 7th St Entry

3470   2025-04-03     Big Think Agency

3471   2025-04-03     Wolven

3472   2025-04-03     Accelerated Intelligence Ltd

3473   2025-04-03     Disney Streaming

3474   2025-04-03     Shareablee

3475   2025-04-03     Hoffman York

3476   2025-04-03     310 Nutrition

3477   2025-04-03     Apple Services

3478   2025-04-03     Harper's Bazaar

3479   2025-04-03     Summerfest

3480   2025-04-03     NOTO Houston
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2     Filed 04/12/25   Page 118 of 365




#      Date           Entity Name
3481   2025-04-03     Yallie K Enterprises LLC

3482   2025-04-03     MOJO

3483   2025-04-03     North Coast Music Festival

3484   2025-04-03     VaynerMedia Canada

3485   2025-04-03     Mediaplus Hamburg GmbH & Co. KG

3486   2025-04-03     Ulta Beauty

3487   2025-04-03     Panasonic Personal Care USA

3488   2025-04-03     T&M Holding

3489   2025-04-03     Live Nation Sweden

3490   2025-04-03     Aleph Uruguay

3491   2025-04-03     Starcom UK PUIG

3492   2025-04-03     Herbivore Botanicals

3493   2025-04-03     Universal Music Polska

3494   2025-04-03     Aleph - Costa Rica

3495   2025-04-03     Wizard Live

3496   2025-04-03     therankedmusic

3497   2025-04-03     Wonderfront Festival

3498   2025-04-03     Reprise Media México

3499   2025-04-03     Lerma Agency

3500   2025-04-03     Greenhouse Talent NL

3501   2025-04-03     Live Nation Denmark

3502   2025-04-03     IPSY

3503   2025-04-03     Big Slap

3504   2025-04-03     Cadence

3505   2025-04-03     Capital One

3506   2025-04-03     GETmusic

3507   2025-04-03     Motion

3508   2025-04-03     Calvin Klein

3509   2025-04-03     Quarterlab

3510   2025-04-03     AutoCanada
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 119 of 365




#      Date           Entity Name
3511   2025-04-03     Code3

3512   2025-04-03     Sony Music Colombia

3513   2025-04-03     af_drinks

3514   2025-04-03     The Church of Jesus Christ of Latter-day Saints

3515   2025-04-03     471887696173235

3516   2025-04-03     Hint

3517   2025-04-03     Neko Test Page

3518   2025-04-03     LP Generic Business

3519   2025-04-03     Omnilife

3520   2025-04-03     AuDigent

3521   2025-04-03     The Bellwether

3522   2025-04-03     Adult Swim

3523   2025-04-03     Fun.com

3524   2025-04-03     Kiehl's

3525   2025-04-03     Live Nation Concerts

3526   2025-04-03     ■■■■■■■■■■■■■■

3527   2025-04-03     MC2 LIVE

3528   2025-04-03     Jill

3529   2025-04-03     Andi Bagus

3530   2025-04-03     Brilliant Earth

3531   2025-04-03     Noisy Trumpet

3532   2025-04-03     Groot Hospitality

3533   2025-04-03     Ford Motor Company

3534   2025-04-03     Sony Music UK

3535   2025-04-03     Nestlé HK ■■■■

3536   2025-04-03     Snapchat for Business

3537   2025-04-03     Alo Moves

3538   2025-04-03     FreePrints App

3539   2025-04-03     Edelman Digital NYC

3540   2025-04-03     Dentsu Greece
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 120 of 365




#      Date           Entity Name
3541   2025-04-03     GroupM Danmark

3542   2025-04-03     T4F

3543   2025-04-03     Quakmedia - Agencia de Marketing Digital

3544   2025-04-03     Warner Music Africa

3545   2025-04-03     Social

3546   2025-04-03     FamilySearch

3547   2025-04-03     Essence

3548   2025-04-03     Corida

3549   2025-04-03     Sony Music Brasil

3550   2025-04-03     Peloton

3551   2025-04-03     fource.cz

3552   2025-04-03     Capitol Music Group

3553   2025-04-03     Reprise Chile

3554   2025-04-03     Alex Feather Akimov's Business

3555   2025-04-03     Twillory

3556   2025-04-03     9:30 Club

3557   2025-04-03     EMI Records

3558   2025-04-03     Rémy Martin

3559   2025-04-03     Topsify

3560   2025-04-03     Sony Music Austria

3561   2025-04-03     Emporium Presents

3562   2025-04-03     Warner Music Spain

3563   2025-04-03     Helix Sleep

3564   2025-04-03     Art Label Studios 2024

3565   2025-04-03     Elicit Music

3566   2025-04-03     playforgain

3567   2025-04-03     FM4 Indiekiste mit

3568   2025-04-03     Arising Empire

3569   2025-04-03     MEC Australia

3570   2025-04-03     Mediacom FR
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 121 of 365




#      Date           Entity Name
3571   2025-04-03     Mindshare Sverige

3572   2025-04-03     E! News

3573   2025-04-03     Milani

3574   2025-04-03     Universal Music Group: Global Digital Marketing

3575   2025-04-03     Condé Nast

3576   2025-04-03     L'Oréal Group

3577   2025-04-03     Amazon.com

3578   2025-04-03     American Sporstwear, S.A.

3579   2025-04-03     Jack Archer

3580   2025-04-03     Meta

3581   2025-04-03     Elementary Innovation Pte. Ltd.

3582   2025-04-03     UMusic Australia

3583   2025-04-03     Superfly

3584   2025-04-03     wavo.me

3585   2025-04-03     The Assembly Music

3586   2025-04-03     Data Axle USA

3587   2025-04-03     Brilliance.com

3588   2025-04-03     Collectiv Presents

3589   2025-04-03     Motorola

3590   2025-04-03     Heather McMahan

3591   2025-04-03     ThinkSwell

3592   2025-04-03     Performics Test Page

3593   2025-04-03     Zenith - PGD

3594   2025-04-03     VarleyClothing

3595   2025-04-03     Red Digital

3596   2025-04-03     Infectious Music

3597   2025-04-03     BuzzFeed Branded Distribution

3598   2025-04-03     PHD colombia S.A.S

3599   2025-04-03     Afro Nation

3600   2025-04-03     Bruckner Yaar Levi
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 122 of 365




#      Date           Entity Name
3601   2025-04-03     Gordon McKernan Injury Attorneys

3602   2025-04-03     Walt Disney World

3603   2025-04-03     i.am.gia

3604   2025-04-03     Live Nation UK

3605   2025-04-03     HotSnap

3606   2025-04-03     Aleph El Salvador

3607   2025-04-03     Live Nation Australia

3608   2025-04-03     MDX_3

3609   2025-04-03     Primark

3610   2025-04-03     Glamnetic

3611   2025-04-03     Morris Bart, LLC

3612   2025-04-03     Threepipe

3613   2025-04-03     FB App

3614   2025-04-03     Another Planet Entertainment

3615   2025-04-03     Labelium Australia and New Zealand

3616   2025-04-03     Madison Square Garden

3617   2025-04-03     MRG Live

3618   2025-04-03     OMD Entertainment

3619   2025-04-03     Glossier

3620   2025-04-03     Havas Media Group USA LLC

3621   2025-04-03     WMcCann RJ

3622   2025-04-03     Bonus Track

3623   2025-04-03     Performics Belgium

3624   2025-04-03     Fanatics Live

3625   2025-04-03     Dentsu X UK

3626   2025-04-03     CountryWired INC.

3627   2025-04-03     Ray-Ban

3628   2025-04-03     Noise New Media

3629   2025-04-03     Data unavailable

3630   2025-04-03     Live Tour Promotions
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 123 of 365




#      Date           Entity Name
3631   2025-04-03     The Detox Dudes

3632   2025-04-03     Purdue Global

3633   2025-04-03     Universal Music France

3634   2025-04-03     Vodafone Group

3635   2025-04-03     HolStrength

3636   2025-04-03     Sure Sure

3637   2025-04-03     Aleph - Panama

3638   2025-04-03     SKIMS

3639   2025-04-03     Ark Swimwear

3640   2025-04-03     Socialyte

3641   2025-04-03     AEG Presents France

3642   2025-04-03     Tommy Hilfiger

3643   2025-04-03     Uber

3644   2025-04-03     kate spade new york

3645   2025-04-03     Resolution Media

3646   2025-04-03     JustFab

3647   2025-04-03     Filtr

3648   2025-04-03     FB Growth Marketing

3649   2025-04-03     Universal Music Ireland

3650   2025-04-03     TivoliVredenburg

3651   2025-04-03     Greenhouse Talent

3652   2025-04-03     Unilever Philippines

3653   2025-04-03     Funded Commerce Ads

3654   2025-04-03     ■■■■■■■■■■_2

3655   2025-04-03     Juicy Couture

3656   2025-04-03     Horizon Blue Cross Blue Shield of New Jersey

3657   2025-04-03     The Orchard

3658   2025-04-03     Edikted

3659   2025-04-03     Horizn Studios

3660   2025-04-03     L'Oréal Paris
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 124 of 365




#      Date           Entity Name
3661   2025-04-03     Facebook Analytics

3662   2025-04-03     ThredUp

3663   2025-04-03     Lauren Daigle

3664   2025-04-03     GroupM

3665   2025-04-03     Alya Skin Australia

3666   2025-04-03     The Home Depot

3667   2025-04-03     Integral Strength

3668   2025-04-03     Universal Music Brasil

3669   2025-04-03     Doublesoul

3670   2025-04-03     Electric Promotions

3671   2025-04-03     StackSocial

3672   2025-04-03     Univision

3673   2025-04-03     ViiV Healthcare

3674   2025-04-03     Initiative

3675   2025-04-03     Outback Presents

3676   2025-04-03     Life.Church

3677   2025-04-03     Online Trainer/Coach

3678   2025-04-03     Wavemaker Malaysia

3679   2025-04-03     Penguin España

3680   2025-04-03     Vuori

3681   2025-04-03     BluFish

3682   2025-04-03     UM NY

3683   2025-04-03     Universal Music Switzerland

3684   2025-04-03     SkinnyDipped

3685   2025-04-03     VaynerMedia

3686   2025-04-03     United Influencers

3687   2025-04-03     Pinterest Inc

3688   2025-04-03     RainCloud Media

3689   2025-04-03     Open Influence

3690   2025-04-03     Kroger
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 125 of 365




#      Date           Entity Name
3691   2025-04-03     GEICO

3692   2025-04-03     St. Jude Children's Research Hospital

3693   2025-04-03     Wiland Data Targeting

3694   2025-04-03     Wiland Audiences

3695   2025-04-03     Alfred A. Knopf

3696   2025-04-03     AU 77

3697   2025-04-03     Uniagency

3698   2025-04-03     Verizon

3699   2025-04-03     Victoria Warehouse

3700   2025-04-03     Walmart.com

3701   2025-04-03     MODCo T2

3702   2025-04-03     Gupta Media

3703   2025-04-03     XaxisKorea

3704   2025-04-03     Gadget Entertainment

3705   2025-04-03     Warner Music France

3706   2025-04-03     Bell Media

3707   2025-04-03     Functional Care

3708   2025-04-03     ZitSticka

3709   2025-04-03     Frank And Oak

3710   2025-04-03     Maelys Cosmetics

3711   2025-04-03     Reality Labs

3712   2025-04-03     Assembly

3713   2025-04-03     Polydor

3714   2025-04-03     Opus Live

3715   2025-04-03     The Children's Place

3716   2025-04-03     Live Nation Canada

3717   2025-04-03     Eggland's Best Eggs

3718   2025-04-03     Satullo

3719   2025-04-03     AEG Presents

3720   2025-04-03     Rosental Organics
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 126 of 365




#      Date           Entity Name
3721   2025-04-03     Launchpad Ignite

3722   2025-04-03     Destroy All Lines

3723   2025-04-03     Church of the King

3724   2025-04-03     Centricity Music

3725   2025-04-03     Selfie Leslie

3726   2025-04-03     Boncom

3727   2025-04-03     Cooking Vinyl

3728   2025-04-03     Sold Out Advertising

3729   2025-04-03     Louis Vuitton

3730   2025-04-03     Drive Toyota

3731   2025-04-03     Veltrac Music

3732   2025-04-03     Live Nation Alabama & Mississippi

3733   2025-04-03     ASW Group

3734   2025-04-03     Dow

3735   2025-04-03     LADbible

3736   2025-04-03     Foam and Substance

3737   2025-04-03     LiveRamp

3738   2025-04-03     Brand survey

3739   2025-04-03     Sony Music Australia

3740   2025-04-03     OMD USA

3741   2025-04-03     The Foxy Hipster

3742   2025-04-03     Ranker.com

3743   2025-04-03     Engage Media

3744   2025-04-03     SupplyX

3745   2025-04-03     UM MENA

3746   2025-04-03     Ads Preview Workaround

3747   2025-04-03     Cleo

3748   2025-04-03     Zenith USA

3749   2025-04-03     Flip.shop

3750   2025-04-03     ROR Partners
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 127 of 365




#      Date           Entity Name
3751   2025-04-03     Soundwave Consulting

3752   2025-04-03     Chewy

3753   2025-04-03     GALE Media

3754   2025-04-03     Edelman West

3755   2025-04-03     Deep Root Analytics

3756   2025-04-03     FanDuel Racing

3757   2025-04-03     Hagerty

3758   2025-04-03     Tombras

3759   2025-04-03     Postmates

3760   2025-04-03     Max Connect Digital

3761   2025-04-03     Zimmerman Advertising

3762   2025-04-03     Betfair Interactive US LLC

3763   2025-04-03     GCommerce

3764   2025-04-03     Makeup.com by L'Oreal

3765   2025-04-03     Active International

3766   2025-04-03     Swanson Russell

3767   2025-04-03     Linktree

3768   2025-04-03     Adobe

3769   2025-04-03     Infusion Marketing Group

3770   2025-04-03     EVERSANA INTOUCH

3771   2025-04-03     HCN

3772   2025-04-03     Allergan Aesthetics

3773   2025-04-03     Omnicom Resolution

3774   2025-04-03     Car Price Secrets

3775   2025-04-03     Marathon Strategies

3776   2025-04-03     Ad Insights

3777   2025-04-03     Verified

3778   2025-04-03     Solaura

3779   2025-04-03     The Jet-Ski Doctor

3780   2025-04-03     Albertsons
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 128 of 365




#      Date           Entity Name
3781   2025-04-03     Foursquare City Guide

3782   2025-04-03     Hearts & Science

3783   2025-04-03     Blue 449

3784   2025-04-03     Eulerity

3785   2025-04-03     Wyze

3786   2025-04-03     UM APAC

3787   2025-04-03     TDC Audiences

3788   2025-04-03     Humane World for Animals

3789   2025-04-03     Unicorn Innovations

3790   2025-04-03     Ross University School of Veterinary Medicine

3791   2025-04-03     Eyeota

3792   2025-04-03     Macy's

3793   2025-04-03     SmartHeart

3794   2025-04-03     Zales

3795   2025-04-03     Brooks Running

3796   2025-04-03     UM Detroit

3797   2025-04-03     PetSmart

3798   2025-04-03     Mazda USA

3799   2025-04-03     DoorDash

3800   2025-04-03     We Play

3801   2025-04-03     Conill Advertising

3802   2025-04-03     Wiland Data Tactics

3803   2025-04-03     PETERMAYER

3804   2025-04-03     Jackson Hewitt

3805   2025-04-03     Hilton Newsroom

3806   2025-04-03     JXM

3807   2025-04-03     Bolster

3808   2025-04-03     Hong Kong Zoom Interactive Network Marketing Technology Limited

3809   2025-04-03     Sentara Health

3810   2025-04-03     Cash App
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2    Filed 04/12/25   Page 129 of 365




#      Date           Entity Name
3811   2025-04-03     DraftKings

3812   2025-04-03     Butler/Till

3813   2025-04-03     PHD France

3814   2025-04-03     Rent. Solutions

3815   2025-04-03     Aero Opco LLC

3816   2025-04-03     Croud Ads

3817   2025-04-03     Amobee DMP

3818   2025-04-03     WS NA

3819   2025-04-03     Experian Marketing Services - Audiences

3820   2025-04-03     DISH

3821   2025-04-03     HQ CDM

3822   2025-04-03     MetLife

3823   2025-04-03     Papa Johns Pizza

3824   2025-04-03     Sony Rewards

3825   2025-04-03     Wayfair

3826   2025-04-03     Edelman DC

3827   2025-04-03     Warby Parker

3828   2025-04-03     Smile Direct Club

3829   2025-04-03     Multitud Digital

3830   2025-04-03     KeepGoing First Aid

3831   2025-04-03     Q Link Wireless

3832   2025-04-03     Best Buy, Starcom USA

3833   2025-04-03     Colleen Mauer Designs

3834   2025-04-03     M&C Saatchi Performance

3835   2025-04-03     The Relationship School

3836   2025-04-03     Grubhub

3837   2025-04-03     Mayo Clinic

3838   2025-04-03     PreciseTarget

3839   2025-04-03     Universal Studios Hollywood

3840   2025-04-03     M+R
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 130 of 365




#      Date           Entity Name
3841   2025-04-03     THIRD EAR

3842   2025-04-03     PushSpring

3843   2025-04-03     Burson Global

3844   2025-04-03     Masters of Balayage

3845   2025-04-03     Predictive Media Analytics, LLC

3846   2025-04-03     BET

3847   2025-04-03     The Lyrical Lemonade Summer Smash Festival

3848   2025-04-03     Etsy

3849   2025-04-03     Fashion Nova

3850   2025-04-03     Clarins

3851   2025-04-03     Illinois Lottery

3852   2025-04-03     Avant Gardner

3853   2025-04-03     EA - Electronic Arts

3854   2025-04-03     Magnolias

3855   2025-04-03     Novartis Clinical Trials

3856   2025-04-03     MethodGroupe

3857   2025-04-03     Slime Obsidian

3858   2025-04-03     Dermaclara

3859   2025-04-03     Team One USA

3860   2025-04-03     Boarderie

3861   2025-04-03     WPS Health Insurance - Health Plan

3862   2025-04-03     Kikoff

3863   2025-04-03     Frankies Bikinis

3864   2025-04-03     Best Buy

3865   2025-04-03     Current

3866   2025-04-03     F1 + F3 len moi

3867   2025-04-03     Solved

3868   2025-04-03     American Kidney Fund

3869   2025-04-03     Happy Family Organics

3870   2025-04-03     Katalyst Advantage
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 131 of 365




#      Date           Entity Name
3871   2025-04-03     BrandMuscle - etatslla

3872   2025-04-03     Aerial Video A to Z

3873   2025-04-03     WMX

3874   2025-04-03     Pandora

3875   2025-04-03     Eli Lilly and Company

3876   2025-04-03     Precision

3877   2025-04-03     EMT

3878   2025-04-03     Champs Sports

3879   2025-04-03     PayPal

3880   2025-04-03     CoxNext

3881   2025-04-03     We Are Saatchi

3882   2025-04-03     Boston Comedy Festival

3883   2025-04-03     Dice Dreams

3884   2025-04-03     Indeed

3885   2025-04-03     P&G Social Global

3886   2025-04-03     Discover

3887   2025-04-03     Inspire Brands

3888   2025-04-03     Slynd® (drospirenone)

3889   2025-04-03     DSplus

3890   2025-04-03     Aza

3891   2025-04-03     Kash Kick 2

3892   2025-04-03     Marc Jacobs

3893   2025-04-03     Audience Town

3894   2025-04-03     Michael Kors

3895   2025-04-03     Joom

3896   2025-04-03     Change Research

3897   2025-04-03     Campbell Ewald

3898   2025-04-03     Greta Boutique

3899   2025-04-03     Synchrony

3900   2025-04-03     Gap Inc
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 132 of 365




#      Date           Entity Name
3901   2025-04-03     Drive with Lyft

3902   2025-04-03     HealixGlobal

3903   2025-04-03     Breathe For Change

3904   2025-04-03     Square

3905   2025-04-03     Factoría Publica

3906   2025-04-03     Health Union LLC

3907   2025-04-03     Sony Electronics

3908   2025-04-03     Socialistics

3909   2025-04-03     Immerse Agency, LLC

3910   2025-04-03     Foot Locker

3911   2025-04-03     Grant Cardone

3912   2025-04-03     Kay Jewelers

3913   2025-04-03     Live Nation France

3914   2025-04-03     MCoBeauty US

3915   2025-04-03     Beth Stelling

3916   2025-04-03     Alter Art

3917   2025-04-03     Live Nation Germany - Austria - Switzerland

3918   2025-04-03     1000heads - US Office

3919   2025-04-03     Monqui Presents

3920   2025-04-03     umusic NZ

3921   2025-04-03     Universal Music Colombia

3922   2025-04-03     Vogue France

3923   2025-04-03     eHealth

3924   2025-04-03     Guardian Childcare & Education

3925   2025-04-03     Angela ■

3926   2025-04-03     INH Hair

3927   2025-04-03     Global Health on Facebook

3928   2025-04-03     Universal Music Legends

3929   2025-04-03     LIVE NATION ES

3930   2025-04-03     PM PUIG
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 133 of 365




#      Date           Entity Name
3931   2025-04-03     Starcom USA

3932   2025-04-03     RW Consulting

3933   2025-04-03     MEC

3934   2025-04-03     Disney

3935   2025-04-03     Indipendente Concerti

3936   2025-04-03     Knitting Factory Entertainment

3937   2025-04-03     Universal Music Sweden

3938   2025-04-03     Sparkart Group, Inc.

3939   2025-04-03     Accenture Adaptly Media Clients

3940   2025-04-03     ■■■■ ■■■

3941   2025-04-03     703digital

3942   2025-04-03     Publicis Health Media

3943   2025-04-03     EDGE Entertainment Digital

3944   2025-04-03     Finish Line

3945   2025-04-03     Bornlogic

3946   2025-04-03     Starcom Denmark

3947   2025-04-03     Team BC

3948   2025-04-03     APRILSKIN ■■■■■■

3949   2025-04-03     Reaction Presents

3950   2025-04-03     Bumble

3951   2025-04-03     Grupo Axo

3952   2025-04-03     Universal Music Norge

3953   2025-04-03     Scruff of the Neck

3954   2025-04-03     The Goat Agency

3955   2025-04-03     Pierce Media

3956   2025-04-03     Universal Music Latino

3957   2025-04-03     Cozy Earth

3958   2025-04-03     Universal Music Thailand

3959   2025-04-03     Express

3960   2025-04-03     Entertainment on Facebook
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 134 of 365




#      Date           Entity Name
3961   2025-04-03     Okori Kazakhstan

3962   2025-04-03     Smashbox Cosmetics

3963   2025-04-03     LES VISIONNAIRES

3964   2025-04-03     Angus Media

3965   2025-04-03     Kitbag

3966   2025-04-03     Performance Marketing - USD - Spotify AB

3967   2025-04-03     Alexis Ren

3968   2025-04-03     Meta for Business

3969   2025-04-03     FitnFemale

3970   2025-04-03     the7stars

3971   2025-04-03     Universal Music Deutschland

3972   2025-04-03     Connected Vivaki

3973   2025-04-03     We are mitú

3974   2025-04-03     SOSHE Beauty

3975   2025-04-03     Garage

3976   2025-04-03     Magnum Photos

3977   2025-04-03     VET Tv- Veteran Television

3978   2025-04-03     Nutrafol

3979   2025-04-03     Vivara

3980   2025-04-03     Trafalgar Releasing

3981   2025-04-03     Warner Music Canada

3982   2025-04-03     BeatStars Inc.

3983   2025-04-03     WhatsApp

3984   2025-04-03     L'Oréal Chile

3985   2025-04-03     Monarch

3986   2025-04-03     Test

3987   2025-04-03     GQ Italia

3988   2025-04-03     Relatable

3989   2025-04-03     Aleph Guatemala

3990   2025-04-03     Skingasm
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25       Page 135 of 365




#      Date           Entity Name
3991   2025-04-03     MyMuse

3992   2025-04-03     Seminole Hard Rock Hotel & Casino - Hollywood, FL

3993   2025-04-03     starrising777

3994   2025-04-03     Cure Media

3995   2025-04-03     Musical Earth

3996   2025-04-03     Match

3997   2025-04-03     bubly

3998   2025-04-03     Keurig

3999   2025-04-03     Purple Media

4000   2025-04-03     AdParlor

4001   2025-04-03     Rezonate Media

4002   2025-04-03     MPP Business test account

4003   2025-04-03     T-Mobile

4004   2025-04-03     Instagram Ad Ops

4005   2025-04-03     DSW Designer Shoe Warehouse

4006   2025-04-03     Convergence Media

4007   2025-04-03     Dr Pepper Snapple Group

4008   2025-04-03     Progressive

4009   2025-04-03     Target

4010   2025-04-03     Center

4011   2025-04-03     CMI Media Group and Compas

4012   2025-04-03     Dansko, LLC

4013   2025-04-03     Huggies

4014   2025-04-03     Test Page

4015   2025-04-03     Good Apple

4016   2025-04-03     J3

4017   2025-04-03     Merkle Incorporated

4018   2025-04-03     Brand Networks

4019   2025-04-03     GroupM Media India

4020   2025-04-03     Starcom Sweden AB
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 136 of 365




#      Date           Entity Name
4021   2025-04-03     Intuit TurboTax

4022   2025-04-03     Acxiom

4023   2025-04-03     Barstool Sports

4024   2025-04-03     Intuit QuickBooks

4025   2025-04-03     Dollar General

4026   2025-04-03     My View From Beer

4027   2025-04-03     X-VIN

4028   2025-04-03     Oracle Data Cloud CA

4029   2025-04-03     Sundays

4030   2025-04-03     Spring Creek Group

4031   2025-04-03     L'ange

4032   2025-04-03     BoostMobile - New/Post-Harmony

4033   2025-04-03     Merkle Data Partner

4034   2025-04-03     Nielsen Marketing Cloud

4035   2025-04-03     iProspect Detroit

4036   2025-04-03     Reprise ES

4037   2025-04-03     EMEA

4038   2025-04-03     Kohl's

4039   2025-04-03     SoFi

4040   2025-04-03     HMI Social

4041   2025-04-03     FESTIVAL LES ARDENTES

4042   2025-04-03     L'Oréal Professionnel

4043   2025-04-03     Digital House

4044   2025-04-03     Universal Music Danmark

4045   2025-04-03     T4 Social Media LLC

4046   2025-04-03     Scooter's Coffee

4047   2025-04-03     Wavemaker Hong Kong

4048   2025-04-03     Yamaha Music USA

4049   2025-04-03     Typology

4050   2025-04-03     LSU AgCenter Botanic Gardens
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 137 of 365




#      Date           Entity Name
4051   2025-04-03     Cuffe & Taylor

4052   2025-04-03     Wmg gps adx

4053   2025-04-03     eBay

4054   2025-04-03     Tatti Lashes

4055   2025-04-03     Harvest Hill Beverage Company

4056   2025-04-03     Aleph - Dominican Republic

4057   2025-04-03     Mainment GmbH

4058   2025-04-03     American Eagle

4059   2025-04-03     Called

4060   2025-04-03     Unit 3C

4061   2025-04-03     L.A. Concerts

4062   2025-04-03     Kurt Geiger

4063   2025-04-03     Tell Your People

4064   2025-04-03     Neustar FB Syndication

4065   2025-04-03     SUGARED + BRONZED

4066   2025-04-03     TargetSmart

4067   2025-04-03     Spark Foundry USA

4068   2025-04-03     Epsilon Audience Data Provider

4069   2025-04-03     NOTO Philadelphia

4070   2025-04-03     AirSculpt

4071   2025-04-03     Captiv8

4072   2025-04-03     iHeartCountry

4073   2025-04-03     Carmichael Lynch

4074   2025-04-03     Hampton Creative

4075   2025-04-03     Havas Media

4076   2025-04-03     Haworth Media

4077   2025-04-03     Grand Central Publishing

4078   2025-04-03     Z2 Comics

4079   2025-04-03     Spark Foundry

4080   2025-04-02     Friends At Work
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 138 of 365




#      Date           Entity Name
4081   2025-04-02     Gymexo

4082   2025-04-02     Discover

4083   2025-04-02     Car Price Secrets

4084   2025-04-02     zeotap

4085   2025-04-02     Good Apple

4086   2025-04-02     Bob Hannon Consulting

4087   2025-04-02     Swimply

4088   2025-04-02     Bishop Robert Barron

4089   2025-04-02     Learning A-Z

4090   2025-04-02     Zales

4091   2025-04-02     Ayla & Co

4092   2025-04-02     Multitud Digital

4093   2025-04-02     Kardiel

4094   2025-04-02     Papa Johns Pizza

4095   2025-04-02     Magnolias

4096   2025-04-02     Regions Bank

4097   2025-04-02     Winn-Dixie

4098   2025-04-02     MDX_3

4099   2025-04-02     Milk Makeup - 6S

4100   2025-04-02     CSB

4101   2025-04-02     OLLY

4102   2025-04-02     Functional Care

4103   2025-04-02     Simon & Schuster

4104   2025-04-02     Flag & Anthem

4105   2025-04-02     Primark

4106   2025-04-02     Bonefish Grill

4107   2025-04-02     TEG Live Europe

4108   2025-04-02     Move With Us

4109   2025-04-02     MAAPS / Overman Enterprises

4110   2025-04-02     Maison de Sabré
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 139 of 365




#      Date           Entity Name
4111   2025-04-02     Brand Polling

4112   2025-04-02     Sony Music France

4113   2025-04-02     Golin

4114   2025-04-02     Harvest Hill Beverage Company

4115   2025-04-02     Ulta Beauty

4116   2025-04-02     The Children's Place

4117   2025-04-02     Universal Music Italia

4118   2025-04-02     Dot Matters

4119   2025-04-02     Rite Aid

4120   2025-04-02     Kash Kick 2

4121   2025-04-02     Call of Duty

4122   2025-04-02     eFavormart

4123   2025-04-02     Test For Pixel

4124   2025-04-02     Away That Day

4125   2025-04-02     Eulerity

4126   2025-04-02     BM 07

4127   2025-04-02     Boarderie

4128   2025-04-02     GOP

4129   2025-04-02     M&C Saatchi Performance

4130   2025-04-02     Rogue Fitness

4131   2025-04-02     Lovesac

4132   2025-04-02     KraftMaid Cabinetry

4133   2025-04-02     Bonneville International

4134   2025-04-02     Angler AI

4135   2025-04-02     Tres Colori Jewelry

4136   2025-04-02     Cronin

4137   2025-04-02     PBS

4138   2025-04-02     BobbyParrish

4139   2025-04-02     Albertsons

4140   2025-04-02     Eddie Bauer
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 140 of 365




#      Date           Entity Name
4141   2025-04-02     Novartis Clinical Trials

4142   2025-04-02     Champs Sports

4143   2025-04-02     Foot Locker

4144   2025-04-02     Marketing

4145   2025-04-02     MetLife

4146   2025-04-02     Hopscotch Music Festival

4147   2025-04-02     Molson Coors

4148   2025-04-02     I'd Rather Be With My Dog

4149   2025-04-02     Boston Comedy Festival

4150   2025-04-02     Moroch

4151   2025-04-02     Bones Coffee Company

4152   2025-04-02     United Influencers

4153   2025-04-02     The Jet-Ski Doctor

4154   2025-04-02     Exchange LA

4155   2025-04-02     Allstate

4156   2025-04-02     Aerial Video A to Z

4157   2025-04-02     Katherine Kwok FB Biz

4158   2025-04-02     WS NA

4159   2025-04-02     Trials World

4160   2025-04-02     Nomad Apparel Co.

4161   2025-04-02     PetSmart

4162   2025-04-02     Billings Gazette

4163   2025-04-02     Bfx

4164   2025-04-02     FM4 Indiekiste mit

4165   2025-04-02     Helyx Marketing

4166   2025-04-02     Maude

4167   2025-04-02     Canvas Worldwide

4168   2025-04-02     BlueChew

4169   2025-04-02     Goodlive Artists

4170   2025-04-02     H&M
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 141 of 365




#      Date           Entity Name
4171   2025-04-02     Juicy Couture

4172   2025-04-02     Avon

4173   2025-04-02     SharkNinja

4174   2025-04-02     Scentiment

4175   2025-04-02     House Shops Ads

4176   2025-04-02     MCoBeauty US

4177   2025-04-02     GMI Maxus IDR WPP

4178   2025-04-02     The Influence Agency

4179   2025-04-02     Mainment GmbH

4180   2025-04-02     mandanadayani

4181   2025-04-02     Online Trainer/Coach

4182   2025-04-02     Elicit Music

4183   2025-04-02     playforgain

4184   2025-04-02     The QYOU

4185   2025-04-02     UM Australia

4186   2025-04-02     Snow Days

4187   2025-04-02     JOANN Fabric and Craft Stores

4188   2025-04-02     JCPenney

4189   2025-04-02     NIV Bible

4190   2025-04-02     Omnilux LED Light Therapy

4191   2025-04-02     Quantum Physics

4192   2025-04-02     Isha Foundation

4193   2025-04-02     Burson Global

4194   2025-04-02     Omnilife

4195   2025-04-02     Ford Motor Company

4196   2025-04-02     Common Entertainment

4197   2025-04-02     Hearst Television

4198   2025-04-02     HMS Global - GBP

4199   2025-04-02     Launchpad INTL

4200   2025-04-02     Frontier Touring
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 142 of 365




#      Date           Entity Name
4201   2025-04-02     Karsten Jahnke Konzerte

4202   2025-04-02     Hanna Andersson

4203   2025-04-02     Universal Music Spain

4204   2025-04-02     Kurt Geiger

4205   2025-04-02     Sentara Health

4206   2025-04-02     Bangerhead

4207   2025-04-02     Horizon Horseback

4208   2025-04-02     Universal Music Polska

4209   2025-04-02     UM NY

4210   2025-04-02     Shareably

4211   2025-04-02     Mediacom FR

4212   2025-04-02     KSR Group

4213   2025-04-02     Threepipe

4214   2025-04-02     Grwn

4215   2025-04-02     AEG Presents Asia

4216   2025-04-02     Alya Skin Australia

4217   2025-04-02     Notion Live Events

4218   2025-04-02     CountryWired INC.

4219   2025-04-02     Gupta Media Holdings, LLC

4220   2025-04-02     Rothy's

4221   2025-04-02     Live Nation Polska

4222   2025-04-02     Petit Moments

4223   2025-04-02     ThredUp

4224   2025-04-02     Team BC

4225   2025-04-02     Geologie

4226   2025-04-02     Vannen Watches

4227   2025-04-02     Mediaplus Hamburg GmbH & Co. KG

4228   2025-04-02     Selfie Leslie

4229   2025-04-02     Noisy Trumpet

4230   2025-04-02     INH Hair
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2        Filed 04/12/25        Page 143 of 365




#      Date           Entity Name
4231   2025-04-02     factory 54

4232   2025-04-02     Kevin Gottlieb

4233   2025-04-02     BIG IDEA GROUP

4234   2025-04-02     JCG LLC

4235   2025-04-02     Gooseberry Intimates

4236   2025-04-02     BetterHelp

4237   2025-04-02     Alo Moves

4238   2025-04-02     Martell

4239   2025-04-02     Hunter Del Caribe

4240   2025-04-02     4th Quarter Collective, LLC

4241   2025-04-02     Affordable Dentures & Implants

4242   2025-04-02     Capacity Interactive - Digital Marketing Consulting for the Arts

4243   2025-04-02     Affinity Answers

4244   2025-04-02     Found

4245   2025-04-02     Crossmedia

4246   2025-04-02     Entravision Latam - Puerto Rico

4247   2025-04-02     VS-Ronaldo Silva 1 - bm 5

4248   2025-04-02     Swank A Posh

4249   2025-04-02     Hylink Digital Solutions

4250   2025-04-02     Team One USA

4251   2025-04-02     Smile Direct Club

4252   2025-04-02     Synchrony

4253   2025-04-02     Blue Shield of California

4254   2025-04-02     Aegis Media Innov8

4255   2025-04-02     Rescue: The Behavior Change Agency

4256   2025-04-02     Predictive Media Analytics, LLC

4257   2025-04-02     Canopy

4258   2025-04-02     Ideal Coverings

4259   2025-04-02     Hong Kong Zoom Interactive Network Marketing Technology Limited

4260   2025-04-02     Cleo
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 144 of 365




#      Date           Entity Name
4261   2025-04-02     MethodGroupe

4262   2025-04-02     Kinesso Poland

4263   2025-04-02     Foursquare City Guide

4264   2025-04-02     Adwerx

4265   2025-04-02     Vizeum - US

4266   2025-04-02     Walgreens

4267   2025-04-02     Valley Vet Supply

4268   2025-04-02     Sling TV

4269   2025-04-02     AdParlor

4270   2025-04-02     Datonics

4271   2025-04-02     The Strategy Group Company

4272   2025-04-02     Resolution Agency

4273   2025-04-02     Microsoft Customer Insights Center

4274   2025-04-02     Research Study Rockstar

4275   2025-04-02     Best Buy, Starcom USA

4276   2025-04-02     Handle the Heat

4277   2025-04-02     Masters of Balayage

4278   2025-04-02     Kay Jewelers

4279   2025-04-02     DEPT UK

4280   2025-04-02     Miller's Ale House

4281   2025-04-02     MiQ US

4282   2025-04-02     The New York Times

4283   2025-04-02     WPS Health Insurance - Health Plan

4284   2025-04-02     GALE Media

4285   2025-04-02     Sony Rewards

4286   2025-04-02     Betfair Interactive US LLC

4287   2025-04-02     Smarty Social Media

4288   2025-04-02     NovartisOne²

4289   2025-04-02     GCommerce

4290   2025-04-02     CoxNext
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2      Filed 04/12/25   Page 145 of 365




#      Date           Entity Name
4291   2025-04-02     Sara's Business

4292   2025-04-02     Warner Music Germany

4293   2025-04-02     HBO Max

4294   2025-04-02     Sweed

4295   2025-04-02     GEICO

4296   2025-04-02     Enso Rings

4297   2025-04-02     Rgmntco

4298   2025-04-02     Marc Jacobs

4299   2025-04-02     HolStrength

4300   2025-04-02     GroupM Media India

4301   2025-04-02     La Roche-Posay

4302   2025-04-02     Universal Music Switzerland

4303   2025-04-02     Water Street Music Hall

4304   2025-04-02     Magnum Photos

4305   2025-04-02     ■■■■■■■■■■_2

4306   2025-04-02     Cure Media

4307   2025-04-02     Shaq’s Fun House

4308   2025-04-02     The Lyrical Lemonade Summer Smash Festival

4309   2025-04-02     Lounge Underwear

4310   2025-04-02     Afro Nation

4311   2025-04-02     Deep Root Analytics

4312   2025-04-02     Seychelle Media

4313   2025-04-02     Sundays

4314   2025-04-02     UM Canada

4315   2025-04-02     Corro

4316   2025-04-02     Max Connect Digital

4317   2025-04-02     Linear 360

4318   2025-04-02     Marathon Strategies

4319   2025-04-02     Freya - Test Account

4320   2025-04-02     My View From Beer
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 146 of 365




#      Date           Entity Name
4321   2025-04-02     Cash App

4322   2025-04-02     PMG

4323   2025-04-02     T-Mobile

4324   2025-04-02     DraftKings

4325   2025-04-02     L'ange

4326   2025-04-02     Jackson Hewitt

4327   2025-04-02     Warner Music Denmark

4328   2025-04-02     Pepsi

4329   2025-04-02     Bonus Track

4330   2025-04-02     ViiV Healthcare

4331   2025-04-02     PetSmart Charities

4332   2025-04-02     Tuft & Needle

4333   2025-04-02     Vodafone Group

4334   2025-04-02     Overtime

4335   2025-04-02     Sony Music Poland

4336   2025-04-02     Anthropologie

4337   2025-04-02     NICKS

4338   2025-04-02     Black Promoters Collective

4339   2025-04-02     Live Tour Promotions

4340   2025-04-02     Proposal Prep by Best Kept

4341   2025-04-02     MRG Live

4342   2025-04-02     310 Nutrition

4343   2025-04-02     cacaFly

4344   2025-04-02     LSU AgCenter Botanic Gardens

4345   2025-04-02     Vunzige Deuntjes

4346   2025-04-02     Ribbow Media Group

4347   2025-04-02     PHD colombia S.A.S

4348   2025-04-02     Starcom Sweden AB

4349   2025-04-02     Wayfair

4350   2025-04-02     Keurig
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 147 of 365




#      Date           Entity Name
4351   2025-04-02     Truth and Love Coaching International

4352   2025-04-02     Life.Church

4353   2025-04-02     Liberated Brands

4354   2025-04-02     1-800 Contacts

4355   2025-04-02     Zenithoptimedia Taiwan

4356   2025-04-02     Postmates

4357   2025-04-02     Convergence Media

4358   2025-04-02     Avoq

4359   2025-04-02     Ross University School of Veterinary Medicine

4360   2025-04-02     EVERSANA INTOUCH

4361   2025-04-02     Huntington National Bank

4362   2025-04-02     Direct Auto Insurance

4363   2025-04-02     BrandMuscle - etatslla

4364   2025-04-02     UMe Music Team

4365   2025-04-02     Tanrevel

4366   2025-04-02     Gordon McKernan Injury Attorneys

4367   2025-04-02     Polydor

4368   2025-04-02     Media Six

4369   2025-04-02     Jockey

4370   2025-04-02     Live Nation Italia

4371   2025-04-02     Madison Square Garden

4372   2025-04-02     Kitbag

4373   2025-04-02     Spark Foundry Canada

4374   2025-04-02     Dr. Livingood

4375   2025-04-02     The Christian Broadcasting Network

4376   2025-04-02     BoostMobile - New/Post-Harmony

4377   2025-04-02     Sephora

4378   2025-04-02     BM5 chay sach 3

4379   2025-04-02     Blueprint Interactive

4380   2025-04-02     Klick - Epic
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 148 of 365




#      Date           Entity Name
4381   2025-04-02     Center

4382   2025-04-02     Decoded Advertising

4383   2025-04-02     CVS Pharmacy

4384   2025-04-02     Mars United Commerce

4385   2025-04-02     Bolster

4386   2025-04-02     TruDiagnostic

4387   2025-04-02     AU 77

4388   2025-04-02     Tombras

4389   2025-04-02     UM MENA

4390   2025-04-02     DISH

4391   2025-04-02     Sleepgram

4392   2025-04-02     Eko Health

4393   2025-04-02     HQ CDM

4394   2025-04-02     Hilton Newsroom

4395   2025-04-02     Lowe's Home Improvement

4396   2025-04-02     Giant Partners

4397   2025-04-02     Possible

4398   2025-04-02     We Are Saatchi

4399   2025-04-02     Ruggable

4400   2025-04-02     M+R

4401   2025-04-02     Collections Etc

4402   2025-04-02     DeepSync Labs

4403   2025-04-02     American Kidney Fund

4404   2025-04-02     Otsuka America Pharmaceutical, Inc.

4405   2025-04-02     Factoría Publica

4406   2025-04-02     Wake Research

4407   2025-04-02     HCN

4408   2025-04-02     Dynata Advertising Solutions

4409   2025-04-02     Zillow

4410   2025-04-02     DSplus
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 149 of 365




#      Date           Entity Name
4411   2025-04-02     Feld Entertainment, Inc.

4412   2025-04-02     Sony Electronics

4413   2025-04-02     PayPal

4414   2025-04-02     Givebutter

4415   2025-04-02     Change Research

4416   2025-04-02     AirSculpt

4417   2025-04-02     Media Plus+

4418   2025-04-02     NOTO Philadelphia

4419   2025-04-02     Listerine

4420   2025-04-02     Kawasaki USA

4421   2025-04-02     eBay

4422   2025-04-02     ■■■■■■■■■■■■■■■■■

4423   2025-04-02     Summersalt

4424   2025-04-02     OneMain Business

4425   2025-04-02     Grubhub

4426   2025-04-02     SmartPak

4427   2025-04-02     Diggerland USA

4428   2025-04-02     Kikoff

4429   2025-04-02     Funny or Not

4430   2025-04-02     Lending Store

4431   2025-04-02     Square

4432   2025-04-02     No_Comment

4433   2025-04-02     Current

4434   2025-04-02     Live Nation Norway

4435   2025-04-02     MoneyLion

4436   2025-04-02     Flaus

4437   2025-04-02     Verb Products

4438   2025-04-02     HUM Nutrition

4439   2025-04-02     Ketone-IQ

4440   2025-04-02     Bridg Channel
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2     Filed 04/12/25   Page 150 of 365




#      Date           Entity Name
4441   2025-04-02     JJXX

4442   2025-04-02     Twillory

4443   2025-04-02     Sif Jakobs Jewellery

4444   2025-04-02     iRESTORE Hair Growth System

4445   2025-04-02     MetaVision Media

4446   2025-04-02     Carter's

4447   2025-04-02     Gisou

4448   2025-04-02     Chime

4449   2025-04-02     Inner Circle

4450   2025-04-02     Deezer

4451   2025-04-02     Tulster

4452   2025-04-02     EDGE Entertainment Digital

4453   2025-04-02     Bread Beauty Supply

4454   2025-04-02     Brooks Running

4455   2025-04-02     grownbrilliance

4456   2025-04-02     Universal Music Romania

4457   2025-04-02     Magnolia Pictures

4458   2025-04-02     Gopuff

4459   2025-04-02     Oregon Ice Cream

4460   2025-04-02     Nickel and Suede

4461   2025-04-02     CLOUT Festival

4462   2025-04-02     ZipRecruiter

4463   2025-04-02     H&M - Paid Social

4464   2025-04-02     Melkweg Amsterdam

4465   2025-04-02     Born Again Concerts

4466   2025-04-02     Moon Active

4467   2025-04-02     nuuly

4468   2025-04-02     Zimmerman Advertising

4469   2025-04-02     Siren Group

4470   2025-04-02     SBX Proxy
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2           Filed 04/12/25   Page 151 of 365




#      Date           Entity Name
4471   2025-04-02     WebMD

4472   2025-04-02     Infusion Marketing Group

4473   2025-04-02     Facebook Insertion Orders

4474   2025-04-02     Wish

4475   2025-04-02     Good Social Company

4476   2025-04-02     Fiverr

4477   2025-04-02     Athleta

4478   2025-04-02     Absolute Merch

4479   2025-04-02     Island Records

4480   2025-04-02     Audacy Social Conquest

4481   2025-04-02     The Gatorade Company

4482   2025-04-02     P&G Social Global

4483   2025-04-02     Universal Music Recordings

4484   2025-04-02     Edelman DC

4485   2025-04-02     FanDuel Racing

4486   2025-04-02     Bombora

4487   2025-04-02     Xfinity

4488   2025-04-02     MILLIONS

4489   2025-04-02     Flat Tummy Co

4490   2025-04-02     Herbivore Botanicals

4491   2025-04-02     Mindshare Sverige

4492   2025-04-02     MediaSales

4493   2025-04-02     Alex Feather Akimov's Business

4494   2025-04-02     Milani

4495   2025-04-02     Morgan Fidelity Associates, Inc.

4496   2025-04-02     Kavala Collective

4497   2025-04-02     Puzzmo

4498   2025-04-02     OMD Panamá

4499   2025-04-02     Publicis Media Luxe

4500   2025-04-02     On
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 152 of 365




#      Date           Entity Name
4501   2025-04-02     Sony Music Switzerland

4502   2025-04-02     MyMuse

4503   2025-04-02     CONVERSE

4504   2025-04-02     Tatti Lashes

4505   2025-04-02     T4 Social Media LLC

4506   2025-04-02     Live Bearded

4507   2025-04-02     Suit Up Brands LLC

4508   2025-04-02     Resorts World Las Vegas

4509   2025-04-02     Reprise Media México

4510   2025-04-02     Vivara

4511   2025-04-02     Olipop

4512   2025-04-02     IZEA Worldwide, Inc.

4513   2025-04-02     Rémy Martin

4514   2025-04-02     adidas

4515   2025-04-02     Digital Tading Desk

4516   2025-04-02     Love Wellness

4517   2025-04-02     SOSHE Beauty

4518   2025-04-02     Grundéns

4519   2025-04-02     Caraway

4520   2025-04-02     FreePrints App

4521   2025-04-02     Verified

4522   2025-04-02     Rational 360

4523   2025-04-02     Fulton & Roark

4524   2025-04-02     Dojo

4525   2025-04-02     Swanson Russell

4526   2025-04-02     Harbor Freight

4527   2025-04-02     Engage Media

4528   2025-04-02     Hairfinity

4529   2025-04-02     Tusk Strategies

4530   2025-04-02     Test Global
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 153 of 365




#      Date           Entity Name
4531   2025-04-02     Electric Promotions

4532   2025-04-02     Công Ty ■ng Hoàng Phúc

4533   2025-04-02     Soundwave Consulting

4534   2025-04-02     ZitSticka

4535   2025-04-02     For Wellness

4536   2025-04-02     Aero Opco LLC

4537   2025-04-02     Action Network

4538   2025-04-02     Rebecca Zung

4539   2025-04-02     Playboy

4540   2025-04-02     JSHealth

4541   2025-04-02     ASUS

4542   2025-04-02     ICRUSH

4543   2025-04-02     Merch Traffic

4544   2025-04-02     David Stuebe's Business

4545   2025-04-02     CAVA

4546   2025-04-02     United Gold Group

4547   2025-04-02     Torrid

4548   2025-04-02     Silk + Sonder

4549   2025-04-02     Happify by Twill

4550   2025-04-02     Wantable

4551   2025-04-02     Neural Leap Ventures

4552   2025-04-02     Savannah Bee Company

4553   2025-04-02     PreciseTarget

4554   2025-04-02     M1 m■u 1, N1 17/8 - P

4555   2025-04-02     Lithia Motors

4556   2025-04-02     The Detox Dudes

4557   2025-04-02     Humane World for Animals

4558   2025-04-02     LM250 9

4559   2025-04-02     ACTwireless

4560   2025-04-02     TopTier Trader
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 154 of 365




#      Date           Entity Name
4561   2025-04-02     AptDeco

4562   2025-04-02     Brunner

4563   2025-04-02     Reprise Media ZA

4564   2025-04-02     Sojern

4565   2025-04-02     Sam's Club

4566   2025-04-02     REV77

4567   2025-04-02     Fingerhut

4568   2025-04-02     Bobo's Oat Bars

4569   2025-04-02     Genentech

4570   2025-04-02     QVC

4571   2025-04-02     M Booth

4572   2025-04-02     Dice Dreams

4573   2025-04-02     FleishmanHillard

4574   2025-04-02     Klick - Edge

4575   2025-04-02     René Furterer

4576   2025-04-02     Lands' End

4577   2025-04-02     Facebook

4578   2025-04-02     Wegmans

4579   2025-04-02     Jordan Peterson

4580   2025-04-02     FIGS

4581   2025-04-02     Division D

4582   2025-04-02     Dansko, LLC

4583   2025-04-02     Sanity Skin

4584   2025-04-02     Spotify LATAM BM

4585   2025-04-02     onX Hunt

4586   2025-04-02     Lionsgate

4587   2025-04-02     Typology

4588   2025-04-02     FLOAT FEST

4589   2025-04-02     Slime Obsidian

4590   2025-04-02     Warner Music Canada
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 155 of 365




#      Date           Entity Name
4591   2025-04-02     GQ Italia

4592   2025-04-02     Estee Lauder México

4593   2025-04-02     Connected Vivaki

4594   2025-04-02     Front Gate Tickets

4595   2025-04-02     Shinesty

4596   2025-04-02     Warner Music Austria

4597   2025-04-02     AbbVie

4598   2025-04-02     ■■■■■■■■■■■■■

4599   2025-04-02     Alex Azra

4600   2025-04-02     Sparkart Group, Inc.

4601   2025-04-02     WE ARE TALA

4602   2025-04-02     Peloton

4603   2025-04-02     Corida

4604   2025-04-02     Relatable

4605   2025-04-02     Helix Sleep

4606   2025-04-02     Triple G Events

4607   2025-04-02     Mayo Clinic

4608   2025-04-02     SwellShark

4609   2025-04-02     Pltnum

4610   2025-04-02     Crunchyroll

4611   2025-04-02     Intermate Media GmbH

4612   2025-04-02     TIBBS & BONES

4613   2025-04-02     RW Consulting

4614   2025-04-02     Calvin Klein GCC

4615   2025-04-02     Avant Gardner

4616   2025-04-02     Rakuten

4617   2025-04-02     The Vintage Pearl

4618   2025-04-02     Goodway Tier 3 Digital

4619   2025-04-02     Camille Brinch Jewellery

4620   2025-04-02     Supercell
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 156 of 365




#      Date           Entity Name
4621   2025-04-02     Musely

4622   2025-04-02     FabFitFun

4623   2025-04-02     Global Leadership Network

4624   2025-04-02     Evolve Media

4625   2025-04-02     w/Tributary

4626   2025-04-02     Bespoke Post

4627   2025-04-02     MoneyGram

4628   2025-04-02     Heartbeat

4629   2025-04-02     Q Link Wireless

4630   2025-04-02     GoAudience

4631   2025-04-02     ZenithOptimedia Thailand

4632   2025-04-02     KURU Footwear

4633   2025-04-02     Dermaclara

4634   2025-04-02     THIRD EAR

4635   2025-04-02     Nordstrom

4636   2025-04-02     Progress Rum

4637   2025-04-02     The Citizenry

4638   2025-04-02     Latched Mama

4639   2025-04-02     Pandora

4640   2025-04-02     Faraday.io

4641   2025-04-02     OfferUp

4642   2025-04-02     Mazda CX5 22

4643   2025-04-02     MissionWired

4644   2025-04-02     Coffee Dose

4645   2025-04-02     JCK Enterprises, LLC

4646   2025-04-02     Gap Inc

4647   2025-04-02     Universal Studios Hollywood

4648   2025-04-02     Pourri

4649   2025-04-02     J Vineyards & Winery

4650   2025-04-02     BJ's Wholesale Club
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2       Filed 04/12/25   Page 157 of 365




#      Date           Entity Name
4651   2025-04-02     Dil Mil

4652   2025-04-02     Eli Lilly and Company

4653   2025-04-02     KBMG Data Services Development

4654   2025-04-02     Cleveland Clinic

4655   2025-04-02     Healthfirst

4656   2025-04-02     Joom

4657   2025-04-02     Fabric Technologies

4658   2025-04-02     Search Influence

4659   2025-04-02     Conn's HomePlus

4660   2025-04-02     Aisle 518 Strategies, LLC

4661   2025-04-02     wellrestedweeones

4662   2025-04-02     Swanson Health

4663   2025-04-02     lensun solar energy

4664   2025-04-02     Cracker Barrel Old Country Store

4665   2025-04-02     Comedy Central

4666   2025-04-02     Blue State

4667   2025-04-02     Lumen Technologies

4668   2025-04-02     Bang Productions Television

4669   2025-04-02     JM14

4670   2025-04-02     Clarins

4671   2025-04-02     Second test personal user page

4672   2025-04-02     Alo Yoga

4673   2025-04-02     TORY BURCH

4674   2025-04-02     Allergan Aesthetics

4675   2025-04-02     FRAME

4676   2025-04-02     Capitol Music Group

4677   2025-04-02     DIFF

4678   2025-04-02     Morris Bart, LLC

4679   2025-04-02     BerlinRosen

4680   2025-04-02     Initiative Wellness
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 158 of 365




#      Date           Entity Name
4681   2025-04-02     P2 Public Affairs

4682   2025-04-02     Audience Town

4683   2025-04-02     Warner Music Australia

4684   2025-04-02     Shambala

4685   2025-04-02     E11EVEN MIAMI

4686   2025-04-02     CNN Digital - Audience Dev

4687   2025-04-02     Yamaha Music USA

4688   2025-04-02     The Relationship School

4689   2025-04-02     MEC - Los Angeles

4690   2025-04-02     Warby Parker

4691   2025-04-02     Relistor® (methylnaltrexone bromide)

4692   2025-04-02     Room & Board

4693   2025-04-02     Alfred A. Knopf

4694   2025-04-02     hims

4695   2025-04-02     Z2 Comics

4696   2025-04-02     Captiv8

4697   2025-04-02     Immerse Agency, LLC

4698   2025-04-02     AEG Presents UK

4699   2025-04-02     Culture Pop

4700   2025-04-02     Zenith Slovakia

4701   2025-04-02     Cozy Earth

4702   2025-04-02     Amplify.ai

4703   2025-04-02     Rosental Organics

4704   2025-04-02     Musical Earth

4705   2025-04-02     Zenith Chile

4706   2025-04-02     NA-KD.com

4707   2025-04-02     RCKT.

4708   2025-04-02     Gorgie

4709   2025-04-02     Dimensions Fragrance

4710   2025-04-02     HEYDUDE
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2             Filed 04/12/25   Page 159 of 365




#      Date           Entity Name
4711   2025-04-02     Tropical Bros

4712   2025-04-02     LocaliQ

4713   2025-04-02     Opus Live

4714   2025-04-02     Wolven

4715   2025-04-02     First Interstate Center for the Arts

4716   2025-04-02     Mic Drop Comedy

4717   2025-04-02     Foam and Substance

4718   2025-04-02     Happy Mammoth

4719   2025-04-02     Indeed

4720   2025-04-02     Colleen Mauer Designs

4721   2025-04-02     MetaTeam

4722   2025-04-02     Choices by Revlon

4723   2025-04-02     Fandango at Home

4724   2025-04-02     ondonewyork

4725   2025-04-02     VaynerMedia APAC

4726   2025-04-02     Simpli.fi

4727   2025-04-02     Seiza

4728   2025-04-02     Sev Laser Aesthetics

4729   2025-04-02     Test page

4730   2025-04-02     ESPN

4731   2025-04-02     Solawave

4732   2025-04-02     The Rave / Eagles Club

4733   2025-04-02     TivoliVredenburg

4734   2025-04-02     L'Oreal Ecommerce PRoject

4735   2025-04-02     Interactive Avenues

4736   2025-04-02     iHeartDogs

4737   2025-04-02     TRUFFLE

4738   2025-04-02     Tropic of C

4739   2025-04-02     Big Think Agency

4740   2025-04-02     L'Oréal Social CDO - Cockpit & Advertising
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 160 of 365




#      Date           Entity Name
4741   2025-04-02     Oceansapart Global

4742   2025-04-02     Wavemaker Deutschland

4743   2025-04-02     Wavemaker-NZ Loreal

4744   2025-04-02     SocialAmp

4745   2025-04-02     aim'n

4746   2025-04-02     Shareablee

4747   2025-04-02     Warner Music Norway

4748   2025-04-02     F1 + F3 len moi

4749   2025-04-02     Voiply

4750   2025-04-02     Hyperglow

4751   2025-04-02     Shopify

4752   2025-04-02     WideFoc.us

4753   2025-04-02     SoFi

4754   2025-04-02     Casely

4755   2025-04-02     Cortica

4756   2025-04-02     Ads Preview Workaround

4757   2025-04-02     swayhairextensions

4758   2025-04-02     ADARA

4759   2025-04-02     Preflect Ads

4760   2025-04-02     AutoCanada

4761   2025-04-02     Instagram

4762   2025-04-02     Concord

4763   2025-04-02     Cadence

4764   2025-04-02     Dallas Cowboys

4765   2025-04-02     Teste 1

4766   2025-04-02     Wizard Live

4767   2025-04-02     CCI ■■■■cartacommunications

4768   2025-04-02     Shopify New York

4769   2025-04-02     Universal Music Legends

4770   2025-04-02     JBL
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 161 of 365




#      Date           Entity Name
4771   2025-04-02     Sony Music Brasil

4772   2025-04-02     Live Nation Canada

4773   2025-04-02     Performics Test Page

4774   2025-04-02     Motorola

4775   2025-04-02     Verizon

4776   2025-04-02     Allied Global Marketing

4777   2025-04-02     Groot Hospitality

4778   2025-04-02     Quarterlab

4779   2025-04-02     Live Nation Alabama & Mississippi

4780   2025-04-02     Hourglass Cosmetics

4781   2025-04-02     Live Nation Denmark

4782   2025-04-02     Universal Music Group: Global Digital Marketing

4783   2025-04-02     amelieteje

4784   2025-04-02     Influential

4785   2025-04-02     Boncom

4786   2025-04-02     NOTO Houston

4787   2025-04-02     E! News

4788   2025-04-02     RIMOWA

4789   2025-04-02     Aleph Uruguay

4790   2025-04-02     Kilt 'Em

4791   2025-04-02     Havas Media Group USA LLC

4792   2025-04-02     StackSocial

4793   2025-04-02     Universal Music Brasil

4794   2025-04-02     Meta for Business

4795   2025-04-02     Alexis Ren

4796   2025-04-02     Indipendente Concerti

4797   2025-04-02     noatishby

4798   2025-04-02     Gina Tricot

4799   2025-04-02     The KISS Marketing Agency

4800   2025-04-02     OnlyFans
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 162 of 365




#      Date           Entity Name
4801   2025-04-02     Logos Bible Study Platform

4802   2025-04-02     FOX Sports

4803   2025-04-02     Panasonic Personal Care USA

4804   2025-04-02     FB Growth Marketing

4805   2025-04-02     Greens Club

4806   2025-04-02     Express

4807   2025-04-02     Universal Music Colombia

4808   2025-04-02     Rareform

4809   2025-04-02     471887696173235

4810   2025-04-02     Lincoln Hall + Schubas

4811   2025-04-02     MEC

4812   2025-04-02     Netflix

4813   2025-04-02     Performance Marketing - USD - Spotify AB

4814   2025-04-02     STAAR Global

4815   2025-04-02     Warner Music Africa

4816   2025-04-02     Lerma Agency

4817   2025-04-02     Admixer

4818   2025-04-02     eHealth

4819   2025-04-02     Bornlogic

4820   2025-04-02     Grand Central Publishing

4821   2025-04-02     Reality Labs

4822   2025-04-02     Wavemaker Canada

4823   2025-04-02     Pura Vida

4824   2025-04-02     Angela ■

4825   2025-04-02     Garage

4826   2025-04-02     Destroy All Lines

4827   2025-04-02     FB Only SMB Channel Test Page

4828   2025-04-02     The Church of Jesus Christ of Latter-day Saints

4829   2025-04-02     Tort Group

4830   2025-04-02     MC2 LIVE
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 163 of 365




#      Date           Entity Name
4831   2025-04-02     iHeartCountry

4832   2025-04-02     Scooter's Coffee

4833   2025-04-02     Assembly

4834   2025-04-02     Louis Vuitton Brazil

4835   2025-04-02     BHLDN Weddings

4836   2025-04-02     Guardian Childcare & Education

4837   2025-04-02     the7stars

4838   2025-04-02     Dentsu Digital Italy

4839   2025-04-02     Calvin Klein

4840   2025-04-02     Anti Agency Group

4841   2025-04-02     Republic Records

4842   2025-04-02     ThisThat

4843   2025-04-02     Beth Stelling

4844   2025-04-02     Aleph - Costa Rica

4845   2025-04-02     MODCo T2

4846   2025-04-02     PushSpring

4847   2025-04-02     Edelman West

4848   2025-04-02     Campbell Ewald

4849   2025-04-02     Oracle Data Cloud CA

4850   2025-04-02     TIAA

4851   2025-04-02     Lashify

4852   2025-04-02     Spark Foundry USA

4853   2025-04-02     SupplyX

4854   2025-04-02     Starcom USA

4855   2025-04-02     Experian Marketing Services - Audiences

4856   2025-04-02     HealixGlobal

4857   2025-04-02     Trafalgar Releasing

4858   2025-04-02     Lauren Daigle

4859   2025-04-02     ROR Partners

4860   2025-04-02     22squared
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2     Filed 04/12/25   Page 164 of 365




#      Date           Entity Name
4861   2025-04-02     Walmart.com

4862   2025-04-02     OMD USA

4863   2025-04-02     WMX

4864   2025-04-02     GoldSilver

4865   2025-04-02     Brand survey

4866   2025-04-02     Uniagency

4867   2025-04-02     Caddis Sports

4868   2025-04-02     JG Summit

4869   2025-04-02     RTIC Outdoors

4870   2025-04-02     The Home Depot

4871   2025-04-02     True Anthem

4872   2025-04-02     Decca Records

4873   2025-04-02     rolling loud

4874   2025-04-02     ZenithMedia Germany

4875   2025-04-02     Solka

4876   2025-04-02     CSL

4877   2025-04-02     Mindshare USA

4878   2025-04-02     MasterClass

4879   2025-04-02     Pierce Media

4880   2025-04-02     Warner Music Ireland

4881   2025-04-02     Beauty Factory

4882   2025-04-02     Neustar FB Syndication

4883   2025-04-02     SmartHeart

4884   2025-04-02     CMI Media Group and Compas

4885   2025-04-02     Adobe

4886   2025-04-02     AEG Presents

4887   2025-04-02     PacSun

4888   2025-04-02     OmnicomMediaGroup Nederland

4889   2025-04-02     Universal Music Sweden

4890   2025-04-02     APRILSKIN ■■■■■■
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 165 of 365




#      Date           Entity Name
4891   2025-04-02     L'Oréal Uruguay

4892   2025-04-02     Cardon

4893   2025-04-02     AuDigent

4894   2025-04-02     Collectiv Presents

4895   2025-04-02     Entertainment on Facebook

4896   2025-04-02     Walt Disney World

4897   2025-04-02     Starcom Denmark

4898   2025-04-02     Live Nation Finland

4899   2025-04-02     American Sporstwear, S.A.

4900   2025-04-02     Brilliance.com

4901   2025-04-02     Democrats

4902   2025-04-02     Socialflow

4903   2025-04-02     Greenhouse Talent

4904   2025-04-02     Climb

4905   2025-04-02     Accelerated Intelligence Ltd

4906   2025-04-02     Warner Music Poland

4907   2025-04-02     St. Jude Children's Research Hospital

4908   2025-04-02     Epsilon Audience Data Provider

4909   2025-04-02     Nielsen Marketing Cloud

4910   2025-04-02     IProspect NY

4911   2025-04-02     Hearts & Science

4912   2025-04-02     EA - Electronic Arts

4913   2025-04-02     Wiland Data Tactics

4914   2025-04-02     Grant Cardone

4915   2025-04-02     LiveRamp

4916   2025-04-02     Butler/Till

4917   2025-04-02     truth

4918   2025-04-02     BOSS

4919   2025-04-02     Sage Dental

4920   2025-04-02     Trans-System, Inc.
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 166 of 365




#      Date           Entity Name
4921   2025-04-02     Partisan Records

4922   2025-04-02     Jack Archer

4923   2025-04-02     Diverse Media New Zealand

4924   2025-04-02     Entravision Latam - Honduras

4925   2025-04-02     Vuori

4926   2025-04-02     Nestlé HK ■■■■

4927   2025-04-02     Filtr

4928   2025-04-02     IPSY

4929   2025-04-02     Crowd Control Digital

4930   2025-04-02     L'Oréal Professionnel

4931   2025-04-02     Live Nation UK

4932   2025-04-02     Entravisión Panamá

4933   2025-04-02     Live Nation France

4934   2025-04-02     WMcCann RJ

4935   2025-04-02     Hulu

4936   2025-04-02     Test

4937   2025-04-02     moveconcertsarg

4938   2025-04-02     Universal Music Deutschland

4939   2025-04-02     VET Tv- Veteran Television

4940   2025-04-02     Topsify

4941   2025-04-02     Instacart

4942   2025-04-02     Jessica Goicoechea - Goi

4943   2025-04-02     Live Nation Concerts

4944   2025-04-02     Happy Products

4945   2025-04-02     Motion

4946   2025-04-02     White Claw

4947   2025-04-02     Labelium Australia and New Zealand

4948   2025-04-02     The Assembly Music

4949   2025-04-02     TrustGodbro Clothing

4950   2025-04-02     Scruff of the Neck
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 167 of 365




#      Date           Entity Name
4951   2025-04-02     Zondervan Books

4952   2025-04-02     GroupM

4953   2025-04-02     703digital

4954   2025-04-02     Universal Music France

4955   2025-04-02     Bumble

4956   2025-04-02     Cooking Vinyl

4957   2025-04-02     L'Oréal Paris

4958   2025-04-02     LES VISIONNAIRES

4959   2025-04-02     Grunt Style

4960   2025-04-02     Maelys Cosmetics

4961   2025-04-02     Fused - Universal Music

4962   2025-04-02     Miami Dolphins

4963   2025-04-02     Ring

4964   2025-04-02     fource.cz

4965   2025-04-02     TEG DAINTY

4966   2025-04-02     Bruckner Yaar Levi

4967   2025-04-02     Strawberries & Creem

4968   2025-04-02     Universal Music Ireland

4969   2025-04-02     wavo.me

4970   2025-04-02     Brilliant Earth

4971   2025-04-02     Bell Media

4972   2025-04-02     Red Digital

4973   2025-04-02     Elementary Innovation Pte. Ltd.

4974   2025-04-02     Heather McMahan

4975   2025-04-02     Facetune by Lightricks

4976   2025-04-02     Victoria Warehouse

4977   2025-04-02     FESTIVAL LES ARDENTES

4978   2025-04-02     Island Records UK

4979   2025-04-02     Gupta Media

4980   2025-04-02     Empower
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 168 of 365




#      Date           Entity Name
4981   2025-04-02     Meta

4982   2025-04-02     Resolution Media

4983   2025-04-02     Wmg gps adx

4984   2025-04-02     ThinkSwell

4985   2025-04-02     RainCloud Media

4986   2025-04-02     North Coast Music Festival

4987   2025-04-02     MEC Australia

4988   2025-04-02     Data unavailable

4989   2025-04-02     Finish Line

4990   2025-04-02     Blavity

4991   2025-04-02     AEG Presents - Media

4992   2025-04-02     CMS Music Media Ltd

4993   2025-04-02     Ray-Ban

4994   2025-04-02     AEG Presents France

4995   2025-04-02     Zenith France

4996   2025-04-02     Carat USA

4997   2025-04-02     NEUW Denim

4998   2025-04-02     Universal Music Austria

4999   2025-04-02     Whalar

5000   2025-04-02     Essence

5001   2025-04-02     Tommy Hilfiger

5002   2025-04-02     L'atelier HK

5003   2025-04-02     The Bellwether

5004   2025-04-02     Universal Music Canada

5005   2025-04-02     OCESA Personal

5006   2025-04-02     The Ridge

5007   2025-04-02     Universal Music Malaysia

5008   2025-04-02     Condé Nast

5009   2025-04-02     LADbible

5010   2025-04-02     GroupM Danmark
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 169 of 365




#      Date           Entity Name
5011   2025-04-02     UMusic Australia

5012   2025-04-02     Unique Vacations Limited

5013   2025-04-02     Best Buy

5014   2025-04-02     No Limit Entertainment

5015   2025-04-02     Andi Bagus

5016   2025-04-02     Sony Music Spain

5017   2025-04-02     BuzzFeed Branded Distribution

5018   2025-04-02     BroBible

5019   2025-04-02     Spark Foundry

5020   2025-04-02     MOJO

5021   2025-04-02     Insomniac Events

5022   2025-04-02     Warner Music France

5023   2025-04-02     L'Oréal Suisse

5024   2025-04-02     Afrobeats Central

5025   2025-04-02     OMD Entertainment

5026   2025-04-02     Launchpad Ignite

5027   2025-04-02     therankedmusic

5028   2025-04-02     Simon Malls

5029   2025-04-02     Digitas North America

5030   2025-04-02     Plein Air

5031   2025-04-02     Veltrac Music

5032   2025-04-02     Cuffe & Taylor

5033   2025-04-02     VarleyClothing

5034   2025-04-02     FB App

5035   2025-04-02     Ghostwriter Consultancy & Events

5036   2025-04-02     Code3

5037   2025-04-02     Sold Out Advertising

5038   2025-04-02     EarnIn

5039   2025-04-02     Park Advertising

5040   2025-04-02     The Orchard
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 170 of 365




#      Date           Entity Name
5041   2025-04-02     Doctor Music Concerts

5042   2025-04-02     Zenith - PGD

5043   2025-04-02     9:30 Club

5044   2025-04-02     Tempo OMD Social Adv

5045   2025-04-02     Sony Music Colombia

5046   2025-04-02     Global Health on Facebook

5047   2025-04-02     Fashion Nova

5048   2025-04-02     umusic NZ

5049   2025-04-02     The League

5050   2025-04-02     Havas Media

5051   2025-04-02     Harper's Bazaar

5052   2025-04-02     Data Axle USA

5053   2025-04-02     Infectious Music

5054   2025-04-02     P&G Professional España

5055   2025-04-02     CubeSmart Self Storage

5056   2025-04-02     Captain

5057   2025-04-02     Funded Commerce Ads

5058   2025-04-02     Yallie K Enterprises LLC

5059   2025-04-02     Aleph - Dominican Republic

5060   2025-04-02     Bonnie

5061   2025-04-02     Amazon.com

5062   2025-04-02     Dentsu X UK

5063   2025-04-02     L'Oréal Group

5064   2025-04-02     Nutrafol

5065   2025-04-02     Emc_TCCC

5066   2025-04-02     Poppi

5067   2025-04-02     SKIMS

5068   2025-04-02     Dr. Squatch

5069   2025-04-02     Hoffman York

5070   2025-04-02     WhatsApp
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 171 of 365




#      Date           Entity Name
5071   2025-04-02     Outback Presents

5072   2025-04-02     Aleph - Panama

5073   2025-04-02     Katalyst Advantage

5074   2025-04-02     L'Oréal Chile

5075   2025-04-02     Guinness

5076   2025-04-02     Sony Music Entertainment

5077   2025-04-02     JustFab

5078   2025-04-02     Apple Services

5079   2025-04-02     Edikted

5080   2025-04-02     Glamnetic

5081   2025-04-02     UNDER THE INFLUENCE

5082   2025-04-02     GETmusic

5083   2025-04-02     Honcho.co

5084   2025-04-02     LIVE NATION ES

5085   2025-04-02     Sakara Life

5086   2025-04-02     1000heads - US Office

5087   2025-04-02     Ranker 2

5088   2025-04-02     Universal Music Danmark

5089   2025-04-02     Bravado

5090   2025-04-02     Orion Publishing Group

5091   2025-04-02     ASW Group

5092   2025-04-02     FamilySearch

5093   2025-04-02     Universal Music Latino

5094   2025-04-02     BluFish

5095   2025-04-02     The Foxy Hipster

5096   2025-04-02     Wix

5097   2025-04-02     BeatStars Inc.

5098   2025-04-02     Tell Your People

5099   2025-04-02     Greta Boutique

5100   2025-04-02     Zenith USA
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 172 of 365




#      Date           Entity Name
5101   2025-04-02     Ruder Finn

5102   2025-04-02     T&M Holding

5103   2025-04-02     Centricity Music

5104   2025-04-02     Forward Media Italy

5105   2025-04-02     Universal Music Norge

5106   2025-04-02     Quakmedia - Agencia de Marketing Digital

5107   2025-04-02     Mattress Firm

5108   2025-04-02     Wavemaker Malaysia

5109   2025-04-02     Warner Music Sweden

5110   2025-04-02     Sony Music UK

5111   2025-04-02     Home Chef

5112   2025-04-02     Neko Test Page

5113   2025-04-02     Digital House

5114   2025-04-02     Live Nation Belgium

5115   2025-04-02     Propeller

5116   2025-04-02     Disney Streaming

5117   2025-04-02     Starcom UK PUIG

5118   2025-04-02     Edelman Digital NYC

5119   2025-04-02     Sony Music Austria

5120   2025-04-02     Ark Swimwear

5121   2025-04-02     PM PUIG

5122   2025-04-02     Maybelline New York

5123   2025-04-02     Mastercard

5124   2025-04-02     ■■■■■■■■■■■■■■

5125   2025-04-02     Reward Agency - 08

5126   2025-04-02     Cover FX

5127   2025-04-02     Meetsocial HK Digital Marketing Co.■ltd-1

5128   2025-04-02     WITHIN

5129   2025-04-02     Duluth Trading Company

5130   2025-04-02     Keeps
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 173 of 365




#      Date           Entity Name
5131   2025-04-02     Spiceology

5132   2025-04-02     First Avenue & 7th St Entry

5133   2025-04-02     Stuart Weitzman

5134   2025-04-02     HotSnap

5135   2025-04-02     Dow

5136   2025-04-02     ■■■■ ■■■

5137   2025-04-02     LOOPS

5138   2025-04-02     Unilever Canada

5139   2025-04-02     Topeka

5140   2025-04-02     BEN: Product Brand Intelligence

5141   2025-04-02     Understatement Underwear

5142   2025-04-02     SUGARED + BRONZED

5143   2025-04-02     Merkle Incorporated

5144   2025-04-02     BSN

5145   2025-04-02     Brand Networks

5146   2025-04-02     Illinois Lottery

5147   2025-04-02     Health Union LLC

5148   2025-04-02     Ad Insights

5149   2025-04-02     Fingerpaint

5150   2025-04-02     DDC Testing

5151   2025-04-02     American Eagle

5152   2025-04-02     Operam Inc

5153   2025-04-02     Open Influence

5154   2025-04-02     EMT

5155   2025-04-02     PETERMAYER

5156   2025-04-02     Rent. Solutions

5157   2025-04-02     Elevation, Ltd.

5158   2025-04-02     Matthew 6:26 LLC

5159   2025-04-02     Progressive

5160   2025-04-02     TransUnion Digital
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 174 of 365




#      Date           Entity Name
5161   2025-04-02     Wyze

5162   2025-04-02     Frankies Bikinis

5163   2025-04-02     Delivery Hero

5164   2025-04-02     Boston Scientific

5165   2025-04-02     Horizon Blue Cross Blue Shield of New Jersey

5166   2025-04-02     Publicis_Media_Luxe

5167   2025-04-02     SkinnyDipped

5168   2025-04-02     COS

5169   2025-04-02     JXM

5170   2025-04-02     UM Detroit

5171   2025-04-02     Simplyk Bénévolat

5172   2025-04-02     iProspect Detroit

5173   2025-04-02     Purple Media

5174   2025-04-02     Dollar General

5175   2025-04-02     VaynerMedia

5176   2025-04-02     Aza

5177   2025-04-02     360i

5178   2025-04-02     AbelsonTaylor Group

5179   2025-04-02     Intuit TurboTax

5180   2025-04-02     Rezonate Media

5181   2025-04-02     HRD Games, LLC

5182   2025-04-02     TDC Audiences

5183   2025-04-02     Flip.shop

5184   2025-04-02     TargetSmart

5185   2025-04-02     UM APAC

5186   2025-04-02     Monarch

5187   2025-04-02     Dentsu Greece

5188   2025-04-02     Universal Music South Africa

5189   2025-04-02     Grupo Axo

5190   2025-04-02     Sony Music Italy
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 175 of 365




#      Date           Entity Name
5191   2025-04-02     NeoPerformance

5192   2025-04-02     XaxisKorea

5193   2025-04-02     Aleph Ecuador

5194   2025-04-02     Matterkind US

5195   2025-04-02     Radius Chicago

5196   2025-04-02     Frank And Oak

5197   2025-04-02     Best Videos

5198   2025-04-02     Sure Sure

5199   2025-04-02     Penguin España

5200   2025-04-02     Summerfest

5201   2025-04-02     Live Nation Australia

5202   2025-04-02     Monqui Presents

5203   2025-04-02     Angus Media

5204   2025-04-02     RODEOHOUSTON

5205   2025-04-02     Crumbl Cookies

5206   2025-04-02     Pit Viper

5207   2025-04-02     Kulturbolaget

5208   2025-04-02     Talent Groupe CH

5209   2025-04-02     Church of the King

5210   2025-04-02     Manebí

5211   2025-04-02     Mushroom

5212   2025-04-02     Aleph El Salvador

5213   2025-04-02     Blogger: Isaac Saenz

5214   2025-04-02     EMI Records

5215   2025-04-02     Purdue Global

5216   2025-04-02     Glossier

5217   2025-04-02     Doublesoul

5218   2025-04-02     myQ

5219   2025-04-02     Forma Pilates

5220   2025-04-02     Horizn Studios
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 176 of 365




#      Date           Entity Name
5221   2025-04-02     K-Swiss

5222   2025-04-02     Louis Vuitton

5223   2025-04-02     D'Alessandro e Galli

5224   2025-04-02     Tommy Hilfiger ME

5225   2025-04-02     kate spade new york

5226   2025-04-02     Arising Empire

5227   2025-04-02     Coach

5228   2025-04-02     Knitting Factory Entertainment

5229   2025-04-02     Art Label Studios 2024

5230   2025-04-02     Eva Rankin■

5231   2025-04-02     Give Back Beauty

5232   2025-04-02     Shelf Inc.

5233   2025-04-02     DSW Designer Shoe Warehouse

5234   2025-04-02     Live Nation Sweden

5235   2025-04-02     Monster

5236   2025-04-02     L.A. Concerts

5237   2025-04-02     fuckinggoodmovies ®

5238   2025-04-02     Socialyte

5239   2025-04-02     Disney

5240   2025-04-02     Integral Strength

5241   2025-04-02     The 3am Club

5242   2025-04-02     MC UK - GBP

5243   2025-04-02     Fb-Ig-Stage

5244   2025-04-02     Superfly

5245   2025-04-02     Kore Nutrition

5246   2025-04-02     NHL

5247   2025-04-02     Intuit QuickBooks

5248   2025-04-02     Called

5249   2025-04-02     Alter Art

5250   2025-04-02     MEC Italia
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 177 of 365




#      Date           Entity Name
5251   2025-04-02     Echo Promotion

5252   2025-04-02     Emporium Presents

5253   2025-04-02     Nexters

5254   2025-04-02     DASH TWO

5255   2025-04-02     Function of Beauty

5256   2025-04-02     Danny Wimmer Presents

5257   2025-04-02     Sony Music Germany

5258   2025-04-02     Hint

5259   2025-04-02     The Glover Park Group

5260   2025-04-02     Performics Belgium

5261   2025-04-02     FitnFemale

5262   2025-04-02     Garnier Colombia

5263   2025-04-02     Coca-Cola Philippines

5264   2025-04-02     Free People

5265   2025-04-02     HarperCollins

5266   2025-04-02     Kiehl's

5267   2025-04-02     Makeup.com by L'Oreal

5268   2025-04-02     MPP Business test account

5269   2025-04-02     i.am.gia

5270   2025-04-02     ClearOne Advantage, LLC

5271   2025-04-02     Solved

5272   2025-04-02     DoorDash

5273   2025-04-02     Breathe For Change

5274   2025-04-02     Michael Kors

5275   2025-04-02     Drive with Lyft

5276   2025-04-02     BET

5277   2025-04-02     Leonard Brands

5278   2025-04-02     Etsy

5279   2025-04-02     Unit 3C

5280   2025-04-02     discovery+
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 178 of 365




#      Date           Entity Name
5281   2025-04-02     Pet Airways

5282   2025-04-02     Macy's

5283   2025-04-02     Uber

5284   2025-04-02     Blue 449

5285   2025-04-02     Hagerty

5286   2025-04-02     Dr Pepper Snapple Group

5287   2025-04-02     Chewy

5288   2025-04-02     Mazda USA

5289   2025-04-02     Universal Music México

5290   2025-04-02     Snapchat for Business

5291   2025-04-02     Unicorn Innovations

5292   2025-04-02     Papinelle Sleepwear

5293   2025-04-02     Step

5294   2025-04-02     Liquid I.V.

5295   2025-04-02     af_drinks

5296   2025-04-02     APM Monaco

5297   2025-04-02     FCA Mexico

5298   2025-04-02     Victoria Justice

5299   2025-04-02     Greenhouse Talent NL

5300   2025-04-02     Gaston Luga

5301   2025-04-02     Adult Swim

5302   2025-04-02     Reaction Presents

5303   2025-04-02     VaynerMedia Canada

5304   2025-04-02     Social

5305   2025-04-02     Carmichael Lynch

5306   2025-04-02     Hampton Creative

5307   2025-04-02     REVOLVE

5308   2025-04-02     Aleph Guatemala

5309   2025-04-02     Premiere Speakers Bureau

5310   2025-04-02     Omnicom Resolution
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 179 of 365




#      Date           Entity Name
5311   2025-04-02     Socialistics

5312   2025-04-02     LP Generic Business

5313   2025-04-02     Wiland Data Targeting

5314   2025-04-02     Conill Advertising

5315   2025-04-02     Amobee DMP

5316   2025-04-02     Lifeway

5317   2025-04-02     Great American Pure Flix

5318   2025-04-02     Publicis Health Media

5319   2025-04-02     Inspire Brands

5320   2025-04-02     Univision

5321   2025-04-02     2K

5322   2025-04-02     Eggland's Best Eggs

5323   2025-04-02     Socialyse Adm FR

5324   2025-04-02     SiriusXM

5325   2025-04-02     Drink Accelerator

5326   2025-04-02     De Helling

5327   2025-04-02     Sony Music Australia

5328   2025-04-02     Another Planet Entertainment

5329   2025-04-02     Merkle Data Partner

5330   2025-04-02     Okori Kazakhstan

5331   2025-04-02     Slynd® (drospirenone)

5332   2025-04-02     bubly

5333   2025-04-02     Solaura

5334   2025-04-02     CurlMix

5335   2025-04-02     Thirdwave

5336   2025-04-02     Acxiom

5337   2025-04-02     Satullo

5338   2025-04-02     Initiative

5339   2025-04-02     KeepGoing First Aid

5340   2025-04-02     Drive Toyota
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25       Page 180 of 365




#      Date           Entity Name
5341   2025-04-02     Instagram Ad Ops

5342   2025-04-02     X-VIN

5343   2025-04-02     Precision

5344   2025-04-02     Phathom Pharmaceuticals

5345   2025-04-02     Huggies

5346   2025-04-02     Fanatics

5347   2025-04-02     Eyeota

5348   2025-04-02     Ethos Life

5349   2025-04-02     Wiland Audiences

5350   2025-04-02     Just Us Skin Care

5351   2025-04-02     J3

5352   2025-04-02     Starcom USA, Best Buy

5353   2025-04-02     Secret Sounds

5354   2025-04-02     Kohl's

5355   2025-04-02     Skingasm

5356   2025-04-02     Warner Music Spain

5357   2025-04-02     Facebook Analytics

5358   2025-04-02     Ranker.com

5359   2025-04-02     Seminole Hard Rock Hotel & Casino - Hollywood, FL

5360   2025-04-02     Florida Credit Union

5361   2025-04-02     Jill

5362   2025-04-02     Haworth Media

5363   2025-04-02     The Goat Agency

5364   2025-04-02     Good American

5365   2025-04-02     Linktree

5366   2025-04-02     MediaCom USA

5367   2025-04-02     Universal Music Thailand

5368   2025-04-02     Smashbox Cosmetics

5369   2025-04-02     T4F

5370   2025-04-02     Last Tour
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 181 of 365




#      Date           Entity Name
5371   2025-04-02     We are mitú

5372   2025-04-02     Capital One

5373   2025-04-02     Accenture Adaptly Media Clients

5374   2025-04-02     Happy Family Organics

5375   2025-04-02     Barstool Sports

5376   2025-04-02     Groupe EPI

5377   2025-04-02     PHD France

5378   2025-04-02     neuapp

5379   2025-04-02     L'atelier TW

5380   2025-04-02     FanDuel

5381   2025-04-02     We Play

5382   2025-04-02     SONYA DAKAR

5383   2025-04-02     Pinterest Inc

5384   2025-04-02     JibJab Catapult

5385   2025-04-02     Invest529

5386   2025-04-02     Active International

5387   2025-04-02     Spring Creek Group

5388   2025-04-02     EMEA

5389   2025-04-02     Kroger

5390   2025-04-02     Revive

5391   2025-04-02     4C

5392   2025-04-02     Test Page

5393   2025-04-02     Croud Ads

5394   2025-04-02     Real Chemistry

5395   2025-04-02     Reprise ES

5396   2025-04-02     Loma Vista Recordings

5397   2025-04-02     Target

5398   2025-04-02     Live Nation Germany - Austria - Switzerland

5399   2025-04-02     Fanatics Live

5400   2025-04-02     Fun.com
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 182 of 365




#      Date           Entity Name
5401   2025-04-02     Troubadour Presents

5402   2025-04-02     Compulse

5403   2025-04-02     Sub Pop Records

5404   2025-04-02     Anotherland Music

5405   2025-04-02     Unilever Philippines

5406   2025-04-02     MullenLowe U.S.

5407   2025-04-02     Tincre

5408   2025-04-02     Interscope Records

5409   2025-04-02     Sony Music Netherlands

5410   2025-04-02     Ashley

5411   2025-04-02     Big Concerts

5412   2025-04-02     Reprise Chile

5413   2025-04-02     CharityStars

5414   2025-04-02     California Cryobank

5415   2025-04-02     Annapurna Pictures

5416   2025-04-02     Goldenvoice

5417   2025-04-02     Omnicom Media Group

5418   2025-04-02     starrising777

5419   2025-04-02     Gadget Entertainment

5420   2025-04-02     Wavemaker Hong Kong

5421   2025-04-02     Republic NOLA

5422   2025-04-02     Vogue France

5423   2025-04-02     YinoLink■■

5424   2025-04-02     DefJam

5425   2025-04-02     Noise New Media

5426   2025-04-02     HMI Social

5427   2025-04-02     Resolve

5428   2025-04-02     Match

5429   2025-04-02     Big Slap

5430   2025-04-02     Hyperice
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 183 of 365




#      Date           Entity Name
5431   2025-04-02     Warner Music Singapore

5432   2025-04-02     Wonderfront Festival

5433   2025-04-02     Limelight Belfast

5434   2025-04-02     IProspect Fort Worth

5435   2025-04-02     PrettyLittleThing

5436   2025-04-02     TFM Media

5437   2025-04-02     Backstreetmerch.com

5438   2025-04-02     Invisalign

5439   2025-04-01     Neural Leap Ventures

5440   2025-04-01     Tombras

5441   2025-04-01     Shambala

5442   2025-04-01     Enso Rings

5443   2025-04-01     United Influencers

5444   2025-04-01     Learning A-Z

5445   2025-04-01     MethodGroupe

5446   2025-04-01     Lovesac

5447   2025-04-01     22squared

5448   2025-04-01     Croud Ads

5449   2025-04-01     Marketing

5450   2025-04-01     Resolution Agency

5451   2025-04-01     Savannah Bee Company

5452   2025-04-01     SUGARED + BRONZED

5453   2025-04-01     Good Social Company

5454   2025-04-01     UM Australia

5455   2025-04-01     ADARA

5456   2025-04-01     AU 77

5457   2025-04-01     TivoliVredenburg

5458   2025-04-01     Vizeum - US

5459   2025-04-01     Black Promoters Collective

5460   2025-04-01     Klick - Epic
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 184 of 365




#      Date           Entity Name
5461   2025-04-01     Eddie Bauer

5462   2025-04-01     Công Ty ■ng Hoàng Phúc

5463   2025-04-01     UM Canada

5464   2025-04-01     Harbor Freight

5465   2025-04-01     Flaus

5466   2025-04-01     Intuit TurboTax

5467   2025-04-01     Elevation, Ltd.

5468   2025-04-01     HBO Max

5469   2025-04-01     Bfx

5470   2025-04-01     SkinnyDipped

5471   2025-04-01     310 Nutrition

5472   2025-04-01     DIFF

5473   2025-04-01     Bumble

5474   2025-04-01     Pepsi

5475   2025-04-01     HMS Global - GBP

5476   2025-04-01     Sleepgram

5477   2025-04-01     Sentara Health

5478   2025-04-01     Room & Board

5479   2025-04-01     SmartHeart

5480   2025-04-01     SharkNinja

5481   2025-04-01     Carter's

5482   2025-04-01     Illinois Lottery

5483   2025-04-01     Sam's Club

5484   2025-04-01     WS NA

5485   2025-04-01     Deep Root Analytics

5486   2025-04-01     SONYA DAKAR

5487   2025-04-01     Dil Mil

5488   2025-04-01     Fabric Technologies

5489   2025-04-01     Starcom USA, Best Buy

5490   2025-04-01     CVS Pharmacy
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 185 of 365




#      Date           Entity Name
5491   2025-04-01     Forward Media Italy

5492   2025-04-01     The Foxy Hipster

5493   2025-04-01     Netflix

5494   2025-04-01     Matterkind US

5495   2025-04-01     Wavemaker Malaysia

5496   2025-04-01     af_drinks

5497   2025-04-01     CCI ■■■■cartacommunications

5498   2025-04-01     neuapp

5499   2025-04-01     Valley Vet Supply

5500   2025-04-01     Feld Entertainment, Inc.

5501   2025-04-01     Clarins

5502   2025-04-01     360i

5503   2025-04-01     Nickel and Suede

5504   2025-04-01     KraftMaid Cabinetry

5505   2025-04-01     Chewy

5506   2025-04-01     Just Us Skin Care

5507   2025-04-01     The Christian Broadcasting Network

5508   2025-04-01     Possible

5509   2025-04-01     Molson Coors

5510   2025-04-01     Exchange LA

5511   2025-04-01     Simpli.fi

5512   2025-04-01     Boarderie

5513   2025-04-01     Predictive Media Analytics, LLC

5514   2025-04-01     HCN

5515   2025-04-01     Happy Mammoth

5516   2025-04-01     Universal Studios Hollywood

5517   2025-04-01     MetLife

5518   2025-04-01     Rite Aid

5519   2025-04-01     Givebutter

5520   2025-04-01     Starcom Sweden AB
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2       Filed 04/12/25   Page 186 of 365




#      Date           Entity Name
5521   2025-04-01     Universal Music South Africa

5522   2025-04-01     Yallie K Enterprises LLC

5523   2025-04-01     ClearOne Advantage, LLC

5524   2025-04-01     Barstool Sports

5525   2025-04-01     Edelman DC

5526   2025-04-01     Smarty Social Media

5527   2025-04-01     EVERSANA INTOUCH

5528   2025-04-01     ACTwireless

5529   2025-04-01     Brunner

5530   2025-04-01     GALE Media

5531   2025-04-01     Coach

5532   2025-04-01     Tropical Bros

5533   2025-04-01     Dansko, LLC

5534   2025-04-01     SBX Proxy

5535   2025-04-01     Tommy Hilfiger ME

5536   2025-04-01     Crumbl Cookies

5537   2025-04-01     Camille Brinch Jewellery

5538   2025-04-01     Postmates

5539   2025-04-01     adidas

5540   2025-04-01     Linear 360

5541   2025-04-01     EA - Electronic Arts

5542   2025-04-01     Gupta Media Holdings, LLC

5543   2025-04-01     No Limit Entertainment

5544   2025-04-01     The QYOU

5545   2025-04-01     Jockey

5546   2025-04-01     ■■■■ ■■■

5547   2025-04-01     Shaq’s Fun House

5548   2025-04-01     ■■■■■■■■■■_2

5549   2025-04-01     Madison Square Garden

5550   2025-04-01     BetterHelp
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 187 of 365




#      Date           Entity Name
5551   2025-04-01     Gordon McKernan Injury Attorneys

5552   2025-04-01     Tincre

5553   2025-04-01     K-Swiss

5554   2025-04-01     Hairfinity

5555   2025-04-01     MEC Italia

5556   2025-04-01     NA-KD.com

5557   2025-04-01     CSB

5558   2025-04-01     Seiza

5559   2025-04-01     MAAPS / Overman Enterprises

5560   2025-04-01     Overtime

5561   2025-04-01     L'Oreal Ecommerce PRoject

5562   2025-04-01     Simplyk Bénévolat

5563   2025-04-01     Merch Traffic

5564   2025-04-01     Crowd Control Digital

5565   2025-04-01     Lashify

5566   2025-04-01     DEPT UK

5567   2025-04-01     GoldSilver

5568   2025-04-01     Action Network

5569   2025-04-01     For Wellness

5570   2025-04-01     Harvest Hill Beverage Company

5571   2025-04-01     Voiply

5572   2025-04-01     Truth and Love Coaching International

5573   2025-04-01     FabFitFun

5574   2025-04-01     VaynerMedia APAC

5575   2025-04-01     Evolve Media

5576   2025-04-01     Musical Earth

5577   2025-04-01     MRG Live

5578   2025-04-01     Step

5579   2025-04-01     Kitbag

5580   2025-04-01     Motorola
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 188 of 365




#      Date           Entity Name
5581   2025-04-01     Doublesoul

5582   2025-04-01     Mainment GmbH

5583   2025-04-01     M Booth

5584   2025-04-01     Horizn Studios

5585   2025-04-01     Brilliance.com

5586   2025-04-01     CountryWired INC.

5587   2025-04-01     NOTO Houston

5588   2025-04-01     Z2 Comics

5589   2025-04-01     Talent Groupe CH

5590   2025-04-01     Foam and Substance

5591   2025-04-01     Dimensions Fragrance

5592   2025-04-01     House Shops Ads

5593   2025-04-01     Finish Line

5594   2025-04-01     TIBBS & BONES

5595   2025-04-01     LOOPS

5596   2025-04-01     Gorgie

5597   2025-04-01     Mic Drop Comedy

5598   2025-04-01     D'Alessandro e Galli

5599   2025-04-01     Sweed

5600   2025-04-01     RCKT.

5601   2025-04-01     OmnicomMediaGroup Nederland

5602   2025-04-01     Media Six

5603   2025-04-01     Aleph - Dominican Republic

5604   2025-04-01     Zenithoptimedia Taiwan

5605   2025-04-01     Vivara

5606   2025-04-01     Drink Accelerator

5607   2025-04-01     Sony Music Switzerland

5608   2025-04-01     Indipendente Concerti

5609   2025-04-01     Cure Media

5610   2025-04-01     Olipop
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 189 of 365




#      Date           Entity Name
5611   2025-04-01     Garnier Colombia

5612   2025-04-01     Hampton Creative

5613   2025-04-01     Function of Beauty

5614   2025-04-01     Partisan Records

5615   2025-04-01     Instacart

5616   2025-04-01     Disney

5617   2025-04-01     Nexters

5618   2025-04-01     Facetune by Lightricks

5619   2025-04-01     Cooking Vinyl

5620   2025-04-01     Milani

5621   2025-04-01     L'Oréal Chile

5622   2025-04-01     Fulton & Roark

5623   2025-04-01     Alo Moves

5624   2025-04-01     Bolster

5625   2025-04-01     Adwerx

5626   2025-04-01     Flat Tummy Co

5627   2025-04-01     OLLY

5628   2025-04-01     My View From Beer

5629   2025-04-01     Sony Music France

5630   2025-04-01     Frank And Oak

5631   2025-04-01     Move With Us

5632   2025-04-01     The Rave / Eagles Club

5633   2025-04-01     RIMOWA

5634   2025-04-01     Beauty Factory

5635   2025-04-01     ZenithOptimedia Portugal

5636   2025-04-01     Brilliant Earth

5637   2025-04-01     Zondervan Books

5638   2025-04-01     factory 54

5639   2025-04-01     TEG DAINTY

5640   2025-04-01     Digitas North America
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 190 of 365




#      Date           Entity Name
5641   2025-04-01     L'Oréal Uruguay

5642   2025-04-01     Geologie

5643   2025-04-01     Scooter's Coffee

5644   2025-04-01     BHLDN Weddings

5645   2025-04-01     Zales

5646   2025-04-01     Calvin Klein GCC

5647   2025-04-01     Boston Scientific

5648   2025-04-01     Car Price Secrets

5649   2025-04-01     Live Nation Italia

5650   2025-04-01     Omnicom Media Group

5651   2025-04-01     Swanson Russell

5652   2025-04-01     GoAudience

5653   2025-04-01     BobbyParrish

5654   2025-04-01     Huntington National Bank

5655   2025-04-01     Phathom Pharmaceuticals

5656   2025-04-01     Cleo

5657   2025-04-01     Happify by Twill

5658   2025-04-01     Ketone-IQ

5659   2025-04-01     PMG

5660   2025-04-01     Miami Dolphins

5661   2025-04-01     Global Health on Facebook

5662   2025-04-01     Okori Kazakhstan

5663   2025-04-01     EDGE Entertainment Digital

5664   2025-04-01     Omnilife

5665   2025-04-01     AEG Presents Asia

5666   2025-04-01     Understatement Underwear

5667   2025-04-01     Jack Archer

5668   2025-04-01     THIRD EAR

5669   2025-04-01     Katherine Kwok FB Biz

5670   2025-04-01     Puzzmo
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 191 of 365




#      Date           Entity Name
5671   2025-04-01     HQ CDM

5672   2025-04-01     P&G Social Global

5673   2025-04-01     Health Union LLC

5674   2025-04-01     Zimmerman Advertising

5675   2025-04-01     Marathon Strategies

5676   2025-04-01     eFavormart

5677   2025-04-01     MediaCom USA

5678   2025-04-01     BSN

5679   2025-04-01     Rational 360

5680   2025-04-01     Eulerity

5681   2025-04-01     JibJab Catapult

5682   2025-04-01     Revive

5683   2025-04-01     Bombora

5684   2025-04-01     Max Connect Digital

5685   2025-04-01     Leonard Brands

5686   2025-04-01     Seychelle Media

5687   2025-04-01     UM MENA

5688   2025-04-01     Wake Research

5689   2025-04-01     BM5 chay sach 3

5690   2025-04-01     L'Oréal Professionnel

5691   2025-04-01     Sony Music Spain

5692   2025-04-01     FreePrints App

5693   2025-04-01     Quarterlab

5694   2025-04-01     Radius Chicago

5695   2025-04-01     471887696173235

5696   2025-04-01     Pit Viper

5697   2025-04-01     CubeSmart Self Storage

5698   2025-04-01     MyMuse

5699   2025-04-01     Sub Pop Records

5700   2025-04-01     P&G Professional España
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 192 of 365




#      Date           Entity Name
5701   2025-04-01     Pierce Media

5702   2025-04-01     Ranker.com

5703   2025-04-01     Helyx Marketing

5704   2025-04-01     Another Planet Entertainment

5705   2025-04-01     Duluth Trading Company

5706   2025-04-01     LIVE NATION ES

5707   2025-04-01     Fb-Ig-Stage

5708   2025-04-01     Funny or Not

5709   2025-04-01     Elicit Music

5710   2025-04-01     APM Monaco

5711   2025-04-01     Guardian Childcare & Education

5712   2025-04-01     Social

5713   2025-04-01     Strawberries & Creem

5714   2025-04-01     OnlyFans

5715   2025-04-01     Connected Vivaki

5716   2025-04-01     Warner Music Canada

5717   2025-04-01     playforgain

5718   2025-04-01     SOSHE Beauty

5719   2025-04-01     Admixer

5720   2025-04-01     Pura Vida

5721   2025-04-01     Reprise Chile

5722   2025-04-01     Smashbox Cosmetics

5723   2025-04-01     Disney Streaming

5724   2025-04-01     Good American

5725   2025-04-01     Fashion Nova

5726   2025-04-01     Magnum Photos

5727   2025-04-01     iRESTORE Hair Growth System

5728   2025-04-01     Maison de Sabré

5729   2025-04-01     Relatable

5730   2025-04-01     CLOUT Festival
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 193 of 365




#      Date           Entity Name
5731   2025-04-01     Danny Wimmer Presents

5732   2025-04-01     The Assembly Music

5733   2025-04-01     AuDigent

5734   2025-04-01     fuckinggoodmovies ®

5735   2025-04-01     Juicy Couture

5736   2025-04-01     Destroy All Lines

5737   2025-04-01     BroBible

5738   2025-04-01     ESPN

5739   2025-04-01     Alter Art

5740   2025-04-01     Jessica Goicoechea - Goi

5741   2025-04-01     Ashley

5742   2025-04-01     Dr. Squatch

5743   2025-04-01     Team BC

5744   2025-04-01     703digital

5745   2025-04-01     Publicis_Media_Luxe

5746   2025-04-01     Dentsu Greece

5747   2025-04-01     GMI Maxus IDR WPP

5748   2025-04-01     ASUS

5749   2025-04-01     Snapchat for Business

5750   2025-04-01     Publicis Health Media

5751   2025-04-01     L'Oréal Social CDO - Cockpit & Advertising

5752   2025-04-01     Live Nation Sweden

5753   2025-04-01     Miller's Ale House

5754   2025-04-01     JCG LLC

5755   2025-04-01     Scruff of the Neck

5756   2025-04-01     The 3am Club

5757   2025-04-01     Deezer

5758   2025-04-01     Apple Services

5759   2025-04-01     Universal Music Norge

5760   2025-04-01     Martell
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 194 of 365




#      Date           Entity Name
5761   2025-04-01     Cover FX

5762   2025-04-01     Peloton

5763   2025-04-01     Alex Feather Akimov's Business

5764   2025-04-01     Sony Music Brasil

5765   2025-04-01     American Sporstwear, S.A.

5766   2025-04-01     rolling loud

5767   2025-04-01     CNN Digital - Audience Dev

5768   2025-04-01     Universal Music Latino

5769   2025-04-01     Garage

5770   2025-04-01     Maude

5771   2025-04-01     Kevin Gottlieb

5772   2025-04-01     Omnilux LED Light Therapy

5773   2025-04-01     Mushroom

5774   2025-04-01     Yamaha Music USA

5775   2025-04-01     Coca-Cola Philippines

5776   2025-04-01     Test Global

5777   2025-04-01     Shareablee

5778   2025-04-01     Purdue Global

5779   2025-04-01     Fandango at Home

5780   2025-04-01     Live Nation Finland

5781   2025-04-01     PacSun

5782   2025-04-01     Division D

5783   2025-04-01     Magnolias

5784   2025-04-01     Dermaclara

5785   2025-04-01     Nordstrom

5786   2025-04-01     P2 Public Affairs

5787   2025-04-01     Mars United Commerce

5788   2025-04-01     MC UK - GBP

5789   2025-04-01     Crossmedia

5790   2025-04-01     Faraday.io
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25   Page 195 of 365




#      Date           Entity Name
5791   2025-04-01     Tusk Strategies

5792   2025-04-01     Torrid

5793   2025-04-01     Swimply

5794   2025-04-01     Tres Colori Jewelry

5795   2025-04-01     Morgan Fidelity Associates, Inc.

5796   2025-04-01     Fingerhut

5797   2025-04-01     Mediaplus Hamburg GmbH & Co. KG

5798   2025-04-01     Ring

5799   2025-04-01     Bridg Channel

5800   2025-04-01     Whalar

5801   2025-04-01     LSU AgCenter Botanic Gardens

5802   2025-04-01     Lifeway

5803   2025-04-01     Ross University School of Veterinary Medicine

5804   2025-04-01     Colleen Mauer Designs

5805   2025-04-01     Aisle 518 Strategies, LLC

5806   2025-04-01     AptDeco

5807   2025-04-01     Sephora

5808   2025-04-01     Selfie Leslie

5809   2025-04-01     Playboy

5810   2025-04-01     JSHealth

5811   2025-04-01     California Cryobank

5812   2025-04-01     Blogger: Isaac Saenz

5813   2025-04-01     Accelerated Intelligence Ltd

5814   2025-04-01     Sony Music Netherlands

5815   2025-04-01     Functional Care

5816   2025-04-01     Suit Up Brands LLC

5817   2025-04-01     Anthropologie

5818   2025-04-01     Aero Opco LLC

5819   2025-04-01     Humane World for Animals

5820   2025-04-01     Universal Music Spain
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 196 of 365




#      Date           Entity Name
5821   2025-04-01     Angela ■

5822   2025-04-01     Shopify

5823   2025-04-01     Coffee Dose

5824   2025-04-01     Kawasaki USA

5825   2025-04-01     FIGS

5826   2025-04-01     KSR Group

5827   2025-04-01     Goodlive Artists

5828   2025-04-01     RTIC Outdoors

5829   2025-04-01     BlueChew

5830   2025-04-01     The Jet-Ski Doctor

5831   2025-04-01     Frontier Touring

5832   2025-04-01     Summersalt

5833   2025-04-01     JG Summit

5834   2025-04-01     Canvas Worldwide

5835   2025-04-01     Universal Music México

5836   2025-04-01     starrising777

5837   2025-04-01     Solawave

5838   2025-04-01     WE ARE TALA

5839   2025-04-01     Facebook

5840   2025-04-01     Bishop Robert Barron

5841   2025-04-01     Ruggable

5842   2025-04-01     Blueprint Interactive

5843   2025-04-01     Audacy Social Conquest

5844   2025-04-01     Stuart Weitzman

5845   2025-04-01     NHL

5846   2025-04-01     Chime

5847   2025-04-01     True Anthem

5848   2025-04-01     Loma Vista Recordings

5849   2025-04-01     Universal Music Romania

5850   2025-04-01     The Church of Jesus Christ of Latter-day Saints
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 197 of 365




#      Date           Entity Name
5851   2025-04-01     The Glover Park Group

5852   2025-04-01     Sev Laser Aesthetics

5853   2025-04-01     AbbVie

5854   2025-04-01     Decca Records

5855   2025-04-01     Spiceology

5856   2025-04-01     Horizon Horseback

5857   2025-04-01     Hanna Andersson

5858   2025-04-01     Friends At Work

5859   2025-04-01     Media Plus+

5860   2025-04-01     United Gold Group

5861   2025-04-01     PM PUIG

5862   2025-04-01     Search Influence

5863   2025-04-01     FESTIVAL LES ARDENTES

5864   2025-04-01     Live Nation Norway

5865   2025-04-01     2K

5866   2025-04-01     Sony Music Austria

5867   2025-04-01     Cadence

5868   2025-04-01     H&M

5869   2025-04-01     Ruder Finn

5870   2025-04-01     Magnolia Pictures

5871   2025-04-01     Helix Sleep

5872   2025-04-01     BeatStars Inc.

5873   2025-04-01     Papa Johns Pizza

5874   2025-04-01     Jill

5875   2025-04-01     Tulster

5876   2025-04-01     Quakmedia - Agencia de Marketing Digital

5877   2025-04-01     Best Buy

5878   2025-04-01     Art Label Studios 2024

5879   2025-04-01     Melkweg Amsterdam

5880   2025-04-01     Keeps
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 198 of 365




#      Date           Entity Name
5881   2025-04-01     Ayla & Co

5882   2025-04-01     F1 + F3 len moi

5883   2025-04-01     Research Study Rockstar

5884   2025-04-01     Musely

5885   2025-04-01     Solka

5886   2025-04-01     Starcom UK PUIG

5887   2025-04-01     Canopy

5888   2025-04-01     Kikoff

5889   2025-04-01     Facebook Insertion Orders

5890   2025-04-01     Verb Products

5891   2025-04-01     Cortica

5892   2025-04-01     Progress Rum

5893   2025-04-01     Novartis Clinical Trials

5894   2025-04-01     Second test personal user page

5895   2025-04-01     Bang Productions Television

5896   2025-04-01     The Relationship School

5897   2025-04-01     Relistor® (methylnaltrexone bromide)

5898   2025-04-01     Masters of Balayage

5899   2025-04-01     Dice Dreams

5900   2025-04-01     BJ's Wholesale Club

5901   2025-04-01     Klick - Edge

5902   2025-04-01     MetaVision Media

5903   2025-04-01     JCK Enterprises, LLC

5904   2025-04-01     Gap Inc

5905   2025-04-01     Cleveland Clinic

5906   2025-04-01     Wegmans

5907   2025-04-01     The Detox Dudes

5908   2025-04-01     VS-Ronaldo Silva 1 - bm 5

5909   2025-04-01     Soundwave Consulting

5910   2025-04-01     Aerial Video A to Z
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 199 of 365




#      Date           Entity Name
5911   2025-04-01     I'd Rather Be With My Dog

5912   2025-04-01     Listerine

5913   2025-04-01     DSplus

5914   2025-04-01     MiQ US

5915   2025-04-01     Wantable

5916   2025-04-01     Joom

5917   2025-04-01     Angler AI

5918   2025-04-01     Swanson Health

5919   2025-04-01     JOANN Fabric and Craft Stores

5920   2025-04-01     Alex Azra

5921   2025-04-01     Bonneville International

5922   2025-04-01     Boston Comedy Festival

5923   2025-04-01     w/Tributary

5924   2025-04-01     FleishmanHillard

5925   2025-04-01     Rescue: The Behavior Change Agency

5926   2025-04-01     Shelf Inc.

5927   2025-04-01     LM250 9

5928   2025-04-01     Pourri

5929   2025-04-01     Pltnum

5930   2025-04-01     MetaTeam

5931   2025-04-01     M+R

5932   2025-04-01     Rakuten

5933   2025-04-01     Affordable Dentures & Implants

5934   2025-04-01     TruDiagnostic

5935   2025-04-01     Frankies Bikinis

5936   2025-04-01     Trials World

5937   2025-04-01     WebMD

5938   2025-04-01     Conn's HomePlus

5939   2025-04-01     J Vineyards & Winery

5940   2025-04-01     Pandora
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2     Filed 04/12/25   Page 200 of 365




#      Date           Entity Name
5941   2025-04-01     Audience Town

5942   2025-04-01     Thirdwave

5943   2025-04-01     Pet Airways

5944   2025-04-01     Warby Parker

5945   2025-04-01     MEC - Los Angeles

5946   2025-04-01     Wolven

5947   2025-04-01     Sif Jakobs Jewellery

5948   2025-04-01     Vunzige Deuntjes

5949   2025-04-01     Rothy's

5950   2025-04-01     BerlinRosen

5951   2025-04-01     Billings Gazette

5952   2025-04-01     RW Consulting

5953   2025-04-01     hims

5954   2025-04-01     Electric Promotions

5955   2025-04-01     Anotherland Music

5956   2025-04-01     Glossier

5957   2025-04-01     Facebook Analytics

5958   2025-04-01     Blue State

5959   2025-04-01     Petit Moments

5960   2025-04-01     Rgmntco

5961   2025-04-01     GEICO

5962   2025-04-01     CMS Music Media Ltd

5963   2025-04-01     Alfred A. Knopf

5964   2025-04-01     Mastercard

5965   2025-04-01     Alya Skin Australia

5966   2025-04-01     Universal Music Switzerland

5967   2025-04-01     Goodway Tier 3 Digital

5968   2025-04-01     Q Link Wireless

5969   2025-04-01     M&C Saatchi Performance

5970   2025-04-01     Brooks Running
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2    Filed 04/12/25   Page 201 of 365




#      Date           Entity Name
5971   2025-04-01     Live Nation Belgium

5972   2025-04-01     FOX Sports

5973   2025-04-01     Moon Active

5974   2025-04-01     FCA Mexico

5975   2025-04-01     Found

5976   2025-04-01     KURU Footwear

5977   2025-04-01     Mazda CX5 22

5978   2025-04-01     Decoded Advertising

5979   2025-04-01     BET

5980   2025-04-01     Latched Mama

5981   2025-04-01     JM14

5982   2025-04-01     Indeed

5983   2025-04-01     Call of Duty

5984   2025-04-01     Hyperglow

5985   2025-04-01     Slynd® (drospirenone)

5986   2025-04-01     Grubhub

5987   2025-04-01     The Citizenry

5988   2025-04-01     Zenith Chile

5989   2025-04-01     Otsuka America Pharmaceutical, Inc.

5990   2025-04-01     Liquid I.V.

5991   2025-04-01     T4F

5992   2025-04-01     Breathe For Change

5993   2025-04-01     BM 07

5994   2025-04-01     Immerse Agency, LLC

5995   2025-04-01     HRD Games, LLC

5996   2025-04-01     LocaliQ

5997   2025-04-01     Spark Foundry Canada

5998   2025-04-01     Bonefish Grill

5999   2025-04-01     ZenithOptimedia Thailand

6000   2025-04-01     Lands' End
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 202 of 365




#      Date           Entity Name
6001   2025-04-01     Calvin Klein

6002   2025-04-01     Greenhouse Talent

6003   2025-04-01     cacaFly

6004   2025-04-01     Lounge Underwear

6005   2025-04-01     Bruckner Yaar Levi

6006   2025-04-01     Backstreetmerch.com

6007   2025-04-01     E11EVEN MIAMI

6008   2025-04-01     Oceansapart Global

6009   2025-04-01     Current

6010   2025-04-01     UM Detroit

6011   2025-04-01     Rogue Fitness

6012   2025-04-01     Kash Kick 2

6013   2025-04-01     CoxNext

6014   2025-04-01     Giant Partners

6015   2025-04-01     ZipRecruiter

6016   2025-04-01     Sage Dental

6017   2025-04-01     Diggerland USA

6018   2025-04-01     Swank A Posh

6019   2025-04-01     WideFoc.us

6020   2025-04-01     Bob Hannon Consulting

6021   2025-04-01     Eli Lilly and Company

6022   2025-04-01     Freya - Test Account

6023   2025-04-01     GOP

6024   2025-04-01     Sony Rewards

6025   2025-04-01     Reprise Media ZA

6026   2025-04-01     Albertsons

6027   2025-04-01     TopTier Trader

6028   2025-04-01     ZitSticka

6029   2025-04-01     Eko Health

6030   2025-04-01     Siren Group
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2   Filed 04/12/25   Page 203 of 365




#      Date           Entity Name
6031   2025-04-01     Monster

6032   2025-04-01     Estee Lauder México

6033   2025-04-01     lensun solar energy

6034   2025-04-01     Gooseberry Intimates

6035   2025-04-01     IZEA Worldwide, Inc.

6036   2025-04-01     H&M - Paid Social

6037   2025-04-01     Haworth Media

6038   2025-04-01     Mattress Firm

6039   2025-04-01     Angus Media

6040   2025-04-01     Caraway

6041   2025-04-01     TORY BURCH

6042   2025-04-01     ondonewyork

6043   2025-04-01     MDX_3

6044   2025-04-01     Wavemaker Deutschland

6045   2025-04-01     aim'n

6046   2025-04-01     SocialAmp

6047   2025-04-01     Liberated Brands

6048   2025-04-01     Warner Music Australia

6049   2025-04-01     PHD colombia S.A.S

6050   2025-04-01     Doctor Music Concerts

6051   2025-04-01     The Children's Place

6052   2025-04-01     Primark

6053   2025-04-01     Warner Music Norway

6054   2025-04-01     MILLIONS

6055   2025-04-01     Neko Test Page

6056   2025-04-01     Snow Days

6057   2025-04-01     CAVA

6058   2025-04-01     No_Comment

6059   2025-04-01     Crunchyroll

6060   2025-04-01     Matthew 6:26 LLC
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 204 of 365




#      Date           Entity Name
6061   2025-04-01     YinoLink■■

6062   2025-04-01     HUM Nutrition

6063   2025-04-01     Inner Circle

6064   2025-04-01     Tatti Lashes

6065   2025-04-01     Limelight Belfast

6066   2025-04-01     Republic NOLA

6067   2025-04-01     IProspect Fort Worth

6068   2025-04-01     Karsten Jahnke Konzerte

6069   2025-04-01     Hyperice

6070   2025-04-01     INH Hair

6071   2025-04-01     Monqui Presents

6072   2025-04-01     Resorts World Las Vegas

6073   2025-04-01     Goldenvoice

6074   2025-04-01     Diverse Media New Zealand

6075   2025-04-01     On

6076   2025-04-01     Bread Beauty Supply

6077   2025-04-01     Skingasm

6078   2025-04-01     We are mitú

6079   2025-04-01     Genentech

6080   2025-04-01     Tell Your People

6081   2025-04-01     Cardon

6082   2025-04-01     FitnFemale

6083   2025-04-01     Concord

6084   2025-04-01     Shareably

6085   2025-04-01     Tropic of C

6086   2025-04-01     Gymexo

6087   2025-04-01     CurlMix

6088   2025-04-01     Hopscotch Music Festival

6089   2025-04-01     Affinity Answers

6090   2025-04-01     Comedy Central
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 205 of 365




#      Date           Entity Name
6091   2025-04-01     Superfly

6092   2025-04-01     NIV Bible

6093   2025-04-01     De Helling

6094   2025-04-01     Warner Music Africa

6095   2025-04-01     Empower

6096   2025-04-01     Free People

6097   2025-04-01     Digital Tading Desk

6098   2025-04-01     Launchpad INTL

6099   2025-04-01     Tanrevel

6100   2025-04-01     VarleyClothing

6101   2025-04-01     Simon & Schuster

6102   2025-04-01     Flag & Anthem

6103   2025-04-01     SiriusXM

6104   2025-04-01     TrustGodbro Clothing

6105   2025-04-01     Eva Rankin■

6106   2025-04-01     CSL

6107   2025-04-01     Carmichael Lynch

6108   2025-04-01     Sakara Life

6109   2025-04-01     VaynerMedia Canada

6110   2025-04-01     Emporium Presents

6111   2025-04-01     Publicis Media Luxe

6112   2025-04-01     Live Bearded

6113   2025-04-01     TEG Live Europe

6114   2025-04-01     Island Records

6115   2025-04-01     Trafalgar Releasing

6116   2025-04-01     Warner Music Germany

6117   2025-04-01     Common Entertainment

6118   2025-04-01     Precision

6119   2025-04-01     EMI Records

6120   2025-04-01     Socialyte
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 206 of 365




#      Date           Entity Name
6121   2025-04-01     The Home Depot

6122   2025-04-01     White Claw

6123   2025-04-01     Church of the King

6124   2025-04-01     Meetsocial HK Digital Marketing Co.■ltd-1

6125   2025-04-01     WhatsApp

6126   2025-04-01     DefJam

6127   2025-04-01     Influential

6128   2025-04-01     MC2 LIVE

6129   2025-04-01     umusic NZ

6130   2025-04-01     Bonnie

6131   2025-04-01     American Eagle

6132   2025-04-01     Captiv8

6133   2025-04-01     Kurt Geiger

6134   2025-04-01     Collectiv Presents

6135   2025-04-01     AEG Presents - Media

6136   2025-04-01     myQ

6137   2025-04-01     JJXX

6138   2025-04-01     grownbrilliance

6139   2025-04-01     Edikted

6140   2025-04-01     Integral Strength

6141   2025-04-01     FB App

6142   2025-04-01     Horizon Blue Cross Blue Shield of New Jersey

6143   2025-04-01     Propeller

6144   2025-04-01     Ray-Ban

6145   2025-04-01     Beth Stelling

6146   2025-04-01     Nestlé HK ■■■■

6147   2025-04-01     JustFab

6148   2025-04-01     1000heads - US Office

6149   2025-04-01     Entravisión Panamá

6150   2025-04-01     Entravision Latam - Honduras
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 207 of 365




#      Date           Entity Name
6151   2025-04-01     Live Nation Concerts

6152   2025-04-01     BOSS

6153   2025-04-01     Sure Sure

6154   2025-04-01     Triple G Events

6155   2025-04-01     Aleph - Costa Rica

6156   2025-04-01     Bornlogic

6157   2025-04-01     L'atelier HK

6158   2025-04-01     Sony Music Germany

6159   2025-04-01     WMcCann RJ

6160   2025-04-01     Kilt 'Em

6161   2025-04-01     Sold Out Advertising

6162   2025-04-01     Live Nation Australia

6163   2025-04-01     L.A. Concerts

6164   2025-04-01     ■■■■■■■■■■■■■■■■■

6165   2025-04-01     Nutrafol

6166   2025-04-01     Starcom Denmark

6167   2025-04-01     Filtr

6168   2025-04-01     MEC Australia

6169   2025-04-01     Gopuff

6170   2025-04-01     Reprise Media México

6171   2025-04-01     Universal Music Legends

6172   2025-04-01     Essence

6173   2025-04-01     Performics Belgium

6174   2025-04-01     Veltrac Music

6175   2025-04-01     Fused - Universal Music

6176   2025-04-01     Hearst Television

6177   2025-04-01     GroupM Danmark

6178   2025-04-01     The KISS Marketing Agency

6179   2025-04-01     Papinelle Sleepwear

6180   2025-04-01     eHealth
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 208 of 365




#      Date           Entity Name
6181   2025-04-01     Live Nation Denmark

6182   2025-04-01     Gadget Entertainment

6183   2025-04-01     AEG Presents UK

6184   2025-04-01     Bravado

6185   2025-04-01     Universal Music Canada

6186   2025-04-01     Aleph Guatemala

6187   2025-04-01     Grundéns

6188   2025-04-01     Universal Music Group: Global Digital Marketing

6189   2025-04-01     L'Oréal Group

6190   2025-04-01     OMD Entertainment

6191   2025-04-01     Infectious Music

6192   2025-04-01     Ranker 2

6193   2025-04-01     Front Gate Tickets

6194   2025-04-01     9:30 Club

6195   2025-04-01     Honcho.co

6196   2025-04-01     FB Growth Marketing

6197   2025-04-01     Unilever Philippines

6198   2025-04-01     GroupM Media India

6199   2025-04-01     Live Nation Canada

6200   2025-04-01     Louis Vuitton Brazil

6201   2025-04-01     RODEOHOUSTON

6202   2025-04-01     Betfair Interactive US LLC

6203   2025-04-01     Universal Music Austria

6204   2025-04-01     PreciseTarget

6205   2025-04-01     St. Jude Children's Research Hospital

6206   2025-04-01     M1 m■u 1, N1 17/8 - P

6207   2025-04-01     Intuit QuickBooks

6208   2025-04-01     SupplyX

6209   2025-04-01     Ulta Beauty

6210   2025-04-01     NovartisOne²
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2      Filed 04/12/25   Page 209 of 365




#      Date           Entity Name
6211   2025-04-01     Silk + Sonder

6212   2025-04-01     REV77

6213   2025-04-01     1-800 Contacts

6214   2025-04-01     UM APAC

6215   2025-04-01     Rebecca Zung

6216   2025-04-01     DISH

6217   2025-04-01     iHeartDogs

6218   2025-04-01     Collections Etc

6219   2025-04-01     Sundays

6220   2025-04-01     Team One USA

6221   2025-04-01     Spark Foundry

6222   2025-04-01     Zillow

6223   2025-04-01     iProspect Detroit

6224   2025-04-01     Purple Media

6225   2025-04-01     Omnicom Resolution

6226   2025-04-01     Fiverr

6227   2025-04-01     Dollar General

6228   2025-04-01     Lithia Motors

6229   2025-04-01     Happy Family Organics

6230   2025-04-01     Blue Shield of California

6231   2025-04-01     Synchrony

6232   2025-04-01     Pinterest Inc

6233   2025-04-01     Kavala Collective

6234   2025-04-01     DSW Designer Shoe Warehouse

6235   2025-04-01     Rezonate Media

6236   2025-04-01     Winn-Dixie

6237   2025-04-01     ROR Partners

6238   2025-04-01     Adobe

6239   2025-04-01     zeotap

6240   2025-04-01     IProspect NY
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 210 of 365




#      Date           Entity Name
6241   2025-04-01     Zenith USA

6242   2025-04-01     Test For Pixel

6243   2025-04-01     Hong Kong Zoom Interactive Network Marketing Technology Limited

6244   2025-04-01     PetSmart

6245   2025-04-01     Topsify

6246   2025-04-01     Rémy Martin

6247   2025-04-01     Forma Pilates

6248   2025-04-01     Aleph Uruguay

6249   2025-04-01     Orion Publishing Group

6250   2025-04-01     CharityStars

6251   2025-04-01     Elementary Innovation Pte. Ltd.

6252   2025-04-01     Cozy Earth

6253   2025-04-01     Unilever Canada

6254   2025-04-01     Rosental Organics

6255   2025-04-01     Wavemaker Hong Kong

6256   2025-04-01     Ark Swimwear

6257   2025-04-01     UMusic Australia

6258   2025-04-01     discovery+

6259   2025-04-01     Outback Presents

6260   2025-04-01     Harper's Bazaar

6261   2025-04-01     Live Nation Germany - Austria - Switzerland

6262   2025-04-01     Socialyse Adm FR

6263   2025-04-01     VaynerMedia

6264   2025-04-01     Golin

6265   2025-04-01     Premiere Speakers Bureau

6266   2025-04-01     Allergan Aesthetics

6267   2025-04-01     Universal Music Sweden

6268   2025-04-01     Dynata Advertising Solutions

6269   2025-04-01     Multitud Digital

6270   2025-04-01     Heartbeat
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 211 of 365




#      Date           Entity Name
6271   2025-04-01     PBS

6272   2025-04-01     Keurig

6273   2025-04-01     CMI Media Group and Compas

6274   2025-04-01     Notion Live Events

6275   2025-04-01     AEG Presents France

6276   2025-04-01     LP Generic Business

6277   2025-04-01     Victoria Justice

6278   2025-04-01     Gina Tricot

6279   2025-04-01     Live Nation France

6280   2025-04-01     Called

6281   2025-04-01     Captain

6282   2025-04-01     Match

6283   2025-04-01     Sony Music Entertainment

6284   2025-04-01     Penguin España

6285   2025-04-01     L'Oréal Suisse

6286   2025-04-01     Zenith France

6287   2025-04-01     the7stars

6288   2025-04-01     Merkle Incorporated

6289   2025-04-01     Andi Bagus

6290   2025-04-01     HotSnap

6291   2025-04-01     i.am.gia

6292   2025-04-01     Rareform

6293   2025-04-01     Kiehl's

6294   2025-04-01     Warner Music Ireland

6295   2025-04-01     Carat USA

6296   2025-04-01     Preflect Ads

6297   2025-04-01     Delivery Hero

6298   2025-04-01     Meta

6299   2025-04-01     Reality Labs

6300   2025-04-01     Motion
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2        Filed 04/12/25   Page 212 of 365




#      Date           Entity Name
6301   2025-04-01     EarnIn

6302   2025-04-01     Unicorn Innovations

6303   2025-04-01     Sony Music Colombia

6304   2025-04-01     Drive Toyota

6305   2025-04-01     Foursquare City Guide

6306   2025-04-01     Instagram Ad Ops

6307   2025-04-01     Dot Matters

6308   2025-04-01     wavo.me

6309   2025-04-01     Acxiom

6310   2025-04-01     Resolution Media

6311   2025-04-01     Amazon.com

6312   2025-04-01     iHeartCountry

6313   2025-04-01     Live Nation Alabama & Mississippi

6314   2025-04-01     Adult Swim

6315   2025-04-01     Monarch

6316   2025-04-01     Warner Music Sweden

6317   2025-04-01     Troubadour Presents

6318   2025-04-01     Dallas Cowboys

6319   2025-04-01     Mediacom FR

6320   2025-04-01     Island Records UK

6321   2025-04-01     Condé Nast

6322   2025-04-01     StackSocial

6323   2025-04-01     Hoffman York

6324   2025-04-01     Anti Agency Group

6325   2025-04-01     BuzzFeed Branded Distribution

6326   2025-04-01     Meta for Business

6327   2025-04-01     Home Chef

6328   2025-04-01     American Kidney Fund

6329   2025-04-01     Conill Advertising

6330   2025-04-01     MullenLowe U.S.
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 213 of 365




#      Date           Entity Name
6331   2025-04-01     AEG Presents

6332   2025-04-01     Makeup.com by L'Oreal

6333   2025-04-01     L'Oréal Paris

6334   2025-04-01     Cash App

6335   2025-04-01     Fun.com

6336   2025-04-01     Verizon

6337   2025-04-01     Cuffe & Taylor

6338   2025-04-01     Labelium Australia and New Zealand

6339   2025-04-01     OMD USA

6340   2025-04-01     The Orchard

6341   2025-04-01     WMX

6342   2025-04-01     Casely

6343   2025-04-01     J3

6344   2025-04-01     X-VIN

6345   2025-04-01     Epsilon Audience Data Provider

6346   2025-04-01     LiveRamp

6347   2025-04-01     onX Hunt

6348   2025-04-01     Nielsen Marketing Cloud

6349   2025-04-01     Instagram

6350   2025-04-01     Compulse

6351   2025-04-01     Spring Creek Group

6352   2025-04-01     Oracle Data Cloud CA

6353   2025-04-01     Walmart.com

6354   2025-04-01     The New York Times

6355   2025-04-01     Test Page

6356   2025-04-01     Bones Coffee Company

6357   2025-04-01     HMI Social

6358   2025-04-01     Brand survey

6359   2025-04-01     The Strategy Group Company

6360   2025-04-01     Uber
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 214 of 365




#      Date           Entity Name
6361   2025-04-01     Eggland's Best Eggs

6362   2025-04-01     Shinesty

6363   2025-04-01     Code3

6364   2025-04-01     bubly

6365   2025-04-01     Centricity Music

6366   2025-04-01     Greenhouse Talent NL

6367   2025-04-01     Red Digital

6368   2025-04-01     T4 Social Media LLC

6369   2025-04-01     Dentsu X UK

6370   2025-04-01     Data unavailable

6371   2025-04-01     COS

6372   2025-04-01     Last Tour

6373   2025-04-01     Universal Music Colombia

6374   2025-04-01     GCommerce

6375   2025-04-01     T-Mobile

6376   2025-04-01     Jordan Peterson

6377   2025-04-01     Jackson Hewitt

6378   2025-04-01     MODCo T2

6379   2025-04-01     TargetSmart

6380   2025-04-01     DoorDash

6381   2025-04-01     Healthfirst

6382   2025-04-01     Moroch

6383   2025-04-01     WITHIN

6384   2025-04-01     KeepGoing First Aid

6385   2025-04-01     We Are Saatchi

6386   2025-04-01     Ads Preview Workaround

6387   2025-04-01     Drive with Lyft

6388   2025-04-01     HealixGlobal

6389   2025-04-01     EMEA

6390   2025-04-01     Dr Pepper Snapple Group
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 215 of 365




#      Date           Entity Name
6391   2025-04-01     Slime Obsidian

6392   2025-04-01     EMT

6393   2025-04-01     Grwn

6394   2025-04-01     Walt Disney World

6395   2025-04-01     Express

6396   2025-04-01     Wavemaker Canada

6397   2025-04-01     The Goat Agency

6398   2025-04-01     Sony Music UK

6399   2025-04-01     NICKS

6400   2025-04-01     Warner Music Spain

6401   2025-04-01     MEC

6402   2025-04-01     OMD Panamá

6403   2025-04-01     AutoCanada

6404   2025-04-01     Capitol Music Group

6405   2025-04-01     Noisy Trumpet

6406   2025-04-01     Funded Commerce Ads

6407   2025-04-01     Universal Music Danmark

6408   2025-04-01     JBL

6409   2025-04-01     Sparkart Group, Inc.

6410   2025-04-01     STAAR Global

6411   2025-04-01     Universal Music Ireland

6412   2025-04-01     Dow

6413   2025-04-01     AirSculpt

6414   2025-04-01     Amobee DMP

6415   2025-04-01     Heather McMahan

6416   2025-04-01     PushSpring

6417   2025-04-01     BEN: Product Brand Intelligence

6418   2025-04-01     Launchpad Ignite

6419   2025-04-01     Target

6420   2025-04-01     JXM
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2        Filed 04/12/25   Page 216 of 365




#      Date           Entity Name
6421   2025-04-01     Experian Marketing Services - Audiences

6422   2025-04-01     Sanity Skin

6423   2025-04-01     FM4 Indiekiste mit

6424   2025-04-01     PrettyLittleThing

6425   2025-04-01     Wyze

6426   2025-04-01     Knitting Factory Entertainment

6427   2025-04-01     Live Nation UK

6428   2025-04-01     Gaston Luga

6429   2025-04-01     Sony Music Australia

6430   2025-04-01     Universal Music Malaysia

6431   2025-04-01     Mindshare USA

6432   2025-04-01     Topeka

6433   2025-04-01     T&M Holding

6434   2025-04-01     Satullo

6435   2025-04-01     Kroger

6436   2025-04-01     Wiland Data Targeting

6437   2025-04-01     Michael Kors

6438   2025-04-01     Foot Locker

6439   2025-04-01     Brand Polling

6440   2025-04-01     Hearts & Science

6441   2025-04-01     Unit 3C

6442   2025-04-01     JCPenney

6443   2025-04-01     Wiland Data Tactics

6444   2025-04-01     Initiative

6445   2025-04-01     MoneyGram

6446   2025-04-01     Cracker Barrel Old Country Store

6447   2025-04-01     Starcom USA

6448   2025-04-01     OneMain Business

6449   2025-04-01     Mazda USA

6450   2025-04-01     Blue 449
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 217 of 365




#      Date           Entity Name
6451   2025-04-01     Interactive Avenues

6452   2025-04-01     Rent. Solutions

6453   2025-04-01     Grant Cardone

6454   2025-04-01     Convergence Media

6455   2025-04-01     Spark Foundry USA

6456   2025-04-01     Ad Insights

6457   2025-04-01     Caddis Sports

6458   2025-04-01     Bobo's Oat Bars

6459   2025-04-01     LES VISIONNAIRES

6460   2025-04-01     Socialflow

6461   2025-04-01     Corida

6462   2025-04-01     Interscope Records

6463   2025-04-01     E! News

6464   2025-04-01     Glamnetic

6465   2025-04-01     Universal Music Deutschland

6466   2025-04-01     Ghostwriter Consultancy & Events

6467   2025-04-01     Groot Hospitality

6468   2025-04-01     Culture Pop

6469   2025-04-01     Emc_TCCC

6470   2025-04-01     Tort Group

6471   2025-04-01     Lincoln Hall + Schubas

6472   2025-04-01     Plein Air

6473   2025-04-01     Mindshare Sverige

6474   2025-04-01     Park Advertising

6475   2025-04-01     Invisalign

6476   2025-04-01     REVOLVE

6477   2025-04-01     eBay

6478   2025-04-01     Universal Music Italia

6479   2025-04-01     Direct Auto Insurance

6480   2025-04-01     Wizard Live
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 218 of 365




#      Date           Entity Name
6481   2025-04-01     Happy Products

6482   2025-04-01     ThinkSwell

6483   2025-04-01     Tempo OMD Social Adv

6484   2025-04-01     Digital House

6485   2025-04-01     NeoPerformance

6486   2025-04-01     Alexis Ren

6487   2025-04-01     Vannen Watches

6488   2025-04-01     Big Think Agency

6489   2025-04-01     Resolve

6490   2025-04-01     Data Axle USA

6491   2025-04-01     Reaction Presents

6492   2025-04-01     SKIMS

6493   2025-04-01     Grunt Style

6494   2025-04-01     Test

6495   2025-04-01     Threepipe

6496   2025-04-01     The League

6497   2025-04-01     Blavity

6498   2025-04-01     PetSmart Charities

6499   2025-04-01     Infusion Marketing Group

6500   2025-04-01     Teste 1

6501   2025-04-01     Aleph Ecuador

6502   2025-04-01     Xfinity

6503   2025-04-01     Sara's Business

6504   2025-04-01     Allstate

6505   2025-04-01     Merkle Data Partner

6506   2025-04-01     Great American Pure Flix

6507   2025-04-01     Mayo Clinic

6508   2025-04-01     ThisThat

6509   2025-04-01     UMe Music Team

6510   2025-04-01     FB Only SMB Channel Test Page
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 219 of 365




#      Date           Entity Name
6511   2025-04-01     swayhairextensions

6512   2025-04-01     Vodafone Group

6513   2025-04-01     ThredUp

6514   2025-04-01     BluFish

6515   2025-04-01     Water Street Music Hall

6516   2025-04-01     Brand Networks

6517   2025-04-01     Walgreens

6518   2025-04-01     Corro

6519   2025-04-01     HEYDUDE

6520   2025-04-01     Universal Music Thailand

6521   2025-04-01     Tuft & Needle

6522   2025-04-01     Universal Music Polska

6523   2025-04-01     Big Concerts

6524   2025-04-01     Born Again Concerts

6525   2025-04-01     Warner Music Singapore

6526   2025-04-01     Maelys Cosmetics

6527   2025-04-01     Republic Records

6528   2025-04-01     therankedmusic

6529   2025-04-01     VET Tv- Veteran Television

6530   2025-04-01     Twillory

6531   2025-04-01     Florida Credit Union

6532   2025-04-01     Guinness

6533   2025-04-01     XaxisKorea

6534   2025-04-01     Sony Music Italy

6535   2025-04-01     Warner Music Poland

6536   2025-04-01     Groupe EPI

6537   2025-04-01     The Bellwether

6538   2025-04-01     Performance Marketing - USD - Spotify AB

6539   2025-04-01     Grupo Axo

6540   2025-04-01     Zenith - PGD
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 220 of 365




#      Date           Entity Name
6541   2025-04-01     Wavemaker-NZ Loreal

6542   2025-04-01     Global Leadership Network

6543   2025-04-01     Wish

6544   2025-04-01     Bell Media

6545   2025-04-01     The Gatorade Company

6546   2025-04-01     Hagerty

6547   2025-04-01     Opus Live

6548   2025-04-01     SoFi

6549   2025-04-01     Accenture Adaptly Media Clients

6550   2025-04-01     nuuly

6551   2025-04-01     Edelman Digital NYC

6552   2025-04-01     Annapurna Pictures

6553   2025-04-01     Dr. Livingood

6554   2025-04-01     Summerfest

6555   2025-04-01     Universal Music Recordings

6556   2025-04-01     RainCloud Media

6557   2025-04-01     OCESA Personal

6558   2025-04-01     noatishby

6559   2025-04-01     Dojo

6560   2025-04-01     Give Back Beauty

6561   2025-04-01     FRAME

6562   2025-04-01     Sling TV

6563   2025-04-01     Bespoke Post

6564   2025-04-01     Fanatics Live

6565   2025-04-01     Verified

6566   2025-04-01     PETERMAYER

6567   2025-04-01     Gisou

6568   2025-04-01     TFM Media

6569   2025-04-01     Universal Music Brasil

6570   2025-04-01     Ribbow Media Group
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 221 of 365




#      Date           Entity Name
6571   2025-04-01     Kardiel

6572   2025-04-01     Lowe's Home Improvement

6573   2025-04-01     KBMG Data Services Development

6574   2025-04-01     MasterClass

6575   2025-04-01     BrandMuscle - etatslla

6576   2025-04-01     QVC

6577   2025-04-01     Ideal Coverings

6578   2025-04-01     Good Apple

6579   2025-04-01     Avoq

6580   2025-04-01     Oregon Ice Cream

6581   2025-04-01     4C

6582   2025-04-01     Hilton Newsroom

6583   2025-04-01     Arising Empire

6584   2025-04-01     Morris Bart, LLC

6585   2025-04-01     Hunter Del Caribe

6586   2025-04-01     APRILSKIN ■■■■■■

6587   2025-04-01     LADbible

6588   2025-04-01     The Influence Agency

6589   2025-04-01     Herbivore Botanicals

6590   2025-04-01     Havas Media

6591   2025-04-01     amelieteje

6592   2025-04-01     Kulturbolaget

6593   2025-04-01     Best Videos

6594   2025-04-01     ■■■■■■■■■■■■■

6595   2025-04-01     Simon Malls

6596   2025-04-01     Wix

6597   2025-04-01     4th Quarter Collective, LLC

6598   2025-04-01     Athleta

6599   2025-04-01     Capital One

6600   2025-04-01     Assembly
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 222 of 365




#      Date           Entity Name
6601   2025-04-01     UNDER THE INFLUENCE

6602   2025-04-01     Afrobeats Central

6603   2025-04-01     Unique Vacations Limited

6604   2025-04-01     BIG IDEA GROUP

6605   2025-04-01     Alo Yoga

6606   2025-04-01     Noise New Media

6607   2025-04-01     Panasonic Personal Care USA

6608   2025-04-01     Live Tour Promotions

6609   2025-04-01     Afro Nation

6610   2025-04-01     Greens Club

6611   2025-04-01     Wonderfront Festival

6612   2025-04-01     ZenithMedia Germany

6613   2025-04-01     Boncom

6614   2025-04-01     Lauren Daigle

6615   2025-04-01     Live Nation Polska

6616   2025-04-01     Avon

6617   2025-04-01     Poppi

6618   2025-04-01     Louis Vuitton

6619   2025-04-01     Intermate Media GmbH

6620   2025-04-01     Sony Music Poland

6621   2025-04-01     Zenith Slovakia

6622   2025-04-01     Manebí

6623   2025-04-01     Trans-System, Inc.

6624   2025-04-01     Bonus Track

6625   2025-04-01     mandanadayani

6626   2025-04-01     PayPal

6627   2025-04-01     Maybelline New York

6628   2025-04-01     DDC Testing

6629   2025-04-01     BoostMobile - New/Post-Harmony

6630   2025-04-01     Big Slap
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2      Filed 04/12/25   Page 223 of 365




#      Date           Entity Name
6631   2025-04-01     Univision

6632   2025-04-01     AbelsonTaylor Group

6633   2025-04-01     Nomad Apparel Co.

6634   2025-04-01     Huggies

6635   2025-04-01     Kinesso Poland

6636   2025-04-01     AdParlor

6637   2025-04-01     FanDuel Racing

6638   2025-04-01     Test page

6639   2025-04-01     Operam Inc

6640   2025-04-01     TransUnion Digital

6641   2025-04-01     Fanatics

6642   2025-04-01     Center

6643   2025-04-01     Entravision Latam - Puerto Rico

6644   2025-04-01     Butler/Till

6645   2025-04-01     Eyeota

6646   2025-04-01     DeepSync Labs

6647   2025-04-01     MOJO

6648   2025-04-01     Polydor

6649   2025-04-01     Active International

6650   2025-04-01     North Coast Music Festival

6651   2025-04-01     Greta Boutique

6652   2025-04-01     Socialistics

6653   2025-04-01     Square

6654   2025-04-01     Edelman West

6655   2025-04-01     OfferUp

6656   2025-04-01     MissionWired

6657   2025-04-01     Factoría Publica

6658   2025-04-01     Wmg gps adx

6659   2025-04-01     Neustar FB Syndication

6660   2025-04-01     Hourglass Cosmetics
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 224 of 365




#      Date           Entity Name
6661   2025-04-01     NOTO Philadelphia

6662   2025-04-01     Echo Promotion

6663   2025-04-01     MediaSales

6664   2025-04-01     ASW Group

6665   2025-04-01     Gupta Media

6666   2025-04-01     DASH TWO

6667   2025-04-01     L'atelier TW

6668   2025-04-01     Ethos Life

6669   2025-04-01     Change Research

6670   2025-04-01     Kay Jewelers

6671   2025-04-01     Regions Bank

6672   2025-04-01     Proposal Prep by Best Kept

6673   2025-04-01     fource.cz

6674   2025-04-01     Climb

6675   2025-04-01     Vogue France

6676   2025-04-01     Universal Music France

6677   2025-04-01     UM NY

6678   2025-04-01     Macy's

6679   2025-04-01     Hylink Digital Solutions

6680   2025-04-01     L'ange

6681   2025-04-01     Cronin

6682   2025-04-01     Away That Day

6683   2025-04-01     DraftKings

6684   2025-04-01     Solaura

6685   2025-04-01     TDC Audiences

6686   2025-04-01     Solved

6687   2025-04-01     MoneyLion

6688   2025-04-01     Open Influence

6689   2025-04-01     Havas Media Group USA LLC

6690   2025-04-01     Isha Foundation
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 225 of 365




#      Date           Entity Name
6691   2025-04-01     Flip.shop

6692   2025-04-01     Katalyst Advantage

6693   2025-04-01     David Stuebe's Business

6694   2025-04-01     We Play

6695   2025-04-01     Ford Motor Company

6696   2025-04-01     Linktree

6697   2025-04-01     Lumen Technologies

6698   2025-04-01     Wayfair

6699   2025-04-01     CONVERSE

6700   2025-04-01     Real Chemistry

6701   2025-04-01     Kohl's

6702   2025-04-01     Engage Media

6703   2025-04-01     Inspire Brands

6704   2025-04-01     Fingerpaint

6705   2025-04-01     Uniagency

6706   2025-04-01     Performics Test Page

6707   2025-04-01     GETmusic

6708   2025-04-01     HolStrength

6709   2025-04-01     Bangerhead

6710   2025-04-01     Hint

6711   2025-04-01     Invest529

6712   2025-04-01     Burson Global

6713   2025-04-01     Amplify.ai

6714   2025-04-01     Warner Music France

6715   2025-04-01     MPP Business test account

6716   2025-04-01     SwellShark

6717   2025-04-01     Sony Electronics

6718   2025-04-01     The Vintage Pearl

6719   2025-04-01     SmartPak

6720   2025-04-01     wellrestedweeones
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25        Page 226 of 365




#      Date           Entity Name
6721   2025-04-01     Milk Makeup - 6S

6722   2025-04-01     Life.Church

6723   2025-04-01     Aza

6724   2025-04-01     ICRUSH

6725   2025-04-01     Initiative Wellness

6726   2025-04-01     Campbell Ewald

6727   2025-04-01     Etsy

6728   2025-04-01     Choices by Revlon

6729   2025-04-01     TIAA

6730   2025-04-01     truth

6731   2025-04-01     Quantum Physics

6732   2025-04-01     Microsoft Customer Insights Center

6733   2025-04-01     Capacity Interactive - Digital Marketing Consulting for the Arts

6734   2025-04-01     PHD France

6735   2025-04-01     René Furterer

6736   2025-04-01     First Avenue & 7th St Entry

6737   2025-04-01     Kore Nutrition

6738   2025-04-01     Datonics

6739   2025-04-01     Warner Music Denmark

6740   2025-04-01     Avant Gardner

6741   2025-04-01     Lending Store

6742   2025-04-01     Handle the Heat

6743   2025-04-01     Sojern

6744   2025-04-01     Aegis Media Innov8

6745   2025-04-01     Smile Direct Club

6746   2025-04-01     Supercell

6747   2025-04-01     Wiland Audiences

6748   2025-04-01     Best Buy, Starcom USA

6749   2025-04-01     Progressive

6750   2025-04-01     The Lyrical Lemonade Summer Smash Festival
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2             Filed 04/12/25   Page 227 of 365




#      Date           Entity Name
6751   2025-04-01     Marc Jacobs

6752   2025-04-01     Spotify LATAM BM

6753   2025-04-01     Champs Sports

6754   2025-04-01     Reprise ES

6755   2025-04-01     Discover

6756   2025-04-01     Secret Sounds

6757   2025-04-01     Allied Global Marketing

6758   2025-04-01     Tommy Hilfiger

6759   2025-04-01     Victoria Warehouse

6760   2025-04-01     Grand Central Publishing

6761   2025-04-01     FamilySearch

6762   2025-04-01     GQ Italia

6763   2025-04-01     Absolute Merch

6764   2025-04-01     Aleph El Salvador

6765   2025-04-01     FanDuel

6766   2025-04-01     Dentsu Digital Italy

6767   2025-04-01     Typology

6768   2025-04-01     Reward Agency - 08

6769   2025-04-01     Love Wellness

6770   2025-04-01     FLOAT FEST

6771   2025-04-01     GroupM

6772   2025-04-01     ViiV Healthcare

6773   2025-04-01     WPS Health Insurance - Health Plan

6774   2025-04-01     Lerma Agency

6775   2025-04-01     First Interstate Center for the Arts

6776   2025-04-01     Democrats

6777   2025-04-01     moveconcertsarg

6778   2025-04-01     Scentiment

6779   2025-04-01     Shopify New York

6780   2025-04-01     Warner Music Austria
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 228 of 365




#      Date           Entity Name
6781   2025-04-01     IPSY

6782   2025-04-01     Aleph - Panama

6783   2025-04-01     The Ridge

6784   2025-04-01     Online Trainer/Coach

6785   2025-04-01     Vuori

6786   2025-04-01     kate spade new york

6787   2025-04-01     HarperCollins

6788   2025-04-01     ■■■■■■■■■■■■■■

6789   2025-04-01     TRUFFLE

6790   2025-04-01     La Roche-Posay

6791   2025-04-01     Hulu

6792   2025-04-01     Insomniac Events

6793   2025-04-01     Entertainment on Facebook

6794   2025-04-01     MCoBeauty US

6795   2025-04-01     NEUW Denim

6796   2025-03-31     Playboy

6797   2025-03-31     Flat Tummy Co

6798   2025-03-31     Afrobeats Central

6799   2025-03-31     BroBible

6800   2025-03-31     AEG Presents Asia

6801   2025-03-31     Brunner

6802   2025-03-31     Breathe For Change

6803   2025-03-31     LocaliQ

6804   2025-03-31     Facetune by Lightricks

6805   2025-03-31     Cure Media

6806   2025-03-31     Snapchat for Business

6807   2025-03-31     Action Network

6808   2025-03-31     Troubadour Presents

6809   2025-03-31     OCESA Personal

6810   2025-03-31     Greenhouse Talent
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 229 of 365




#      Date           Entity Name
6811   2025-03-31     Mic Drop Comedy

6812   2025-03-31     BHLDN Weddings

6813   2025-03-31     Athleta

6814   2025-03-31     Melkweg Amsterdam

6815   2025-03-31     Corida

6816   2025-03-31     Z2 Comics

6817   2025-03-31     Camille Brinch Jewellery

6818   2025-03-31     Spiceology

6819   2025-03-31     Cardon

6820   2025-03-31     Elicit Music

6821   2025-03-31     Empower

6822   2025-03-31     Herbivore Botanicals

6823   2025-03-31     Orion Publishing Group

6824   2025-03-31     Tatti Lashes

6825   2025-03-31     Milani

6826   2025-03-31     Monqui Presents

6827   2025-03-31     Martell

6828   2025-03-31     Emc_TCCC

6829   2025-03-31     Pit Viper

6830   2025-03-31     Neko Test Page

6831   2025-03-31     Unilever Canada

6832   2025-03-31     Sif Jakobs Jewellery

6833   2025-03-31     Partisan Records

6834   2025-03-31     Bonnie

6835   2025-03-31     DEPT UK

6836   2025-03-31     Vodafone Group

6837   2025-03-31     Poppi

6838   2025-03-31     UMe Music Team

6839   2025-03-31     HMS Global - GBP

6840   2025-03-31     CountryWired INC.
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 230 of 365




#      Date           Entity Name
6841   2025-03-31     Data Axle USA

6842   2025-03-31     Another Planet Entertainment

6843   2025-03-31     Overtime

6844   2025-03-31     Milk Makeup - 6S

6845   2025-03-31     Live Tour Promotions

6846   2025-03-31     Exchange LA

6847   2025-03-31     HotSnap

6848   2025-03-31     White Claw

6849   2025-03-31     noatishby

6850   2025-03-31     ClearOne Advantage, LLC

6851   2025-03-31     Blue Shield of California

6852   2025-03-31     Audacy Social Conquest

6853   2025-03-31     Convergence Media

6854   2025-03-31     Trafalgar Releasing

6855   2025-03-31     SharkNinja

6856   2025-03-31     Bobo's Oat Bars

6857   2025-03-31     Anthropologie

6858   2025-03-31     LM250 9

6859   2025-03-31     VarleyClothing

6860   2025-03-31     CMS Music Media Ltd

6861   2025-03-31     Bumble

6862   2025-03-31     MPP Business test account

6863   2025-03-31     Vizeum - US

6864   2025-03-31     Brand Networks

6865   2025-03-31     The Christian Broadcasting Network

6866   2025-03-31     TIAA

6867   2025-03-31     Torrid

6868   2025-03-31     Hylink Digital Solutions

6869   2025-03-31     Lithia Motors

6870   2025-03-31     BEN: Product Brand Intelligence
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 231 of 365




#      Date           Entity Name
6871   2025-03-31     Current

6872   2025-03-31     Kavala Collective

6873   2025-03-31     Car Price Secrets

6874   2025-03-31     Infusion Marketing Group

6875   2025-03-31     Synchrony

6876   2025-03-31     Ruggable

6877   2025-03-31     MediaCom USA

6878   2025-03-31     Blue 449

6879   2025-03-31     Quakmedia - Agencia de Marketing Digital

6880   2025-03-31     REVOLVE

6881   2025-03-31     OfferUp

6882   2025-03-31     Solka

6883   2025-03-31     KeepGoing First Aid

6884   2025-03-31     Q Link Wireless

6885   2025-03-31     Bones Coffee Company

6886   2025-03-31     Hampton Creative

6887   2025-03-31     471887696173235

6888   2025-03-31     P&G Professional España

6889   2025-03-31     Aerial Video A to Z

6890   2025-03-31     Art Label Studios 2024

6891   2025-03-31     Plein Air

6892   2025-03-31     Magnolia Pictures

6893   2025-03-31     Ayla & Co

6894   2025-03-31     LES VISIONNAIRES

6895   2025-03-31     Rite Aid

6896   2025-03-31     Warner Music Africa

6897   2025-03-31     Funny or Not

6898   2025-03-31     Call of Duty

6899   2025-03-31     Goodway Tier 3 Digital

6900   2025-03-31     AptDeco
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 232 of 365




#      Date           Entity Name
6901   2025-03-31     AbbVie

6902   2025-03-31     GoAudience

6903   2025-03-31     Anotherland Music

6904   2025-03-31     Omnilux LED Light Therapy

6905   2025-03-31     Bridg Channel

6906   2025-03-31     NHL

6907   2025-03-31     Beauty Factory

6908   2025-03-31     Home Chef

6909   2025-03-31     Victoria Justice

6910   2025-03-31     BJ's Wholesale Club

6911   2025-03-31     Goodlive Artists

6912   2025-03-31     Eli Lilly and Company

6913   2025-03-31     Pandora

6914   2025-03-31     Brooks Running

6915   2025-03-31     Isha Foundation

6916   2025-03-31     No_Comment

6917   2025-03-31     Hearst Television

6918   2025-03-31     Loma Vista Recordings

6919   2025-03-31     2K

6920   2025-03-31     BrandMuscle - etatslla

6921   2025-03-31     Secret Sounds

6922   2025-03-31     Good American

6923   2025-03-31     Campbell Ewald

6924   2025-03-31     TEG Live Europe

6925   2025-03-31     Selfie Leslie

6926   2025-03-31     Fanatics

6927   2025-03-31     Cuffe & Taylor

6928   2025-03-31     APM Monaco

6929   2025-03-31     Guardian Childcare & Education

6930   2025-03-31     Pura Vida
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 233 of 365




#      Date           Entity Name
6931   2025-03-31     Givebutter

6932   2025-03-31     ■■■■■■■■■■■■■■

6933   2025-03-31     Warner Music Germany

6934   2025-03-31     STAAR Global

6935   2025-03-31     Superfly

6936   2025-03-31     Pierce Media

6937   2025-03-31     Digitas North America

6938   2025-03-31     Deezer

6939   2025-03-31     AuDigent

6940   2025-03-31     Musely

6941   2025-03-31     JCK Enterprises, LLC

6942   2025-03-31     CONVERSE

6943   2025-03-31     Honcho.co

6944   2025-03-31     Voiply

6945   2025-03-31     The Gatorade Company

6946   2025-03-31     Mars United Commerce

6947   2025-03-31     Hyperglow

6948   2025-03-31     Hint

6949   2025-03-31     Universal Music Thailand

6950   2025-03-31     Caddis Sports

6951   2025-03-31     Online Trainer/Coach

6952   2025-03-31     NOTO Philadelphia

6953   2025-03-31     kate spade new york

6954   2025-03-31     Warner Music Austria

6955   2025-03-31     Teste 1

6956   2025-03-31     Digital House

6957   2025-03-31     Universal Music Romania

6958   2025-03-31     Republic Records

6959   2025-03-31     Notion Live Events

6960   2025-03-31     factory 54
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 234 of 365




#      Date           Entity Name
6961   2025-03-31     Universal Music Recordings

6962   2025-03-31     BlueChew

6963   2025-03-31     TruDiagnostic

6964   2025-03-31     Universal Music Colombia

6965   2025-03-31     Republic NOLA

6966   2025-03-31     Bfx

6967   2025-03-31     Nomad Apparel Co.

6968   2025-03-31     YinoLink■■

6969   2025-03-31     PM PUIG

6970   2025-03-31     OnlyFans

6971   2025-03-31     Omnicom Media Group

6972   2025-03-31     VET Tv- Veteran Television

6973   2025-03-31     Match

6974   2025-03-31     Edelman DC

6975   2025-03-31     Noise New Media

6976   2025-03-31     IProspect Fort Worth

6977   2025-03-31     Resolve

6978   2025-03-31     Karsten Jahnke Konzerte

6979   2025-03-31     Hyperice

6980   2025-03-31     Limelight Belfast

6981   2025-03-31     Accenture Adaptly Media Clients

6982   2025-03-31     Shopify New York

6983   2025-03-31     Invest529

6984   2025-03-31     HRD Games, LLC

6985   2025-03-31     Calvin Klein

6986   2025-03-31     Mattress Firm

6987   2025-03-31     NovartisOne²

6988   2025-03-31     Wish

6989   2025-03-31     Uniagency

6990   2025-03-31     Universal Music Danmark
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 235 of 365




#      Date           Entity Name
6991   2025-03-31     The Goat Agency

6992   2025-03-31     FitnFemale

6993   2025-03-31     BeatStars Inc.

6994   2025-03-31     Enso Rings

6995   2025-03-31     IPSY

6996   2025-03-31     Nutrafol

6997   2025-03-31     Connected Vivaki

6998   2025-03-31     Sony Music France

6999   2025-03-31     Big Slap

7000   2025-03-31     Summersalt

7001   2025-03-31     Cadence

7002   2025-03-31     Netflix

7003   2025-03-31     AEG Presents UK

7004   2025-03-31     Tulster

7005   2025-03-31     Fun.com

7006   2025-03-31     Mayo Clinic

7007   2025-03-31     Doublesoul

7008   2025-03-31     Warner Music Singapore

7009   2025-03-31     Molson Coors

7010   2025-03-31     Starcom Sweden AB

7011   2025-03-31     EA - Electronic Arts

7012   2025-03-31     Wavemaker Malaysia

7013   2025-03-31     Great American Pure Flix

7014   2025-03-31     Rgmntco

7015   2025-03-31     UM NY

7016   2025-03-31     Life.Church

7017   2025-03-31     Vuori

7018   2025-03-31     Integral Strength

7019   2025-03-31     Mastercard

7020   2025-03-31     Pepsi
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 236 of 365




#      Date           Entity Name
7021   2025-03-31     GroupM Media India

7022   2025-03-31     Vogue France

7023   2025-03-31     Alfred A. Knopf

7024   2025-03-31     Compulse

7025   2025-03-31     Bonus Track

7026   2025-03-31     Bangerhead

7027   2025-03-31     playforgain

7028   2025-03-31     Chime

7029   2025-03-31     Destroy All Lines

7030   2025-03-31     Miami Dolphins

7031   2025-03-31     Last Tour

7032   2025-03-31     Decca Records

7033   2025-03-31     Groupe EPI

7034   2025-03-31     TEG DAINTY

7035   2025-03-31     rolling loud

7036   2025-03-31     L'atelier HK

7037   2025-03-31     Canvas Worldwide

7038   2025-03-31     Bespoke Post

7039   2025-03-31     I'd Rather Be With My Dog

7040   2025-03-31     M&C Saatchi Performance

7041   2025-03-31     Swank A Posh

7042   2025-03-31     Intuit TurboTax

7043   2025-03-31     Oregon Ice Cream

7044   2025-03-31     Shopify

7045   2025-03-31     Revive

7046   2025-03-31     Swimply

7047   2025-03-31     PetSmart Charities

7048   2025-03-31     Ideal Coverings

7049   2025-03-31     Move With Us

7050   2025-03-31     JibJab Catapult
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 237 of 365




#      Date           Entity Name
7051   2025-03-31     Lending Store

7052   2025-03-31     Precision

7053   2025-03-31     Pourri

7054   2025-03-31     Lerma Agency

7055   2025-03-31     Bolster

7056   2025-03-31     WPS Health Insurance - Health Plan

7057   2025-03-31     SBX Proxy

7058   2025-03-31     Allied Global Marketing

7059   2025-03-31     Cortica

7060   2025-03-31     D'Alessandro e Galli

7061   2025-03-31     Dr. Squatch

7062   2025-03-31     T&M Holding

7063   2025-03-31     Grwn

7064   2025-03-31     United Influencers

7065   2025-03-31     Sleepgram

7066   2025-03-31     Fiverr

7067   2025-03-31     Seychelle Media

7068   2025-03-31     Colleen Mauer Designs

7069   2025-03-31     Relistor® (methylnaltrexone bromide)

7070   2025-03-31     Operam Inc

7071   2025-03-31     Handle the Heat

7072   2025-03-31     Live Bearded

7073   2025-03-31     ZenithOptimedia Portugal

7074   2025-03-31     Absolute Merch

7075   2025-03-31     Universal Music Sweden

7076   2025-03-31     Assembly

7077   2025-03-31     Ark Swimwear

7078   2025-03-31     Sony Music Entertainment

7079   2025-03-31     Angler AI

7080   2025-03-31     Rakuten
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 238 of 365




#      Date           Entity Name
7081   2025-03-31     Best Videos

7082   2025-03-31     Zales

7083   2025-03-31     E! News

7084   2025-03-31     Hulu

7085   2025-03-31     Veltrac Music

7086   2025-03-31     Sparkart Group, Inc.

7087   2025-03-31     Park Advertising

7088   2025-03-31     Vannen Watches

7089   2025-03-31     Jackson Hewitt

7090   2025-03-31     Collections Etc

7091   2025-03-31     Harbor Freight

7092   2025-03-31     Sony Music Germany

7093   2025-03-31     Live Nation Australia

7094   2025-03-31     MOJO

7095   2025-03-31     Aleph El Salvador

7096   2025-03-31     L'Oréal Suisse

7097   2025-03-31     WE ARE TALA

7098   2025-03-31     The Assembly Music

7099   2025-03-31     Kurt Geiger

7100   2025-03-31     Arising Empire

7101   2025-03-31     Rosental Organics

7102   2025-03-31     FreePrints App

7103   2025-03-31     CLOUT Festival

7104   2025-03-31     Radius Chicago

7105   2025-03-31     9:30 Club

7106   2025-03-31     NeoPerformance

7107   2025-03-31     Church of the King

7108   2025-03-31     Slime Obsidian

7109   2025-03-31     Verified

7110   2025-03-31     APRILSKIN ■■■■■■
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 239 of 365




#      Date           Entity Name
7111   2025-03-31     Grunt Style

7112   2025-03-31     SoFi

7113   2025-03-31     The Bellwether

7114   2025-03-31     AU 77

7115   2025-03-31     EVERSANA INTOUCH

7116   2025-03-31     Sakara Life

7117   2025-03-31     Angus Media

7118   2025-03-31     Glamnetic

7119   2025-03-31     nuuly

7120   2025-03-31     Yamaha Music USA

7121   2025-03-31     CharityStars

7122   2025-03-31     Magnum Photos

7123   2025-03-31     Twillory

7124   2025-03-31     GroupM Danmark

7125   2025-03-31     1000heads - US Office

7126   2025-03-31     Concord

7127   2025-03-31     T4F

7128   2025-03-31     SkinnyDipped

7129   2025-03-31     Florida Credit Union

7130   2025-03-31     Wizard Live

7131   2025-03-31     On

7132   2025-03-31     Groot Hospitality

7133   2025-03-31     Faraday.io

7134   2025-03-31     eBay

7135   2025-03-31     Happy Products

7136   2025-03-31     Culture Pop

7137   2025-03-31     FRAME

7138   2025-03-31     Coca-Cola Philippines

7139   2025-03-31     JSHealth

7140   2025-03-31     RIMOWA
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2          Filed 04/12/25   Page 240 of 365




#      Date           Entity Name
7141   2025-03-31     Starcom Denmark

7142   2025-03-31     Golin

7143   2025-03-31     Kitbag

7144   2025-03-31     WebMD

7145   2025-03-31     Emporium Presents

7146   2025-03-31     MediaSales

7147   2025-03-31     Digital Tading Desk

7148   2025-03-31     Function of Beauty

7149   2025-03-31     Miller's Ale House

7150   2025-03-31     Mindshare Sverige

7151   2025-03-31     TIBBS & BONES

7152   2025-03-31     For Wellness

7153   2025-03-31     SUGARED + BRONZED

7154   2025-03-31     Leonard Brands

7155   2025-03-31     Shareablee

7156   2025-03-31     Jack Archer

7157   2025-03-31     Entravision Latam - Puerto Rico

7158   2025-03-31     4C

7159   2025-03-31     Test For Pixel

7160   2025-03-31     Choices by Revlon

7161   2025-03-31     Wegmans

7162   2025-03-31     P2 Public Affairs

7163   2025-03-31     René Furterer

7164   2025-03-31     Brand Polling

7165   2025-03-31     VS-Ronaldo Silva 1 - bm 5

7166   2025-03-31     ViiV Healthcare

7167   2025-03-31     Mediaplus Hamburg GmbH & Co. KG

7168   2025-03-31     MAAPS / Overman Enterprises

7169   2025-03-31     Kevin Gottlieb

7170   2025-03-31     Scentiment
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 241 of 365




#      Date           Entity Name
7171   2025-03-31     Wake Research

7172   2025-03-31     Resolution Agency

7173   2025-03-31     FleishmanHillard

7174   2025-03-31     Calvin Klein GCC

7175   2025-03-31     GMI Maxus IDR WPP

7176   2025-03-31     Friends At Work

7177   2025-03-31     Instacart

7178   2025-03-31     SwellShark

7179   2025-03-31     Division D

7180   2025-03-31     Wavemaker Deutschland

7181   2025-03-31     L'Oréal Uruguay

7182   2025-03-31     MDX_3

7183   2025-03-31     Primark

7184   2025-03-31     iRESTORE Hair Growth System

7185   2025-03-31     Indeed

7186   2025-03-31     Tommy Hilfiger ME

7187   2025-03-31     Magnolias

7188   2025-03-31     The Strategy Group Company

7189   2025-03-31     Marketing

7190   2025-03-31     Facebook Insertion Orders

7191   2025-03-31     Affinity Answers

7192   2025-03-31     Papa Johns Pizza

7193   2025-03-31     Masters of Balayage

7194   2025-03-31     wellrestedweeones

7195   2025-03-31     Wayfair

7196   2025-03-31     TrustGodbro Clothing

7197   2025-03-31     Global Leadership Network

7198   2025-03-31     Victoria Warehouse

7199   2025-03-31     Typology

7200   2025-03-31     The Influence Agency
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 242 of 365




#      Date           Entity Name
7201   2025-03-31     Dojo

7202   2025-03-31     Tanrevel

7203   2025-03-31     Oceansapart Global

7204   2025-03-31     ICRUSH

7205   2025-03-31     CNN Digital - Audience Dev

7206   2025-03-31     703digital

7207   2025-03-31     TORY BURCH

7208   2025-03-31     Whalar

7209   2025-03-31     Warner Music Australia

7210   2025-03-31     GQ Italia

7211   2025-03-31     Amplify.ai

7212   2025-03-31     Penguin España

7213   2025-03-31     Universal Music Italia

7214   2025-03-31     Seiza

7215   2025-03-31     Zondervan Books

7216   2025-03-31     Maison de Sabré

7217   2025-03-31     Swanson Russell

7218   2025-03-31     Feld Entertainment, Inc.

7219   2025-03-31     w/Tributary

7220   2025-03-31     The Detox Dudes

7221   2025-03-31     GoldSilver

7222   2025-03-31     Carter's

7223   2025-03-31     Initiative Wellness

7224   2025-03-31     Wantable

7225   2025-03-31     GEICO

7226   2025-03-31     iHeartDogs

7227   2025-03-31     Lands' End

7228   2025-03-31     Water Street Music Hall

7229   2025-03-31     Alex Azra

7230   2025-03-31     Merch Traffic
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 243 of 365




#      Date           Entity Name
7231   2025-03-31     RW Consulting

7232   2025-03-31     Gordon McKernan Injury Attorneys

7233   2025-03-31     Tropical Bros

7234   2025-03-31     RCKT.

7235   2025-03-31     Madison Square Garden

7236   2025-03-31     Test Global

7237   2025-03-31     Rogue Fitness

7238   2025-03-31     Zenith Chile

7239   2025-03-31     Purdue Global

7240   2025-03-31     Performics Test Page

7241   2025-03-31     Engage Media

7242   2025-03-31     Công Ty ■ng Hoàng Phúc

7243   2025-03-31     MoneyLion

7244   2025-03-31     Sojern

7245   2025-03-31     Flaus

7246   2025-03-31     DIFF

7247   2025-03-31     hims

7248   2025-03-31     Media Six

7249   2025-03-31     Shambala

7250   2025-03-31     HBO Max

7251   2025-03-31     Proposal Prep by Best Kept

7252   2025-03-31     Gupta Media Holdings, LLC

7253   2025-03-31     Rothy's

7254   2025-03-31     Glossier

7255   2025-03-31     Freya - Test Account

7256   2025-03-31     ThredUp

7257   2025-03-31     Universal Music Switzerland

7258   2025-03-31     Sev Laser Aesthetics

7259   2025-03-31     OmnicomMediaGroup Nederland

7260   2025-03-31     MetaVision Media
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2      Filed 04/12/25   Page 244 of 365




#      Date           Entity Name
7261   2025-03-31     Liberated Brands

7262   2025-03-31     Puzzmo

7263   2025-03-31     Kardiel

7264   2025-03-31     SocialAmp

7265   2025-03-31     Finish Line

7266   2025-03-31     cacaFly

7267   2025-03-31     MCoBeauty US

7268   2025-03-31     CSB

7269   2025-03-31     VaynerMedia APAC

7270   2025-03-31     Trials World

7271   2025-03-31     Resorts World Las Vegas

7272   2025-03-31     Spark Foundry Canada

7273   2025-03-31     Ring

7274   2025-03-31     Gooseberry Intimates

7275   2025-03-31     K-Swiss

7276   2025-03-31     The Rave / Eagles Club

7277   2025-03-31     BetterHelp

7278   2025-03-31     Suit Up Brands LLC

7279   2025-03-31     Elevation, Ltd.

7280   2025-03-31     AbelsonTaylor Group

7281   2025-03-31     The Lyrical Lemonade Summer Smash Festival

7282   2025-03-31     Siren Group

7283   2025-03-31     Petit Moments

7284   2025-03-31     Jockey

7285   2025-03-31     Alya Skin Australia

7286   2025-03-31     REV77

7287   2025-03-31     TivoliVredenburg

7288   2025-03-31     Morris Bart, LLC

7289   2025-03-31     Dimensions Fragrance

7290   2025-03-31     M Booth
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2           Filed 04/12/25   Page 245 of 365




#      Date           Entity Name
7291   2025-03-31     ZipRecruiter

7292   2025-03-31     GCommerce

7293   2025-03-31     My View From Beer

7294   2025-03-31     Rebecca Zung

7295   2025-03-31     Savannah Bee Company

7296   2025-03-31     Tres Colori Jewelry

7297   2025-03-31     Neural Leap Ventures

7298   2025-03-31     Bonneville International

7299   2025-03-31     David Stuebe's Business

7300   2025-03-31     eFavormart

7301   2025-03-31     Cleveland Clinic

7302   2025-03-31     Fandango at Home

7303   2025-03-31     Warner Music Ireland

7304   2025-03-31     NICKS

7305   2025-03-31     MILLIONS

7306   2025-03-31     Live Nation Italia

7307   2025-03-31     First Interstate Center for the Arts

7308   2025-03-31     Diverse Media New Zealand

7309   2025-03-31     Sony Music Austria

7310   2025-03-31     Big Think Agency

7311   2025-03-31     Indipendente Concerti

7312   2025-03-31     Yallie K Enterprises LLC

7313   2025-03-31     Captain

7314   2025-03-31     IZEA Worldwide, Inc.

7315   2025-03-31     Fulton & Roark

7316   2025-03-31     Captiv8

7317   2025-03-31     lensun solar energy

7318   2025-03-31     FabFitFun

7319   2025-03-31     Healthfirst

7320   2025-03-31     Quantum Physics
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 246 of 365




#      Date           Entity Name
7321   2025-03-31     Preflect Ads

7322   2025-03-31     Democrats

7323   2025-03-31     Team BC

7324   2025-03-31     Zenithoptimedia Taiwan

7325   2025-03-31     Conn's HomePlus

7326   2025-03-31     Genentech

7327   2025-03-31     Illinois Lottery

7328   2025-03-31     Dice Dreams

7329   2025-03-31     Gopuff

7330   2025-03-31     Omnilife

7331   2025-03-31     Crowd Control Digital

7332   2025-03-31     Lowe's Home Improvement

7333   2025-03-31     Edelman West

7334   2025-03-31     Bonefish Grill

7335   2025-03-31     Corro

7336   2025-03-31     The Glover Park Group

7337   2025-03-31     Sentara Health

7338   2025-03-31     Kore Nutrition

7339   2025-03-31     Direct Auto Insurance

7340   2025-03-31     Tuft & Needle

7341   2025-03-31     TopTier Trader

7342   2025-03-31     Away That Day

7343   2025-03-31     NA-KD.com

7344   2025-03-31     Wavemaker-NZ Loreal

7345   2025-03-31     Sub Pop Records

7346   2025-03-31     Monster

7347   2025-03-31     Dermaclara

7348   2025-03-31     Aegis Media Innov8

7349   2025-03-31     UM Australia

7350   2025-03-31     Progress Rum
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 247 of 365




#      Date           Entity Name
7351   2025-03-31     Comedy Central

7352   2025-03-31     The Citizenry

7353   2025-03-31     Universal Music México

7354   2025-03-31     JG Summit

7355   2025-03-31     Found

7356   2025-03-31     Maybelline New York

7357   2025-03-31     Fashion Nova

7358   2025-03-31     Common Entertainment

7359   2025-03-31     CSL

7360   2025-03-31     EDGE Entertainment Digital

7361   2025-03-31     Gisou

7362   2025-03-31     Stuart Weitzman

7363   2025-03-31     grownbrilliance

7364   2025-03-31     Kawasaki USA

7365   2025-03-31     Bang Productions Television

7366   2025-03-31     Zenith Slovakia

7367   2025-03-31     Unique Vacations Limited

7368   2025-03-31     ondonewyork

7369   2025-03-31     aim'n

7370   2025-03-31     NOTO Houston

7371   2025-03-31     Fanatics Live

7372   2025-03-31     Bread Beauty Supply

7373   2025-03-31     Matthew 6:26 LLC

7374   2025-03-31     Square

7375   2025-03-31     Doctor Music Concerts

7376   2025-03-31     Gorgie

7377   2025-03-31     Warby Parker

7378   2025-03-31     Opus Live

7379   2025-03-31     Nordstrom

7380   2025-03-31     Joom
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 248 of 365




#      Date           Entity Name
7381   2025-03-31     Lumen Technologies

7382   2025-03-31     Media Plus+

7383   2025-03-31     Klick - Edge

7384   2025-03-31     Billings Gazette

7385   2025-03-31     JOANN Fabric and Craft Stores

7386   2025-03-31     Kilt 'Em

7387   2025-03-31     Anti Agency Group

7388   2025-03-31     Mazda CX5 22

7389   2025-03-31     Helix Sleep

7390   2025-03-31     Social

7391   2025-03-31     UNDER THE INFLUENCE

7392   2025-03-31     Evolve Media

7393   2025-03-31     BluFish

7394   2025-03-31     Olipop

7395   2025-03-31     Cozy Earth

7396   2025-03-31     SOSHE Beauty

7397   2025-03-31     Express

7398   2025-03-31     Alo Moves

7399   2025-03-31     Performics Belgium

7400   2025-03-31     Socialyte

7401   2025-03-31     TFM Media

7402   2025-03-31     Propeller

7403   2025-03-31     Ketone-IQ

7404   2025-03-31     Starcom UK PUIG

7405   2025-03-31     HUM Nutrition

7406   2025-03-31     Inner Circle

7407   2025-03-31     Gadget Entertainment

7408   2025-03-31     Harvest Hill Beverage Company

7409   2025-03-31     Garage

7410   2025-03-31     MEC - Los Angeles
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 249 of 365




#      Date           Entity Name
7411   2025-03-31     BET

7412   2025-03-31     GOP

7413   2025-03-31     Dansko, LLC

7414   2025-03-31     Ross University School of Veterinary Medicine

7415   2025-03-31     Listerine

7416   2025-03-31     Winn-Dixie

7417   2025-03-31     CoxNext

7418   2025-03-31     M+R

7419   2025-03-31     Ashley

7420   2025-03-31     PayPal

7421   2025-03-31     Lifeway

7422   2025-03-31     Jordan Peterson

7423   2025-03-31     Wolven

7424   2025-03-31     Test page

7425   2025-03-31     Goldenvoice

7426   2025-03-31     Warner Music Norway

7427   2025-03-31     E11EVEN MIAMI

7428   2025-03-31     Launchpad INTL

7429   2025-03-31     KSR Group

7430   2025-03-31     Duluth Trading Company

7431   2025-03-31     Alex Feather Akimov's Business

7432   2025-03-31     Avant Gardner

7433   2025-03-31     Canopy

7434   2025-03-31     Hopscotch Music Festival

7435   2025-03-31     SmartPak

7436   2025-03-31     NIV Bible

7437   2025-03-31     M1 m■u 1, N1 17/8 - P

7438   2025-03-31     Estee Lauder México

7439   2025-03-31     MyMuse

7440   2025-03-31     Kash Kick 2
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 250 of 365




#      Date           Entity Name
7441   2025-03-31     Socialflow

7442   2025-03-31     T4 Social Media LLC

7443   2025-03-31     Ruder Finn

7444   2025-03-31     Rareform

7445   2025-03-31     Centricity Music

7446   2025-03-31     Jill

7447   2025-03-31     Live Nation Norway

7448   2025-03-31     FOX Sports

7449   2025-03-31     Affordable Dentures & Implants

7450   2025-03-31     Aisle 518 Strategies, LLC

7451   2025-03-31     JJXX

7452   2025-03-31     Vivara

7453   2025-03-31     Moon Active

7454   2025-03-31     OLLY

7455   2025-03-31     Solawave

7456   2025-03-31     LADbible

7457   2025-03-31     Danny Wimmer Presents

7458   2025-03-31     House Shops Ads

7459   2025-03-31     Front Gate Tickets

7460   2025-03-31     Annapurna Pictures

7461   2025-03-31     Tort Group

7462   2025-03-31     Sanity Skin

7463   2025-03-31     Angela ■

7464   2025-03-31     Dentsu Digital Italy

7465   2025-03-31     Liquid I.V.

7466   2025-03-31     Dot Matters

7467   2025-03-31     H&M

7468   2025-03-31     The Church of Jesus Christ of Latter-day Saints

7469   2025-03-31     Publicis Media Luxe

7470   2025-03-31     LOOPS
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 251 of 365




#      Date           Entity Name
7471   2025-03-31     Matterkind US

7472   2025-03-31     De Helling

7473   2025-03-31     Center

7474   2025-03-31     Search Influence

7475   2025-03-31     QVC

7476   2025-03-31     DISH

7477   2025-03-31     MullenLowe U.S.

7478   2025-03-31     Foursquare City Guide

7479   2025-03-31     onX Hunt

7480   2025-03-31     Phathom Pharmaceuticals

7481   2025-03-31     Huntington National Bank

7482   2025-03-31     Sony Music UK

7483   2025-03-31     ROR Partners

7484   2025-03-31     Universal Music Canada

7485   2025-03-31     Universal Music Deutschland

7486   2025-03-31     MC2 LIVE

7487   2025-03-31     af_drinks

7488   2025-03-31     Ranker.com

7489   2025-03-31     Lauren Daigle

7490   2025-03-31     starrising777

7491   2025-03-31     Ghostwriter Consultancy & Events

7492   2025-03-31     MetLife

7493   2025-03-31     UM APAC

7494   2025-03-31     Aleph - Dominican Republic

7495   2025-03-31     WS NA

7496   2025-03-31     Gymexo

7497   2025-03-31     Croud Ads

7498   2025-03-31     Outback Presents

7499   2025-03-31     MoneyGram

7500   2025-03-31     KURU Footwear
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 252 of 365




#      Date           Entity Name
7501   2025-03-31     Snow Days

7502   2025-03-31     Crunchyroll

7503   2025-03-31     Clarins

7504   2025-03-31     Bravado

7505   2025-03-31     CMI Media Group and Compas

7506   2025-03-31     Gupta Media

7507   2025-03-31     MasterClass

7508   2025-03-31     Initiative

7509   2025-03-31     American Kidney Fund

7510   2025-03-31     Univision

7511   2025-03-31     We Are Saatchi

7512   2025-03-31     BM5 chay sach 3

7513   2025-03-31     Keeps

7514   2025-03-31     The QYOU

7515   2025-03-31     Reprise Media ZA

7516   2025-03-31     Helyx Marketing

7517   2025-03-31     Premiere Speakers Bureau

7518   2025-03-31     We are mitú

7519   2025-03-31     Maelys Cosmetics

7520   2025-03-31     Infectious Music

7521   2025-03-31     BuzzFeed Branded Distribution

7522   2025-03-31     Okori Kazakhstan

7523   2025-03-31     DefJam

7524   2025-03-31     Maude

7525   2025-03-31     The KISS Marketing Agency

7526   2025-03-31     Cover FX

7527   2025-03-31     Test

7528   2025-03-31     KraftMaid Cabinetry

7529   2025-03-31     HMI Social

7530   2025-03-31     PETERMAYER
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 253 of 365




#      Date           Entity Name
7531   2025-03-31     Zenith USA

7532   2025-03-31     Learning A-Z

7533   2025-03-31     Happy Mammoth

7534   2025-03-31     Verizon

7535   2025-03-31     Sony Music Australia

7536   2025-03-31     Labelium Australia and New Zealand

7537   2025-03-31     Wavemaker Hong Kong

7538   2025-03-31     Gaston Luga

7539   2025-03-31     True Anthem

7540   2025-03-31     Admixer

7541   2025-03-31     Monarch

7542   2025-03-31     BOSS

7543   2025-03-31     Hourglass Cosmetics

7544   2025-03-31     Meta for Business

7545   2025-03-31     Zenith - PGD

7546   2025-03-31     JBL

7547   2025-03-31     Warner Music Sweden

7548   2025-03-31     amelieteje

7549   2025-03-31     Hanna Andersson

7550   2025-03-31     Topeka

7551   2025-03-31     Tommy Hilfiger

7552   2025-03-31     umusic NZ

7553   2025-03-31     Reality Labs

7554   2025-03-31     PrettyLittleThing

7555   2025-03-31     FB Growth Marketing

7556   2025-03-31     Meta

7557   2025-03-31     Carat USA

7558   2025-03-31     Reprise ES

7559   2025-03-31     Predictive Media Analytics, LLC

7560   2025-03-31     1-800 Contacts
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2       Filed 04/12/25        Page 254 of 365




#      Date           Entity Name
7561   2025-03-31     Slynd® (drospirenone)

7562   2025-03-31     PMG

7563   2025-03-31     DraftKings

7564   2025-03-31     Pltnum

7565   2025-03-31     Ford Motor Company

7566   2025-03-31     Cronin

7567   2025-03-31     JM14

7568   2025-03-31     truth

7569   2025-03-31     BerlinRosen

7570   2025-03-31     Capacity Interactive - Digital Marketing Consulting for the Arts

7571   2025-03-31     Foot Locker

7572   2025-03-31     Butler/Till

7573   2025-03-31     TransUnion Digital

7574   2025-03-31     BM 07

7575   2025-03-31     Discover

7576   2025-03-31     THIRD EAR

7577   2025-03-31     Blue State

7578   2025-03-31     FanDuel

7579   2025-03-31     Shareably

7580   2025-03-31     Ribbow Media Group

7581   2025-03-31     Triple G Events

7582   2025-03-31     Condé Nast

7583   2025-03-31     Relatable

7584   2025-03-31     LSU AgCenter Botanic Gardens

7585   2025-03-31     Alter Art

7586   2025-03-31     wavo.me

7587   2025-03-31     Electric Promotions

7588   2025-03-31     Eulerity

7589   2025-03-31     MissionWired

7590   2025-03-31     Cracker Barrel Old Country Store
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 255 of 365




#      Date           Entity Name
7591   2025-03-31     Happy Family Organics

7592   2025-03-31     Linktree

7593   2025-03-31     Moroch

7594   2025-03-31     F1 + F3 len moi

7595   2025-03-31     Active International

7596   2025-03-31     Gap Inc

7597   2025-03-31     Motorola

7598   2025-03-31     Amazon.com

7599   2025-03-31     Factoría Publica

7600   2025-03-31     Open Influence

7601   2025-03-31     Unit 3C

7602   2025-03-31     Dil Mil

7603   2025-03-31     Fabric Technologies

7604   2025-03-31     Test Page

7605   2025-03-31     Real Chemistry

7606   2025-03-31     J3

7607   2025-03-31     PushSpring

7608   2025-03-31     Diggerland USA

7609   2025-03-31     ACTwireless

7610   2025-03-31     neuapp

7611   2025-03-31     Thirdwave

7612   2025-03-31     FIGS

7613   2025-03-31     Aero Opco LLC

7614   2025-03-31     Omnicom Resolution

7615   2025-03-31     Grant Cardone

7616   2025-03-31     Katherine Kwok FB Biz

7617   2025-03-31     DeepSync Labs

7618   2025-03-31     Rent. Solutions

7619   2025-03-31     Blueprint Interactive

7620   2025-03-31     Datonics
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 256 of 365




#      Date           Entity Name
7621   2025-03-31     Novartis Clinical Trials

7622   2025-03-31     Kikoff

7623   2025-03-31     Simpli.fi

7624   2025-03-31     Swanson Health

7625   2025-03-31     Solaura

7626   2025-03-31     Wiland Data Targeting

7627   2025-03-31     WideFoc.us

7628   2025-03-31     FanDuel Racing

7629   2025-03-31     Capital One

7630   2025-03-31     Supercell

7631   2025-03-31     Best Buy

7632   2025-03-31     Walt Disney World

7633   2025-03-31     Marc Jacobs

7634   2025-03-31     Heartbeat

7635   2025-03-31     SmartHeart

7636   2025-03-31     Champs Sports

7637   2025-03-31     Katalyst Advantage

7638   2025-03-31     Marathon Strategies

7639   2025-03-31     Flip.shop

7640   2025-03-31     Etsy

7641   2025-03-31     BoostMobile - New/Post-Harmony

7642   2025-03-31     Microsoft Customer Insights Center

7643   2025-03-31     Tincre

7644   2025-03-31     JXM

7645   2025-03-31     Allstate

7646   2025-03-31     Cash App

7647   2025-03-31     MiQ US

7648   2025-03-31     Coffee Dose

7649   2025-03-31     Bob Hannon Consulting

7650   2025-03-31     MetaTeam
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 257 of 365




#      Date           Entity Name
7651   2025-03-31     MODCo T2

7652   2025-03-31     Amobee DMP

7653   2025-03-31     AdParlor

7654   2025-03-31     L'ange

7655   2025-03-31     UM Canada

7656   2025-03-31     Solved

7657   2025-03-31     Kinesso Poland

7658   2025-03-31     T-Mobile

7659   2025-03-31     MEC

7660   2025-03-31     Acxiom

7661   2025-03-31     HCN

7662   2025-03-31     Allergan Aesthetics

7663   2025-03-31     Boston Scientific

7664   2025-03-31     Spotify LATAM BM

7665   2025-03-31     Latched Mama

7666   2025-03-31     The Vintage Pearl

7667   2025-03-31     Neustar FB Syndication

7668   2025-03-31     JCPenney

7669   2025-03-31     Dr Pepper Snapple Group

7670   2025-03-31     J Vineyards & Winery

7671   2025-03-31     St. Jude Children's Research Hospital

7672   2025-03-31     PetSmart

7673   2025-03-31     Barstool Sports

7674   2025-03-31     Fingerpaint

7675   2025-03-31     Target

7676   2025-03-31     DSW Designer Shoe Warehouse

7677   2025-03-31     Spring Creek Group

7678   2025-03-31     Sling TV

7679   2025-03-31     Oracle Data Cloud CA

7680   2025-03-31     Chewy
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 258 of 365




#      Date           Entity Name
7681   2025-03-31     American Eagle

7682   2025-03-31     PHD France

7683   2025-03-31     Drive Toyota

7684   2025-03-31     Hong Kong Zoom Interactive Network Marketing Technology Limited

7685   2025-03-31     bubly

7686   2025-03-31     Boarderie

7687   2025-03-31     TDC Audiences

7688   2025-03-31     Nielsen Marketing Cloud

7689   2025-03-31     Rezonate Media

7690   2025-03-31     Sam's Club

7691   2025-03-31     Michael Kors

7692   2025-03-31     Otsuka America Pharmaceutical, Inc.

7693   2025-03-31     WMX

7694   2025-03-31     Eggland's Best Eggs

7695   2025-03-31     Hearts & Science

7696   2025-03-31     X-VIN

7697   2025-03-31     OMD USA

7698   2025-03-31     EMT

7699   2025-03-31     Walmart.com

7700   2025-03-31     Albertsons

7701   2025-03-31     Wiland Data Tactics

7702   2025-03-31     Uber

7703   2025-03-31     Sephora

7704   2025-03-31     Epsilon Audience Data Provider

7705   2025-03-31     zeotap

7706   2025-03-31     Kroger

7707   2025-03-31     Dollar General

7708   2025-03-31     Spark Foundry

7709   2025-03-31     Instagram Ad Ops

7710   2025-03-31     Spark Foundry USA
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2        Filed 04/12/25   Page 259 of 365




#      Date           Entity Name
7711   2025-03-31     EMEA

7712   2025-03-31     Brand survey

7713   2025-03-31     Drive with Lyft

7714   2025-03-31     Aza

7715   2025-03-31     KBMG Data Services Development

7716   2025-03-31     Conill Advertising

7717   2025-03-31     Satullo

7718   2025-03-31     Greta Boutique

7719   2025-03-31     Macy's

7720   2025-03-31     Regions Bank

7721   2025-03-31     HealixGlobal

7722   2025-03-31     Starcom USA

7723   2025-03-31     Sony Electronics

7724   2025-03-31     Zillow

7725   2025-03-31     Data unavailable

7726   2025-03-31     Research Study Rockstar

7727   2025-03-31     Inspire Brands

7728   2025-03-31     Purple Media

7729   2025-03-31     Zimmerman Advertising

7730   2025-03-31     United Gold Group

7731   2025-03-31     SONYA DAKAR

7732   2025-03-31     Intuit QuickBooks

7733   2025-03-31     Frankies Bikinis

7734   2025-03-31     Fb-Ig-Stage

7735   2025-03-31     ADARA

7736   2025-03-31     Launchpad Ignite

7737   2025-03-31     Experian Marketing Services - Audiences

7738   2025-03-31     Best Buy, Starcom USA

7739   2025-03-31     Humane World for Animals

7740   2025-03-31     Sage Dental
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 260 of 365




#      Date           Entity Name
7741   2025-03-31     Live Nation Sweden

7742   2025-03-31     Publicis_Media_Luxe

7743   2025-03-31     FB App

7744   2025-03-31     LIVE NATION ES

7745   2025-03-31     RTIC Outdoors

7746   2025-03-31     Bornlogic

7747   2025-03-31     Mazda USA

7748   2025-03-31     Betfair Interactive US LLC

7749   2025-03-31     FB Only SMB Channel Test Page

7750   2025-03-31     eHealth

7751   2025-03-31     Socialistics

7752   2025-03-31     Crossmedia

7753   2025-03-31     CVS Pharmacy

7754   2025-03-31     TargetSmart

7755   2025-03-31     Motion

7756   2025-03-31     Team One USA

7757   2025-03-31     EarnIn

7758   2025-03-31     COS

7759   2025-03-31     Filtr

7760   2025-03-31     iHeartCountry

7761   2025-03-31     Second test personal user page

7762   2025-03-31     Smile Direct Club

7763   2025-03-31     Truth and Love Coaching International

7764   2025-03-31     Good Apple

7765   2025-03-31     AirSculpt

7766   2025-03-31     Klick - Epic

7767   2025-03-31     Ethos Life

7768   2025-03-31     StackSocial

7769   2025-03-31     Edikted

7770   2025-03-31     Wiland Audiences
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 261 of 365




#      Date           Entity Name
7771   2025-03-31     DoorDash

7772   2025-03-31     Live Nation Concerts

7773   2025-03-31     the7stars

7774   2025-03-31     Frontier Touring

7775   2025-03-31     Disney Streaming

7776   2025-03-31     Collectiv Presents

7777   2025-03-31     fource.cz

7778   2025-03-31     Progressive

7779   2025-03-31     Ads Preview Workaround

7780   2025-03-31     Wmg gps adx

7781   2025-03-31     VaynerMedia

7782   2025-03-31     Hilton Newsroom

7783   2025-03-31     Kohl's

7784   2025-03-31     Cleo

7785   2025-03-31     DDC Testing

7786   2025-03-31     We Play

7787   2025-03-31     Avoq

7788   2025-03-31     Unicorn Innovations

7789   2025-03-31     AutoCanada

7790   2025-03-31     L.A. Concerts

7791   2025-03-31     L'Oréal Paris

7792   2025-03-31     The 3am Club

7793   2025-03-31     Global Health on Facebook

7794   2025-03-31     HarperCollins

7795   2025-03-31     ■■■■■■■■■■_2

7796   2025-03-31     Delivery Hero

7797   2025-03-31     Live Nation Belgium

7798   2025-03-31     Understatement Underwear

7799   2025-03-31     L'Oréal Group

7800   2025-03-31     Island Records UK
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 262 of 365




#      Date           Entity Name
7801   2025-03-31     Possible

7802   2025-03-31     Warner Music Spain

7803   2025-03-31     Huggies

7804   2025-03-31     Resolution Media

7805   2025-03-31     WhatsApp

7806   2025-03-31     Funded Commerce Ads

7807   2025-03-31     ■■■■ ■■■

7808   2025-03-31     discovery+

7809   2025-03-31     FM4 Indiekiste mit

7810   2025-03-31     Heather McMahan

7811   2025-03-31     Lounge Underwear

7812   2025-03-31     LiveRamp

7813   2025-03-31     AEG Presents

7814   2025-03-31     Capitol Music Group

7815   2025-03-31     Ray-Ban

7816   2025-03-31     Influential

7817   2025-03-31     FLOAT FEST

7818   2025-03-31     Trans-System, Inc.

7819   2025-03-31     Hairfinity

7820   2025-03-31     ZenithOptimedia Thailand

7821   2025-03-31     JCG LLC

7822   2025-03-31     Gina Tricot

7823   2025-03-31     Universal Music Group: Global Digital Marketing

7824   2025-03-31     ASUS

7825   2025-03-31     Papinelle Sleepwear

7826   2025-03-31     Mushroom

7827   2025-03-31     Live Nation Alabama & Mississippi

7828   2025-03-31     Instagram

7829   2025-03-31     Musical Earth

7830   2025-03-31     BIG IDEA GROUP
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 263 of 365




#      Date           Entity Name
7831   2025-03-31     Shelf Inc.

7832   2025-03-31     Foam and Substance

7833   2025-03-31     Lincoln Hall + Schubas

7834   2025-03-31     Code3

7835   2025-03-31     H&M - Paid Social

7836   2025-03-31     Noisy Trumpet

7837   2025-03-31     Aleph - Costa Rica

7838   2025-03-31     Panasonic Personal Care USA

7839   2025-03-31     Universal Music Latino

7840   2025-03-31     Elementary Innovation Pte. Ltd.

7841   2025-03-31     Rémy Martin

7842   2025-03-31     Meetsocial HK Digital Marketing Co.■ltd-1

7843   2025-03-31     Eva Rankin■

7844   2025-03-31     myQ

7845   2025-03-31     XaxisKorea

7846   2025-03-31     The Children's Place

7847   2025-03-31     Polydor

7848   2025-03-31     Jessica Goicoechea - Goi

7849   2025-03-31     Live Nation Finland

7850   2025-03-31     Live Nation Denmark

7851   2025-03-31     Topsify

7852   2025-03-31     Afro Nation

7853   2025-03-31     Dallas Cowboys

7854   2025-03-31     Sony Music Colombia

7855   2025-03-31     Sony Music Italy

7856   2025-03-31     GALE Media

7857   2025-03-31     Merkle Incorporated

7858   2025-03-31     Dr. Livingood

7859   2025-03-31     Interactive Avenues

7860   2025-03-31     The Jet-Ski Doctor
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 264 of 365




#      Date           Entity Name
7861   2025-03-31     Performance Marketing - USD - Spotify AB

7862   2025-03-31     Nickel and Suede

7863   2025-03-31     Rescue: The Behavior Change Agency

7864   2025-03-31     The Home Depot

7865   2025-03-31     22squared

7866   2025-03-31     Happify by Twill

7867   2025-03-31     Giant Partners

7868   2025-03-31     The Relationship School

7869   2025-03-31     Deep Root Analytics

7870   2025-03-31     PreciseTarget

7871   2025-03-31     360i

7872   2025-03-31     MethodGroupe

7873   2025-03-31     Starcom USA, Best Buy

7874   2025-03-31     P&G Social Global

7875   2025-03-31     Universal Studios Hollywood

7876   2025-03-31     GroupM

7877   2025-03-31     ESPN

7878   2025-03-31     Sold Out Advertising

7879   2025-03-31     Guinness

7880   2025-03-31     Live Nation Germany - Austria - Switzerland

7881   2025-03-31     Louis Vuitton

7882   2025-03-31     Strawberries & Creem

7883   2025-03-31     Talent Groupe CH

7884   2025-03-31     Kay Jewelers

7885   2025-03-31     Grupo Axo

7886   2025-03-31     Shaq’s Fun House

7887   2025-03-31     UM MENA

7888   2025-03-31     La Roche-Posay

7889   2025-03-31     Manebí

7890   2025-03-31     The Orchard
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 265 of 365




#      Date           Entity Name
7891   2025-03-31     Lovesac

7892   2025-03-31     Pinterest Inc

7893   2025-03-31     Facebook

7894   2025-03-31     SupplyX

7895   2025-03-31     UM Detroit

7896   2025-03-31     VaynerMedia Canada

7897   2025-03-31     Universal Music Legends

7898   2025-03-31     Smarty Social Media

7899   2025-03-31     Universal Music Norge

7900   2025-03-31     SiriusXM

7901   2025-03-31     Invisalign

7902   2025-03-31     Horizon Blue Cross Blue Shield of New Jersey

7903   2025-03-31     Mainment GmbH

7904   2025-03-31     Entertainment on Facebook

7905   2025-03-31     Sony Music Brasil

7906   2025-03-31     Sony Music Netherlands

7907   2025-03-31     Backstreetmerch.com

7908   2025-03-31     Adwerx

7909   2025-03-31     Sony Music Spain

7910   2025-03-31     fuckinggoodmovies ®

7911   2025-03-31     Coach

7912   2025-03-31     Adult Swim

7913   2025-03-31     Knitting Factory Entertainment

7914   2025-03-31     Socialyse Adm FR

7915   2025-03-31     Wavemaker Canada

7916   2025-03-31     Forward Media Italy

7917   2025-03-31     Greens Club

7918   2025-03-31     Walgreens

7919   2025-03-31     FCA Mexico

7920   2025-03-31     PBS
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 266 of 365




#      Date           Entity Name
7921   2025-03-31     Valley Vet Supply

7922   2025-03-31     Accelerated Intelligence Ltd

7923   2025-03-31     Boston Comedy Festival

7924   2025-03-31     BSN

7925   2025-03-31     Silk + Sonder

7926   2025-03-31     Dynata Advertising Solutions

7927   2025-03-31     Soundwave Consulting

7928   2025-03-31     Eko Health

7929   2025-03-31     BobbyParrish

7930   2025-03-31     Bombora

7931   2025-03-31     Sara's Business

7932   2025-03-31     Health Union LLC

7933   2025-03-31     Eyeota

7934   2025-03-31     Max Connect Digital

7935   2025-03-31     First Avenue & 7th St Entry

7936   2025-03-31     Drink Accelerator

7937   2025-03-31     Rational 360

7938   2025-03-31     Tropic of C

7939   2025-03-31     Born Again Concerts

7940   2025-03-31     OMD Panamá

7941   2025-03-31     Island Records

7942   2025-03-31     Wix

7943   2025-03-31     ■■■■■■■■■■■■■■■■■

7944   2025-03-31     Shinesty

7945   2025-03-31     Aleph Guatemala

7946   2025-03-31     Zenith France

7947   2025-03-31     Haworth Media

7948   2025-03-31     Alexis Ren

7949   2025-03-31     Sony Music Switzerland

7950   2025-03-31     Peloton
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 267 of 365




#      Date           Entity Name
7951   2025-03-31     FamilySearch

7952   2025-03-31     Unilever Philippines

7953   2025-03-31     Grand Central Publishing

7954   2025-03-31     Tell Your People

7955   2025-03-31     Wonderfront Festival

7956   2025-03-31     Caraway

7957   2025-03-31     OMD Entertainment

7958   2025-03-31     Greenhouse Talent NL

7959   2025-03-31     WITHIN

7960   2025-03-31     Carmichael Lynch

7961   2025-03-31     Merkle Data Partner

7962   2025-03-31     Postmates

7963   2025-03-31     Xfinity

7964   2025-03-31     Eddie Bauer

7965   2025-03-31     Wyze

7966   2025-03-31     Tombras

7967   2025-03-31     Fingerhut

7968   2025-03-31     Adobe

7969   2025-03-31     adidas

7970   2025-03-31     Simplyk Bénévolat

7971   2025-03-31     ZitSticka

7972   2025-03-31     LP Generic Business

7973   2025-03-31     Tempo OMD Social Adv

7974   2025-03-31     CubeSmart Self Storage

7975   2025-03-31     Skingasm

7976   2025-03-31     Scooter's Coffee

7977   2025-03-31     MC UK - GBP

7978   2025-03-31     CCI ■■■■cartacommunications

7979   2025-03-31     Simon & Schuster

7980   2025-03-31     Flag & Anthem
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 268 of 365




#      Date           Entity Name
7981   2025-03-31     Good Social Company

7982   2025-03-31     Keurig

7983   2025-03-31     Pet Airways

7984   2025-03-31     Summerfest

7985   2025-03-31     Red Digital

7986   2025-03-31     Bruckner Yaar Levi

7987   2025-03-31     Smashbox Cosmetics

7988   2025-03-31     American Sporstwear, S.A.

7989   2025-03-31     Makeup.com by L'Oreal

7990   2025-03-31     Aleph Uruguay

7991   2025-03-31     Blogger: Isaac Saenz

7992   2025-03-31     Simon Malls

7993   2025-03-31     AEG Presents France

7994   2025-03-31     310 Nutrition

7995   2025-03-31     Fused - Universal Music

7996   2025-03-31     Hunter Del Caribe

7997   2025-03-31     Havas Media

7998   2025-03-31     Live Nation Polska

7999   2025-03-31     Edelman Digital NYC

8000   2025-03-31     GETmusic

8001   2025-03-31     Aleph Ecuador

8002   2025-03-31     Universal Music Spain

8003   2025-03-31     JustFab

8004   2025-03-31     MRG Live

8005   2025-03-31     Frank And Oak

8006   2025-03-31     Apple Services

8007   2025-03-31     UMusic Australia

8008   2025-03-31     swayhairextensions

8009   2025-03-31     Crumbl Cookies

8010   2025-03-31     mandanadayani
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 269 of 365




#      Date           Entity Name
8011   2025-03-31     L'atelier TW

8012   2025-03-31     Kiehl's

8013   2025-03-31     Warner Music Denmark

8014   2025-03-31     Mindshare USA

8015   2025-03-31     i.am.gia

8016   2025-03-31     L'Oreal Ecommerce PRoject

8017   2025-03-31     EMI Records

8018   2025-03-31     Vunzige Deuntjes

8019   2025-03-31     MEC Italia

8020   2025-03-31     PHD colombia S.A.S

8021   2025-03-31     SKIMS

8022   2025-03-31     ThisThat

8023   2025-03-31     Threepipe

8024   2025-03-31     Functional Care

8025   2025-03-31     Avon

8026   2025-03-31     Warner Music Canada

8027   2025-03-31     Boncom

8028   2025-03-31     RODEOHOUSTON

8029   2025-03-31     ZenithMedia Germany

8030   2025-03-31     Live Nation France

8031   2025-03-31     Essence

8032   2025-03-31     ASW Group

8033   2025-03-31     Bell Media

8034   2025-03-31     Havas Media Group USA LLC

8035   2025-03-31     Garnier Colombia

8036   2025-03-31     Harper's Bazaar

8037   2025-03-31     Beth Stelling

8038   2025-03-31     Dentsu Greece

8039   2025-03-31     Intermate Media GmbH

8040   2025-03-31     Sony Music Poland
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 270 of 365




#      Date           Entity Name
8041   2025-03-31     Andi Bagus

8042   2025-03-31     Forma Pilates

8043   2025-03-31     Immerse Agency, LLC

8044   2025-03-31     Live Nation Canada

8045   2025-03-31     Juicy Couture

8046   2025-03-31     Entravision Latam - Honduras

8047   2025-03-31     Alo Yoga

8048   2025-03-31     Universal Music France

8049   2025-03-31     Free People

8050   2025-03-31     DASH TWO

8051   2025-03-31     Live Nation UK

8052   2025-03-31     Universal Music South Africa

8053   2025-03-31     Sundays

8054   2025-03-31     Tusk Strategies

8055   2025-03-31     Climb

8056   2025-03-31     Insomniac Events

8057   2025-03-31     CurlMix

8058   2025-03-31     The League

8059   2025-03-31     Step

8060   2025-03-31     RainCloud Media

8061   2025-03-31     Dentsu X UK

8062   2025-03-31     Sony Rewards

8063   2025-03-31     Lashify

8064   2025-03-31     Disney

8065   2025-03-31     CAVA

8066   2025-03-31     Horizon Horseback

8067   2025-03-31     HEYDUDE

8068   2025-03-31     Horizn Studios

8069   2025-03-31     INH Hair

8070   2025-03-31     Nestlé HK ■■■■
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 271 of 365




#      Date           Entity Name
8071   2025-03-31     Interscope Records

8072   2025-03-31     Grundéns

8073   2025-03-31     Scruff of the Neck

8074   2025-03-31     Love Wellness

8075   2025-03-31     NEUW Denim

8076   2025-03-31     moveconcertsarg

8077   2025-03-31     Universal Music Austria

8078   2025-03-31     IProspect NY

8079   2025-03-31     TRUFFLE

8080   2025-03-31     Warner Music France

8081   2025-03-31     Universal Music Polska

8082   2025-03-31     Quarterlab

8083   2025-03-31     Sure Sure

8084   2025-03-31     Geologie

8085   2025-03-31     The Ridge

8086   2025-03-31     Louis Vuitton Brazil

8087   2025-03-31     ThinkSwell

8088   2025-03-31     Room & Board

8089   2025-03-31     Dow

8090   2025-03-31     Grubhub

8091   2025-03-31     No Limit Entertainment

8092   2025-03-31     Verb Products

8093   2025-03-31     Hagerty

8094   2025-03-31     Casely

8095   2025-03-31     Audience Town

8096   2025-03-31     Bishop Robert Barron

8097   2025-03-31     HQ CDM

8098   2025-03-31     Ad Insights

8099   2025-03-31     The New York Times

8100   2025-03-31     Change Research
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2          Filed 04/12/25   Page 272 of 365




#      Date           Entity Name
8101   2025-03-31     Burson Global

8102   2025-03-31     Just Us Skin Care

8103   2025-03-31     Decoded Advertising

8104   2025-03-31     OneMain Business

8105   2025-03-31     Multitud Digital

8106   2025-03-31     iProspect Detroit

8107   2025-03-31     DSplus

8108   2025-03-31     Reprise Chile

8109   2025-03-31     Morgan Fidelity Associates, Inc.

8110   2025-03-31     Brilliant Earth

8111   2025-03-31     Hoffman York

8112   2025-03-31     Echo Promotion

8113   2025-03-31     The Foxy Hipster

8114   2025-03-31     PacSun

8115   2025-03-31     ■■■■■■■■■■■■■

8116   2025-03-31     Ulta Beauty

8117   2025-03-31     California Cryobank

8118   2025-03-31     Ranker 2

8119   2025-03-31     Nexters

8120   2025-03-31     Reprise Media México

8121   2025-03-31     North Coast Music Festival

8122   2025-03-31     Give Back Beauty

8123   2025-03-31     therankedmusic

8124   2025-03-31     Reward Agency - 08

8125   2025-03-31     Aleph - Panama

8126   2025-03-31     Facebook Analytics

8127   2025-03-31     Black Promoters Collective

8128   2025-03-31     Sweed

8129   2025-03-31     L'Oréal Social CDO - Cockpit & Advertising

8130   2025-03-31     MEC Australia
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2         Filed 04/12/25   Page 273 of 365




#      Date           Entity Name
8131   2025-03-31     4th Quarter Collective, LLC

8132   2025-03-31     Universal Music Brasil

8133   2025-03-31     Universal Music Malaysia

8134   2025-03-31     Cooking Vinyl

8135   2025-03-31     FESTIVAL LES ARDENTES

8136   2025-03-31     WMcCann RJ

8137   2025-03-31     AEG Presents - Media

8138   2025-03-31     Publicis Health Media

8139   2025-03-31     Kulturbolaget

8140   2025-03-31     Blavity

8141   2025-03-31     L'Oréal Professionnel

8142   2025-03-31     L'Oréal Chile

8143   2025-03-31     Reaction Presents

8144   2025-03-31     Big Concerts

8145   2025-03-31     Warner Music Poland

8146   2025-03-31     Universal Music Ireland

8147   2025-03-31     HolStrength

8148   2025-03-31     Entravisión Panamá

8149   2025-03-31     Called

8150   2025-03-31     Linear 360

8151   2025-03-29     Tuft & Needle

8152   2025-03-29     Sara's Business

8153   2025-03-29     GoAudience

8154   2025-03-29     Grant Cardone

8155   2025-03-29     Jackson Hewitt

8156   2025-03-29     Ideal Coverings

8157   2025-03-29     Progressive

8158   2025-03-29     Captain

8159   2025-03-29     The Church of Jesus Christ of Latter-day Saints

8160   2025-03-29     Mindshare Sverige
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 274 of 365




#      Date           Entity Name
8161   2025-03-29     Sony Music Germany

8162   2025-03-29     Warner Music Canada

8163   2025-03-29     Arising Empire

8164   2025-03-29     Sakara Life

8165   2025-03-29     INH Hair

8166   2025-03-29     eHealth

8167   2025-03-29     Engage Media

8168   2025-03-29     Yallie K Enterprises LLC

8169   2025-03-29     Reprise Chile

8170   2025-03-29     Eko Health

8171   2025-03-29     Supercell

8172   2025-03-29     NeoPerformance

8173   2025-03-29     Progress Rum

8174   2025-03-29     Good Social Company

8175   2025-03-29     THIRD EAR

8176   2025-03-29     Isha Foundation

8177   2025-03-29     Campbell Ewald

8178   2025-03-29     Corro

8179   2025-03-29     Love Wellness

8180   2025-03-29     Relatable

8181   2025-03-29     Milani

8182   2025-03-29     Universal Music Switzerland

8183   2025-03-29     Freya - Test Account

8184   2025-03-29     Rgmntco

8185   2025-03-29     Active International

8186   2025-03-29     Culture Pop

8187   2025-03-29     Goldenvoice

8188   2025-03-29     Universal Music Ireland

8189   2025-03-29     Division D

8190   2025-03-29     Smashbox Cosmetics
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 275 of 365




#      Date           Entity Name
8191   2025-03-29     Selfie Leslie

8192   2025-03-29     Chime

8193   2025-03-29     Republic Records

8194   2025-03-29     AEG Presents UK

8195   2025-03-29     NICKS

8196   2025-03-29     Emc_TCCC

8197   2025-03-29     VaynerMedia Canada

8198   2025-03-29     Quakmedia - Agencia de Marketing Digital

8199   2025-03-29     Sub Pop Records

8200   2025-03-29     Inner Circle

8201   2025-03-29     Omnilux LED Light Therapy

8202   2025-03-29     Universal Music Latino

8203   2025-03-29     Sony Music Poland

8204   2025-03-29     starrising777

8205   2025-03-29     NHL

8206   2025-03-29     discovery+

8207   2025-03-29     MasterClass

8208   2025-03-29     WITHIN

8209   2025-03-29     MetaTeam

8210   2025-03-29     Wavemaker Deutschland

8211   2025-03-29     Motion

8212   2025-03-29     OMD Panamá

8213   2025-03-29     Groot Hospitality

8214   2025-03-29     Glamnetic

8215   2025-03-29     Reprise Media México

8216   2025-03-29     Ashley

8217   2025-03-29     Solawave

8218   2025-03-29     Data Axle USA

8219   2025-03-29     Blavity

8220   2025-03-29     Estee Lauder México
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 276 of 365




#      Date           Entity Name
8221   2025-03-29     Trafalgar Releasing

8222   2025-03-29     SOSHE Beauty

8223   2025-03-29     Dentsu Digital Italy

8224   2025-03-29     Eva Rankin■

8225   2025-03-29     LSU AgCenter Botanic Gardens

8226   2025-03-29     De Helling

8227   2025-03-29     Shinesty

8228   2025-03-29     California Cryobank

8229   2025-03-29     Orion Publishing Group

8230   2025-03-29     Sweed

8231   2025-03-29     RTIC Outdoors

8232   2025-03-29     Sephora

8233   2025-03-29     truth

8234   2025-03-29     My View From Beer

8235   2025-03-29     OLLY

8236   2025-03-29     MoneyLion

8237   2025-03-29     MiQ US

8238   2025-03-29     Torrid

8239   2025-03-29     Swanson Russell

8240   2025-03-29     SUGARED + BRONZED

8241   2025-03-29     Direct Auto Insurance

8242   2025-03-29     Công Ty ■ng Hoàng Phúc

8243   2025-03-29     ■■■■■■■■■■■■■

8244   2025-03-29     Bridg Channel

8245   2025-03-29     Nomad Apparel Co.

8246   2025-03-29     Silk + Sonder

8247   2025-03-29     Wegmans

8248   2025-03-29     Lithia Motors

8249   2025-03-29     Soundwave Consulting

8250   2025-03-29     FanDuel Racing
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25   Page 277 of 365




#      Date           Entity Name
8251   2025-03-29     Merkle Incorporated

8252   2025-03-29     CNN Digital - Audience Dev

8253   2025-03-29     Live Nation Finland

8254   2025-03-29     Kore Nutrition

8255   2025-03-29     Shelf Inc.

8256   2025-03-29     Social

8257   2025-03-29     FCA Mexico

8258   2025-03-29     Topeka

8259   2025-03-29     Aleph - Costa Rica

8260   2025-03-29     Panasonic Personal Care USA

8261   2025-03-29     Grunt Style

8262   2025-03-29     FitnFemale

8263   2025-03-29     Warner Music Norway

8264   2025-03-29     Operam Inc

8265   2025-03-29     FreePrints App

8266   2025-03-29     Gaston Luga

8267   2025-03-29     Pura Vida

8268   2025-03-29     Maude

8269   2025-03-29     Helix Sleep

8270   2025-03-29     Friends At Work

8271   2025-03-29     Smarty Social Media

8272   2025-03-29     Zales

8273   2025-03-29     Winn-Dixie

8274   2025-03-29     Verb Products

8275   2025-03-29     Facebook Insertion Orders

8276   2025-03-29     Teste 1

8277   2025-03-29     Lending Store

8278   2025-03-29     Brand Polling

8279   2025-03-29     JCPenney

8280   2025-03-29     Performance Marketing - USD - Spotify AB
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 278 of 365




#      Date           Entity Name
8281   2025-03-29     Universal Studios Hollywood

8282   2025-03-29     Relistor® (methylnaltrexone bromide)

8283   2025-03-29     STAAR Global

8284   2025-03-29     Penguin España

8285   2025-03-29     Ads Preview Workaround

8286   2025-03-29     Sony Music Brasil

8287   2025-03-29     360i

8288   2025-03-29     1000heads - US Office

8289   2025-03-29     Z2 Comics

8290   2025-03-29     Grand Central Publishing

8291   2025-03-29     Sony Music Entertainment

8292   2025-03-29     GOP

8293   2025-03-29     Tres Colori Jewelry

8294   2025-03-29     Masters of Balayage

8295   2025-03-29     Greenhouse Talent

8296   2025-03-29     Huntington National Bank

8297   2025-03-29     Sev Laser Aesthetics

8298   2025-03-29     PreciseTarget

8299   2025-03-29     M&C Saatchi Performance

8300   2025-03-29     Omnicom Resolution

8301   2025-03-29     adidas

8302   2025-03-29     Test For Pixel

8303   2025-03-29     Trans-System, Inc.

8304   2025-03-29     Accelerated Intelligence Ltd

8305   2025-03-29     Warner Music Australia

8306   2025-03-29     RIMOWA

8307   2025-03-29     HEYDUDE

8308   2025-03-29     Merch Traffic

8309   2025-03-29     Tusk Strategies

8310   2025-03-29     MRG Live
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 279 of 365




#      Date           Entity Name
8311   2025-03-29     Edelman West

8312   2025-03-29     ESPN

8313   2025-03-29     Golin

8314   2025-03-29     TORY BURCH

8315   2025-03-29     Threepipe

8316   2025-03-29     House Shops Ads

8317   2025-03-29     FIGS

8318   2025-03-29     Helyx Marketing

8319   2025-03-29     Hylink Digital Solutions

8320   2025-03-29     UM MENA

8321   2025-03-29     Burson Global

8322   2025-03-29     Reprise Media ZA

8323   2025-03-29     DeepSync Labs

8324   2025-03-29     TransUnion Digital

8325   2025-03-29     Hopscotch Music Festival

8326   2025-03-29     Carter's

8327   2025-03-29     neuapp

8328   2025-03-29     Fabric Technologies

8329   2025-03-29     Deep Root Analytics

8330   2025-03-29     Sojern

8331   2025-03-29     QVC

8332   2025-03-29     Frankies Bikinis

8333   2025-03-29     TrustGodbro Clothing

8334   2025-03-29     Athleta

8335   2025-03-29     Monarch

8336   2025-03-29     GQ Italia

8337   2025-03-29     Pet Airways

8338   2025-03-29     Dil Mil

8339   2025-03-29     Universal Music Sweden

8340   2025-03-29     TIAA
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 280 of 365




#      Date           Entity Name
8341   2025-03-29     REVOLVE

8342   2025-03-29     The QYOU

8343   2025-03-29     MediaCom USA

8344   2025-03-29     Boston Comedy Festival

8345   2025-03-29     Wake Research

8346   2025-03-29     Change Research

8347   2025-03-29     We Are Saatchi

8348   2025-03-29     ADARA

8349   2025-03-29     The Christian Broadcasting Network

8350   2025-03-29     Socialistics

8351   2025-03-29     Fanatics

8352   2025-03-29     Entravision Latam - Puerto Rico

8353   2025-03-29     ACTwireless

8354   2025-03-29     Center

8355   2025-03-29     M Booth

8356   2025-03-29     The Vintage Pearl

8357   2025-03-29     Blue 449

8358   2025-03-29     Called

8359   2025-03-29     Nestlé HK ■■■■

8360   2025-03-29     Art Label Studios 2024

8361   2025-03-29     Brilliant Earth

8362   2025-03-29     Drink Accelerator

8363   2025-03-29     Launchpad INTL

8364   2025-03-29     Alexis Ren

8365   2025-03-29     L'Oréal Suisse

8366   2025-03-29     Hampton Creative

8367   2025-03-29     Olipop

8368   2025-03-29     Sparkart Group, Inc.

8369   2025-03-29     Milk Makeup - 6S

8370   2025-03-29     LP Generic Business
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 281 of 365




#      Date           Entity Name
8371   2025-03-29     Captiv8

8372   2025-03-29     Florida Credit Union

8373   2025-03-29     Vannen Watches

8374   2025-03-29     WE ARE TALA

8375   2025-03-29     AbbVie

8376   2025-03-29     Connected Vivaki

8377   2025-03-29     Mattress Firm

8378   2025-03-29     H&M - Paid Social

8379   2025-03-29     Hearst Television

8380   2025-03-29     EDGE Entertainment Digital

8381   2025-03-29     Hint

8382   2025-03-29     Starcom Denmark

8383   2025-03-29     Aleph - Dominican Republic

8384   2025-03-29     Partisan Records

8385   2025-03-29     Best Videos

8386   2025-03-29     Simon & Schuster

8387   2025-03-29     Flag & Anthem

8388   2025-03-29     Happy Products

8389   2025-03-29     Influential

8390   2025-03-29     Concord

8391   2025-03-29     EarnIn

8392   2025-03-29     ZenithMedia Germany

8393   2025-03-29     Pierce Media

8394   2025-03-29     eBay

8395   2025-03-29     IPSY

8396   2025-03-29     Aleph Guatemala

8397   2025-03-29     Live Nation Australia

8398   2025-03-29     Goodlive Artists

8399   2025-03-29     Bornlogic

8400   2025-03-29     White Claw
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 282 of 365




#      Date           Entity Name
8401   2025-03-29     Meetsocial HK Digital Marketing Co.■ltd-1

8402   2025-03-29     Cover FX

8403   2025-03-29     Horizon Horseback

8404   2025-03-29     Kitbag

8405   2025-03-29     Twillory

8406   2025-03-29     BeatStars Inc.

8407   2025-03-29     Publicis Media Luxe

8408   2025-03-29     FESTIVAL LES ARDENTES

8409   2025-03-29     We are mitú

8410   2025-03-29     iRESTORE Hair Growth System

8411   2025-03-29     TEG Live Europe

8412   2025-03-29     Alo Yoga

8413   2025-03-29     HarperCollins

8414   2025-03-29     Fashion Nova

8415   2025-03-29     Online Trainer/Coach

8416   2025-03-29     Mushroom

8417   2025-03-29     playforgain

8418   2025-03-29     Amplify.ai

8419   2025-03-29     Danny Wimmer Presents

8420   2025-03-29     Monqui Presents

8421   2025-03-29     For Wellness

8422   2025-03-29     Louis Vuitton Brazil

8423   2025-03-29     Notion Live Events

8424   2025-03-29     Typology

8425   2025-03-29     Function of Beauty

8426   2025-03-29     BIG IDEA GROUP

8427   2025-03-29     Invisalign

8428   2025-03-29     Fun.com

8429   2025-03-29     No Limit Entertainment

8430   2025-03-29     Ruder Finn
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 283 of 365




#      Date           Entity Name
8431   2025-03-29     Crowd Control Digital

8432   2025-03-29     Wavemaker Canada

8433   2025-03-29     Scooter's Coffee

8434   2025-03-29     Pit Viper

8435   2025-03-29     Magnum Photos

8436   2025-03-29     Fulton & Roark

8437   2025-03-29     Haworth Media

8438   2025-03-29     Apple Services

8439   2025-03-29     Tatti Lashes

8440   2025-03-29     MC UK - GBP

8441   2025-03-29     Okori Kazakhstan

8442   2025-03-29     Netflix

8443   2025-03-29     Rémy Martin

8444   2025-03-29     Keeps

8445   2025-03-29     Caraway

8446   2025-03-29     Spiceology

8447   2025-03-29     Warner Music Africa

8448   2025-03-29     Summersalt

8449   2025-03-29     AuDigent

8450   2025-03-29     ■■■■■■■■■■■■■■■■■

8451   2025-03-29     rolling loud

8452   2025-03-29     Elicit Music

8453   2025-03-29     Kilt 'Em

8454   2025-03-29     Tropic of C

8455   2025-03-29     Ghostwriter Consultancy & Events

8456   2025-03-29     Cadence

8457   2025-03-29     Solaura

8458   2025-03-29     Feld Entertainment, Inc.

8459   2025-03-29     Avant Gardner

8460   2025-03-29     Heartbeat
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 284 of 365




#      Date           Entity Name
8461   2025-03-29     Bob Hannon Consulting

8462   2025-03-29     Predictive Media Analytics, LLC

8463   2025-03-29     Initiative Wellness

8464   2025-03-29     471887696173235

8465   2025-03-29     Jill

8466   2025-03-29     Warner Music Austria

8467   2025-03-29     Propeller

8468   2025-03-29     Duluth Trading Company

8469   2025-03-29     Collectiv Presents

8470   2025-03-29     Neko Test Page

8471   2025-03-29     TEG DAINTY

8472   2025-03-29     af_drinks

8473   2025-03-29     Hoffman York

8474   2025-03-29     JJXX

8475   2025-03-29     APM Monaco

8476   2025-03-29     TFM Media

8477   2025-03-29     The 3am Club

8478   2025-03-29     L'atelier HK

8479   2025-03-29     CSL

8480   2025-03-29     Preflect Ads

8481   2025-03-29     Socialyse Adm FR

8482   2025-03-29     H&M

8483   2025-03-29     PrettyLittleThing

8484   2025-03-29     Socialyte

8485   2025-03-29     On

8486   2025-03-29     Tort Group

8487   2025-03-29     Givebutter

8488   2025-03-29     Deezer

8489   2025-03-29     Brunner

8490   2025-03-29     Mazda CX5 22
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 285 of 365




#      Date           Entity Name
8491   2025-03-29     Rakuten

8492   2025-03-29     Call of Duty

8493   2025-03-29     Grubhub

8494   2025-03-29     Indeed

8495   2025-03-29     SwellShark

8496   2025-03-29     Champs Sports

8497   2025-03-29     ClearOne Advantage, LLC

8498   2025-03-29     Dice Dreams

8499   2025-03-29     REV77

8500   2025-03-29     Humane World for Animals

8501   2025-03-29     Keurig

8502   2025-03-29     LM250 9

8503   2025-03-29     Boarderie

8504   2025-03-29     DDC Testing

8505   2025-03-29     Shopify

8506   2025-03-29     L'Oreal Ecommerce PRoject

8507   2025-03-29     Q Link Wireless

8508   2025-03-29     Electric Promotions

8509   2025-03-29     Madison Square Garden

8510   2025-03-29     Snow Days

8511   2025-03-29     Enso Rings

8512   2025-03-29     Simplyk Bénévolat

8513   2025-03-29     Oregon Ice Cream

8514   2025-03-29     Verified

8515   2025-03-29     KURU Footwear

8516   2025-03-29     Wayfair

8517   2025-03-29     Affinity Answers

8518   2025-03-29     Magnolias

8519   2025-03-29     HMS Global - GBP

8520   2025-03-29     FabFitFun
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 286 of 365




#      Date           Entity Name
8521   2025-03-29     Goodway Tier 3 Digital

8522   2025-03-29     HBO Max

8523   2025-03-29     Live Nation Polska

8524   2025-03-29     Pepsi

8525   2025-03-29     Facebook Analytics

8526   2025-03-29     Dimensions Fragrance

8527   2025-03-29     Gupta Media Holdings, LLC

8528   2025-03-29     Bruckner Yaar Levi

8529   2025-03-29     Liberated Brands

8530   2025-03-29     Fingerhut

8531   2025-03-29     Etsy

8532   2025-03-29     The Detox Dudes

8533   2025-03-29     Best Buy, Starcom USA

8534   2025-03-29     Colleen Mauer Designs

8535   2025-03-29     BSN

8536   2025-03-29     Zimmerman Advertising

8537   2025-03-29     Choices by Revlon

8538   2025-03-29     J Vineyards & Winery

8539   2025-03-29     Lifeway

8540   2025-03-29     Exchange LA

8541   2025-03-29     Casely

8542   2025-03-29     Audience Town

8543   2025-03-29     Voiply

8544   2025-03-29     Research Study Rockstar

8545   2025-03-29     PayPal

8546   2025-03-29     Swank A Posh

8547   2025-03-29     Ruggable

8548   2025-03-29     Swimply

8549   2025-03-29     Simpli.fi

8550   2025-03-29     Bones Coffee Company
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 287 of 365




#      Date           Entity Name
8551   2025-03-29     Dynata Advertising Solutions

8552   2025-03-29     WPS Health Insurance - Health Plan

8553   2025-03-29     PHD colombia S.A.S

8554   2025-03-29     Foam and Substance

8555   2025-03-29     RCKT.

8556   2025-03-29     RW Consulting

8557   2025-03-29     Canopy

8558   2025-03-29     Lovesac

8559   2025-03-29     ZitSticka

8560   2025-03-29     Proposal Prep by Best Kept

8561   2025-03-29     MetaVision Media

8562   2025-03-29     Rothy's

8563   2025-03-29     Petit Moments

8564   2025-03-29     NA-KD.com

8565   2025-03-29     MEC Italia

8566   2025-03-29     mandanadayani

8567   2025-03-29     Bonus Track

8568   2025-03-29     Doublesoul

8569   2025-03-29     Water Street Music Hall

8570   2025-03-29     Bfx

8571   2025-03-29     Synchrony

8572   2025-03-29     Second test personal user page

8573   2025-03-29     Nickel and Suede

8574   2025-03-29     Genentech

8575   2025-03-29     Aisle 518 Strategies, LLC

8576   2025-03-29     Sentara Health

8577   2025-03-29     Flaus

8578   2025-03-29     HCN

8579   2025-03-29     HRD Games, LLC

8580   2025-03-29     David Stuebe's Business
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 288 of 365




#      Date           Entity Name
8581   2025-03-29     Strawberries & Creem

8582   2025-03-29     Thirdwave

8583   2025-03-29     Live Nation Norway

8584   2025-03-29     FOX Sports

8585   2025-03-29     Herbivore Botanicals

8586   2025-03-29     Tulster

8587   2025-03-29     Starcom UK PUIG

8588   2025-03-29     Decca Records

8589   2025-03-29     Ketone-IQ

8590   2025-03-29     Omnilife

8591   2025-03-29     The Jet-Ski Doctor

8592   2025-03-29     SBX Proxy

8593   2025-03-29     JG Summit

8594   2025-03-29     lensun solar energy

8595   2025-03-29     Bonnie

8596   2025-03-29     Rational 360

8597   2025-03-29     Angler AI

8598   2025-03-29     Collections Etc

8599   2025-03-29     Starcom USA, Best Buy

8600   2025-03-29     ZipRecruiter

8601   2025-03-29     Kash Kick 2

8602   2025-03-29     Square

8603   2025-03-29     VaynerMedia APAC

8604   2025-03-29     Regions Bank

8605   2025-03-29     Car Price Secrets

8606   2025-03-29     Wantable

8607   2025-03-29     Seiza

8608   2025-03-29     Diggerland USA

8609   2025-03-29     Mic Drop Comedy

8610   2025-03-29     Harvest Hill Beverage Company
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2     Filed 04/12/25   Page 289 of 365




#      Date           Entity Name
8611   2025-03-29     MILLIONS

8612   2025-03-29     Liquid I.V.

8613   2025-03-29     PacSun

8614   2025-03-29     BM 07

8615   2025-03-29     MoneyGram

8616   2025-03-29     Away That Day

8617   2025-03-29     Siren Group

8618   2025-03-29     Leonard Brands

8619   2025-03-29     Bonneville International

8620   2025-03-29     Allergan Aesthetics

8621   2025-03-29     Ross University School of Veterinary Medicine

8622   2025-03-29     iHeartDogs

8623   2025-03-29     Learning A-Z

8624   2025-03-29     Clarins

8625   2025-03-29     BET

8626   2025-03-29     The Lyrical Lemonade Summer Smash Festival

8627   2025-03-29     Search Influence

8628   2025-03-29     Sam's Club

8629   2025-03-29     M1 m■u 1, N1 17/8 - P

8630   2025-03-29     Bang Productions Television

8631   2025-03-29     Musely

8632   2025-03-29     Dermaclara

8633   2025-03-29     Conn's HomePlus

8634   2025-03-29     GALE Media

8635   2025-03-29     Afrobeats Central

8636   2025-03-29     703digital

8637   2025-03-29     Universal Music Recordings

8638   2025-03-29     FRAME

8639   2025-03-29     Tanrevel

8640   2025-03-29     Annapurna Pictures
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25   Page 290 of 365




#      Date           Entity Name
8641   2025-03-29     Sif Jakobs Jewellery

8642   2025-03-29     Universal Music Colombia

8643   2025-03-29     IZEA Worldwide, Inc.

8644   2025-03-29     MAAPS / Overman Enterprises

8645   2025-03-29     Valley Vet Supply

8646   2025-03-29     Audacy Social Conquest

8647   2025-03-29     Mars United Commerce

8648   2025-03-29     Rescue: The Behavior Change Agency

8649   2025-03-29     M+R

8650   2025-03-29     onX Hunt

8651   2025-03-29     Morgan Fidelity Associates, Inc.

8652   2025-03-29     SmartPak

8653   2025-03-29     The Citizenry

8654   2025-03-29     Fandango at Home

8655   2025-03-29     Blueprint Interactive

8656   2025-03-29     2K

8657   2025-03-29     Performics Belgium

8658   2025-03-29     Alex Azra

8659   2025-03-29     Republic NOLA

8660   2025-03-29     Stuart Weitzman

8661   2025-03-29     Katherine Kwok FB Biz

8662   2025-03-29     Hyperice

8663   2025-03-29     Shopify New York

8664   2025-03-29     Happy Mammoth

8665   2025-03-29     Affordable Dentures & Implants

8666   2025-03-29     Bishop Robert Barron

8667   2025-03-29     Karsten Jahnke Konzerte

8668   2025-03-29     GEICO

8669   2025-03-29     Evolve Media

8670   2025-03-29     Cooking Vinyl
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 291 of 365




#      Date           Entity Name
8671   2025-03-29     Tropical Bros

8672   2025-03-29     Move With Us

8673   2025-03-29     GMI Maxus IDR WPP

8674   2025-03-29     Shareablee

8675   2025-03-29     Facetune by Lightricks

8676   2025-03-29     IProspect Fort Worth

8677   2025-03-29     YinoLink■■

8678   2025-03-29     Global Leadership Network

8679   2025-03-29     Latched Mama

8680   2025-03-29     Honcho.co

8681   2025-03-29     Cozy Earth

8682   2025-03-29     Best Buy

8683   2025-03-29     LADbible

8684   2025-03-29     Guardian Childcare & Education

8685   2025-03-29     Absolute Merch

8686   2025-03-29     w/Tributary

8687   2025-03-29     The Gatorade Company

8688   2025-03-29     Loma Vista Recordings

8689   2025-03-29     KraftMaid Cabinetry

8690   2025-03-29     NOTO Philadelphia

8691   2025-03-29     UM Australia

8692   2025-03-29     René Furterer

8693   2025-03-29     Bread Beauty Supply

8694   2025-03-29     NIV Bible

8695   2025-03-29     No_Comment

8696   2025-03-29     Marketing

8697   2025-03-29     Team BC

8698   2025-03-29     Live Bearded

8699   2025-03-29     Grundéns

8700   2025-03-29     Gap Inc
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2          Filed 04/12/25        Page 292 of 365




#      Date           Entity Name
8701   2025-03-29     CurlMix

8702   2025-03-29     F1 + F3 len moi

8703   2025-03-29     Blue State

8704   2025-03-29     Warby Parker

8705   2025-03-29     Discover

8706   2025-03-29     Slynd® (drospirenone)

8707   2025-03-29     Lumen Technologies

8708   2025-03-29     Pandora

8709   2025-03-29     Comedy Central

8710   2025-03-29     Kurt Geiger

8711   2025-03-29     BHLDN Weddings

8712   2025-03-29     The Foxy Hipster

8713   2025-03-29     Unique Vacations Limited

8714   2025-03-29     CLOUT Festival

8715   2025-03-29     Moon Active

8716   2025-03-29     Reaction Presents

8717   2025-03-29     Front Gate Tickets

8718   2025-03-29     Phathom Pharmaceuticals

8719   2025-03-29     Capacity Interactive - Digital Marketing Consulting for the Arts

8720   2025-03-29     Diverse Media New Zealand

8721   2025-03-29     Snapchat for Business

8722   2025-03-29     L'Oréal Social CDO - Cockpit & Advertising

8723   2025-03-29     Shaq’s Fun House

8724   2025-03-29     Dojo

8725   2025-03-29     Functional Care

8726   2025-03-29     Motorola

8727   2025-03-29     Dot Matters

8728   2025-03-29     Hunter Del Caribe

8729   2025-03-29     Poppi

8730   2025-03-29     Found
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2             Filed 04/12/25   Page 293 of 365




#      Date           Entity Name
8731   2025-03-29     Test page

8732   2025-03-29     Decoded Advertising

8733   2025-03-29     First Interstate Center for the Arts

8734   2025-03-29     Bumble

8735   2025-03-29     The Children's Place

8736   2025-03-29     The Influence Agency

8737   2025-03-29     Coca-Cola Philippines

8738   2025-03-29     CAVA

8739   2025-03-29     Talent Groupe CH

8740   2025-03-29     UNDER THE INFLUENCE

8741   2025-03-29     Cardon

8742   2025-03-29     FleishmanHillard

8743   2025-03-29     AbelsonTaylor Group

8744   2025-03-29     Multitud Digital

8745   2025-03-29     Adwerx

8746   2025-03-29     Intuit TurboTax

8747   2025-03-29     SmartHeart

8748   2025-03-29     United Influencers

8749   2025-03-29     Aza

8750   2025-03-29     eFavormart

8751   2025-03-29     BetterHelp

8752   2025-03-29     OneMain Business

8753   2025-03-29     JSHealth

8754   2025-03-29     Tommy Hilfiger ME

8755   2025-03-29     Media Six

8756   2025-03-29     swayhairextensions

8757   2025-03-29     Morris Bart, LLC

8758   2025-03-29     Purdue Global

8759   2025-03-29     Test Global

8760   2025-03-29     Overtime
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 294 of 365




#      Date           Entity Name
8761   2025-03-29     Matthew 6:26 LLC

8762   2025-03-29     JCK Enterprises, LLC

8763   2025-03-29     Blogger: Isaac Saenz

8764   2025-03-29     Linear 360

8765   2025-03-29     Listerine

8766   2025-03-29     MDX_3

8767   2025-03-29     Primark

8768   2025-03-29     Ayla & Co

8769   2025-03-29     Emporium Presents

8770   2025-03-29     Wolven

8771   2025-03-29     L'Oréal Uruguay

8772   2025-03-29     DASH TWO

8773   2025-03-29     Media Plus+

8774   2025-03-29     Instacart

8775   2025-03-29     SupplyX

8776   2025-03-29     Kikoff

8777   2025-03-29     Joom

8778   2025-03-29     Swanson Health

8779   2025-03-29     CONVERSE

8780   2025-03-29     BJ's Wholesale Club

8781   2025-03-29     Lashify

8782   2025-03-29     Manebí

8783   2025-03-29     Frank And Oak

8784   2025-03-29     Good American

8785   2025-03-29     JOANN Fabric and Craft Stores

8786   2025-03-29     Croud Ads

8787   2025-03-29     Bombora

8788   2025-03-29     Brand Networks

8789   2025-03-29     Max Connect Digital

8790   2025-03-29     Mediaplus Hamburg GmbH & Co. KG
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 295 of 365




#      Date           Entity Name
8791   2025-03-29     Novartis Clinical Trials

8792   2025-03-29     Quantum Physics

8793   2025-03-29     Klick - Edge

8794   2025-03-29     HQ CDM

8795   2025-03-29     Interactive Avenues

8796   2025-03-29     Billings Gazette

8797   2025-03-29     GCommerce

8798   2025-03-29     Pltnum

8799   2025-03-29     Sanity Skin

8800   2025-03-29     Nordstrom

8801   2025-03-29     P2 Public Affairs

8802   2025-03-29     wellrestedweeones

8803   2025-03-29     Dansko, LLC

8804   2025-03-29     JibJab Catapult

8805   2025-03-29     cacaFly

8806   2025-03-29     PetSmart Charities

8807   2025-03-29     Performics Test Page

8808   2025-03-29     Musical Earth

8809   2025-03-29     Bangerhead

8810   2025-03-29     Shambala

8811   2025-03-29     Gorgie

8812   2025-03-29     Bobo's Oat Bars

8813   2025-03-29     Harbor Freight

8814   2025-03-29     Molson Coors

8815   2025-03-29     Fiverr

8816   2025-03-29     Savannah Bee Company

8817   2025-03-29     EVERSANA INTOUCH

8818   2025-03-29     WebMD

8819   2025-03-29     Trials World

8820   2025-03-29     Blue Shield of California
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 296 of 365




#      Date           Entity Name
8821   2025-03-29     Walgreens

8822   2025-03-29     The Glover Park Group

8823   2025-03-29     Eulerity

8824   2025-03-29     TopTier Trader

8825   2025-03-29     Melkweg Amsterdam

8826   2025-03-29     Monster

8827   2025-03-29     Big Slap

8828   2025-03-29     EMI Records

8829   2025-03-29     Outback Presents

8830   2025-03-29     Lounge Underwear

8831   2025-03-29     Live Nation UK

8832   2025-03-29     The KISS Marketing Agency

8833   2025-03-29     Warner Music Spain

8834   2025-03-29     Guinness

8835   2025-03-29     Edelman Digital NYC

8836   2025-03-29     Zenithoptimedia Taiwan

8837   2025-03-29     Uber

8838   2025-03-29     Glossier

8839   2025-03-29     Hairfinity

8840   2025-03-29     The Assembly Music

8841   2025-03-29     Entravisión Panamá

8842   2025-03-29     Geologie

8843   2025-03-29     Action Network

8844   2025-03-29     ■■■■■■■■■■_2

8845   2025-03-29     Universal Music Canada

8846   2025-03-29     Grupo Axo

8847   2025-03-29     Disney Streaming

8848   2025-03-29     Triple G Events

8849   2025-03-29     Great American Pure Flix

8850   2025-03-29     zeotap
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 297 of 365




#      Date           Entity Name
8851   2025-03-29     Rezonate Media

8852   2025-03-29     J3

8853   2025-03-29     St. Jude Children's Research Hospital

8854   2025-03-29     DSW Designer Shoe Warehouse

8855   2025-03-29     Eddie Bauer

8856   2025-03-29     Postmates

8857   2025-03-29     We Play

8858   2025-03-29     Unilever Philippines

8859   2025-03-29     Open Influence

8860   2025-03-29     Rent. Solutions

8861   2025-03-29     Spark Foundry

8862   2025-03-29     Target

8863   2025-03-29     MODCo T2

8864   2025-03-29     OMD USA

8865   2025-03-29     Walmart.com

8866   2025-03-29     Gordon McKernan Injury Attorneys

8867   2025-03-29     Maelys Cosmetics

8868   2025-03-29     Garnier Colombia

8869   2025-03-29     WMX

8870   2025-03-29     Opus Live

8871   2025-03-29     HMI Social

8872   2025-03-29     Reality Labs

8873   2025-03-29     ThisThat

8874   2025-03-29     Garage

8875   2025-03-29     Vunzige Deuntjes

8876   2025-03-29     Universal Music Deutschland

8877   2025-03-29     The League

8878   2025-03-29     kate spade new york

8879   2025-03-29     Forward Media Italy

8880   2025-03-29     Warner Music Singapore
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 298 of 365




#      Date           Entity Name
8881   2025-03-29     Funded Commerce Ads

8882   2025-03-29     La Roche-Posay

8883   2025-03-29     Entertainment on Facebook

8884   2025-03-29     Last Tour

8885   2025-03-29     Boncom

8886   2025-03-29     Epsilon Audience Data Provider

8887   2025-03-29     Satullo

8888   2025-03-29     D'Alessandro e Galli

8889   2025-03-29     Black Promoters Collective

8890   2025-03-29     Whalar

8891   2025-03-29     TivoliVredenburg

8892   2025-03-29     MEC

8893   2025-03-29     Infectious Music

8894   2025-03-29     Live Tour Promotions

8895   2025-03-29     Launchpad Ignite

8896   2025-03-29     E11EVEN MIAMI

8897   2025-03-29     Live Nation Canada

8898   2025-03-29     Universal Music Austria

8899   2025-03-29     Horizn Studios

8900   2025-03-29     Uniagency

8901   2025-03-29     Greens Club

8902   2025-03-29     Zondervan Books

8903   2025-03-29     Greenhouse Talent NL

8904   2025-03-29     Warner Music Sweden

8905   2025-03-29     Havas Media

8906   2025-03-29     Vuori

8907   2025-03-29     Another Planet Entertainment

8908   2025-03-29     Ranker.com

8909   2025-03-29     Edelman DC

8910   2025-03-29     Hagerty
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 299 of 365




#      Date           Entity Name
8911   2025-03-29     Give Back Beauty

8912   2025-03-29     IProspect NY

8913   2025-03-29     GroupM Media India

8914   2025-03-29     Test Page

8915   2025-03-29     Wiland Data Tactics

8916   2025-03-29     Dr Pepper Snapple Group

8917   2025-03-29     T-Mobile

8918   2025-03-29     Convergence Media

8919   2025-03-29     Foot Locker

8920   2025-03-29     TruDiagnostic

8921   2025-03-29     Magnolia Pictures

8922   2025-03-29     Wiland Data Targeting

8923   2025-03-29     Oracle Data Cloud CA

8924   2025-03-29     Possible

8925   2025-03-29     Tempo OMD Social Adv

8926   2025-03-29     Ranker 2

8927   2025-03-29     CubeSmart Self Storage

8928   2025-03-29     WMcCann RJ

8929   2025-03-29     Code3

8930   2025-03-29     WhatsApp

8931   2025-03-29     Sony Music Switzerland

8932   2025-03-29     Wavemaker Hong Kong

8933   2025-03-29     fuckinggoodmovies ®

8934   2025-03-29     Lerma Agency

8935   2025-03-29     Nutrafol

8936   2025-03-29     iHeartCountry

8937   2025-03-29     Aleph - Panama

8938   2025-03-29     Admixer

8939   2025-03-29     Sure Sure

8940   2025-03-29     XaxisKorea
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 300 of 365




#      Date           Entity Name
8941   2025-03-29     Adult Swim

8942   2025-03-29     Lincoln Hall + Schubas

8943   2025-03-29     Skingasm

8944   2025-03-29     Noisy Trumpet

8945   2025-03-29     Wavemaker Malaysia

8946   2025-03-29     Carmichael Lynch

8947   2025-03-29     Anti Agency Group

8948   2025-03-29     COS

8949   2025-03-29     Step

8950   2025-03-29     Superfly

8951   2025-03-29     Sony Music Colombia

8952   2025-03-29     AEG Presents - Media

8953   2025-03-29     Mazda USA

8954   2025-03-29     Warner Music Germany

8955   2025-03-29     Vogue France

8956   2025-03-29     Bell Media

8957   2025-03-29     Alfred A. Knopf

8958   2025-03-29     Univision

8959   2025-03-29     ■■■■■■■■■■■■■■

8960   2025-03-29     310 Nutrition

8961   2025-03-29     Life.Church

8962   2025-03-29     ThredUp

8963   2025-03-29     Match

8964   2025-03-29     L'atelier TW

8965   2025-03-29     T&M Holding

8966   2025-03-29     Eyeota

8967   2025-03-29     Spring Creek Group

8968   2025-03-29     FB Only SMB Channel Test Page

8969   2025-03-29     UM Canada

8970   2025-03-29     NovartisOne²
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 301 of 365




#      Date           Entity Name
8971   2025-03-29     AU 77

8972   2025-03-29     Universal Music Group: Global Digital Marketing

8973   2025-03-29     Aleph Ecuador

8974   2025-03-29     Reward Agency - 08

8975   2025-03-29     BluFish

8976   2025-03-29     Tell Your People

8977   2025-03-29     P&G Professional España

8978   2025-03-29     Simon Malls

8979   2025-03-29     Universal Music Norge

8980   2025-03-29     Live Nation Alabama & Mississippi

8981   2025-03-29     Meta for Business

8982   2025-03-29     Rareform

8983   2025-03-29     Zenith Chile

8984   2025-03-29     SkinnyDipped

8985   2025-03-29     Kiehl's

8986   2025-03-29     GroupM Danmark

8987   2025-03-29     MetLife

8988   2025-03-29     Neustar FB Syndication

8989   2025-03-29     The Home Depot

8990   2025-03-29     Tombras

8991   2025-03-29     Sleepgram

8992   2025-03-29     PETERMAYER

8993   2025-03-29     UMe Music Team

8994   2025-03-29     Indipendente Concerti

8995   2025-03-29     Destroy All Lines

8996   2025-03-29     Quarterlab

8997   2025-03-29     Elementary Innovation Pte. Ltd.

8998   2025-03-29     Calvin Klein GCC

8999   2025-03-29     Church of the King

9000   2025-03-29     Zenith France
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 302 of 365




#      Date           Entity Name
9001   2025-03-29     LES VISIONNAIRES

9002   2025-03-29     American Sporstwear, S.A.

9003   2025-03-29     Anthropologie

9004   2025-03-29     Red Digital

9005   2025-03-29     factory 54

9006   2025-03-29     i.am.gia

9007   2025-03-29     Gina Tricot

9008   2025-03-29     BEN: Product Brand Intelligence

9009   2025-03-29     Premiere Speakers Bureau

9010   2025-03-29     Sony Music France

9011   2025-03-29     noatishby

9012   2025-03-29     Universal Music Italia

9013   2025-03-29     RainCloud Media

9014   2025-03-29     Plein Air

9015   2025-03-29     Wmg gps adx

9016   2025-03-29     Universal Music Polska

9017   2025-03-29     AEG Presents France

9018   2025-03-29     Brand survey

9019   2025-03-29     Kevin Gottlieb

9020   2025-03-29     MCoBeauty US

9021   2025-03-29     4th Quarter Collective, LLC

9022   2025-03-29     Echo Promotion

9023   2025-03-29     Fused - Universal Music

9024   2025-03-29     Experian Marketing Services - Audiences

9025   2025-03-29     Eggland's Best Eggs

9026   2025-03-29     Solved

9027   2025-03-29     Jack Archer

9028   2025-03-29     Michael Kors

9029   2025-03-29     Instagram Ad Ops

9030   2025-03-29     AdParlor
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 303 of 365




#      Date           Entity Name
9031   2025-03-29     Wiland Audiences

9032   2025-03-29     Huggies

9033   2025-03-29     Nielsen Marketing Cloud

9034   2025-03-29     LiveRamp

9035   2025-03-29     Acxiom

9036   2025-03-29     The Ridge

9037   2025-03-29     JBL

9038   2025-03-29     L'Oréal Paris

9039   2025-03-29     Live Nation Italia

9040   2025-03-29     Calvin Klein

9041   2025-03-29     Louis Vuitton

9042   2025-03-29     Live Nation Concerts

9043   2025-03-29     KSR Group

9044   2025-03-29     BuzzFeed Branded Distribution

9045   2025-03-29     fource.cz

9046   2025-03-29     Universal Music Brasil

9047   2025-03-29     Cuffe & Taylor

9048   2025-03-29     MOJO

9049   2025-03-29     Data unavailable

9050   2025-03-29     Playboy

9051   2025-03-29     Condé Nast

9052   2025-03-29     Resolution Media

9053   2025-03-29     Filtr

9054   2025-03-29     Topsify

9055   2025-03-29     GroupM

9056   2025-03-29     Gadget Entertainment

9057   2025-03-29     Assembly

9058   2025-03-29     Maison de Sabré

9059   2025-03-29     L.A. Concerts

9060   2025-03-29     Macy's
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 304 of 365




#      Date           Entity Name
9061   2025-03-29     wavo.me

9062   2025-03-29     Dr. Squatch

9063   2025-03-29     L'Oréal Professionnel

9064   2025-03-29     Zenith - PGD

9065   2025-03-29     MEC Australia

9066   2025-03-29     Aleph El Salvador

9067   2025-03-29     Dentsu X UK

9068   2025-03-29     JustFab

9069   2025-03-29     Rosental Organics

9070   2025-03-29     Katalyst Advantage

9071   2025-03-29     Wizard Live

9072   2025-03-29     American Eagle

9073   2025-03-29     Heather McMahan

9074   2025-03-29     MediaSales

9075   2025-03-29     9:30 Club

9076   2025-03-29     Warner Music Denmark

9077   2025-03-29     Digitas North America

9078   2025-03-29     ViiV Healthcare

9079   2025-03-29     Edikted

9080   2025-03-29     Amazon.com

9081   2025-03-29     Jessica Goicoechea - Goi

9082   2025-03-29     Sold Out Advertising

9083   2025-03-29     Starcom USA

9084   2025-03-29     NOTO Houston

9085   2025-03-29     UMusic Australia

9086   2025-03-29     Universal Music México

9087   2025-03-29     Canvas Worldwide

9088   2025-03-29     AEG Presents Asia

9089   2025-03-29     Hourglass Cosmetics

9090   2025-03-29     Island Records UK
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 305 of 365




#      Date           Entity Name
9091   2025-03-29     Hulu

9092   2025-03-29     Mindshare USA

9093   2025-03-29     Home Chef

9094   2025-03-29     grownbrilliance

9095   2025-03-29     Knitting Factory Entertainment

9096   2025-03-29     Harper's Bazaar

9097   2025-03-29     MC2 LIVE

9098   2025-03-29     Caddis Sports

9099   2025-03-29     Universal Music France

9100   2025-03-29     Makeup.com by L'Oreal

9101   2025-03-29     Zenith Slovakia

9102   2025-03-29     DefJam

9103   2025-03-29     LIVE NATION ES

9104   2025-03-29     Nexters

9105   2025-03-29     Warner Music France

9106   2025-03-29     Limelight Belfast

9107   2025-03-29     ThinkSwell

9108   2025-03-29     the7stars

9109   2025-03-29     VET Tv- Veteran Television

9110   2025-03-29     FM4 Indiekiste mit

9111   2025-03-29     HolStrength

9112   2025-03-29     Dallas Cowboys

9113   2025-03-29     Tommy Hilfiger

9114   2025-03-29     Dentsu Greece

9115   2025-03-29     North Coast Music Festival

9116   2025-03-29     Ark Swimwear

9117   2025-03-29     Scentiment

9118   2025-03-29     moveconcertsarg

9119   2025-03-29     Bravado

9120   2025-03-29     L'Oréal Chile
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2         Filed 04/12/25   Page 306 of 365




#      Date           Entity Name
9121   2025-03-29     Beauty Factory

9122   2025-03-29     PM PUIG

9123   2025-03-29     Accenture Adaptly Media Clients

9124   2025-03-29     Meta

9125   2025-03-29     Universal Music Danmark

9126   2025-03-29     therankedmusic

9127   2025-03-29     Gupta Media

9128   2025-03-29     FB Growth Marketing

9129   2025-03-29     Doctor Music Concerts

9130   2025-03-29     Entravision Latam - Honduras

9131   2025-03-29     Digital House

9132   2025-03-29     OCESA Personal

9133   2025-03-29     StackSocial

9134   2025-03-29     Finish Line

9135   2025-03-29     Aleph Uruguay

9136   2025-03-29     ASW Group

9137   2025-03-29     First Avenue & 7th St Entry

9138   2025-03-29     Ulta Beauty

9139   2025-03-29     Dow

9140   2025-03-29     Veltrac Music

9141   2025-03-29     FLOAT FEST

9142   2025-03-29     Mayo Clinic

9143   2025-03-29     Carat USA

9144   2025-03-29     Live Nation Germany - Austria - Switzerland

9145   2025-03-29     AEG Presents

9146   2025-03-29     Maybelline New York

9147   2025-03-29     OnlyFans

9148   2025-03-29     Resolve

9149   2025-03-29     Live Nation France

9150   2025-03-29     Global Health on Facebook
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 307 of 365




#      Date           Entity Name
9151   2025-03-29     BOSS

9152   2025-03-29     Labelium Australia and New Zealand

9153   2025-03-29     Groupe EPI

9154   2025-03-29     Universal Music Malaysia

9155   2025-03-29     Capital One

9156   2025-03-29     Zenith USA

9157   2025-03-29     Common Entertainment

9158   2025-03-29     Gisou

9159   2025-03-29     Omnicom Media Group

9160   2025-03-29     Verizon

9161   2025-03-29     Essence

9162   2025-03-29     Ray-Ban

9163   2025-03-29     RODEOHOUSTON

9164   2025-03-29     Test

9165   2025-03-29     L'Oréal Group

9166   2025-03-29     Allstate

9167   2025-03-29     Merkle Data Partner

9168   2025-03-29     Purple Media

9169   2025-03-29     PBS

9170   2025-03-29     EMEA

9171   2025-03-29     Immerse Agency, LLC

9172   2025-03-29     Seychelle Media

9173   2025-03-29     Wyze

9174   2025-03-29     BoostMobile - New/Post-Harmony

9175   2025-03-29     Rogue Fitness

9176   2025-03-29     Truth and Love Coaching International

9177   2025-03-29     Kavala Collective

9178   2025-03-29     DraftKings

9179   2025-03-29     Eli Lilly and Company

9180   2025-03-29     Reprise ES
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 308 of 365




#      Date           Entity Name
9181   2025-03-29     SoFi

9182   2025-03-29     Vizeum - US

9183   2025-03-29     DISH

9184   2025-03-29     bubly

9185   2025-03-29     4C

9186   2025-03-29     Xfinity

9187   2025-03-29     Barstool Sports

9188   2025-03-29     JXM

9189   2025-03-29     Flip.shop

9190   2025-03-29     Crossmedia

9191   2025-03-29     Room & Board

9192   2025-03-29     OfferUp

9193   2025-03-29     BerlinRosen

9194   2025-03-29     DSplus

9195   2025-03-29     Foursquare City Guide

9196   2025-03-29     Moroch

9197   2025-03-29     Giant Partners

9198   2025-03-29     Gymexo

9199   2025-03-29     WS NA

9200   2025-03-29     Boston Scientific

9201   2025-03-29     PushSpring

9202   2025-03-29     Unit 3C

9203   2025-03-29     WideFoc.us

9204   2025-03-29     Current

9205   2025-03-29     TIBBS & BONES

9206   2025-03-29     Adobe

9207   2025-03-29     PHD France

9208   2025-03-29     MissionWired

9209   2025-03-29     Fb-Ig-Stage

9210   2025-03-29     Ethos Life
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 309 of 365




#      Date           Entity Name
9211   2025-03-29     P&G Social Global

9212   2025-03-29     DEPT UK

9213   2025-03-29     Smile Direct Club

9214   2025-03-29     Happy Family Organics

9215   2025-03-29     I'd Rather Be With My Dog

9216   2025-03-29     Wish

9217   2025-03-29     PetSmart

9218   2025-03-29     CoxNext

9219   2025-03-29     BrandMuscle - etatslla

9220   2025-03-29     BM5 chay sach 3

9221   2025-03-29     Sling TV

9222   2025-03-29     Cash App

9223   2025-03-29     Publicis Health Media

9224   2025-03-29     Kawasaki USA

9225   2025-03-29     Cortica

9226   2025-03-29     HealixGlobal

9227   2025-03-29     Marathon Strategies

9228   2025-03-29     TDC Audiences

9229   2025-03-29     Elevation, Ltd.

9230   2025-03-29     hims

9231   2025-03-29     UM Detroit

9232   2025-03-29     UM NY

9233   2025-03-29     Allied Global Marketing

9234   2025-03-29     Sony Music Australia

9235   2025-03-29     Anotherland Music

9236   2025-03-29     Alya Skin Australia

9237   2025-03-29     DIFF

9238   2025-03-29     Wonderfront Festival

9239   2025-03-29     Grwn

9240   2025-03-29     CVS Pharmacy
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25   Page 310 of 365




#      Date           Entity Name
9241   2025-03-29     Bolster

9242   2025-03-29     BobbyParrish

9243   2025-03-29     Crumbl Cookies

9244   2025-03-29     Puzzmo

9245   2025-03-29     Bespoke Post

9246   2025-03-29     Starcom Sweden AB

9247   2025-03-29     Revive

9248   2025-03-29     American Kidney Fund

9249   2025-03-29     Health Union LLC

9250   2025-03-29     Factoría Publica

9251   2025-03-29     FanDuel

9252   2025-03-29     Lands' End

9253   2025-03-29     Cleveland Clinic

9254   2025-03-29     Cracker Barrel Old Country Store

9255   2025-03-29     MEC - Los Angeles

9256   2025-03-29     EMT

9257   2025-03-29     Ford Motor Company

9258   2025-03-29     The Strategy Group Company

9259   2025-03-29     Spotify LATAM BM

9260   2025-03-29     United Gold Group

9261   2025-03-29     Good Apple

9262   2025-03-29     Pourri

9263   2025-03-29     The New York Times

9264   2025-03-29     Aegis Media Innov8

9265   2025-03-29     Breathe For Change

9266   2025-03-29     Infusion Marketing Group

9267   2025-03-29     Illinois Lottery

9268   2025-03-29     GoldSilver

9269   2025-03-29     Ad Insights

9270   2025-03-29     Shareably
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 311 of 365




#      Date           Entity Name
9271   2025-03-29     JM14

9272   2025-03-29     Klick - Epic

9273   2025-03-29     Vivara

9274   2025-03-29     Secret Sounds

9275   2025-03-29     Empower

9276   2025-03-29     Insomniac Events

9277   2025-03-29     T4 Social Media LLC

9278   2025-03-29     Instagram

9279   2025-03-29     umusic NZ

9280   2025-03-29     Angus Media

9281   2025-03-29     Unilever Canada

9282   2025-03-29     Big Think Agency

9283   2025-03-29     Angela ■

9284   2025-03-29     APRILSKIN ■■■■■■

9285   2025-03-29     Island Records

9286   2025-03-29     Troubadour Presents

9287   2025-03-29     Tincre

9288   2025-03-29     nuuly

9289   2025-03-29     HotSnap

9290   2025-03-29     Digital Tading Desk

9291   2025-03-29     SONYA DAKAR

9292   2025-03-29     The Relationship School

9293   2025-03-29     1-800 Contacts

9294   2025-03-29     Universal Music South Africa

9295   2025-03-29     Radius Chicago

9296   2025-03-29     CharityStars

9297   2025-03-29     Big Concerts

9298   2025-03-29     Yamaha Music USA

9299   2025-03-29     Climb

9300   2025-03-29     Jockey
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 312 of 365




#      Date           Entity Name
9301   2025-03-29     Universal Music Spain

9302   2025-03-29     Interscope Records

9303   2025-03-29     Cronin

9304   2025-03-29     CountryWired INC.

9305   2025-03-29     LocaliQ

9306   2025-03-29     Live Nation Denmark

9307   2025-03-29     Ring

9308   2025-03-29     VarleyClothing

9309   2025-03-29     OmnicomMediaGroup Nederland

9310   2025-03-29     SocialAmp

9311   2025-03-29     Warner Music Poland

9312   2025-03-29     Beth Stelling

9313   2025-03-29     Marc Jacobs

9314   2025-03-29     Facebook

9315   2025-03-29     Happify by Twill

9316   2025-03-29     Zillow

9317   2025-03-29     Albertsons

9318   2025-03-29     Avoq

9319   2025-03-29     Microsoft Customer Insights Center

9320   2025-03-29     Slime Obsidian

9321   2025-03-29     Wix

9322   2025-03-29     AptDeco

9323   2025-03-29     Papa Johns Pizza

9324   2025-03-29     Flat Tummy Co

9325   2025-03-29     Faraday.io

9326   2025-03-29     Ribbow Media Group

9327   2025-03-29     Cure Media

9328   2025-03-29     Spark Foundry Canada

9329   2025-03-29     CSB

9330   2025-03-29     Publicis_Media_Luxe
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 313 of 365




#      Date           Entity Name
9331   2025-03-29     Crunchyroll

9332   2025-03-29     Invest529

9333   2025-03-29     Brooks Running

9334   2025-03-29     KBMG Data Services Development

9335   2025-03-29     Sony Rewards

9336   2025-03-29     Sundays

9337   2025-03-29     Vodafone Group

9338   2025-03-29     ZenithOptimedia Portugal

9339   2025-03-29     Corida

9340   2025-03-29     Forma Pilates

9341   2025-03-29     Kulturbolaget

9342   2025-03-29     OMD Entertainment

9343   2025-03-29     Alter Art

9344   2025-03-29     Park Advertising

9345   2025-03-29     TRUFFLE

9346   2025-03-29     Summerfest

9347   2025-03-29     ICRUSH

9348   2025-03-29     ZenithOptimedia Thailand

9349   2025-03-29     amelieteje

9350   2025-03-29     Universal Music Legends

9351   2025-03-29     Resorts World Las Vegas

9352   2025-03-29     Gooseberry Intimates

9353   2025-03-29     Bonefish Grill

9354   2025-03-29     Socialflow

9355   2025-03-29     Suit Up Brands LLC

9356   2025-03-29     Gopuff

9357   2025-03-29     E! News

9358   2025-03-29     Live Nation Sweden

9359   2025-03-29     Universal Music Romania

9360   2025-03-29     The Goat Agency
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 314 of 365




#      Date           Entity Name
9361   2025-03-29     Backstreetmerch.com

9362   2025-03-29     SharkNinja

9363   2025-03-29     True Anthem

9364   2025-03-29     Hanna Andersson

9365   2025-03-29     Mastercard

9366   2025-03-29     Funny or Not

9367   2025-03-29     Noise New Media

9368   2025-03-29     Polydor

9369   2025-03-29     HUM Nutrition

9370   2025-03-29     Warner Music Ireland

9371   2025-03-29     Born Again Concerts

9372   2025-03-29     Victoria Warehouse

9373   2025-03-29     aim'n

9374   2025-03-29     NEUW Denim

9375   2025-03-29     Wavemaker-NZ Loreal

9376   2025-03-29     Scruff of the Neck

9377   2025-03-29     Camille Brinch Jewellery

9378   2025-03-29     Alex Feather Akimov's Business

9379   2025-03-29     Pinterest Inc

9380   2025-03-29     UM APAC

9381   2025-03-29     Team One USA

9382   2025-03-29     Sony Electronics

9383   2025-03-29     AirSculpt

9384   2025-03-29     Initiative

9385   2025-03-29     Aero Opco LLC

9386   2025-03-29     DoorDash

9387   2025-03-29     Drive with Lyft

9388   2025-03-29     Datonics

9389   2025-03-29     Unicorn Innovations

9390   2025-03-29     Sage Dental
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 315 of 365




#      Date           Entity Name
9391   2025-03-29     Dr. Livingood

9392   2025-03-29     Hyperglow

9393   2025-03-29     MethodGroupe

9394   2025-03-29     Solka

9395   2025-03-29     Walt Disney World

9396   2025-03-29     Rebecca Zung

9397   2025-03-29     22squared

9398   2025-03-29     Butler/Till

9399   2025-03-29     Disney

9400   2025-03-29     Lowe's Home Improvement

9401   2025-03-29     MyMuse

9402   2025-03-29     TargetSmart

9403   2025-03-29     Amobee DMP

9404   2025-03-29     Cleo

9405   2025-03-29     Kinesso Poland

9406   2025-03-29     Precision

9407   2025-03-29     KeepGoing First Aid

9408   2025-03-29     Handle the Heat

9409   2025-03-29     Drive Toyota

9410   2025-03-29     Hearts & Science

9411   2025-03-29     Coffee Dose

9412   2025-03-29     Kay Jewelers

9413   2025-03-29     Conill Advertising

9414   2025-03-29     Spark Foundry USA

9415   2025-03-29     Inspire Brands

9416   2025-03-29     Aerial Video A to Z

9417   2025-03-29     Just Us Skin Care

9418   2025-03-29     Matterkind US

9419   2025-03-29     Coach

9420   2025-03-29     X-VIN
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2    Filed 04/12/25   Page 316 of 365




#      Date           Entity Name
9421   2025-03-29     Andi Bagus

9422   2025-03-29     ■■■■ ■■■

9423   2025-03-29     Dollar General

9424   2025-03-29     Real Chemistry

9425   2025-03-29     MPP Business test account

9426   2025-03-29     Greta Boutique

9427   2025-03-29     Neural Leap Ventures

9428   2025-03-29     Healthfirst

9429   2025-03-29     Chewy

9430   2025-03-29     Alo Moves

9431   2025-03-29     Rite Aid

9432   2025-03-29     Oceansapart Global

9433   2025-03-29     Juicy Couture

9434   2025-03-29     FB App

9435   2025-03-29     ASUS

9436   2025-03-29     Democrats

9437   2025-03-29     Centricity Music

9438   2025-03-29     ondonewyork

9439   2025-03-29     Capitol Music Group

9440   2025-03-29     L'ange

9441   2025-03-29     Linktree

9442   2025-03-29     myQ

9443   2025-03-29     CMI Media Group and Compas

9444   2025-03-29     Delivery Hero

9445   2025-03-29     Hilton Newsroom

9446   2025-03-29     Resolution Agency

9447   2025-03-29     ROR Partners

9448   2025-03-29     Otsuka America Pharmaceutical, Inc.

9449   2025-03-29     EA - Electronic Arts

9450   2025-03-29     Kardiel
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25    Page 317 of 365




#      Date           Entity Name
9451   2025-03-29     Fingerpaint

9452   2025-03-29     Kohl's

9453   2025-03-29     Intuit QuickBooks

9454   2025-03-29     VS-Ronaldo Silva 1 - bm 5

9455   2025-03-29     Betfair Interactive US LLC

9456   2025-03-29     PMG

9457   2025-03-29     iProspect Detroit

9458   2025-03-29     Kroger

9459   2025-03-29     Amplifon Group

9460   2025-03-29     Jordan Peterson

9461   2025-03-29     Free People

9462   2025-03-29     Hong Kong Zoom Interactive Network Marketing Technology Limited

9463   2025-03-29     SKIMS

9464   2025-03-29     Understatement Underwear

9465   2025-03-29     Sony Music Italy

9466   2025-03-29     Horizon Blue Cross Blue Shield of New Jersey

9467   2025-03-29     Intermate Media GmbH

9468   2025-03-29     T4F

9469   2025-03-29     The Rave / Eagles Club

9470   2025-03-29     Afro Nation

9471   2025-03-29     SiriusXM

9472   2025-03-29     Martell

9473   2025-03-29     Sony Music UK

9474   2025-03-29     Universal Music Thailand

9475   2025-03-29     Sony Music Spain

9476   2025-03-29     LOOPS

9477   2025-03-29     Frontier Touring

9478   2025-03-29     The Bellwether

9479   2025-03-29     Live Nation Belgium

9480   2025-03-29     Compulse
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 318 of 365




#      Date           Entity Name
9481   2025-03-29     Lauren Daigle

9482   2025-03-29     GETmusic

9483   2025-03-29     Express

9484   2025-03-29     Sony Music Netherlands

9485   2025-03-29     JCG LLC

9486   2025-03-29     BlueChew

9487   2025-03-29     VaynerMedia

9488   2025-03-29     Peloton

9489   2025-03-29     MullenLowe U.S.

9490   2025-03-29     Papinelle Sleepwear

9491   2025-03-29     Havas Media Group USA LLC

9492   2025-03-29     Miami Dolphins

9493   2025-03-29     CMS Music Media Ltd

9494   2025-03-29     BroBible

9495   2025-03-29     Avon

9496   2025-03-29     Victoria Justice

9497   2025-03-29     Miller's Ale House

9498   2025-03-29     Sony Music Austria

9499   2025-03-29     Integral Strength

9500   2025-03-29     The Orchard

9501   2025-03-29     CCI ■■■■cartacommunications

9502   2025-03-29     AutoCanada

9503   2025-03-29     FamilySearch

9504   2025-03-28     JG Summit

9505   2025-03-28     Skingasm

9506   2025-03-28     Deezer

9507   2025-03-28     Alex Feather Akimov's Business

9508   2025-03-28     starrising777

9509   2025-03-28     Decca Records

9510   2025-03-28     Kilt 'Em
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 319 of 365




#      Date           Entity Name
9511   2025-03-28     Tulster

9512   2025-03-28     TFM Media

9513   2025-03-28     LIVE NATION ES

9514   2025-03-28     Live Nation Belgium

9515   2025-03-28     Tempo OMD Social Adv

9516   2025-03-28     Trafalgar Releasing

9517   2025-03-28     Ketone-IQ

9518   2025-03-28     AEG Presents Asia

9519   2025-03-28     HUM Nutrition

9520   2025-03-28     L.A. Concerts

9521   2025-03-28     DefJam

9522   2025-03-28     Diverse Media New Zealand

9523   2025-03-28     APRILSKIN ■■■■■■

9524   2025-03-28     Accenture Adaptly Media Clients

9525   2025-03-28     Twillory

9526   2025-03-28     L'Oréal Uruguay

9527   2025-03-28     Brilliant Earth

9528   2025-03-28     factory 54

9529   2025-03-28     nuuly

9530   2025-03-28     Noisy Trumpet

9531   2025-03-28     Sakara Life

9532   2025-03-28     Shopify New York

9533   2025-03-28     FitnFemale

9534   2025-03-28     Republic Records

9535   2025-03-28     ■■■■■■■■■■■■■■■■■

9536   2025-03-28     Keeps

9537   2025-03-28     Matterkind US

9538   2025-03-28     The Goat Agency

9539   2025-03-28     Amplify.ai

9540   2025-03-28     Omnicom Media Group
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2          Filed 04/12/25   Page 320 of 365




#      Date           Entity Name
9541   2025-03-28     Horizon Horseback

9542   2025-03-28     Neko Test Page

9543   2025-03-28     CSB

9544   2025-03-28     Oceansapart Global

9545   2025-03-28     Step

9546   2025-03-28     HMS Global - GBP

9547   2025-03-28     LOOPS

9548   2025-03-28     Dimensions Fragrance

9549   2025-03-28     Vodafone Group

9550   2025-03-28     CharityStars

9551   2025-03-28     Performics Belgium

9552   2025-03-28     BetterHelp

9553   2025-03-28     OCESA Personal

9554   2025-03-28     Mediaplus Hamburg GmbH & Co. KG

9555   2025-03-28     Test Global

9556   2025-03-28     Gupta Media Holdings, LLC

9557   2025-03-28     Sony Music Poland

9558   2025-03-28     Ghostwriter Consultancy & Events

9559   2025-03-28     Sev Laser Aesthetics

9560   2025-03-28     Dow

9561   2025-03-28     MDX_3

9562   2025-03-28     Haworth Media

9563   2025-03-28     BEN: Product Brand Intelligence

9564   2025-03-28     LSU AgCenter Botanic Gardens

9565   2025-03-28     Cuffe & Taylor

9566   2025-03-28     Dallas Cowboys

9567   2025-03-28     Alo Moves

9568   2025-03-28     The Ridge

9569   2025-03-28     Teste 1

9570   2025-03-28     Sony Music Germany
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 321 of 365




#      Date           Entity Name
9571   2025-03-28     Tropical Bros

9572   2025-03-28     Launchpad INTL

9573   2025-03-28     For Wellness

9574   2025-03-28     JBL

9575   2025-03-28     Action Network

9576   2025-03-28     Avon

9577   2025-03-28     Maison de Sabré

9578   2025-03-28     Universal Music Spain

9579   2025-03-28     Last Tour

9580   2025-03-28     Meetsocial HK Digital Marketing Co.■ltd-1

9581   2025-03-28     Sleepgram

9582   2025-03-28     Tanrevel

9583   2025-03-28     Ring

9584   2025-03-28     Reward Agency - 08

9585   2025-03-28     Starcom Denmark

9586   2025-03-28     MyMuse

9587   2025-03-28     Resorts World Las Vegas

9588   2025-03-28     Big Slap

9589   2025-03-28     Possible

9590   2025-03-28     Klick - Edge

9591   2025-03-28     WPS Health Insurance - Health Plan

9592   2025-03-28     Cortica

9593   2025-03-28     Shambala

9594   2025-03-28     La Roche-Posay

9595   2025-03-28     UM NY

9596   2025-03-28     Empower

9597   2025-03-28     Learning A-Z

9598   2025-03-28     Performics Test Page

9599   2025-03-28     Mastercard

9600   2025-03-28     Grwn
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25        Page 322 of 365




#      Date           Entity Name
9601   2025-03-28     Universal Music Switzerland

9602   2025-03-28     Zondervan Books

9603   2025-03-28     Bangerhead

9604   2025-03-28     Alya Skin Australia

9605   2025-03-28     Sub Pop Records

9606   2025-03-28     Best Buy, Starcom USA

9607   2025-03-28     Multitud Digital

9608   2025-03-28     Summersalt

9609   2025-03-28     Pet Airways

9610   2025-03-28     Quantum Physics

9611   2025-03-28     Shareably

9612   2025-03-28     Hyperglow

9613   2025-03-28     Kawasaki USA

9614   2025-03-28     Cracker Barrel Old Country Store

9615   2025-03-28     Warby Parker

9616   2025-03-28     Q Link Wireless

9617   2025-03-28     Capacity Interactive - Digital Marketing Consulting for the Arts

9618   2025-03-28     GCommerce

9619   2025-03-28     Bang Productions Television

9620   2025-03-28     Cleveland Clinic

9621   2025-03-28     J Vineyards & Winery

9622   2025-03-28     UM Australia

9623   2025-03-28     Facebook Insertion Orders

9624   2025-03-28     Heartbeat

9625   2025-03-28     Champs Sports

9626   2025-03-28     Casely

9627   2025-03-28     AbbVie

9628   2025-03-28     Moon Active

9629   2025-03-28     Live Nation Norway

9630   2025-03-28     Gaston Luga
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2    Filed 04/12/25   Page 323 of 365




#      Date           Entity Name
9631   2025-03-28     Liberated Brands

9632   2025-03-28     Facebook Analytics

9633   2025-03-28     Petit Moments

9634   2025-03-28     Zenithoptimedia Taiwan

9635   2025-03-28     Universal Music Thailand

9636   2025-03-28     Canvas Worldwide

9637   2025-03-28     LES VISIONNAIRES

9638   2025-03-28     Home Chef

9639   2025-03-28     Hint

9640   2025-03-28     Captiv8

9641   2025-03-28     Annapurna Pictures

9642   2025-03-28     Frontier Touring

9643   2025-03-28     Goodlive Artists

9644   2025-03-28     Groupe EPI

9645   2025-03-28     LP Generic Business

9646   2025-03-28     Shelf Inc.

9647   2025-03-28     rolling loud

9648   2025-03-28     DIFF

9649   2025-03-28     D'Alessandro e Galli

9650   2025-03-28     Fun.com

9651   2025-03-28     Horizon Blue Cross Blue Shield of New Jersey

9652   2025-03-28     Warner Music Africa

9653   2025-03-28     Liquid I.V.

9654   2025-03-28     Strawberries & Creem

9655   2025-03-28     Anti Agency Group

9656   2025-03-28     T4 Social Media LLC

9657   2025-03-28     Live Nation Polska

9658   2025-03-28     No Limit Entertainment

9659   2025-03-28     Away That Day

9660   2025-03-28     Sweed
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 324 of 365




#      Date           Entity Name
9661   2025-03-28     Lithia Motors

9662   2025-03-28     Verified

9663   2025-03-28     Bonus Track

9664   2025-03-28     Pepsi

9665   2025-03-28     Aleph - Dominican Republic

9666   2025-03-28     T&M Holding

9667   2025-03-28     Black Promoters Collective

9668   2025-03-28     NA-KD.com

9669   2025-03-28     Primark

9670   2025-03-28     Facetune by Lightricks

9671   2025-03-28     Kitbag

9672   2025-03-28     Functional Care

9673   2025-03-28     Kulturbolaget

9674   2025-03-28     Publicis_Media_Luxe

9675   2025-03-28     Seiza

9676   2025-03-28     Florida Credit Union

9677   2025-03-28     Bumble

9678   2025-03-28     Cooking Vinyl

9679   2025-03-28     Zenith Slovakia

9680   2025-03-28     Universal Music Italia

9681   2025-03-28     IZEA Worldwide, Inc.

9682   2025-03-28     Playboy

9683   2025-03-28     Greenhouse Talent NL

9684   2025-03-28     noatishby

9685   2025-03-28     Instagram

9686   2025-03-28     Milani

9687   2025-03-28     Flat Tummy Co

9688   2025-03-28     RIMOWA

9689   2025-03-28     Dojo

9690   2025-03-28     Summerfest
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 325 of 365




#      Date           Entity Name
9691   2025-03-28     Resolve

9692   2025-03-28     Universal Music Canada

9693   2025-03-28     JCG LLC

9694   2025-03-28     SocialAmp

9695   2025-03-28     Geologie

9696   2025-03-28     ICRUSH

9697   2025-03-28     Warner Music Norway

9698   2025-03-28     Bruckner Yaar Levi

9699   2025-03-28     Socialflow

9700   2025-03-28     Mushroom

9701   2025-03-28     cacaFly

9702   2025-03-28     Entertainment on Facebook

9703   2025-03-28     Universal Music Sweden

9704   2025-03-28     Dot Matters

9705   2025-03-28     KSR Group

9706   2025-03-28     The KISS Marketing Agency

9707   2025-03-28     Whalar

9708   2025-03-28     PM PUIG

9709   2025-03-28     Emporium Presents

9710   2025-03-28     Elementary Innovation Pte. Ltd.

9711   2025-03-28     Code3

9712   2025-03-28     CSL

9713   2025-03-28     Vogue France

9714   2025-03-28     iRESTORE Hair Growth System

9715   2025-03-28     playforgain

9716   2025-03-28     Gopuff

9717   2025-03-28     Pierce Media

9718   2025-03-28     Sony Music Brasil

9719   2025-03-28     Entravision Latam - Honduras

9720   2025-03-28     XaxisKorea
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 326 of 365




#      Date           Entity Name
9721   2025-03-28     Guardian Childcare & Education

9722   2025-03-28     Honcho.co

9723   2025-03-28     Wavemaker Deutschland

9724   2025-03-28     Apple Services

9725   2025-03-28     PacSun

9726   2025-03-28     Universal Music Romania

9727   2025-03-28     Free People

9728   2025-03-28     aim'n

9729   2025-03-28     Caddis Sports

9730   2025-03-28     Jessica Goicoechea - Goi

9731   2025-03-28     Instacart

9732   2025-03-28     FB App

9733   2025-03-28     FRAME

9734   2025-03-28     Z2 Comics

9735   2025-03-28     Dentsu Digital Italy

9736   2025-03-28     Warner Music Austria

9737   2025-03-28     FreePrints App

9738   2025-03-28     BeatStars Inc.

9739   2025-03-28     Sony Music Italy

9740   2025-03-28     umusic NZ

9741   2025-03-28     Universal Music Polska

9742   2025-03-28     Boncom

9743   2025-03-28     Cure Media

9744   2025-03-28     Arising Empire

9745   2025-03-28     L'atelier TW

9746   2025-03-28     Square

9747   2025-03-28     Panasonic Personal Care USA

9748   2025-03-28     Emc_TCCC

9749   2025-03-28     Pura Vida

9750   2025-03-28     P&G Professional España
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2    Filed 04/12/25   Page 327 of 365




#      Date           Entity Name
9751   2025-03-28     OMD Panamá

9752   2025-03-28     Peloton

9753   2025-03-28     Motion

9754   2025-03-28     Madison Square Garden

9755   2025-03-28     CMS Music Media Ltd

9756   2025-03-28     Juicy Couture

9757   2025-03-28     Bishop Robert Barron

9758   2025-03-28     Walgreens

9759   2025-03-28     Tuft & Needle

9760   2025-03-28     My View From Beer

9761   2025-03-28     Flaus

9762   2025-03-28     Hagerty

9763   2025-03-28     PetSmart Charities

9764   2025-03-28     Fingerpaint

9765   2025-03-28     Sam's Club

9766   2025-03-28     Sentara Health

9767   2025-03-28     PHD France

9768   2025-03-28     The Lyrical Lemonade Summer Smash Festival

9769   2025-03-28     Shareablee

9770   2025-03-28     TEG Live Europe

9771   2025-03-28     Vuori

9772   2025-03-28     Vannen Watches

9773   2025-03-28     Doublesoul

9774   2025-03-28     Move With Us

9775   2025-03-28     Eko Health

9776   2025-03-28     Eulerity

9777   2025-03-28     Partisan Records

9778   2025-03-28     Oregon Ice Cream

9779   2025-03-28     Relatable

9780   2025-03-28     Gorgie
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2     Filed 04/12/25   Page 328 of 365




#      Date           Entity Name
9781   2025-03-28     Warner Music Germany

9782   2025-03-28     Glossier

9783   2025-03-28     Warner Music Spain

9784   2025-03-28     Afrobeats Central

9785   2025-03-28     Winn-Dixie

9786   2025-03-28     22squared

9787   2025-03-28     TopTier Trader

9788   2025-03-28     MoneyLion

9789   2025-03-28     Soundwave Consulting

9790   2025-03-28     Molson Coors

9791   2025-03-28     Max Connect Digital

9792   2025-03-28     Postmates

9793   2025-03-28     Savannah Bee Company

9794   2025-03-28     Katherine Kwok FB Biz

9795   2025-03-28     Kavala Collective

9796   2025-03-28     Garnier Colombia

9797   2025-03-28     VarleyClothing

9798   2025-03-28     ■■■■ ■■■

9799   2025-03-28     Miller's Ale House

9800   2025-03-28     TIBBS & BONES

9801   2025-03-28     RW Consulting

9802   2025-03-28     Finish Line

9803   2025-03-28     The Influence Agency

9804   2025-03-28     SKIMS

9805   2025-03-28     OmnicomMediaGroup Nederland

9806   2025-03-28     moveconcertsarg

9807   2025-03-28     Vunzige Deuntjes

9808   2025-03-28     Reaction Presents

9809   2025-03-28     FM4 Indiekiste mit

9810   2025-03-28     ■■■■■■■■■■_2
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2       Filed 04/12/25   Page 329 of 365




#      Date           Entity Name
9811   2025-03-28     Sony Music Spain

9812   2025-03-28     PHD colombia S.A.S

9813   2025-03-28     Live Nation Germany - Austria - Switzerland

9814   2025-03-28     Hairfinity

9815   2025-03-28     Alter Art

9816   2025-03-28     Blogger: Isaac Saenz

9817   2025-03-28     Camille Brinch Jewellery

9818   2025-03-28     Sure Sure

9819   2025-03-28     Wolven

9820   2025-03-28     iHeartDogs

9821   2025-03-28     Cleo

9822   2025-03-28     NOTO Houston

9823   2025-03-28     Predictive Media Analytics, LLC

9824   2025-03-28     SONYA DAKAR

9825   2025-03-28     Listerine

9826   2025-03-28     Givebutter

9827   2025-03-28     zeotap

9828   2025-03-28     Simpli.fi

9829   2025-03-28     Verb Products

9830   2025-03-28     Live Bearded

9831   2025-03-28     DEPT UK

9832   2025-03-28     WideFoc.us

9833   2025-03-28     Change Research

9834   2025-03-28     HQ CDM

9835   2025-03-28     Joom

9836   2025-03-28     HCN

9837   2025-03-28     Brand Polling

9838   2025-03-28     Democrats

9839   2025-03-28     Musely

9840   2025-03-28     The Christian Broadcasting Network
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 330 of 365




#      Date           Entity Name
9841   2025-03-28     Initiative Wellness

9842   2025-03-28     Jordan Peterson

9843   2025-03-28     Immerse Agency, LLC

9844   2025-03-28     TruDiagnostic

9845   2025-03-28     Rebecca Zung

9846   2025-03-28     Ideal Coverings

9847   2025-03-28     Crossmedia

9848   2025-03-28     The Strategy Group Company

9849   2025-03-28     FleishmanHillard

9850   2025-03-28     LM250 9

9851   2025-03-28     Groot Hospitality

9852   2025-03-28     Handle the Heat

9853   2025-03-28     Universal Studios Hollywood

9854   2025-03-28     Wayfair

9855   2025-03-28     Sif Jakobs Jewellery

9856   2025-03-28     Harvest Hill Beverage Company

9857   2025-03-28     SiriusXM

9858   2025-03-28     Glamnetic

9859   2025-03-28     Tincre

9860   2025-03-28     Starcom UK PUIG

9861   2025-03-28     Ruder Finn

9862   2025-03-28     Mindshare Sverige

9863   2025-03-28     Phathom Pharmaceuticals

9864   2025-03-28     Gap Inc

9865   2025-03-28     Goodway Tier 3 Digital

9866   2025-03-28     Smile Direct Club

9867   2025-03-28     Pandora

9868   2025-03-28     BJ's Wholesale Club

9869   2025-03-28     Faraday.io

9870   2025-03-28     Marketing
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2         Filed 04/12/25   Page 331 of 365




#      Date           Entity Name
9871   2025-03-28     PreciseTarget

9872   2025-03-28     Giant Partners

9873   2025-03-28     Genentech

9874   2025-03-28     Ads Preview Workaround

9875   2025-03-28     Breathe For Change

9876   2025-03-28     United Gold Group

9877   2025-03-28     Rescue: The Behavior Change Agency

9878   2025-03-28     The Relationship School

9879   2025-03-28     Second test personal user page

9880   2025-03-28     Morgan Fidelity Associates, Inc.

9881   2025-03-28     Test page

9882   2025-03-28     GQ Italia

9883   2025-03-28     Bread Beauty Supply

9884   2025-03-28     Typology

9885   2025-03-28     Relistor® (methylnaltrexone bromide)

9886   2025-03-28     Indeed

9887   2025-03-28     Rakuten

9888   2025-03-28     OfferUp

9889   2025-03-28     FabFitFun

9890   2025-03-28     CONVERSE

9891   2025-03-28     Comedy Central

9892   2025-03-28     Greenhouse Talent

9893   2025-03-28     Hearst Television

9894   2025-03-28     Happy Products

9895   2025-03-28     Beauty Factory

9896   2025-03-28     Reprise Media México

9897   2025-03-28     Athleta

9898   2025-03-28     Calvin Klein GCC

9899   2025-03-28     L'Oréal Social CDO - Cockpit & Advertising

9900   2025-03-28     TRUFFLE
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2             Filed 04/12/25   Page 332 of 365




#      Date           Entity Name
9901   2025-03-28     Danny Wimmer Presents

9902   2025-03-28     The Foxy Hipster

9903   2025-03-28     Victoria Justice

9904   2025-03-28     Herbivore Botanicals

9905   2025-03-28     Rémy Martin

9906   2025-03-28     INH Hair

9907   2025-03-28     1000heads - US Office

9908   2025-03-28     First Interstate Center for the Arts

9909   2025-03-28     Grundéns

9910   2025-03-28     MCoBeauty US

9911   2025-03-28     Sony Music Austria

9912   2025-03-28     Helix Sleep

9913   2025-03-28     Olipop

9914   2025-03-28     Wix

9915   2025-03-28     Louis Vuitton Brazil

9916   2025-03-28     Cozy Earth

9917   2025-03-28     Called

9918   2025-03-28     af_drinks

9919   2025-03-28     Tatti Lashes

9920   2025-03-28     Publicis Media Luxe

9921   2025-03-28     Mazda CX5 22

9922   2025-03-28     Big Think Agency

9923   2025-03-28     CurlMix

9924   2025-03-28     CAVA

9925   2025-03-28     Moroch

9926   2025-03-28     Research Study Rockstar

9927   2025-03-28     HBO Max

9928   2025-03-28     Omnilife

9929   2025-03-28     Sony Music Switzerland

9930   2025-03-28     AU 77
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 333 of 365




#      Date           Entity Name
9931   2025-03-28     Freya - Test Account

9932   2025-03-28     Angler AI

9933   2025-03-28     KraftMaid Cabinetry

9934   2025-03-28     mandanadayani

9935   2025-03-28     Media Six

9936   2025-03-28     Capitol Music Group

9937   2025-03-28     JSHealth

9938   2025-03-28     Snapchat for Business

9939   2025-03-28     ESPN

9940   2025-03-28     Chime

9941   2025-03-28     BerlinRosen

9942   2025-03-28     SmartPak

9943   2025-03-28     FIGS

9944   2025-03-28     Universal Music South Africa

9945   2025-03-28     Musical Earth

9946   2025-03-28     Audience Town

9947   2025-03-28     GoAudience

9948   2025-03-28     BOSS

9949   2025-03-28     Leonard Brands

9950   2025-03-28     GALE Media

9951   2025-03-28     Collections Etc

9952   2025-03-28     Kash Kick 2

9953   2025-03-28     Bobo's Oat Bars

9954   2025-03-28     Edelman DC

9955   2025-03-28     Harbor Freight

9956   2025-03-28     LocaliQ

9957   2025-03-28     David Stuebe's Business

9958   2025-03-28     Swimply

9959   2025-03-28     BM5 chay sach 3

9960   2025-03-28     Bombora
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 334 of 365




#      Date           Entity Name
9961   2025-03-28     The Glover Park Group

9962   2025-03-28     RCKT.

9963   2025-03-28     TivoliVredenburg

9964   2025-03-28     Suit Up Brands LLC

9965   2025-03-28     Dice Dreams

9966   2025-03-28     2K

9967   2025-03-28     Lauren Daigle

9968   2025-03-28     Republic NOLA

9969   2025-03-28     BlueChew

9970   2025-03-28     grownbrilliance

9971   2025-03-28     Call of Duty

9972   2025-03-28     Common Entertainment

9973   2025-03-28     SmartHeart

9974   2025-03-28     Maybelline New York

9975   2025-03-28     Hyperice

9976   2025-03-28     Limelight Belfast

9977   2025-03-28     Gisou

9978   2025-03-28     YinoLink■■

9979   2025-03-28     Loma Vista Recordings

9980   2025-03-28     We are mitú

9981   2025-03-28     True Anthem

9982   2025-03-28     REVOLVE

9983   2025-03-28     Propeller

9984   2025-03-28     Monster

9985   2025-03-28     Understatement Underwear

9986   2025-03-28     JJXX

9987   2025-03-28     H&M

9988   2025-03-28     Swanson Health

9989   2025-03-28     Billings Gazette

9990   2025-03-28     Lands' End
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 335 of 365




#       Date          Entity Name
9991    2025-03-28    w/Tributary

9992    2025-03-28    MetaTeam

9993    2025-03-28    P2 Public Affairs

9994    2025-03-28    Hopscotch Music Festival

9995    2025-03-28    Solka

9996    2025-03-28    Bolster

9997    2025-03-28    Frankies Bikinis

9998    2025-03-28    Rite Aid

9999    2025-03-28    Warner Music Ireland

10000   2025-03-28    Hanna Andersson

10001   2025-03-28    Universal Music México

10002   2025-03-28    Cover FX

10003   2025-03-28    Inner Circle

10004   2025-03-28    Duluth Trading Company

10005   2025-03-28    STAAR Global

10006   2025-03-28    Universal Music Norge

10007   2025-03-28    Garage

10008   2025-03-28    BET

10009   2025-03-28    Happy Mammoth

10010   2025-03-28    JOANN Fabric and Craft Stores

10011   2025-03-28    Decoded Advertising

10012   2025-03-28    Isha Foundation

10013   2025-03-28    lensun solar energy

10014   2025-03-28    Lumen Technologies

10015   2025-03-28    The Citizenry

10016   2025-03-28    Blue State

10017   2025-03-28    Matthew 6:26 LLC

10018   2025-03-28    No_Comment

10019   2025-03-28    Sephora

10020   2025-03-28    Lending Store
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 336 of 365




#       Date          Entity Name
10021   2025-03-28    GoldSilver

10022   2025-03-28    Ayla & Co

10023   2025-03-28    GOP

10024   2025-03-28    Centricity Music

10025   2025-03-28    Wavemaker Canada

10026   2025-03-28    FOX Sports

10027   2025-03-28    Magnolia Pictures

10028   2025-03-28    Admixer

10029   2025-03-28    Grubhub

10030   2025-03-28    Kikoff

10031   2025-03-28    The Bellwether

10032   2025-03-28    BHLDN Weddings

10033   2025-03-28    NHL

10034   2025-03-28    Stuart Weitzman

10035   2025-03-28    Social

10036   2025-03-28    L'atelier HK

10037   2025-03-28    Penguin España

10038   2025-03-28    Wavemaker Hong Kong

10039   2025-03-28    Unilever Canada

10040   2025-03-28    Disney Streaming

10041   2025-03-28    SwellShark

10042   2025-03-28    Drink Accelerator

10043   2025-03-28    FCA Mexico

10044   2025-03-28    Warner Music Sweden

10045   2025-03-28    Lincoln Hall + Schubas

10046   2025-03-28    EDGE Entertainment Digital

10047   2025-03-28    PrettyLittleThing

10048   2025-03-28    Socialyse Adm FR

10049   2025-03-28    discovery+

10050   2025-03-28    Born Again Concerts
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 337 of 365




#       Date          Entity Name
10051   2025-03-28    Connected Vivaki

10052   2025-03-28    Scooter's Coffee

10053   2025-03-28    ZipRecruiter

10054   2025-03-28    KeepGoing First Aid

10055   2025-03-28    Mars United Commerce

10056   2025-03-28    The Detox Dudes

10057   2025-03-28    Choices by Revlon

10058   2025-03-28    Reprise Media ZA

10059   2025-03-28    KBMG Data Services Development

10060   2025-03-28    MoneyGram

10061   2025-03-28    Latched Mama

10062   2025-03-28    Aero Opco LLC

10063   2025-03-28    Supercell

10064   2025-03-28    JCPenney

10065   2025-03-28    Slynd® (drospirenone)

10066   2025-03-28    Nordstrom

10067   2025-03-28    Progress Rum

10068   2025-03-28    JM14

10069   2025-03-28    JCK Enterprises, LLC

10070   2025-03-28    Plein Air

10071   2025-03-28    Coffee Dose

10072   2025-03-28    NIV Bible

10073   2025-03-28    Eva Rankin■

10074   2025-03-28    WITHIN

10075   2025-03-28    Quakmedia - Agencia de Marketing Digital

10076   2025-03-28    Art Label Studios 2024

10077   2025-03-28    OnlyFans

10078   2025-03-28    Smashbox Cosmetics

10079   2025-03-28    AEG Presents UK

10080   2025-03-28    WE ARE TALA
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 338 of 365




#       Date          Entity Name
10081   2025-03-28    Melkweg Amsterdam

10082   2025-03-28    Angus Media

10083   2025-03-28    RTIC Outdoors

10084   2025-03-28    Snow Days

10085   2025-03-28    Jill

10086   2025-03-28    471887696173235

10087   2025-03-28    Crunchyroll

10088   2025-03-28    Brooks Running

10089   2025-03-28    Gymexo

10090   2025-03-28    wellrestedweeones

10091   2025-03-28    Lashify

10092   2025-03-28    René Furterer

10093   2025-03-28    Function of Beauty

10094   2025-03-28    Humane World for Animals

10095   2025-03-28    BM 07

10096   2025-03-28    Aerial Video A to Z

10097   2025-03-28    Just Us Skin Care

10098   2025-03-28    Thirdwave

10099   2025-03-28    Puzzmo

10100   2025-03-28    Voiply

10101   2025-03-28    Sanity Skin

10102   2025-03-28    Good Social Company

10103   2025-03-28    Avant Gardner

10104   2025-03-28    F1 + F3 len moi

10105   2025-03-28    Shopify

10106   2025-03-28    The Gatorade Company

10107   2025-03-28    Corro

10108   2025-03-28    Alex Azra

10109   2025-03-28    Affordable Dentures & Implants

10110   2025-03-28    Avoq
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2    Filed 04/12/25     Page 339 of 365




#       Date          Entity Name
10111   2025-03-28    Valley Vet Supply

10112   2025-03-28    SBX Proxy

10113   2025-03-28    Aisle 518 Strategies, LLC

10114   2025-03-28    Carter's

10115   2025-03-28    Precision

10116   2025-03-28    Blue 449

10117   2025-03-28    REV77

10118   2025-03-28    Bones Coffee Company

10119   2025-03-28    Friends At Work

10120   2025-03-28    Pltnum

10121   2025-03-28    Fabric Technologies

10122   2025-03-28    Blueprint Interactive

10123   2025-03-28    Current

10124   2025-03-28    Diggerland USA

10125   2025-03-28    Division D

10126   2025-03-28    Facebook

10127   2025-03-28    Hong Kong Zoom Interactive Network Marketing Technology Limited

10128   2025-03-28    Sage Dental

10129   2025-03-28    Car Price Secrets

10130   2025-03-28    AptDeco

10131   2025-03-28    Lifeway

10132   2025-03-28    The Jet-Ski Doctor

10133   2025-03-28    MiQ US

10134   2025-03-28    CVS Pharmacy

10135   2025-03-28    The New York Times

10136   2025-03-28    Campbell Ewald

10137   2025-03-28    Karsten Jahnke Konzerte

10138   2025-03-28    On

10139   2025-03-28    Love Wellness

10140   2025-03-28    Live Nation Italia
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 340 of 365




#       Date          Entity Name
10141   2025-03-28    Bonefish Grill

10142   2025-03-28    703digital

10143   2025-03-28    Estee Lauder México

10144   2025-03-28    The QYOU

10145   2025-03-28    Angela ■

10146   2025-03-28    Maude

10147   2025-03-28    Warner Music Denmark

10148   2025-03-28    Monarch

10149   2025-03-28    Tort Group

10150   2025-03-28    The Church of Jesus Christ of Latter-day Saints

10151   2025-03-28    Spiceology

10152   2025-03-28    Lowe's Home Improvement

10153   2025-03-28    Spotify LATAM BM

10154   2025-03-28    SoFi

10155   2025-03-28    Resolution Agency

10156   2025-03-28    Scruff of the Neck

10157   2025-03-28    Evolve Media

10158   2025-03-28    Found

10159   2025-03-28    OLLY

10160   2025-03-28    Dermaclara

10161   2025-03-28    M+R

10162   2025-03-28    Feld Entertainment, Inc.

10163   2025-03-28    Live Nation Finland

10164   2025-03-28    ZenithOptimedia Portugal

10165   2025-03-28    eHealth

10166   2025-03-28    Carmichael Lynch

10167   2025-03-28    Universal Music Recordings

10168   2025-03-28    AutoCanada

10169   2025-03-28    Rosental Organics

10170   2025-03-28    H&M - Paid Social
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 341 of 365




#       Date          Entity Name
10171   2025-03-28    Captain

10172   2025-03-28    Blavity

10173   2025-03-28    Reprise Chile

10174   2025-03-28    Magnolias

10175   2025-03-28    Bespoke Post

10176   2025-03-28    Affinity Answers

10177   2025-03-28    Dil Mil

10178   2025-03-28    Wavemaker Malaysia

10179   2025-03-28    Fiverr

10180   2025-03-28    BroBible

10181   2025-03-28    The Assembly Music

10182   2025-03-28    Nutrafol

10183   2025-03-28    Sold Out Advertising

10184   2025-03-28    MOJO

10185   2025-03-28    WhatsApp

10186   2025-03-28    the7stars

10187   2025-03-28    Caraway

10188   2025-03-28    Pit Viper

10189   2025-03-28    De Helling

10190   2025-03-28    amelieteje

10191   2025-03-28    Big Concerts

10192   2025-03-28    VaynerMedia Canada

10193   2025-03-28    Bornlogic

10194   2025-03-28    Sony Music Entertainment

10195   2025-03-28    Kurt Geiger

10196   2025-03-28    Cardon

10197   2025-03-28    GroupM

10198   2025-03-28    EMI Records

10199   2025-03-28    Flag & Anthem

10200   2025-03-28    Edikted
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 342 of 365




#       Date          Entity Name
10201   2025-03-28    Collectiv Presents

10202   2025-03-28    Park Advertising

10203   2025-03-28    Microsoft Customer Insights Center

10204   2025-03-28    Walt Disney World

10205   2025-03-28    Foursquare City Guide

10206   2025-03-28    VaynerMedia

10207   2025-03-28    Sony Music UK

10208   2025-03-28    Magnum Photos

10209   2025-03-28    Veltrac Music

10210   2025-03-28    Data Axle USA

10211   2025-03-28    Front Gate Tickets

10212   2025-03-28    Gadget Entertainment

10213   2025-03-28    Universal Music Ireland

10214   2025-03-28    Simon & Schuster

10215   2025-03-28    Tropic of C

10216   2025-03-28    Culture Pop

10217   2025-03-28    Universal Music Legends

10218   2025-03-28    Polydor

10219   2025-03-28    Digital Tading Desk

10220   2025-03-28    Solawave

10221   2025-03-28    Bonnie

10222   2025-03-28    TransUnion Digital

10223   2025-03-28    DASH TWO

10224   2025-03-28    Hampton Creative

10225   2025-03-28    Match

10226   2025-03-28    Sparkart Group, Inc.

10227   2025-03-28    Funded Commerce Ads

10228   2025-03-28    BIG IDEA GROUP

10229   2025-03-28    NOTO Philadelphia

10230   2025-03-28    therankedmusic
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2       Filed 04/12/25   Page 343 of 365




#       Date          Entity Name
10231   2025-03-28    Publicis Health Media

10232   2025-03-28    Reality Labs

10233   2025-03-28    Ark Swimwear

10234   2025-03-28    Best Videos

10235   2025-03-28    Church of the King

10236   2025-03-28    Good American

10237   2025-03-28    California Cryobank

10238   2025-03-28    Accelerated Intelligence Ltd

10239   2025-03-28    ViiV Healthcare

10240   2025-03-28    FLOAT FEST

10241   2025-03-28    UMusic Australia

10242   2025-03-28    Netflix

10243   2025-03-28    Ray-Ban

10244   2025-03-28    Zenith France

10245   2025-03-28    Otsuka America Pharmaceutical, Inc.

10246   2025-03-28    Cronin

10247   2025-03-28    Bridg Channel

10248   2025-03-28    UM MENA

10249   2025-03-28    Capital One

10250   2025-03-28    Wizard Live

10251   2025-03-28    Ashley

10252   2025-03-28    Verizon

10253   2025-03-28    Guinness

10254   2025-03-28    FESTIVAL LES ARDENTES

10255   2025-03-28    Test

10256   2025-03-28    Tell Your People

10257   2025-03-28    NEUW Denim

10258   2025-03-28    Unilever Philippines

10259   2025-03-28    Bravado

10260   2025-03-28    Gina Tricot
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2    Filed 04/12/25   Page 344 of 365




#       Date          Entity Name
10261   2025-03-28    Simon Malls

10262   2025-03-28    Direct Auto Insurance

10263   2025-03-28    Boston Scientific

10264   2025-03-28    Trans-System, Inc.

10265   2025-03-28    We Are Saatchi

10266   2025-03-28    UM APAC

10267   2025-03-28    Carat USA

10268   2025-03-28    Eyeota

10269   2025-03-28    Greta Boutique

10270   2025-03-28    Synchrony

10271   2025-03-28    Reprise ES

10272   2025-03-28    Rational 360

10273   2025-03-28    Active International

10274   2025-03-28    Engage Media

10275   2025-03-28    MetLife

10276   2025-03-28    Kardiel

10277   2025-03-28    Hilton Newsroom

10278   2025-03-28    VET Tv- Veteran Television

10279   2025-03-28    Jockey

10280   2025-03-28    ASUS

10281   2025-03-28    Frank And Oak

10282   2025-03-28    Warner Music Australia

10283   2025-03-28    AbelsonTaylor Group

10284   2025-03-28    bubly

10285   2025-03-28    Warner Music Singapore

10286   2025-03-28    UM Detroit

10287   2025-03-28    Neural Leap Ventures

10288   2025-03-28    Cash App

10289   2025-03-28    QVC

10290   2025-03-28    Nomad Apparel Co.
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 345 of 365




#       Date          Entity Name
10291   2025-03-28    Edelman West

10292   2025-03-28    EMEA

10293   2025-03-28    EA - Electronic Arts

10294   2025-03-28    Ad Insights

10295   2025-03-28    Etsy

10296   2025-03-28    BobbyParrish

10297   2025-03-28    DDC Testing

10298   2025-03-28    M&C Saatchi Performance

10299   2025-03-28    Wantable

10300   2025-03-28    Linktree

10301   2025-03-28    Kroger

10302   2025-03-28    Macy's

10303   2025-03-28    WebMD

10304   2025-03-28    Martell

10305   2025-03-28    Havas Media Group USA LLC

10306   2025-03-28    P&G Social Global

10307   2025-03-28    JXM

10308   2025-03-28    M1 m■u 1, N1 17/8 - P

10309   2025-03-28    EVERSANA INTOUCH

10310   2025-03-28    Hylink Digital Solutions

10311   2025-03-28    PBS

10312   2025-03-28    Ruggable

10313   2025-03-28    Happy Family Organics

10314   2025-03-28    Zales

10315   2025-03-28    Drive with Lyft

10316   2025-03-28    MC UK - GBP

10317   2025-03-28    Nickel and Suede

10318   2025-03-28    Wiland Data Tactics

10319   2025-03-28    Purple Media

10320   2025-03-28    Elevation, Ltd.
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2        Filed 04/12/25   Page 346 of 365




#       Date          Entity Name
10321   2025-03-28    Jackson Hewitt

10322   2025-03-28    Entravision Latam - Puerto Rico

10323   2025-03-28    Katalyst Advantage

10324   2025-03-28    Starcom USA, Best Buy

10325   2025-03-28    Coach

10326   2025-03-28    ondonewyork

10327   2025-03-28    Rothy's

10328   2025-03-28    Test For Pixel

10329   2025-03-28    Victoria Warehouse

10330   2025-03-28    The League

10331   2025-03-28    Interscope Records

10332   2025-03-28    Opus Live

10333   2025-03-28    Anthropologie

10334   2025-03-28    HEYDUDE

10335   2025-03-28    MRG Live

10336   2025-03-28    ThisThat

10337   2025-03-28    1-800 Contacts

10338   2025-03-28    AEG Presents - Media

10339   2025-03-28    The Orchard

10340   2025-03-28    HolStrength

10341   2025-03-28    Ribbow Media Group

10342   2025-03-28    Mic Drop Comedy

10343   2025-03-28    L'Oreal Ecommerce PRoject

10344   2025-03-28    Global Leadership Network

10345   2025-03-28    Yallie K Enterprises LLC

10346   2025-03-28    JustFab

10347   2025-03-28    Aleph - Panama

10348   2025-03-28    MILLIONS

10349   2025-03-28    Zillow

10350   2025-03-28    Fanatics
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2      Filed 04/12/25   Page 347 of 365




#       Date          Entity Name
10351   2025-03-28    iProspect Detroit

10352   2025-03-28    Illinois Lottery

10353   2025-03-28    American Eagle

10354   2025-03-28    Blue Shield of California

10355   2025-03-28    BoostMobile - New/Post-Harmony

10356   2025-03-28    Keurig

10357   2025-03-28    Dansko, LLC

10358   2025-03-28    adidas

10359   2025-03-28    Aegis Media Innov8

10360   2025-03-28    Spark Foundry

10361   2025-03-28    Bonneville International

10362   2025-03-28    X-VIN

10363   2025-03-28    Rezonate Media

10364   2025-03-28    DISH

10365   2025-03-28    DoorDash

10366   2025-03-28    Convergence Media

10367   2025-03-28    Ethos Life

10368   2025-03-28    Good Apple

10369   2025-03-28    Drive Toyota

10370   2025-03-28    Spark Foundry USA

10371   2025-03-28    PayPal

10372   2025-03-28    Grant Cardone

10373   2025-03-28    Boston Comedy Festival

10374   2025-03-28    DSW Designer Shoe Warehouse

10375   2025-03-28    MODCo T2

10376   2025-03-28    I'd Rather Be With My Dog

10377   2025-03-28    American Kidney Fund

10378   2025-03-28    Lovesac

10379   2025-03-28    Swank A Posh

10380   2025-03-28    Kohl's
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 348 of 365




#       Date          Entity Name
10381   2025-03-28    Outback Presents

10382   2025-03-28    TIAA

10383   2025-03-28    Zenith USA

10384   2025-03-28    Happify by Twill

10385   2025-03-28    OneMain Business

10386   2025-03-28    Chewy

10387   2025-03-28    FanDuel

10388   2025-03-28    Huggies

10389   2025-03-28    Target

10390   2025-03-28    Allstate

10391   2025-03-28    Conill Advertising

10392   2025-03-28    Brand survey

10393   2025-03-28    T-Mobile

10394   2025-03-28    Epsilon Audience Data Provider

10395   2025-03-28    Bob Hannon Consulting

10396   2025-03-28    Sojern

10397   2025-03-28    Hearts & Science

10398   2025-03-28    Satullo

10399   2025-03-28    Data unavailable

10400   2025-03-28    Amazon.com

10401   2025-03-28    Operam Inc

10402   2025-03-28    AdParlor

10403   2025-03-28    Team One USA

10404   2025-03-28    Test Page

10405   2025-03-28    LiveRamp

10406   2025-03-28    Nielsen Marketing Cloud

10407   2025-03-28    Instagram Ad Ops

10408   2025-03-28    Acxiom

10409   2025-03-28    Oracle Data Cloud CA

10410   2025-03-28    SupplyX
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2      Filed 04/12/25   Page 349 of 365




#       Date          Entity Name
10411   2025-03-28    Smarty Social Media

10412   2025-03-28    Intuit QuickBooks

10413   2025-03-28    Uber

10414   2025-03-28    ClearOne Advantage, LLC

10415   2025-03-28    Spring Creek Group

10416   2025-03-28    Open Influence

10417   2025-03-28    TargetSmart

10418   2025-03-28    Barstool Sports

10419   2025-03-28    The Vintage Pearl

10420   2025-03-28    Eli Lilly and Company

10421   2025-03-28    Audacy Social Conquest

10422   2025-03-28    Starcom USA

10423   2025-03-28    Regions Bank

10424   2025-03-28    Rent. Solutions

10425   2025-03-28    Experian Marketing Services - Audiences

10426   2025-03-28    Starcom Sweden AB

10427   2025-03-28    OMD USA

10428   2025-03-28    CMI Media Group and Compas

10429   2025-03-28    Walmart.com

10430   2025-03-28    Eggland's Best Eggs

10431   2025-03-28    Merkle Data Partner

10432   2025-03-28    Sundays

10433   2025-03-28    Monqui Presents

10434   2025-03-28    Cadence

10435   2025-03-28    fource.cz

10436   2025-03-28    Live Nation Concerts

10437   2025-03-28    Fashion Nova

10438   2025-03-28    Infectious Music

10439   2025-03-28    kate spade new york

10440   2025-03-28    Quarterlab
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2   Filed 04/12/25   Page 350 of 365




#       Date          Entity Name
10441   2025-03-28    FB Growth Marketing

10442   2025-03-28    Universal Music Austria

10443   2025-03-28    OMD Entertainment

10444   2025-03-28    Universal Music France

10445   2025-03-28    Makeup.com by L'Oreal

10446   2025-03-28    AEG Presents

10447   2025-03-28    Live Nation Australia

10448   2025-03-28    Heather McMahan

10449   2025-03-28    Labelium Australia and New Zealand

10450   2025-03-28    L'Oréal Paris

10451   2025-03-28    Influential

10452   2025-03-28    Grand Central Publishing

10453   2025-03-28    Shaq’s Fun House

10454   2025-03-28    Dentsu X UK

10455   2025-03-28    WMcCann RJ

10456   2025-03-28    Meta for Business

10457   2025-03-28    Live Nation France

10458   2025-03-28    Red Digital

10459   2025-03-28    Grupo Axo

10460   2025-03-28    AEG Presents France

10461   2025-03-28    Wavemaker-NZ Loreal

10462   2025-03-28    Gupta Media

10463   2025-03-28    Wmg gps adx

10464   2025-03-28    LADbible

10465   2025-03-28    Uniagency

10466   2025-03-28    Hoffman York

10467   2025-03-28    Warner Music France

10468   2025-03-28    Best Buy

10469   2025-03-28    Meta

10470   2025-03-28    Crowd Control Digital
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2        Filed 04/12/25   Page 351 of 365




#       Date          Entity Name
10471   2025-03-28    Kevin Gottlieb

10472   2025-03-28    4th Quarter Collective, LLC

10473   2025-03-28    Assembly

10474   2025-03-28    Delivery Hero

10475   2025-03-28    ADARA

10476   2025-03-28    Unit 3C

10477   2025-03-28    Real Chemistry

10478   2025-03-28    MEC - Los Angeles

10479   2025-03-28    J3

10480   2025-03-28    360i

10481   2025-03-28    PetSmart

10482   2025-03-28    Wyze

10483   2025-03-28    WMX

10484   2025-03-28    MullenLowe U.S.

10485   2025-03-28    Revive

10486   2025-03-28    Dr Pepper Snapple Group

10487   2025-03-28    Socialistics

10488   2025-03-28    St. Jude Children's Research Hospital

10489   2025-03-28    Room & Board

10490   2025-03-28    Dr. Livingood

10491   2025-03-28    Crumbl Cookies

10492   2025-03-28    L'ange

10493   2025-03-28    Wiland Data Targeting

10494   2025-03-28    Seychelle Media

10495   2025-03-28    Marc Jacobs

10496   2025-03-28    L'Oréal Suisse

10497   2025-03-28    L'Oréal Group

10498   2025-03-28    ThinkSwell

10499   2025-03-28    FB Only SMB Channel Test Page

10500   2025-03-28    The Children's Place
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2        Filed 04/12/25   Page 352 of 365




#       Date          Entity Name
10501   2025-03-28    IProspect Fort Worth

10502   2025-03-28    UNDER THE INFLUENCE

10503   2025-03-28    myQ

10504   2025-03-28    BuzzFeed Branded Distribution

10505   2025-03-28    Bell Media

10506   2025-03-28    American Sporstwear, S.A.

10507   2025-03-28    Allergan Aesthetics

10508   2025-03-28    wavo.me

10509   2025-03-28    Climb

10510   2025-03-28    Louis Vuitton

10511   2025-03-28    Gooseberry Intimates

10512   2025-03-28    310 Nutrition

10513   2025-03-28    L'Oréal Chile

10514   2025-03-28    Resolution Media

10515   2025-03-28    StackSocial

10516   2025-03-28    truth

10517   2025-03-28    Conn's HomePlus

10518   2025-03-28    First Avenue & 7th St Entry

10519   2025-03-28    Warner Music Canada

10520   2025-03-28    M Booth

10521   2025-03-28    Forma Pilates

10522   2025-03-28    TrustGodbro Clothing

10523   2025-03-28    Lounge Underwear

10524   2025-03-28    Live Nation UK

10525   2025-03-28    Nexters

10526   2025-03-28    House Shops Ads

10527   2025-03-28    Adult Swim

10528   2025-03-28    EMT

10529   2025-03-28    Fb-Ig-Stage

10530   2025-03-28    Warner Music Poland
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2     Filed 04/12/25   Page 353 of 365




#       Date          Entity Name
10531   2025-03-28    Sony Music France

10532   2025-03-28    White Claw

10533   2025-03-28    Tusk Strategies

10534   2025-03-28    VaynerMedia APAC

10535   2025-03-28    Universal Music Brasil

10536   2025-03-28    Spark Foundry Canada

10537   2025-03-28    Center

10538   2025-03-28    Solaura

10539   2025-03-28    Hunter Del Caribe

10540   2025-03-28    Live Nation Denmark

10541   2025-03-28    VS-Ronaldo Silva 1 - bm 5

10542   2025-03-28    Amplifon Group

10543   2025-03-28    Media Plus+

10544   2025-03-28    The Home Depot

10545   2025-03-28    Ranker 2

10546   2025-03-28    Greens Club

10547   2025-03-28    Triple G Events

10548   2025-03-28    Noise New Media

10549   2025-03-28    Gordon McKernan Injury Attorneys

10550   2025-03-28    Electric Promotions

10551   2025-03-28    UMe Music Team

10552   2025-03-28    Yamaha Music USA

10553   2025-03-28    MEC Australia

10554   2025-03-28    Threepipe

10555   2025-03-28    Forward Media Italy

10556   2025-03-28    Overtime

10557   2025-03-28    Proposal Prep by Best Kept

10558   2025-03-28    Lerma Agency

10559   2025-03-28    Dr. Squatch

10560   2025-03-28    Wegmans
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2   Filed 04/12/25   Page 354 of 365




#       Date          Entity Name
10561   2025-03-28    Hourglass Cosmetics

10562   2025-03-28    E! News

10563   2025-03-28    Purdue Global

10564   2025-03-28    Miami Dolphins

10565   2025-03-28    TORY BURCH

10566   2025-03-28    Troubadour Presents

10567   2025-03-28    Insomniac Events

10568   2025-03-28    Coca-Cola Philippines

10569   2025-03-28    Morris Bart, LLC

10570   2025-03-28    Universal Music Colombia

10571   2025-03-28    Team BC

10572   2025-03-28    EarnIn

10573   2025-03-28    Brand Networks

10574   2025-03-28    Life.Church

10575   2025-03-28    Slime Obsidian

10576   2025-03-28    Wiland Audiences

10577   2025-03-28    UM Canada

10578   2025-03-28    Swanson Russell

10579   2025-03-28    Give Back Beauty

10580   2025-03-28    L'Oréal Professionnel

10581   2025-03-28    Intermate Media GmbH

10582   2025-03-28    Alexis Ren

10583   2025-03-28    ZenithMedia Germany

10584   2025-03-28    Echo Promotion

10585   2025-03-28    Zenith - PGD

10586   2025-03-28    Aleph Uruguay

10587   2025-03-28    Aleph - Costa Rica

10588   2025-03-28    i.am.gia

10589   2025-03-28    Selfie Leslie

10590   2025-03-28    IPSY
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2     Filed 04/12/25   Page 355 of 365




#       Date          Entity Name
10591   2025-03-28    ■■■■■■■■■■■■■

10592   2025-03-28    Kay Jewelers

10593   2025-03-28    MAAPS / Overman Enterprises

10594   2025-03-28    Goldenvoice

10595   2025-03-28    Fulton & Roark

10596   2025-03-28    iHeartCountry

10597   2025-03-28    NeoPerformance

10598   2025-03-28    T4F

10599   2025-03-28    9:30 Club

10600   2025-03-28    MethodGroupe

10601   2025-03-28    Trials World

10602   2025-03-28    Sony Rewards

10603   2025-03-28    Novartis Clinical Trials

10604   2025-03-28    Golin

10605   2025-03-28    Initiative

10606   2025-03-28    Kore Nutrition

10607   2025-03-28    SharkNinja

10608   2025-03-28    Truth and Love Coaching International

10609   2025-03-28    Tres Colori Jewelry

10610   2025-03-28    SUGARED + BRONZED

10611   2025-03-28    Horizn Studios

10612   2025-03-28    Interactive Avenues

10613   2025-03-28    Afro Nation

10614   2025-03-28    MEC Italia

10615   2025-03-28    Integral Strength

10616   2025-03-28    Island Records UK

10617   2025-03-28    swayhairextensions

10618   2025-03-28    Notion Live Events

10619   2025-03-28    Allied Global Marketing

10620   2025-03-28    Socialyte
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 356 of 365




#       Date          Entity Name
10621   2025-03-28    Knitting Factory Entertainment

10622   2025-03-28    MissionWired

10623   2025-03-28    Ranker.com

10624   2025-03-28    Aleph El Salvador

10625   2025-03-28    Sony Music Colombia

10626   2025-03-28    Unique Vacations Limited

10627   2025-03-28    Universal Music Danmark

10628   2025-03-28    Milk Makeup - 6S

10629   2025-03-28    Alo Yoga

10630   2025-03-28    Foam and Substance

10631   2025-03-28    Tommy Hilfiger ME

10632   2025-03-28    MediaSales

10633   2025-03-28    Papa Johns Pizza

10634   2025-03-28    Omnilux LED Light Therapy

10635   2025-03-28    Digitas North America

10636   2025-03-28    Hulu

10637   2025-03-28    KURU Footwear

10638   2025-03-28    Wonderfront Festival

10639   2025-03-28    Clarins

10640   2025-03-28    Indipendente Concerti

10641   2025-03-28    Jack Archer

10642   2025-03-28    Merch Traffic

10643   2025-03-28    Radius Chicago

10644   2025-03-28    Univision

10645   2025-03-28    Rareform

10646   2025-03-28    CountryWired INC.

10647   2025-03-28    hims

10648   2025-03-28    Universal Music Latino

10649   2025-03-28    Water Street Music Hall

10650   2025-03-28    Zenith Chile
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 357 of 365




#       Date          Entity Name
10651   2025-03-28    ThredUp

10652   2025-03-28    GEICO

10653   2025-03-28    Xfinity

10654   2025-03-28    Tombras

10655   2025-03-28    ROR Partners

10656   2025-03-28    MasterClass

10657   2025-03-28    Sara's Business

10658   2025-03-28    Bfx

10659   2025-03-28    eFavormart

10660   2025-03-28    Marathon Strategies

10661   2025-03-28    Mayo Clinic

10662   2025-03-28    Kinesso Poland

10663   2025-03-28    Anotherland Music

10664   2025-03-28    Great American Pure Flix

10665   2025-03-28    Corida

10666   2025-03-28    Công Ty ■ng Hoàng Phúc

10667   2025-03-28    CLOUT Festival

10668   2025-03-28    Dentsu Greece

10669   2025-03-28    Edelman Digital NYC

10670   2025-03-28    Live Tour Promotions

10671   2025-03-28    Tommy Hilfiger

10672   2025-03-28    Preflect Ads

10673   2025-03-28    Manebí

10674   2025-03-28    Eddie Bauer

10675   2025-03-28    Fingerhut

10676   2025-03-28    Adwerx

10677   2025-03-28    Progressive

10678   2025-03-28    Universal Music Group: Global Digital Marketing

10679   2025-03-28    SkinnyDipped

10680   2025-03-28    United Influencers
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2       Filed 04/12/25   Page 358 of 365




#       Date          Entity Name
10681   2025-03-28    Alfred A. Knopf

10682   2025-03-28    GroupM Danmark

10683   2025-03-28    Rgmntco

10684   2025-03-28    Enso Rings

10685   2025-03-28    IProspect NY

10686   2025-03-28    Poppi

10687   2025-03-28    Wake Research

10688   2025-03-28    PushSpring

10689   2025-03-28    Aza

10690   2025-03-28    Health Union LLC

10691   2025-03-28    Dynata Advertising Solutions

10692   2025-03-28    TDC Audiences

10693   2025-03-28    WS NA

10694   2025-03-28    Canopy

10695   2025-03-28    Huntington National Bank

10696   2025-03-28    Ross University School of Veterinary Medicine

10697   2025-03-28    Torrid

10698   2025-03-28    Search Influence

10699   2025-03-28    Sling TV

10700   2025-03-28    BSN

10701   2025-03-28    PMG

10702   2025-03-28    DeepSync Labs

10703   2025-03-28    Brunner

10704   2025-03-28    Boarderie

10705   2025-03-28    Flip.shop

10706   2025-03-28    BrandMuscle - etatslla

10707   2025-03-28    onX Hunt

10708   2025-03-28    Invest529

10709   2025-03-28    FamilySearch

10710   2025-03-28    MC2 LIVE
 Case 2:25-cv-00197-JCZ-DPC         Document 144-2    Filed 04/12/25   Page 359 of 365




#       Date          Entity Name
10711   2025-03-28    North Coast Music Festival

10712   2025-03-28    Universal Music Deutschland

10713   2025-03-28    HotSnap

10714   2025-03-28    Beth Stelling

10715   2025-03-28    Superfly

10716   2025-03-28    Live Nation Alabama & Mississippi

10717   2025-03-28    The 3am Club

10718   2025-03-28    THIRD EAR

10719   2025-03-28    CoxNext

10720   2025-03-28    Fandango at Home

10721   2025-03-28    Burson Global

10722   2025-03-28    PETERMAYER

10723   2025-03-28    Mindshare USA

10724   2025-03-28    Discover

10725   2025-03-28    4C

10726   2025-03-28    Albertsons

10727   2025-03-28    Exchange LA

10728   2025-03-28    NovartisOne²

10729   2025-03-28    Topeka

10730   2025-03-28    DraftKings

10731   2025-03-28    ZitSticka

10732   2025-03-28    Launchpad Ignite

10733   2025-03-28    FanDuel Racing

10734   2025-03-28    Butler/Till

10735   2025-03-28    Adobe

10736   2025-03-28    Dollar General

10737   2025-03-28    Ulta Beauty

10738   2025-03-28    Simplyk Bénévolat

10739   2025-03-28    Merkle Incorporated

10740   2025-03-28    Motorola
 Case 2:25-cv-00197-JCZ-DPC       Document 144-2   Filed 04/12/25   Page 360 of 365




#       Date          Entity Name
10741   2025-03-28    Zimmerman Advertising

10742   2025-03-28    JibJab Catapult

10743   2025-03-28    Infusion Marketing Group

10744   2025-03-28    Omnicom Resolution

10745   2025-03-28    Mazda USA

10746   2025-03-28    Rogue Fitness

10747   2025-03-28    neuapp

10748   2025-03-28    HRD Games, LLC

10749   2025-03-28    Linear 360

10750   2025-03-28    AirSculpt

10751   2025-03-28    Masters of Balayage

10752   2025-03-28    Factoría Publica

10753   2025-03-28    Sony Electronics

10754   2025-03-28    MetaVision Media

10755   2025-03-28    MPP Business test account

10756   2025-03-28    Pinterest Inc

10757   2025-03-28    Neustar FB Syndication

10758   2025-03-28    HealixGlobal

10759   2025-03-28    Wish

10760   2025-03-28    Unicorn Innovations

10761   2025-03-28    HMI Social

10762   2025-03-28    Silk + Sonder

10763   2025-03-28    Vizeum - US

10764   2025-03-28    Croud Ads

10765   2025-03-28    We Play

10766   2025-03-28    Datonics

10767   2025-03-28    DSplus

10768   2025-03-28    Deep Root Analytics

10769   2025-03-28    Foot Locker

10770   2025-03-28    Shinesty
 Case 2:25-cv-00197-JCZ-DPC        Document 144-2   Filed 04/12/25   Page 361 of 365




#       Date          Entity Name
10771   2025-03-28    Global Health on Facebook

10772   2025-03-28    Online Trainer/Coach

10773   2025-03-28    RainCloud Media

10774   2025-03-28    Funny or Not

10775   2025-03-28    Live Nation Sweden

10776   2025-03-28    CCI ■■■■cartacommunications

10777   2025-03-28    Havas Media

10778   2025-03-28    Entravisión Panamá

10779   2025-03-28    SOSHE Beauty

10780   2025-03-28    fuckinggoodmovies ®

10781   2025-03-28    Invisalign

10782   2025-03-28    ASW Group

10783   2025-03-28    Fused - Universal Music

10784   2025-03-28    Elicit Music

10785   2025-03-28    AuDigent

10786   2025-03-28    APM Monaco

10787   2025-03-28    eBay

10788   2025-03-28    Compulse

10789   2025-03-28    Mattress Firm

10790   2025-03-28    Orion Publishing Group

10791   2025-03-28    Island Records

10792   2025-03-28    Calvin Klein

10793   2025-03-28    Sony Music Australia

10794   2025-03-28    ZenithOptimedia Thailand

10795   2025-03-28    Talent Groupe CH

10796   2025-03-28    GMI Maxus IDR WPP

10797   2025-03-28    Kiehl's

10798   2025-03-28    Andi Bagus

10799   2025-03-28    CNN Digital - Audience Dev

10800   2025-03-28    The Rave / Eagles Club
 Case 2:25-cv-00197-JCZ-DPC      Document 144-2      Filed 04/12/25   Page 362 of 365




#       Date          Entity Name
10801   2025-03-28    Digital House

10802   2025-03-28    TEG DAINTY

10803   2025-03-28    Vivara

10804   2025-03-28    Universal Music Malaysia

10805   2025-03-28    Intuit TurboTax

10806   2025-03-28    Performance Marketing - USD - Spotify AB

10807   2025-03-28    E11EVEN MIAMI

10808   2025-03-28    Backstreetmerch.com

10809   2025-03-28    Scentiment

10810   2025-03-28    Express

10811   2025-03-28    ■■■■■■■■■■■■■■

10812   2025-03-28    GETmusic

10813   2025-03-28    Another Planet Entertainment

10814   2025-03-28    Topsify

10815   2025-03-28    Betfair Interactive US LLC

10816   2025-03-28    Aleph Guatemala

10817   2025-03-28    Doctor Music Concerts

10818   2025-03-28    Maelys Cosmetics

10819   2025-03-28    GroupM Media India

10820   2025-03-28    Sony Music Netherlands

10821   2025-03-28    COS

10822   2025-03-28    NICKS

10823   2025-03-28    Klick - Epic

10824   2025-03-28    Filtr

10825   2025-03-28    Solved

10826   2025-03-28    Pourri

10827   2025-03-28    Siren Group

10828   2025-03-28    Inspire Brands

10829   2025-03-28    Amobee DMP

10830   2025-03-28    ACTwireless
 Case 2:25-cv-00197-JCZ-DPC     Document 144-2   Filed 04/12/25   Page 363 of 365




#       Date          Entity Name
10831   2025-03-28    Michael Kors

10832   2025-03-28    MEC

10833   2025-03-28    Destroy All Lines

10834   2025-03-28    Secret Sounds

10835   2025-03-28    RODEOHOUSTON

10836   2025-03-28    Concord

10837   2025-03-28    Nestlé HK ■■■■

10838   2025-03-28    Condé Nast

10839   2025-03-28    Helyx Marketing

10840   2025-03-28    Live Nation Canada

10841   2025-03-28    Aleph Ecuador

10842   2025-03-28    HarperCollins

10843   2025-03-28    CubeSmart Self Storage

10844   2025-03-28    Premiere Speakers Bureau

10845   2025-03-28    Ford Motor Company

10846   2025-03-28    Disney

10847   2025-03-28    Papinelle Sleepwear

10848   2025-03-28    Harper's Bazaar

10849   2025-03-28    Grunt Style

10850   2025-03-28    Essence

10851   2025-03-28    MediaCom USA

10852   2025-03-28    Absolute Merch

10853   2025-03-28    Okori Kazakhstan

10854   2025-03-28    BluFish

10855   2025-03-28    Colleen Mauer Designs
Case 2:25-cv-00197-JCZ-DPC             Document 144-2    Filed 04/12/25     Page 364 of 365



       EXHIBIT D-4 – Evidence Authentication and Source Integrity

This document has been hashed and verified for evidentiary preservation on a separate
document titled “Sworn Declaration of Integrity.” On that declaration are the digital
fingerprints (SHA-256 and MD5) for this exhibit and its input data sources.

This evidence is admissible under:
- Federal Rule of Evidence 1006 (Summaries to Prove Content)
- Federal Rule of Evidence 902(11) (Certified Domestic Records of a Regularly Conducted Activity)

EXHIBIT D-4 HASHES
(See Sworn Declaration of Integrity)

Facebook Data Archive: page_1.html
SHA-256: 498a97678598b61e108adbbb6b06a4f38025c0bad0676af7a28e549d23275478
MD5: 8866948e8f23969a422fa6549cfb9763

Facebook Data Archive: page_2.html
SHA-256: a886f0c6cf3e3251d99e9ed84fb6dbf554006810d5575496ddf1ba93cf5d523f
MD5: 55b090ab7bed8a4370e9ddc342fe45cf
       Case 2:25-cv-00197-JCZ-DPC          Document 144-2         Filed 04/12/25   Page 365 of 365


eFile-ProSe

From:             Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:             Saturday, April 12, 2025 3:43 AM
To:               eFile-ProSe
Subject:          New EDSS Filing Submitted
Attachments:      EXHIBIT D-4.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Saturday, April
12, 2025 - 03:42.

The information for this submission is:

Filer's Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer's Mailing Address: 820 Grove Ave, Metairie, LA, 70003-7024

Filer's Phone Number: 504-203-8459

Filer's Case Number (If Known): 2:25-cv-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: EXHIBIT D-4




                                                     1
